     Case 1:20-cv-00298-LY-DH Document 165-1 Filed 10/22/21 Page 1 of 290




                           KLAYMAN LAW GROUP
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URGENT
October 10, 2021

Via Federal Express

Honorable Orlando L. Garcia
Chief Judge
U.S. District Court for the Western District of Texas
655 E. Cesar E. Chavez Blvd
San Antonio, TX 78206


Re: REQUEST FOR INVESTIGATION IN CORSI V. INFOWARS LLC, ET AL, 1:20-CV-
298 (W.D. TX.)

Dear Chief Judge Garcia:

Mr. Sanjay Biswas and I, as counsel for the Plaintiffs in the above styled case, hereby
respectfully request an investigation by you and other appropriate persons and entities of
otherwise inexplicable, strange, injudicious, if not suspicious conduct by former Magistrate
Judge Andrew Austin and Judge Lee Yeakel, which resulted in not just an egregious miscarriage
of justice in this case but belies the administration of justice in general.

Underscoring this are the repeated simple requests by Mr. Biswas and me for both jurists to
conduct a hearing on dispositive motions filed by Defendants Infowars, LLC, Free Speech
Systems, LLC, Alex Jones, David Jones, and Owen Shroyer. However, rather than providing us
with full due process, or even responding to our requests for a hearing, they then issued
outrageous rulings which are both factually and legally flawed and in error to the extreme.
Attached in this regard is a sampling of relevant pleadings which set this out.

At the outset of this case which was transferred by the U.S. District Court for the District of
Columbia to your honorable Court, Judge Yeakel boasted about how he likes to move cases
along and disfavors all but the most compelling dispositive pre-trial motions. He, however, did
not take charge but instead then assigned substantive case dispositive motions to Magistrate
Judge Austin. Here is what Judge Yeakel said at a status conference on May 21, 2020:

       You're going to have to figure how much time you want because once I get it set,
       once I fill in after a subsequent conference your trial month and final pretrial



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     Case 1:20-cv-00298-LY-DH Document 165-1 Filed 10/22/21 Page 2 of 290




       conference date and time, you're not likely to get a continuance or a
       postponement.

       I like to try lawsuits. If I had my way and could pass one law, I would do away
       with motion practice altogether, and you would either settle your case or try your
       case, the way it was in the olden days.

After the referral to Magistrate Judge Austin, Austin, showing no understanding of the issues,
refused to have a substantive hearing on the Defendants’ dispositive motions and then after eight
(8) months of unconscionable delay, on the eve of his retirement, issued a Report and
Recommendation which strangely made no sense, factually or legally. Then, when an objection
was filed, Judge Yeakel, also strangely refused to hold a hearing on the objection and later a
motion for reconsideration and to amend the complaint. Instead Judge Yeakel simply rubber
stamped the gross errors in Magistrate Judge Austin’s Report and Recommendation. These
contrived findings are grossly flawed in the following respects:

       (1) Magistrate Judge Austin and the Judge Yeakel usurped the role of the jury, which is
       especially egregious at the motion to dismiss stage.

       (2) Magistrate Judge Austin and the Judge Yeakel ignored the allegations in the
       complaint that Defendants were working together in concert.

       (3) Magistrate Judge Austin falsely found that Plaintiffs did not allege actual malice.

       (4) Magistrate Judge Austin and then Judge Yeakel falsely found that the Defendants’
       false statements were just opinion and not unactionable as defamation.

       (5) Magistrate Austin made other false factual and legal findings which showed that he
       did not thoroughly review the record or did review it but ruled the way he did for other
       improper reasons. For instance, he recommended dismissal of the Amended Complaint
       against Defendant David Jones without prejudice on page 10, but then, deciding on his
       own that even leave to amend would be futile, writes at page 17 “…the undersigned
       recommends that the Court not permit Corsi or Klayman leave to amend, and dismiss
       (all) the claims with prejudice.”

       (6) Magistrate Judge Austin and then Judge Yeakel falsely dismissed valid Lanham Act
       claims which were properly pleaded.

       (7) For good measure, Magistrate Austin also suggested that Plaintiffs should be
       sanctioned, when ironically, he is the one who should be held to account for what appear
       to be an intentional effort to deprive parties of their constitutional and other rights.

Then, when we asked for a hearing again along with a Motion for Reconsideration, Judge Yeakel
again gave our arguments short shrift, refusing over and over again to allow for a hearing, which
would have aided the Court in sorting out it’s gross errors. A review of the record will show
multiple requests for a hearing, which were ignored to this day.


                                                                                                 2
     Case 1:20-cv-00298-LY-DH Document 165-1 Filed 10/22/21 Page 3 of 290




The bottom line is this; for whatever reason the proper and honest administration of justice has
not occurred, and this has resulted in a miscarriage of justice and harm to the Plaintiffs. And it is
hard to understand why Plaintiffs have never even been granted a substantive hearing before
these prejudicial, “cooked” and fatally flawed rulings were issued.

Just last Wednesday, in another case in Florida, an understandably confused state judge,
mistakenly giving res judicata effect to Judge Yeakel’s ultimate rulings, dismissed as parallel
action, which had been filed before the case in your honorable Court, causing great prejudice to
Plaintiff Larry Klayman.

Your Honor, these is something not right here. A review of the enclosed pleadings will bear this
out conclusively.

For these reasons, we are also requesting that the U.S. Attorney and the Austin Field Office of
the Federal Bureau of Investigation also investigate the strange events that have occurred in this
case involving Infowars, Alex Jones, their Las Vegas counsel Marc Randazza,1 and Roger Stone,
a self-styled, proud and notorious dirty trickster, and worse a seven-count convicted felon who,
at a minimum, claims admiration for the Mafia, for making false statements to the government,
witness tampering through threatening witnesses and obstruction of justice. See Enclosure.

A review of the record will support our more than great concerns about how and why this case
has been administered to contrary to fact and law, and why Mr. Biswas and I cannot even get a
simple hearing. The bottom line: something improper may have occurred, and Mr. Biswas and I
do not say this lightly. There seems to be no other explanation.

Thank you in advance for your prompt consideration. We look forward to hearing from you with
all due speed, since justice delayed is justice denied. The ethical and legal integrity of your
honorable Court is seriously at issue, which must be addressed and dealt with by you and others
regardless of our right to appeal to the U.S. Court of Appeals for the Fifth Circuit.



                                                                        Sincerely,



                                                                        Larry Klayman, Esq.




                                                                        Sanjay Biswas, Esq.

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  See Luke O’ Brien, “Alex Jones Lawyer Violated Legal Ethics By Soliciting Porn Bribes. Just How Dirty
is Marc Randazza?,” Huffington Post (Dec. 27, 2018). Enclosed.


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    Case 1:20-cv-00298-LY-DH Document 165-1 Filed 10/22/21 Page 4 of 290




cc: Ashley Chapman Hoff, Esq.
    United States Attorney
    903 San Jacinto Boulevard
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   Austin, Tx. 78701


  Special Agent-In-Charge
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  Via Federal Express



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    Counsel for Defendants

  Via Email




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Case 1:20-cv-00298-LY-DH Document 165-1 Filed 10/22/21 Page 5 of 290
Case 1:20-cv-00298-LY-DH Document 165-1 Filed 10/22/21 Page 6 of 290
6/28/2021           Case 1:20-cv-00298-LY-DH               Document
                             Alex Jones’ Lawyer Violated Legal               165-1
                                                               Ethics By Soliciting       FiledJust10/22/21
                                                                                    Porn Bribes.                  Page
                                                                                                    How Dirty Is Marc     7 of| HuffPost
                                                                                                                      Randazza? 290
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               Alex Jones’ Lawyer Violated Legal Ethics By
              Soliciting Porn Bribes. Just How Dirty Is Marc
                                Randazza?
                     America’s foremost attorney for far-right extremists wanted “a little gravy,” then
                      lied to cover it up. That’s just part of his twisted journey through a lax legal
                                                           system.

                                          By Luke O’Brien | 12/27/2018 03:09 pm ET | Updated Dec 27, 2018


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                        One morning this June, a group of lawyers filed into the office of the State Bar of
                        Nevada and closed the door. It was summer in Las Vegas, the morning temperature
                        already nearing 100 degrees, but inside the low-slung tan building, the lawyers had a
                        chilly question to address: what to do about one of their own.

                        Marc Randazza had been a problem for years.

                        Randazza, who represents conspiracy theorist Alex Jones and many other far-right
                        extremists, had long relied on lawyer buddies to pump his public image. By their telling
                        and his own, Randazza was a First Amendment “badass.” But he was a combative
                        badass, even vicious, and he’d left a trail of bad blood and trampled ethics behind him.

                        Randazza had made enemies. Plenty of them. But he was cunning. He’d sidestepped
                        previous bar complaints and once avoided paying $600,000 in damages to his former
                        employer by filing for bankruptcy and having his malpractice insurance kick in.
                        Randazza was lucky, too. When an appeals court assigned a panel of judges to look
                        into his misrepresentations in court under oath, the underlying case settled before the
                        panel could meet. So off Randazza went, scuttling along through the Mojave as
                        unaccountable as a scorpion.

https://www.huffpost.com/entry/alex-jones-lawyer-marc-randazza_n_5c1c283ae4b08aaf7a86b9e4                                                             1/31
6/28/2021           Case 1:20-cv-00298-LY-DH               Document
                             Alex Jones’ Lawyer Violated Legal               165-1
                                                               Ethics By Soliciting       FiledJust10/22/21
                                                                                    Porn Bribes.                  Page
                                                                                                    How Dirty Is Marc     8 of| HuffPost
                                                                                                                      Randazza? 290
                        His problems, though, now appeared to be gaining on him. For five years, the Nevada
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                        Bar had been aware of allegations that Randazza violated ethics rules in 2011 and 2012
                        while working for pornographers. By the time the lawyers met in Vegas to decide his
                        fate, Randazza had attained a new level of notoriety.

                        Since Donald Trump’s election, he had become, as much as any attorney in America, a
                        legal crowbar for far-right grifters and goons to leverage the protections of democracy
                        in an effort to undermine them. And although Randazza had taken on legitimate free
                        speech cases in the past, he’d grown curiously chummy with fascists and racists who
                        use defamation, harassment and threats to silence others.

                        Aside from Jones, Randazza and his firm represented neo-Nazi publisher Andrew
                        Anglin; white nationalist Republican congressional candidate Paul Nehlen; white
                        supremacist patriarch Jared Taylor; Holocaust-denying slanderer Chuck Johnson;
                        Pizzagate peddler Mike Cernovich; pro-rape misogynist Daryush “Roosh” Valizadeh; an
                        alt-right member who helped organize the deadly white supremacist rally in
                        Charlottesville, Virginia; the booking agent for white nationalist Richard Spencer; 8chan,
                        an online message board teeming with neo-Nazis; and Gab, the alt-right social media
                        platform where Robert Bowers, who allegedly killed 11 people at a synagogue in
                        Pittsburgh in October, appears to have radicalized himself.

                        In Randazza, these extremists had found their own bush league Roy Cohn, the attorney
                        who in a pre-internet era served as the “legal executioner” for right-wing thugs such as
                        Trump and Joseph McCarthy and repped mafia bosses like Carmine “Lilo” Galante and
                        “Fat Tony” Salerno. (Cohn was disbarred for “dishonesty, fraud, deceit and
                        misrepresentation” shortly before he died in 1986.)

                        Like Cohn, Randazza was willing to go on the offensive for authoritarians. And like
                        Cohn, Randazza’s legal license and bunco man’s talent for beguilement made him as
                        problematic as some of the people he represented. This summer, a former federal judge
                        who’d scrutinized Randazza’s unethical behavior in an arbitration proceeding described
                        the attorney as nothing short of a danger to the public.

                        Certainly, Randazza’s misbehavior had happened in public — it was all there in the
                        court records for anyone who cared to slog through them, a testament to how easily a
                        bad actor with the right credentials can abuse a system that assumes candor from its
                        professional class, not to mention an illustration of how white-collar privilege can abet
                        white-collar wrongdoing in America. Like a Wall Street banker selling bad debt or a
                        well-connected U.S. Supreme Court nominee fibbing under oath, Randazza had been
                        given a pass. Until now.

                        The backstory to what he’d done was complicated, the details sordid. The short of it is
                        this: While working as the in-house general counsel for gay pornographers a few years
                        ago, he solicited bribes, embraced conflicts of interest, relied on ill-gotten privileged
                        information to gain a legal advantage, made misrepresentations about his fees to
                        various courts and despoiled evidence of his treachery, according to an arbitrator’s


https://www.huffpost.com/entry/alex-jones-lawyer-marc-randazza_n_5c1c283ae4b08aaf7a86b9e4                                                    2/31
6/28/2021           Case 1:20-cv-00298-LY-DH               Document
                             Alex Jones’ Lawyer Violated Legal               165-1
                                                               Ethics By Soliciting       FiledJust10/22/21
                                                                                    Porn Bribes.                  Page
                                                                                                    How Dirty Is Marc     9 of| HuffPost
                                                                                                                      Randazza? 290
                        findings, sworn statements in legal proceedings, interviews with opposing counsel,
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                        Randazza’s own admissions and thousands of pages of court records.

                        But what was the Nevada Bar prepared to do about it?

                        A Troll Is Born
                        Randazza grew up in Gloucester, Massachusetts, where his Sicilian family immigrated,
                        worked as fishermen and gained repute as champion traversers of greased
                        poles during the town’s annual St. Peter’s Fiesta. Randazza chose a different path. In
                        high school, he was voted “most likely to be dead or in jail” by 25. He claims to have
                        failed out of the University of Massachusetts three times.

                        Twenty-year-old Randazza enlisted in the U.S. Army during one hiatus from college with
                        the goal of becoming a psychological operations soldier, according to military records
                        obtained by HuffPost. He lasted less than five months in the Army. Randazza
                        completed boot camp and airborne “jump school” training but appears to have washed
                        out of psy-ops training and was discharged for undisclosed reasons during the Gulf
                        War.

                        He returned to the University of Massachusetts and plunged into controversy. A school
                        administrator at the time remembers Randazza as “an oppositional personality” who
                        was “just interested in burning stuff down.” Randazza lived in Butterfield Hall, a dorm
                        known for its drug-fueled parties, and took to flying a Jolly Roger flag from an antenna
                        on the building’s slate roof ― an early, if misguided, free speech stand. Randazza, the
                        former administrator said, egged on other students to climb on the steep roof. The
                        school removed the flag several times because of safety concerns, only to have
                        someone put it back up, at one point by allegedly using explosives to blast off metal
                        bars the school had installed over windows to prevent students from accessing the
                        roof. Randazza claimed the bars “rusted and fell out.”

                        When one female student complained that the flag resembled the logo of White Aryan
                        Resistance, a prominent neo-Nazi organization, Randazza mocked her concerns and
                        covered a letter she’d written in crude sexual insults, according to the student
                        newspaper. The insults, he said, were his “trademark.”




https://www.huffpost.com/entry/alex-jones-lawyer-marc-randazza_n_5c1c283ae4b08aaf7a86b9e4                                                    3/31
6/28/2021          Case 1:20-cv-00298-LY-DH               Document
                             Alex Jones’ Lawyer Violated Legal             165-1
                                                               Ethics By Soliciting Porn Filed    10/22/21
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                                                                                                      How Dirty Is Marc    10 of| HuffPost
                                                                                                                        Randazza?  290
                                                 Randazza seemed to delight in antagonizing the UMass administration.
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                                                                       MASSACHUSETTS DAILY COLLEGIAN




                        It took Randazza seven years to graduate from UMass with a journalism degree in
                        1994. After college, he drifted for a few years — a period he vaguely refers to as his
                        time as a “former news reporter,” although scant evidence of his journalism career
                        exists. Randazza filed at least two dispatches from Italy, where he now has dual
                        citizenship, for the newsletter of the Order Sons of Italy in America, a national
                        organization for people of Italian heritage.

                        In 1997, Randazza managed to get into Georgetown law school; he said he finished a
                        “dead last” in his class. He caused a furor when he ran for the Student Bar Association
                        using campaign posters that referenced penile implants. When the Women’s Legal
                        Association tore down the posters, Randazza protested to the dean that his political
                        speech was being censored. He got to put his posters back up. “And then,”
                        Randazza gloated on one legal blog, “the WLA cow had to apologize to me.”

                        Randazza completed his third year of law school at the University of Florida because,
                        as he put it, he never fit in at Georgetown: “I found it to be too conformist and
                        oppressive. I’m a hardcore left-wing guy, but at Georgetown, there was no room to
                        dissent.” (Georgetown is a large law school that graduates students from all walks of
                        life and political backgrounds. Among them: Atlantic Media owner David Bradley,
                        Federal Reserve Chairman Jerome Powell, House Majority Leader-elect Steny Hoyer,
                        criminal Republican lobbyist Jack Abramoff, and criminal Republican lobbyist and
                        former Trump campaign manager Paul Manafort.)

                        In almost every interview, Randazza describes himself as a “leftist” or a “libtard” or “so
                        liberal” that he’s “practically a communist,” which might have been accurate in 1996,
                        when he listed his party affiliation as the Socialist Workers Party, according to Florida
                        voter registration records. But it wasn’t in 2000, when Randazza volunteered for John
                        McCain’s presidential campaign. Since at least 2002, Randazza has been a registered
                        and active Republican voter, according to both Florida and Nevada records.



                            “He went out of his way to take advantage of us.
                            With him, there’s always an end game that occurs
                            at the expense of somebody else. And he has no
                            remorse.
                            —Brian Dunlap, vice president of Liberty’s sister company, Excelsior




                        He began his legal practice in earnest around that time and, with his bad grades,
                        struggled at first to find a job. He claimed to shun the idea of working at a big firm
                        because “it’s all about being a billing machine and ethics aren’t important.” Instead, his


https://www.huffpost.com/entry/alex-jones-lawyer-marc-randazza_n_5c1c283ae4b08aaf7a86b9e4                                                      4/31
6/28/2021          Case 1:20-cv-00298-LY-DH               Document
                             Alex Jones’ Lawyer Violated Legal             165-1
                                                               Ethics By Soliciting Porn Filed    10/22/21
                                                                                         Bribes. Just              Page
                                                                                                      How Dirty Is Marc    11 of| HuffPost
                                                                                                                        Randazza?  290
                        moral compass pointed to pornography, which he called “one of the most ethical                                     
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                        industries I have ever dealt with.”

                        In 2004, he landed a junior position at a small firm that specialized in First Amendment
                        and intellectual property cases. His career received an immediate and major boost
                        when Fox News made him a talking head after an academic paper he wrote about
                        online vote swapping garnered national attention. From the start, though, smut was
                        Randazza’s primary focus. In Florida, the porn lawyer tooled around in a yellow Porsche
                        with U.S. paratrooper plates.

                        In 2009, he took a nearly $250,000-a-year job in San Diego as in-house general counsel
                        for Excelsior Media, a gay porn company, and Excelsior’s production and distribution
                        arms Liberty Media Holdings and Corbin Fisher. (Because all of the cases Randazza
                        worked on involve Liberty as a party, we will refer to his employer as Liberty throughout
                        this article.) Liberty later relocated to Las Vegas, and Randazza moved with the
                        company.

                        On his first attempt at passing the Nevada Bar exam, Randazza failed the ethics portion
                        of the test.

                        The Porn Lawyer Ascendant
                        Randazza staggered naked down the stairs, clutching a bottle of red wine. It was
                        January 2010, and the attorney was boozing it up at the villa Liberty had rented for a
                        location-scouting trip to Costa Rica. Around 9 a.m. that day, according to court
                        records, Randazza stopped studying for the California Bar exam and started guzzling
                        vodka and peach soda. He kept drinking over lunch at a nearby hillside restaurant,
                        tossing back so many cocktails that he had to be helped outside to vomit in the parking
                        lot. Brian Dunlap, vice president of Liberty’s sister company, Excelsior, drove Randazza
                        back to the villa in a rental Jeep, the vehicle bouncing over small cobblestone roads as
                        Randazza puked violently out the window, his heaving taking on a staccato rhythm with
                        the bumps.

                        Back at the villa, Dunlap got the attorney into his bedroom and went to hose down the
                        Jeep. But Randazza was soon back on his feet and making for the pool with a wine
                        bottle. Now, he was naked. The Liberty executives looked on, laughing. One of them
                        filmed the glassy-eyed Randazza wobbling into the pool.

                        “As your attorney,” Randazza said, turning full-frontal to the camera as he held his wine
                        bottle aloft, “I advise you to drink this.”




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6/28/2021          Case 1:20-cv-00298-LY-DH               Document
                             Alex Jones’ Lawyer Violated Legal             165-1
                                                               Ethics By Soliciting Porn Filed    10/22/21
                                                                                         Bribes. Just              Page
                                                                                                      How Dirty Is Marc    12 of| HuffPost
                                                                                                                        Randazza?  290
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                                      Marc Randazza getting drunk and naked on a trip to scout porn shoot locations in Costa Rica.
                                                                            HUFFPOST IMAGE




                        Initially, Randazza’s antics seemed harmlessly incorrigible. And his raffish demeanor
                        was hardly out of place in the freewheeling porn industry. Randazza didn’t just party
                        with his bosses. He procured concealed carry permits for them, helped them with legal
                        name changes and sorted out their messy personal affairs. On one occasion, he acted
                        as a cooler after a Liberty performer who was in a sexual relationship with the
                        company’s CEO allegedly attacked the executive. Randazza bundled the porn actor
                        into a cab bound for the airport and a flight out of Las Vegas.

                        “[Your] 702 area code privileges have been revoked,” he told the man.

                        Above all, though, Randazza served as Liberty’s attack dog. His main duty was to go
                        after copyright infringers, earning a 25 percent bonus on any settlement funds he
                        brought in. Some of the infringers were companies, but Randazza also shook down gay
                        kids and small-time pirates, even unemployed ones.

                        But Randazza was two-timing Liberty. He was secretly doing work for Liberty
                        competitors such as Bang Bros, Titan Media and Kink.com, sometimes billing his
                        outside clients almost 100 hours a month. He also worked for companies accused of
                        infringing Liberty’s copyrights, including XVideos. Most attorneys would shun these
                        conflicts of interest. Randazza barreled into them. He played clients off each other and
                        cited “fair use” to dissuade Liberty from suing infringers.

                        “The big targets that we kept asking him to go after for months were his clients,”
                        Dunlap said. “We kept saying, ‘What about XVideos? What about XVideos? They’re the
                        worst.’”

                        Only years later did Liberty executives realize that when they sent takedown notices to
                        XVideos, the lawyer handling them sat down the hall. Randazza invoiced XVideos for

https://www.huffpost.com/entry/alex-jones-lawyer-marc-randazza_n_5c1c283ae4b08aaf7a86b9e4                                                          6/31
6/28/2021          Case 1:20-cv-00298-LY-DH               Document
                             Alex Jones’ Lawyer Violated Legal             165-1
                                                               Ethics By Soliciting Porn Filed    10/22/21
                                                                                         Bribes. Just              Page
                                                                                                      How Dirty Is Marc    13 of| HuffPost
                                                                                                                        Randazza?  290
                        over $44,000 while employed by Liberty.                                                                            
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                        “He went out of his way to take advantage of us,” Dunlap said. “With him, there’s
                        always an end game that occurs at the expense of somebody else. And he has no
                        remorse.”

                        Randazza misled people on multiple fronts. When he started his Liberty job, he
                        accurately described himself in court as the “in-house counsel for Liberty Media
                        Holdings.” But a year later, he was giving judges, journalists and potential clients the
                        impression that he was an outside attorney, rather than a Liberty employee. He
                        swapped out his Liberty email address and letterhead for a personal email address and
                        the letterhead of the “Randazza Legal Group,” a firm he’d set up in Florida. He handed
                        out personal business cards that made no reference to his Liberty job.

                        In court filings, Randazza referred to himself as “counsel for Plaintiff” or “an attorney for
                        the Plaintiff.” He told courts that Liberty had “incurred” his fees or that he’d “charged”
                        the company at billing rates of $425 to $500 per hour. To support those rates, he
                        sometimes filed affidavits from a paralegal who stated under oath that he was Liberty’s
                        “Vice President for Intellectual Property Management,” a position Dunlap said the
                        paralegal never held. Randazza also submitted affidavits from lawyer friends of his,
                        along with time sheets showing his rates, even though he was a salaried employee.

                        It’s not clear why he did this. He may have thought it would make it easier for him to
                        recover fees, which juiced his 25 percent bonus on settlement money and allowed him
                        to hike up his rate ceiling. (He now charges some clients $700 per hour.)

                        In the U.S. legal system, each party typically pays its own legal bills. There are,
                        however, provisions in some types of litigation — federal copyright cases, for example
                        — that allow for the winning party to collect its fees from the losing party. Judges would
                        probably scrutinize an in-house counsel’s request to recover fees more closely,
                        according to several ethics experts and law professors. But an in-house counsel has
                        just as good a chance at recovering fees, the experts added — a fact Randazza might
                        not have been aware of at the time.

                        “All the stuff that is misleading is tailored for him to win that fee award,” said Adam
                        Springel, a Las Vegas attorney and expert in commercial and business law who
                        examined a number of Randazza’s fee filings at HuffPost’s request. “He was clearly
                        trying to get the judge to rubber-stamp his fee requests.”

                        By creating the impression that he was an outside hired gun, Randazza may have also
                        been trying to build name recognition and drum up business for the Randazza Legal
                        Group, whose growth Liberty was subsidizing. Randazza didn’t tell his employer about
                        some of the fee awards he won — “the substantial ones, in particular,” Dunlap said —
                        and later refused to let Liberty audit the account where he deposited litigation payouts.
                        He said it would look better in court to use the Randazza Legal Group on filings, as
                        “insulation” for his employers.



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6/28/2021          Case 1:20-cv-00298-LY-DH               Document
                             Alex Jones’ Lawyer Violated Legal             165-1
                                                               Ethics By Soliciting Porn Filed    10/22/21
                                                                                         Bribes. Just              Page
                                                                                                      How Dirty Is Marc    14 of| HuffPost
                                                                                                                        Randazza?  290
                        “We took it as legal advice, and didn’t think much of it at the time,” Dunlap said.“We
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                        had no idea to what extent he was trying to double dip. ... But when we discovered he
                        was trying to say he was an outside firm charging us hourly and running up huge legal
                        bills, that’s when it became apparent he was trying to pull a fast one with the court.”

                        Greedhead & Fleecer, LLP
                        Randazza’s dirty pool went beyond duping his employer and the courts. He was also
                        soliciting illicit payoffs from parties that Liberty wanted him to sue. Records that
                        surfaced during the arbitration proceeding and that were later made public in U.S.
                        Bankruptcy Court in Nevada reveal the grimy particulars. In December 2010, while
                        negotiating a settlement for Liberty with the website TNAFlix, Randazza went after his
                        first bribe. He wanted TNA to pay to “conflict [him] out” of being able to sue the website
                        again. A $5,000 “contract” figure came up. Randazza’s opposing counsel, Val Gurvits,
                        had no idea that Randazza was working in-house for Liberty at the time.

                        “Not a single communication from him ever came on Liberty letterhead,” Gurvits told
                        HuffPost.

                        Randazza concealed his job while hunting for money from other companies. But he
                        didn’t hide his avarice.

                        “There needs to be a little gravy for me,” he emailed Gurvits. “And it has to be more
                        than the $5K you were talking about before. I’m looking at the cost of at least a new
                        Carrera in retainer deposits after circulating around the adult entertainment expo this
                        week. I’m gonna want at least used BMW money.”

                        Randazza asked for $30,000 and raised the possibility of teaming up with Gurvits to
                        broker a sale of TNA to one of Randazza’s outside clients, which could have earned
                        him a $375,000 commission. He pushed hard to secure both deals. When Gurvits
                        hesitated, Randazza claimed another company wanted to hire him to sue TNA.

                        “I can’t hold these guys back any longer,” he warned.




https://www.huffpost.com/entry/alex-jones-lawyer-marc-randazza_n_5c1c283ae4b08aaf7a86b9e4                                                      8/31
6/28/2021          Case 1:20-cv-00298-LY-DH               Document
                             Alex Jones’ Lawyer Violated Legal             165-1
                                                               Ethics By Soliciting Porn Filed    10/22/21
                                                                                         Bribes. Just              Page
                                                                                                      How Dirty Is Marc    15 of| HuffPost
                                                                                                                        Randazza?  290
                                              Marc Randazza worked long hours chasing porn money, some of it illicit.
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                                                                     OWEN FREEMAN FOR HUFFPOST




                        Randazza’s first known solicitation of a bribe was an apparent violation of the Nevada
                        Rules of Professional Conduct, which forbid lawyers from “offering or making”
                        agreements like these that could restrict them from practicing law. (The Nevada rules
                        mirror the model rules of the American Bar Association, a baseline version of which has
                        been adopted in every jurisdiction except California.) Randazza later tried to wring a
                        bribe out of Megaupload, a file-sharing site that had allegedly infringed Liberty’s
                        copyright, according to arbitration records.

                        “Once you take a financial stake in the outcome of your client’s case, then you have a
                        conflict of interest. It compromises the independent professional judgment of the
                        lawyer. It’s not even a close call,” said Russell McClain, an associate professor at the
                        University of Maryland School of Law and an expert in professional responsibility.

                        The extent of Randazza’s web of deception became apparent in Liberty’s 2012 federal
                        lawsuit against Oron, a file-sharing site. When Randazza tried to recover fees in the
                        case, he not only failed to identify himself as Liberty’s in-house counsel but also
                        bundled his own “charged” fees with the fees of outside attorneys he’d brought on at
                        his firm. He claimed the Randazza Legal Group had billed Liberty almost 366 hours,
                        causing the porn company to “incur” $214,964 in attorneys’ fees and costs. Of that
                        total, Randazza told the court, $90,833.98 resulted from his nearly 182 hours of work at
                        $500 per hour.

                        He also reported that his employees billed Liberty at their “standard hourly rates.” For
                        his partner, Ronald Green, that meant $400 per hour. For paralegals, it was $125 per
                        hour. In reality, the Randazza Legal Group gave Liberty a massive discount, sometimes
                        75 percent off market rates, on work done by its lawyers — a fact that Randazza
                        withheld from the court.

                        These were material misrepresentations, according to multiple fee experts interviewed
                        by HuffPost. And Randazza got away with them: U.S. District Judge Gloria Navarro
                        eventually ordered Oron to pay an extra $131,797.50 to cover Randazza’s claimed fees.

                        Randazza had crossed the line in other ways, too. While negotiating a $550,000
                        settlement agreement with Oron, he’d chased another bribe. If the file-sharing company
                        paid him $75,000, Randazza would “never be able to sue [Oron and its sister
                        companies] forever and ever,” he promised Oron’s counsel. For that price, Randazza
                        said he’d “provide some really great value” — including a “plan that you’ll drool over” to
                        make it harder for other companies like Liberty to sue Oron.

                        Randazza had an unfair advantage. He’d acquired information about Oron’s privileged
                        legal communications and its Hong Kong bank account from a softcore porn
                        photographer named James Grady who also wanted to take down the file-sharing
                        company. Grady had paid “a guy — call him a forensic investigator — to dig past

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6/28/2021          Case 1:20-cv-00298-LY-DH               Document
                             Alex Jones’ Lawyer Violated Legal             165-1
                                                               Ethics By Soliciting Porn Filed    10/22/21
                                                                                         Bribes. Just              Page
                                                                                                      How Dirty Is Marc    16 of| HuffPost
                                                                                                                        Randazza?  290
                        Domains by Proxy and things like that,” the photographer told Randazza in an email,
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                        making it clear that his source “didn’t get the info at Walmart in the course of normal
                        commerce.”

                        According to Val Gurvits, whom Oron brought in to help with its case because of his
                        experience dealing with Randazza, the only way to know about Oron’s overseas bank
                        account would be if someone “broke into Oron’s gmail.”

                        It certainly looked that way. Grady sent Randazza a receipt showing that Oron had
                        released money from its PayPal account to its Hong Kong bank account. He sent
                        information about the personal email account of Oron’s owner.

                        He sent the owner’s Skype call logs, which Grady said came from one of Oron’s email
                        accounts. He supplied Randazza with detailed descriptions of internal emails sent by
                        Oron’s lawyer. The intel helped Randazza get a temporary restraining order in Nevada
                        federal court and freeze Oron’s assets.

                        Randazza invited Grady to Las Vegas to be a “star witness” in the case, urging the
                        photographer to be careful about what he might tell the judge about the Oron material.
                        “You [need] to consider what happens if the judge wants to know where you got your
                        information,” Randazza wrote. “As far as I know, it was lawfully obtained. You certainly
                        got it lawfully. If the source is a disgruntled Oron employee, great. Jilted lover, great.
                        Hacker, problematic.”

                        Randazza was forbidden from collecting evidence this way. He also wasn’t allowed to
                        engage in “conduct involving dishonesty, fraud, deceit or misrepresentation,” according
                        to multiple ethics experts. In fact, state bars across the country have determined that it
                        is wrong for a lawyer to fail to inform opposing counsel about inadvertently received
                        privileged material. The mere act of reading such material is unethical.

                        “We would file a brief, and they would have a response the next day,” said Stevan
                        Lieberman, one of Oron’s lawyers. “It’s very clear that [Randazza] used the privileged
                        attorney-client communications to his advantage.”

                        Randazza also shared his “entire Oron file” with one of his porn attorney friends, telling
                        a paralegal to let the attorney “lift anything he wants,” according to internal Randazza
                        Legal Group emails. That attorney, who’d later become a partner at Randazza’s firm,
                        and a different company would soon file a copycat suit in California that ratcheted up
                        pressure on Oron and kept the company’s assets frozen.

                        In a bind, Gurvits agreed to pay Randazza the $75,000 but insisted that the payment be
                        part of the settlement agreement between Liberty and Oron. “If it wasn’t for me
                        insisting, we would have had a separate agreement,” Gurvits told HuffPost. “But I felt
                        that was improper. That’s how Randazza offered to do it. I said, ‘I’m not going to do an
                        end-run around your client.’”

                        And that’s how Randazza got caught.


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6/28/2021          Case 1:20-cv-00298-LY-DH               Document
                             Alex Jones’ Lawyer Violated Legal             165-1
                                                               Ethics By Soliciting Porn Filed    10/22/21
                                                                                         Bribes. Just              Page
                                                                                                      How Dirty Is Marc    17 of| HuffPost
                                                                                                                        Randazza?  290
                       An Unhappy Ending                                                                                                 

                        When his boss at Liberty, Jason Gibson, thumbed through a draft of the proposed
                        settlement with Oron, he spotted a curious one-line item for $75,000: Randazza’s gravy.

                        “My stomach is churning after reading the proposed agreement,” he emailed Randazza.

                        Their relationship quickly unraveled. Within days, Randazza left his job. He and a
                        paralegal covered their tracks by repeatedly running data-wiping software on their
                        company computers that prevented Liberty from recovering evidence, according to
                        court documents and forensic investigator testimony. He refused to release the
                        $550,000 Oron settlement award to Liberty from his trust account.

                        Randazza laid siege to the company.

                        “Murum aries attigit” is a war doctrine attributed to Julius Caesar that translates to “the
                        [battering] ram has touched the wall.” The phrase has a baleful meaning: If your
                        enemies refuse to surrender before hostilities commence, destroy them without mercy.
                        This is Randazza’s motto as a lawyer.

                        “Once the ram touches the wall, you have to commit to ending the other party as a
                        going concern,” he explained on his blog. “You must leave the other party with nothing
                        left with which to fight. Because, if a party is fool enough to refuse the favorable terms,
                        that party is fool enough (and poorly advised enough) to keep being a pain in your ass
                        until you finally put them down like a diseased animal.”

                        Randazza filed a complaint with the Nevada Equal Rights Commission, alleging that
                        he’d been sexually harassed at work as a straight man because Liberty, which mainly
                        makes gay porn, once filmed a sex scene ― a straight scene, it turned out ― in his
                        office. It was a peculiar claim. In the Liberty workplace, Randazza had been exuberantly
                        lewd. He’d talked about wanting to “snap a nasty metal bar across [a man’s] wiener”
                        and purchased a couch used for porn shoots for his home, then emailed around a
                        picture of his scantily clad wife posing on it. But the free speech crusader who called
                        political correctness a “disease” and casually, if jokingly, threw around words like
                        “nigger” and “cunt” now was saying he’d suffered ethnic harassment as an Italian-
                        American because Liberty executives had sarcastically called him a “guinea” and a
                        “wop,” usually in response to his own off-color instigations.

                        Randazza’s harassment complaint was an obvious farce, and it went nowhere.




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6/28/2021          Case 1:20-cv-00298-LY-DH               Document
                             Alex Jones’ Lawyer Violated Legal             165-1
                                                               Ethics By Soliciting Porn Filed    10/22/21
                                                                                         Bribes. Just              Page
                                                                                                      How Dirty Is Marc    18 of| HuffPost
                                                                                                                        Randazza?  290
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                                        Randazza would bring all his legal firepower to bear in trying to destroy his former client.
                                                                              HUFFPOST IMAGE




                        In December 2012, he sued Liberty’s parent company in Nevada state court on
                        allegations of fraud, breach of contract and unjust enrichment. Four months later,
                        Liberty filed a complaint against Randazza with the Nevada Bar, reporting his
                        solicitation of bribes, conflicts of interest, misleading fee motions and warning that
                        Randazza had on multiple occasions threatened to “drown anyone who attempts to
                        challenge him in legal bills and debt.” But the bar dismissed the complaint, citing the
                        ongoing state lawsuit.

                        “The bar’s approach was like, ‘Hey, we can’t really do anything because there’s a civil
                        matter going on now,’” Dunlap said. “But that policy is what allows people to get away
                        with this because private citizens have to assume the burden and the expense of
                        having to prove all this themselves. That means Randazza can drown us in legal fees,

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6/28/2021          Case 1:20-cv-00298-LY-DH               Document
                             Alex Jones’ Lawyer Violated Legal             165-1
                                                               Ethics By Soliciting Porn Filed    10/22/21
                                                                                         Bribes. Just              Page
                                                                                                      How Dirty Is Marc    19 of| HuffPost
                                                                                                                        Randazza?  290
                        which is what he tried to do. It’s a process that can be manipulated because if you
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                        a grievance with an attorney, all the attorney has to do is sue you.”

                        Even when Liberty found a way to hold Randazza accountable, the attorney wriggled
                        away. Not long after Randazza sued Liberty, the porn company reported his self-
                        dealing in his fee recovery efforts to an appeals court where the dispute between Oron
                        and Liberty was still playing out. The appeals court asked a panel of judges to look into
                        Randazza’s fees, but Liberty and Oron settled their differences and the case was
                        dismissed before the panel could meet. Unfortunately for Oron, the copycat suit that
                        Randazza helped his friend bring against the file-sharing firm kept Oron’s assets on ice.
                        Unable to pay its hosting provider, Oron went out of business, according to the
                        company’s statements in court filings.

                        Randazza, on the other hand, stayed in business. And he wasn’t done with Liberty. Not
                        long after he left the company, he crossed paths with Dunlap at a porn conference in
                        Arizona and invited his former co-worker to step outside and fight.

                        “I wonder how much it would cost me to punch you in the face right now,” Randazza
                        said, according to sworn testimony by Dunlap in a subsequent legal dispute.

                        Randazza’s next move was to file an arbitration claim against the porn company in
                        which he claimed wrongful termination, breach of contract, back pay and damages
                        from the sexual and ethnic harassment Randazza said he’d suffered. He demanded
                        over $4 million in damages.

                        The arbitration dragged on for three years and cost Liberty over $1 million. But it
                        backfired spectacularly on Randazza. Liberty brought counterclaims for, among other
                        things, legal malpractice and unjust enrichment. The evidence quickly piled up against
                        Randazza. Billing records proved he’d been getting paid by XVideos every month. Many
                        of the damning emails he thought he’d destroyed were produced and showed him
                        soliciting bribes. Under oath, one of his own expert witnesses was forced to concede
                        that Randazza had likely misled him and violated ethical rules.

                        Randazza tried to explain away the bribes as a ruse to squeeze extra money for Liberty
                        out of infringers. He’d described his dishonesty in one court filing as “mere puffery.”




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6/28/2021          Case 1:20-cv-00298-LY-DH               Document
                             Alex Jones’ Lawyer Violated Legal             165-1
                                                               Ethics By Soliciting Porn Filed    10/22/21
                                                                                         Bribes. Just              Page
                                                                                                      How Dirty Is Marc    20 of| HuffPost
                                                                                                                        Randazza?  290
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                              In emails to opposing counsel that later surfaced during arbitration, Randazza brazenly pursued bribes to conflict
                                                                        himself out of future litigation.
                                                                     HUFFPOST IMAGE/ARBITRATION RECORDS




                        His battering ram had splintered. During arbitration hearings, the normally cocksure
                        Randazza wouldn’t even look at Liberty’s attorney, Wendy Krincek. He turned his seat
                        away from the arbitration table and put his back to his own attorney, Ken White, a
                        longtime Randazza confederate who runs the Popehat legal blog. Randazza also
                        refused to look at the arbitrator, a former federal judge and assistant Watergate special
                        prosecutor. Instead, the attorney stared at the floor, his body hunched over, hand
                        pressed to the side of his face as he answered Krincek’s questions.

                        “You wouldn’t lie to opposing counsel, would you?” Krincek asked Randazza during
                        one hearing while confronting him over a misrepresentation about his fees.

                        “Yes, I would,” Randazza replied.

                        “I’ve never seen anything like it before,” Krincek said. “He’s a litigator. He knows how to
                        present as a witness. He was physically incapable of doing that. … It was a tell that he
                        was uncomfortable answering the questions. He’s a smart guy and he’s pretty
                        charismatic. I think he can generally talk his way out of anything, but he was getting
                        nowhere.”




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6/28/2021          Case 1:20-cv-00298-LY-DH               Document
                             Alex Jones’ Lawyer Violated Legal             165-1
                                                               Ethics By Soliciting Porn Filed    10/22/21
                                                                                         Bribes. Just              Page
                                                                                                      How Dirty Is Marc    21 of| HuffPost
                                                                                                                        Randazza?  290
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                        Randazza was so rattled after the hearing that he appeared to stick a large wad of used
                        chewing gum on the rear window of Krincek’s Saab station wagon in the parking lot,
                        according to Dunlap. (Randazza denied being the gum-sticker.)

                        In June 2015, the arbitrator ruled against Randazza on every point, finding that the
                        attorney had “been involved in and successfully concluded negotiations for a bribe,”
                        among a litany of other wrongdoing. The arbitrator ordered Randazza to pay Liberty
                        more than $600,000 in damages.

                        But Randazza had one more card to play. Claiming to be almost $14 million in debt, he
                        filed for bankruptcy and froze the arbitration award. A few months earlier, he’d taken
                        steps to shield many of his assets by moving them into college funds for his children,
                        transferring his BMW and his 80 percent share of his legal practice into a “self-settled
                        spendthrift” trust and lending $300,000 to his in-laws for them to buy a property in Las
                        Vegas, according to Clark County public records. Oddly, the loan came at a time when
                        Randazza’s marriage was falling apart. About two weeks after the arbitration ruling, his
                        wife filed for divorce.

                        “Conceptually, it’s not OK to do all sorts of pre-bankruptcy planning and move your
                        assets around,” said Bob Keach, one of the country’s top bankruptcy lawyers. “This is
                        clearly a guy who has spent some time playing the system.”

                        But the U.S. trustee overseeing Randazza’s bankruptcy “didn’t seem to care” when the
                        issue was raised at a creditors’ meeting, according to Dunlap.

                        Now, it was Liberty’s turn to go on the offensive. With the arbitration decision in hand
                        and binders of evidence proving its case, Liberty filed a second complaint against
                        Randazza with the Nevada Bar. This time, the bar moved forward.

                        Publicly, Randazza blasted the arbitration as a “miscarriage of justice,” but the
                        arbitrator’s determinations became the bedrock of the disciplinary proceeding against
                        him. In private, Randazza worried. Liberty had also filed bar complaints against him in
                        Florida, California, Arizona and Massachusetts — every other jurisdiction that licenses
                        him ― and Randazza quietly made the porn company an unusual offer: He’d pay
                        Liberty $20,000 for each of his bar licenses that wasn’t suspended or revoked. He was,
                        in other words, proposing a bribe.

                        “He offered us a bounty on his bar licenses ― we’d get more of the award if we did not
                        cooperate with bar investigators or send follow-up complaints,” Dunlap said. “We
                        refused this offer because it was insulting [and] unethical.”

                        Only in Florida did Randazza fail to offer a bounty — he felt he’d be suspended or
                        disbarred there anyway, according to an email his legal team sent Liberty. Randazza
                        had already made misrepresentations in a letter to The Florida Bar about the Oron bribe
                        and his work for XVideos. When he was busted for them during arbitration, he blamed
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6/28/2021          Case 1:20-cv-00298-LY-DH               Document
                             Alex Jones’ Lawyer Violated Legal             165-1
                                                               Ethics By Soliciting Porn Filed    10/22/21
                                                                                         Bribes. Just              Page
                                                                                                      How Dirty Is Marc    22 of| HuffPost
                                                                                                                        Randazza?  290
                        one of his lawyers for making an “inaccurate” statement in the letter. (The Florida
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                        declined to pursue its own investigation.)

                        And Liberty wasn’t the only party upset with Randazza in Florida. In federal court there,
                        Paul Berger, Randazza’s opposing counsel in an unrelated case, submitted a copy of a
                        bar complaint he said he’d filed against Randazza over a 2015 episode in which
                        Randazza screamed curses at Berger and his client after a mediation session.
                        Randazza threatened to assault them both and send the client, who happened to be
                        Jewish, to the Gaza Strip, according to Berger’s complaint.

                        “It appears that Mr. Randazza knows no ethical boundaries,” Berger told The Florida
                        Bar, which apparently either declined to pursue an investigation or found nothing in
                        Berger’s complaint that merited disciplinary action. Pursuant to its policy, the bar then
                        deleted all records of the complaint and, when contacted by HuffPost, was unable to
                        acknowledge the document’s prior existence.

                        In June 2016, Randazza settled his state lawsuit in Nevada against Liberty. He’d been
                        the one to sue, but now his malpractice insurer was the one to pay, shelling out
                        $205,000 to make a counterclaim Liberty filed against Randazza for malpractice go
                        away.

                        In February of this year, Randazza settled in bankruptcy court with Liberty, where the
                        porn company had also filed a claim. This time, Randazza paid only $40,000. After
                        nearly six years of grueling lawfare, he’d managed to dodge almost all the damages
                        from the arbitration award, which the parties agreed to vacate as part of the bankruptcy
                        settlement.

                        Vacating the award did not sit well with the arbitrator, who warned in a court filing this
                        July that an “attempted erasure” of his findings might conceal Randazza’s “proven
                        serious ethical violations” and weaken protections for “future victims and the public.”

                        The former judge was right to worry.

                        Nazi Punks, Jump In
                        Randazza has scrubbed his Liberty job from his resume. The attorney-to-the-trolls now
                        spends most of his days wringing his hands over the “marketplace of ideas” as he tries
                        to game the system for racists and fascists ― as if Nazism deserves another spin
                        through the public square.



                                            Marc J. Randazza
                                            @marcorandazza
                                     Replying to @Megg_Ellis
                                     The number of people "affected" by Naziism since 1945 is
                                     probably less than the number of people who have been
                                     crushed by vending machines. The philosophy lost in the
                                     marketplace of ideas until recently, where those who try to
                                     suppress it are driving new recruits to it in droves
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                             Alex Jones’ Lawyer Violated Legal
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                                                               Ethics By Soliciting Porn Filed    10/22/21
                                                                                         Bribes. Just              Page
                                                                                                      How Dirty Is Marc    23 of| HuffPost
                                                                                                                        Randazza?  290
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                        He openly lauds the “alt-right” movement:



                                            Marc J. Randazza
                                            @marcorandazza
                                     Replying to @njcarbonaro @phloob and @ali
                                     Yes. The Right used to act that way. Those who are
                                     sometimes called “alt right” are some of the most open
                                     and accepting of diverse views people I’ve met in politics.
                                     9:15 AM · Jan 24, 2018
                                          3               Copy link to Tweet

                        His reputation as a First Amendment attorney has frayed. Even his capstone free
                        speech victory in 2011 over Righthaven, a copyright troll, carries a hoggish taint in
                        hindsight. At the time, Randazza was employed by Liberty, which permitted him,
                        pending the company’s approval, to take on pro bono free speech cases to offset any
                        bad press from Liberty’s own copyright enforcement lawsuits. But Randazza concealed
                        his work on Righthaven from his employer and kept a $60,000 payout — money Liberty
                        only found out about during arbitration.

                        “Mr. Randazza was unjustly enriched,” wrote the arbitrator, who ruled that the payout
                        should have gone to Liberty.




                            “If you want to represent detestable clients, fine.
                            But when you go out into the media and don’t just
                            defend them but actually adopt their logic and
                            moral arguments, that’s different. Then, it looks
                            like you agree with them.
                            —Elie Mystal, executive editor of the Above the Law blog




                        Some of Randazza’s troubles are behind him — in June, he settled another malpractice
                        claim brought by a former client for $50,000 — but others lie ahead. He remains in
                        Chapter 11 bankruptcy and had only $15,652 in two bank accounts at the end of
                        October, according to court records. In the sloppy monthly reports he is required to file
                        with the bankruptcy court, he lists a sad series of expenses that include his daily coffee
                        at Caffe Sicilia in Gloucester, shopping sprees at Men’s Wearhouse and over $4,000 per
                        month in payments to cover alimony to his ex-wife and and child support for their two
                        children.

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6/28/2021          Case 1:20-cv-00298-LY-DH               Document
                             Alex Jones’ Lawyer Violated Legal             165-1
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                                                                                                                        Randazza?  290
                        “I suspect that after the Liberty fiasco, his clients disappeared,” Gurvits said. “He
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                        riding high, he was really well-known, and then all of a sudden — disgrace. So who’s
                        going to hire him now?”

                        The answer is the disgraced. Lawyers trying to make their bones as free speech
                        attorneys often take on one extremist client. Maybe two. Randazza has assembled a
                        panzer squad of them, a career choice that is generating new problems for him. When
                        he signed on this year to represent the Satanic Temple in a complaint against Twitter,
                        dozens of members of the organization revolted, describing Randazza as an “agent of
                        the alt-right” and an “ally to Nazis.”

                        They aren’t wrong. In January, he partied with rape apologist Mike Cernovich and Gavin
                        McInnes, the founder of the Proud Boys, a fascist gang that commits political violence
                        throughout the country. Other pro-Trump racists and “free speech advocates” were
                        there, yukking it up about “brown people” and “faggots” and the genitalia of
                        transgender women. Randazza also appears routinely on Infowars to lend a legal
                        imprimatur to the lies of hate-spewing, violence-stoking propagandist Alex Jones. In an
                        August appearance, Randazza likened Jones, a key gateway to white nationalism, to
                        black civil rights leaders in the South during the 1960s.




                                          Randazza advocates for far-right extremists outside the courtroom as well as inside.
                                                                            HUFFPOST IMAGE




                        “If you want to represent detestable clients, fine,” Elie Mystal, the executive editor of
                        the Above the Law blog, wrote in a recent column about Randazza. “But when you go
                        out into the media and don’t just defend them but actually adopt their logic and moral
                        arguments, that’s different. Then, it looks like you agree with them. And if you agree
                        with them, you can no longer avail yourself of the lawyerly presumption that you are just
                        doing your job. Instead of being a mere part of the process, you become part of the
                        problem.”


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                                                                                                      How Dirty Is Marc    25 of| HuffPost
                                                                                                                        Randazza?  290
                        Randazza has gone into business with at least one of his extremist clients, having
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                        produced both of Cernovich’s films. The most recent one, “Hoaxed,” is a propaganda
                        reel that appears to demonize the free press and relies on figures such as Jones and
                        Stefan Molyneux, another important conduit to white nationalism.

                        In a Daily Beast profile, Randazza described the Vladimir Putin-loving, Pizzagate-
                        pushing Cernovich as “an A-plus level friend, and the kind of rare soul now where you
                        can really trust his word as his bond.”

                        And Randazza doesn’t just play defense for Cernovich and his other far-right pals.
                        Unlike most First Amendment lawyers, he’s willing to brandish the plaintiff’s knives for
                        them and carve out space in the legal system for their political agenda.

                        Since 2016, for example, Randazza and the Holocaust-denying MAGA troll Chuck
                        Johnson have been trying to scavenge coins off the corpse of Gawker after libertarian
                        billionaire Peter Thiel sued the publication into bankruptcy — a legal outcome widely
                        celebrated by fascists that has had a chilling effect on press freedom. Of Gawker and
                        its former CEO, Nick Denton, Johnson said, “In a just world, I’d have them killed. But
                        we are not there yet.”

                        From 2016 to 2017, Randazza represented professional misogynist and rape advocate
                        Daryush Valizadeh in an attempt to sue one of Valizadeh’s alleged victims. She lives in
                        Iceland and told her story of sexual assault to Jane Gari, a book author and blogger.
                        Gari gave the alleged victim a pseudonym and published her account of Valizadeh
                        following the woman home, talking his way into her apartment with the pretext of using
                        the bathroom — a ruse another woman who has accused Valizadeh of sexual assault
                        told HuffPost he has used for at least a decade — then raping her. Valizadeh had
                        written a guidebook to having sex with women years before in which he described a
                        similar encounter:


                             While walking to my place, I realized how drunk she was. In America, having sex
                             with her would have been rape, since she couldn’t legally give her consent. … I
                             can’t say I cared or even hesitated.


                        Randazza apparently didn’t care either. He sent a letter to Gari, who has written a book
                        about being sexually abused as a child, and accused her of fabricating the rape
                        account and “causing harm” to “real victims” of sexual assault. He demanded she take
                        down the post and confess on her blog.

                        “Simply admit that you lied, and all can be forgiven,” Randazza wrote.

                        When Gari refused, Randazza subpoenaed her in South Carolina federal court in an
                        effort to get the alleged victim’s name for Valizadeh, whose followers were already
                        menacing Gari.

                        “Listen you dumb cunt, you hideous skank,” one Valizadeh fan emailed her, “making
                        false rape accusations is a great disservice against real victims of sex assaults, you
https://www.huffpost.com/entry/alex-jones-lawyer-marc-randazza_n_5c1c283ae4b08aaf7a86b9e4                                                     19/31
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                             Alex Jones’ Lawyer Violated Legal             165-1
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                                                                                                      How Dirty Is Marc    26 of| HuffPost
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                        attention seeking lowly cunt.”                                                                                     
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                        The case was an about-face from Randazza’s earlier work defending small bloggers.
                        Now he was looking to pierce South Carolina’s shield law for reporters and muscle a
                        sex abuse survivor on behalf of his pro-rape client. But Gari managed to fend off
                        Valizadeh and Randazza in court and protect her source. When the judge granted her
                        the right to depose Valizadeh and examine his claim that he’d been defamed, Randazza
                        moved to dismiss the case. His own case.

                        “I don’t think a true First Amendment advocate would have taken this case,” said
                        Wallace Lightsey, Gari’s attorney. “We saw it as an attempt to find the source so the
                        source could be harassed.”

                        Randazza has been equally unscrupulous in his lawyering for Paul Nehlen, Alex Jones
                        and others. When Chuck Johnson was sued for defamation earlier this year after
                        smearing the wrong man as the driver of the car that killed Heather Heyer in
                        Charlottesville last summer, Randazza told a Michigan court that Johnson had simply
                        repurposed information from 4chan ― a website Randazza described as a “wire
                        service” and a “reliable source.” But 4chan’s /pol/ forum, where the libel circulated, is
                        neither a wire service nor a reliable source. It is a place where neo-Nazis congregate to
                        spread hate and disinformation.

                        But nothing compares to Randazza’s advocacy for neo-Nazi Daily Stormer publisher
                        Andrew Anglin, who is being sued in Montana by Tanya Gersh, a Jewish woman Anglin
                        targeted in a vicious anti-Semitic harassment campaign he launched from his site.

                        “Fuck Nazis, but fuck Tanya Gersh too,” Randazza tweeted while neo-Nazis were
                        threatening Gersh’s life. Anglin soon hired Randazza, paying him out of a more than
                        $155,000 legal defense fund raised by Johnson, who took a 15 percent cut, the scum
                        forming a closed loop.

                        In court, Randazza has played childish games about Anglin’s location and sinister ones
                        by advancing Holocaust denial as a legal defense. While trying to reduce the case to a
                        debate in the “marketplace of ideas,” Randazza essentially has argued that a neo-
                        Nazi’s call to action to terrorize a Jewish woman and her family is protected speech, a
                        position one local paper called a “desperate attempt by a lawyer who should have a
                        better understanding of the First Amendment.”

                        In November, a judge shot down Randazza’s argument and allowed the case to move
                        forward, finding that Anglin “drew heavily on his readers’ hatred and fear of ethnic
                        Jews” to incite them to harass Gersh.

                        Even a free speech absolutist might struggle to defend some of Anglin’s rhetoric. The
                        neo-Nazi has said he “would absolutely and unequivocally endorse” violence to achieve
                        his goals, and Daily Stormer fans — including Dylann Roof, a white supremacist who
                        killed nine black churchgoers in Charleston, South Carolina — have committed at least
                        a dozen racist or politically motivated murders since 2015. In October, Anglin cheered
                        the stabbing of a reporter in Germany by neo-Nazi youths, writing:
https://www.huffpost.com/entry/alex-jones-lawyer-marc-randazza_n_5c1c283ae4b08aaf7a86b9e4                                                     20/31
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                             Alex Jones’ Lawyer Violated Legal             165-1
                                                               Ethics By Soliciting Porn Filed    10/22/21
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                                                                                                                        Randazza?  290
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                             Journalists deserve to fucking die. Every last one of them deserves to be rounded
                                                                                                                                           
                             up, lined up and shot execution style and tossed in a mass grave. ... It makes me
                             warm and fuzzy inside to know that journalists are seeing this story and wondering
                             if they’ll be next.


                        Randazza has increasingly shown himself susceptible to fledgling far-right views. He
                        openly agrees, for example, with Trump’s description of the press as Americans’
                        “enemy.” Earlier this year, Randazza tried to intimidate a reporter and his publication
                        over a harmless tweet that vexed Cernovich. On Twitter, Randazza proclaimed his
                        willingness to support the white nationalist Faith Goldy in her Toronto mayoral
                        campaign. He promoted a white nationalist lie about the Democratic Party deploying
                        anti-fascists as its foot soldiers. (Antifa almost universally despise the Democratic
                        Party.)

                        He also tweeted this:



                                             Marc J. Randazza
                                             @marcorandazza
                                     Trump said he is a "nationalist."
                                     As far as I am concerned, being a nationalist is a bona fide
                                     job requirement for a U.S. President, Senator,
                                     Representative, Judge, all the way down to the lowest
                                     federal employee.




                                     8:12 AM · Oct 25, 2018
                                          279        25     Copy link to Tweet

                        The difference between patriotism (love of country) and nationalism (blind devotion to
                        country, usually with a chauvinistic assertion of superiority) should be obvious to a
                        lawyer who represents nationalists. And as someone who represents white nationalists,
                        Randazza would know that in the U.S. the word “nationalism” is linked to a violent and
                        racist anti-democratic ideology.

                        He just doesn’t care.
https://www.huffpost.com/entry/alex-jones-lawyer-marc-randazza_n_5c1c283ae4b08aaf7a86b9e4                                                     21/31
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                             Alex Jones’ Lawyer Violated Legal             165-1
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                        The rise of Trump has brought a common arc of radicalization on the political right into
                        sharper relief ― that of the contrarian troll who gets lost in his provocations and
                        mutates into something dangerous. Just as some snarky libertarians turned into neo-
                        Nazis and Tucker Carlson was a conservative snot before morphing into a megaphone
                        for white nationalist talking points, Randazza, too, appears to have transformed on his
                        trollish journey through the legal system.

                        And like Carlson, who gets to spout hate on Fox News because he’s a millionaire who
                        once wore a bowtie on CNN, Randazza benefits from the trappings of privilege. His
                        Georgetown law degree and admission to five state bars offer him what people targeted
                        by his clients rarely receive: the benefit of the doubt. Consider a recent front-page Wall
                        Street Journal story that focused on Gab and quoted Randazza as a First Amendment
                        expert. Incredibly, the story failed to mention that Randazza has served as Gab’s
                        attorney. Consider, too, that Fox News, CNN, Vice News and others have credulously
                        given Randazza a platform to polish his brand.

                        But his own profession has shown the least skepticism. Less than a week after the
                        confirmation of Brett Kavanaugh to the Supreme Court, the journal of the American Bar
                        Association ran a short column by Randazza lamenting how easy it is for “vindictive
                        lying women” to ruin the lives of innocent men. Randazza neglected to tell his ABA
                        editors he’d already run the column on a right-wing legal blog. He also failed to offer
                        any proof for his claim in the column that he currently represents (“at a deep discount”)
                        multiple women who have survived sexual assault.

                        He did, however, have a message for sexual assault victims.

                        “I believe in their right to tell their story without being sued for it,” he wrote.

                        Last year, Randazza was suing a woman for telling her story about being raped.

                        Randazza gets away with those sorts of moves because many people assume basic
                        honesty from lawyers. The legal system does too.

                        “It would take too much time and energy to second-guess and check up on everybody
                        all the time,” said Bernie Burk, a legal ethics expert and former professor at the
                        University of North Carolina School of Law. “Generally speaking, if you’re reasonably
                        clever and selective about your dishonesty, you can get away with a great deal before
                        the system catches you.”

                        Randazza’s duplicity, whether clever or selective, has been constant. Even in recent
                        cases that do not involve porn or Nazis, he has made a mockery of the truth. In Utah
                        federal court, he was — until a few weeks ago — defending a man named Ryan
                        Monahan who ran a website called Honest Mattress Reviews and had been sued by
                        Purple, a mattress manufacturer, after Monahan allegedly lied on his site about Purple’s
                        products being covered with a cancer-causing white powder. Purple declared that
                        Monahan had a business relationship with one of its main competitors, GhostBed.

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6/28/2021          Case 1:20-cv-00298-LY-DH               Document
                             Alex Jones’ Lawyer Violated Legal             165-1
                                                               Ethics By Soliciting Porn Filed    10/22/21
                                                                                         Bribes. Just              Page
                                                                                                      How Dirty Is Marc    29 of| HuffPost
                                                                                                                        Randazza?  290
                        In court, Randazza adamantly argued that Monahan was “an independent journalist”
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                        entitled to full protection under the First Amendment. He dismissed the GhostBed
                        connection as a “conspiracy” that “even Alexander Dumas could not have imagined
                        when he wrote the Count of Monte Cristo.”

                        The conspiracy turned out to be real. A witness came forward with evidence proving
                        that Monahan “effectively acted as [GhostBed’s] head of marketing” and was being
                        paid $10,000 a month by GhostBed. Randazza and Monahan had misled both the U.S.
                        Court of Appeals for the 10th Circuit and, repeatedly, the Utah federal court.

                        “Interference with the judicial process here was substantial,” U.S. District Judge Dee
                        Benson wrote, adding that Monahan’s violations were “sufficiently egregious that
                        perjury prosecutions would, and perhaps should be, an appropriate consideration.”

                        In February, Benson ordered sanctions be imposed on Monahan and his business,
                        Honest Reviews LLC. A few weeks later, Monahan sold his website to Brooklyn
                        Bedding, another mattress company, and had it wire the money directly to Randazza to
                        pay Monahan’s “legal debt.” In July, Benson awarded Purple approximately $92,000 in
                        sanctions from Monahan. When Purple’s lawyers contacted Randazza to collect, he
                        told them Monahan didn’t have the money. Randazza had drained his client dry.

                        “So do what you gotta do,” he told Purple’s lawyers.

                        A desperate Monahan sent a letter to the judge saying he wanted to settle with Purple.
                        Randazza then filed a motion to withdraw from the case “as a matter of professional
                        ethics,” leaving Monahan to scramble to find replacement counsel.

                        “Everything that has exploded in this thing has been because of what [Randazza] has
                        done,” Monahan told HuffPost.

                        Yet Monahan, who said he has a limited grasp of the law, is the one on the hook for
                        sanctions. He is the only one whom the judge suggested should face perjury charges,
                        despite the judge’s ruling that Randazza had also “vigorously asserted”
                        misrepresentations in court.

                        “You know what I like about my life?” Randazza once told a legal blog. “There’s not a
                        motherfucker in this world who ever says, ‘I’m ambivalent about Marc Randazza.’ That
                        is what scares me … people being ambivalent about me.”




https://www.huffpost.com/entry/alex-jones-lawyer-marc-randazza_n_5c1c283ae4b08aaf7a86b9e4                                                     23/31
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                             Alex Jones’ Lawyer Violated Legal             165-1
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                                                                                                                        Randazza?  290
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                      Where Randazza winds up next on his journey through the sewers of the legal system is anyone’s guess. “I did not get where I am
                                      by having a reputation for being someone who would stab others in the back,” he once said.
                                                                        OWEN FREEMAN FOR HUFFPOST




                        Lowering The Bar
                        Randazza had escaped sanctions in Utah. But in Nevada, his long disciplinary
                        proceeding was nearing its end. It had been half a decade since Liberty alerted the
                        Nevada Bar to Randazza’s misbehavior. The porn company had given the bar
                        thousands of pages of evidence about its former in-house counsel’s conflicts of interest
                        and solicitation of bribes, his misrepresentations about fees and use of privileged and
                        confidential material.

                        The bar treats multiple offenses and a “pattern of misconduct” as aggravating
                        circumstances that can justify harsher discipline, so Dunlap, the Excelsior vice
                        president who wrote the company’s bar complaints, made a deliberate point of
                        including that phrase. “We felt that would be the kicker, that once they had seen that
                        that pattern had been demonstrated that it would leave no room for being wishy-washy
                        or letting him off easy,” Dunlap said.

                        Randazza, in an effort to hang on to his law license, conceded as little as possible. He
                        submitted a conditional guilty plea to the bar confessing to two of the nine ethical
                        violations the bar alleged that he’d committed. The first forbids certain conflicts of
                        interest and concerned a shady loan Randazza made Liberty; the second prohibits a
                        lawyer from restricting his right to practice and was related to the Oron bribe.

                        In exchange for this plea, Randazza asked the bar for a stayed suspension and
                        probation — a slap on the wrist. But the bar was under no obligation to give it to him.
                        The baseline sanction for the violations Randazza admitted is suspension.

                        On Oct. 10, the order came down in Nevada Supreme Court.

                        “We hereby suspend Marc J. Randazza for 12 months, stayed for 18 months,” it read.

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                             Alex Jones’ Lawyer Violated Legal             165-1
                                                               Ethics By Soliciting Porn Filed    10/22/21
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                        That was Randazza’s punishment: a stayed suspension and probation, plus a small     fine                          
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                        and 20 hours of education in legal ethics. He will avoid actual suspension if he “stays
                        out of trouble” during his probation, according to the order.

                        The system had finally caught him. And the system didn’t seem to much care. The bar
                        didn’t pursue Randazza’s solicitation of other bribes or his other conflicts of interest.
                        Nor did it investigate whether Randazza despoiled evidence, lied to courts in fee
                        motions or used privileged information that might have been obtained illegally.

                        What the bar did find were “mitigating circumstances” to allow for lighter punishment.
                        Randazza, for instance, had no prior discipline in Nevada. Another factor was the “time
                        delay” between his ethical violations and the disciplinary hearing — a delay the bar
                        helped cause by dismissing Liberty’s initial complaint.

                        “We had … to essentially lay out everything for the [Nevada] Bar and then once we
                        handed it to them on a silver platter, they weren’t willing to go the distance,” Dunlap
                        said.

                        Here was Randazza’s privileged white-collar tribe, policing itself, barely, behind closed
                        doors. The bar refused multiple requests to discuss the Randazza matter or its own
                        arcane rules. For two months, the bar also rebuffed HuffPost’s attempts to view records
                        of Randazza’s disciplinary proceeding, despite their high public-interest value. At one
                        point, a lawyer for the bar insisted the records were confidential and could only be
                        obtained through a subpoena or a court order — a stance that clashed with that of the
                        Nevada Supreme Court. When asked for the bar’s policy on sealing disciplinary
                        records, the lawyer insisted it was an “internal” and unpublished policy. The next day,
                        he said the bar was “implementing a new policy” and handed over the records.

                        Among them is a transcript of the June hearing when the bar accepted Randazza’s
                        guilty plea. During the hearing, Matthew Carlyon, another bar lawyer, applauded
                        Randazza for reforming his conduct and cited as evidence of the metamorphosis
                        several phone calls Randazza had placed to the bar’s ethics hotline seeking advice.

                        “He is showing that he’s willing to change and not be out there endangering the
                        public,” Carlyon said. “That’s important because … ultimately our job here is to provide
                        protection to the public. We’re not here to discipline attorneys. That’s not why we exist.
                        We want to protect the public.”

                        Since then, Randazza has stayed true to form. In Montana federal court, he disobeyed
                        rules requiring him to keep the court informed about his disciplinary proceedings. The
                        judge, clearly upset, ordered Randazza in November to update the court. When
                        Randazza did, he mentioned his stayed suspension but said nothing about his
                        probation, despite describing it in detail to several other federal courts.

                        Randazza may soon face “reciprocal discipline” in other states where he is licensed.
                        Following his discipline in Nevada, the bars in Arizona, California and Florida have
                        opened or will open their own reviews of his ethical violations. But other bars tend to


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                             Alex Jones’ Lawyer Violated Legal             165-1
                                                               Ethics By Soliciting Porn Filed    10/22/21
                                                                                         Bribes. Just              Page
                                                                                                      How Dirty Is Marc    32 of| HuffPost
                                                                                                                        Randazza?  290
                        follow the example of the lead organization, and it is unclear if these states will 
                                                                                                            probe
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                        more deeply.

                        In a disciplinary proceeding against Randazza in Massachusetts federal court, he has
                        shown no remorse for his sleazy behavior and has already distorted reality in an
                        attempt to avoid a suspension. In one filing, he blamed Oron for his solicitation of a
                        bribe. He also audaciously told the court he didn’t “cause his clients to suffer any actual
                        harm or financial losses.”

                        “At every step of the way, that has proven to be untrue,” Dunlap countered.

                        Randazza pilfered the $60,000 Righthaven settlement from Liberty, according to the
                        arbitrator’s ruling. He caused Liberty to possibly miss out on another settlement by not
                        pursuing XVideos, one of his secret clients, for copyright infringement. Randazza also
                        violated the terms of the $550,000 settlement he’d negotiated with Oron — most
                        significantly by helping his friend file a copycat suit — causing Liberty to pay back
                        $275,000 of the award.

                        This week, however, the Massachusetts court let Randazza off the hook. The court
                        declined to put the rogue attorney on probation and deferred a decision about further
                        reciprocal discipline until his Nevada probation ends in April 2020. At that point, it’s
                        unclear what further discipline the court could even impose, especially if Randazza
                        stays out of new trouble. And, so, the lawyer of choice for far-right extremists will
                        continue to lawyer, at least for now ― an example not so much of what America
                        prohibits these days but rather what it permits, provided you belong to the right caste.

                        When reached by email, Randazza refused to comment for this story. He referred
                        HuffPost to his attorney, who also did not comment. Randazza’s attorney, it turned out,
                        was his expert witness from the Liberty arbitration — the one forced under oath to
                        essentially acknowledge Randazza’s dishonesty. Last year, the same attorney
                        submitted an affidavit supporting a Randazza fee motion and, on an attached resume,
                        listed his expert witness experience. The records of the Liberty arbitration were by then
                        public, but the man referred to the matter only as Confidential v. Confidential. His online
                        biography revealed more: Randazza’s attorney is a former chair and current member of
                        the ethics committee of the Nevada Bar.

                        Somewhere in Gloucester, looking out at his hometown and dreaming of zealotry, the
                        troll began to laugh.

                        Top illustration: Owen Freeman.




                        A few of the documents referenced in this story:

                        1.) Nevada Supreme Court order approving Randazza’s conditional guilty plea:
                        https://www.scribd.com/document/396164843/18-39837


https://www.huffpost.com/entry/alex-jones-lawyer-marc-randazza_n_5c1c283ae4b08aaf7a86b9e4                                                     26/31
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                             Alex Jones’ Lawyer Violated Legal             165-1
                                                               Ethics By Soliciting Porn Filed    10/22/21
                                                                                         Bribes. Just              Page
                                                                                                      How Dirty Is Marc    33 of| HuffPost
                                                                                                                        Randazza?  290
                        2.) Nevada Bar amended complaint against Randazza:                                                                 
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                        https://www.scribd.com/document/396164997/Bar-Amended-Complaint

                        3.) Emails between Randazza and TNA counsel:
                        https://www.scribd.com/document/396166781/Randazza-TNA-Bribe

                        4.) Emails between Randazza and Oron counsel:
                        https://www.scribd.com/document/396166992/Randazza-Oron-Bribe

                        5.) Emails between Randazza and James Grady about Oron:
                        https://www.scribd.com/document/396166226/144-10-Grady

                        6.) Example of Randazza’s fee misrepresentations:
                        https://www.scribd.com/document/396167552/Fee-misrepresentations

                        7.) Randazza’s sham discrimination claim that was dismissed:
                        https://www.scribd.com/document/396166288/NERC-Claim

                        8.) Arbitration ruling against Randazza:
                        https://www.scribd.com/document/396166322/Interim-Arbitration-Award

                        9.) Randazza’s disclosure of liabilities and assets in Chapter 11 bankruptcy:
                        https://www.scribd.com/document/396282036/15

                        10.) Complaint about Randazza to The Florida Bar:
                        https://www.scribd.com/document/396166039/149-2

                        11.) Arbitrator’s opposition to vacating arbitration award:
                        https://www.scribd.com/document/396167710/Arbitrator-Vacatur-Brief

                        12.) Randazza’s military records:
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                        13.) Randazza’s letter to Jane Gari on behalf of Roosh Valizadeh:
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                        14.) Utah federal court order addressing Randazza’s dishonesty:
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                        15.) Randazza’s response in Massachusetts disciplinary action:
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                                                                                                                          Randazza?  290
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                             Alex Jones’ Lawyer Violated Legal             165-1
                                                               Ethics By Soliciting Porn Filed    10/22/21
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                                                                                                      How Dirty Is Marc    35 of| HuffPost
                                                                                                                        Randazza?  290
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                             Alex Jones’ Lawyer Violated Legal             165-1
                                                               Ethics By Soliciting Porn Filed    10/22/21
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                                                                                                                        Randazza?  290
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                             Alex Jones’ Lawyer Violated Legal             165-1
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       Case1:20-cv-00298-LY-DH
            1:20-cv-00298-LY-AWA
                               Document
                                 Document
                                        165-1
                                           108 Filed
                                                Filed10/22/21
                                                      05/25/21 Page
                                                                Page38
                                                                     1 of 19
                                                                          290




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

DR. JEROME CORSI and                            §
LARRY KLAYMAN                                   §
                                                §
v.                                              §           A-20-CV-298-LY
                                                §
INFOWARS, LLC, FREE SPEECH                      §
SYSTEMS, LLC, ALEX E. JONES,                    §
DAVID JONES, OWEN SHROYER,                      §
AND ROGER STONE                                 §

                         REPORT AND RECOMMENDATION
                    OF THE UNITED STATES MAGISTRATE JUDGE

TO:     THE HONORABLE LEE YEAKEL
        UNITED STATES DISTRICT JUDGE

        Before the Court are Defendants Owen Shroyer’s Motion to Dismiss (Dkt. No. 55); Shroyer’s

Motion for Sanctions (Dkt. No. 56); David Jones’ Motion to Dismiss (Dkt. No. 57); Defendants

Infowars, LLC, Free Speech Systems, LLC, and Alex E. Jones’ Motions to Dismiss (Dkt. Nos. 58

and 59); Roger Stone’s Motion to Dismiss (Dkt. No. 70); Stone’s Motion for Sanctions (Dkt. No.

84); and the related response and reply briefs. The District Court referred these Motions to the

undersigned for report and recommendation pursuant to 28 U.S.C. §636(b) and Rule 1(c) of

Appendix C of the Local Rules.

                                I. FACTUAL BACKGROUND

        This is a defamation case. On March 7, 2019, Plaintiffs Dr. Jerome Corsi and Larry Klayman

filed the instant suit against Defendants Infowars, LLC, Free Speech Systems, LLC, Alex E. Jones,

David Jones, and Owen Shroyer, alleging claims for defamation, intentional infliction of emotional

distress, assault, and unfair competition in violation of the Lanham Act, 15 U.S.C. § 1125(a). Dkt.
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       Case1:20-cv-00298-LY-DH
            1:20-cv-00298-LY-AWA
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                                        165-1
                                           108 Filed
                                                Filed10/22/21
                                                      05/25/21 Page
                                                                Page39
                                                                     2 of 19
                                                                          290




No. 1.1 The suit was originally filed in the District of Columbia and after a finding of improper

venue, was transferred to the Western District of Texas on March 20, 2020. Dkt. No. 22. On July

29, 2020, Plaintiffs filed their Amended Complaint, adding Roger Stone as a defendant. Dkt. No.

47.

        Plaintiff’s Amended Complaint describes Jerome Corsi as an “author and political

commentator,” and Larry Klayman as a “public interest legal advocate” and “media personality and

author, columnist and syndicated radio talk show host.” Dkt. No. 47 at ¶¶ 3-4. Defendant Alex

Jones is a “media personality” who owns the media outlet company InfoWars, LLC, and a related

entity Free Speech Systems, LLC. Id. at ¶¶ 7, 11. David Jones is Alex Jones’ father, and allegedly

a co-owner of InfoWars and Free Speech Systems, though Defendants deny this assertion. Id. at ¶

11; Dkt. No. 57 at 2, n. 1. Defendant Owen Shroyer is a newscaster for InfoWars, and a co-host of

a political news show along with Defendant Roger Stone, who is also a political commentator and

media personality. Dkt. No. 47 at ¶¶ 9-10, 13.

        The Plaintiffs’ case revolves around allegedly defamatory statements made by Stone and

Alex Jones in several InfoWars videos. Specifically, Plaintiffs point to InfoWars videos featuring

Stone, Alex Jones, and Shroyer from October 2018 and January 2019. Dkt. No. 47 at ¶¶ 41-69.

They allege that during the shows, Alex Jones falsely stated that Corsi “seemed to be extremely



        1
         This case is one of several nearly identical suits filed by Corsi and Klayman against Stone
and various other defendants in several district courts. See Klayman v. Infowars, Case No.
20-cv-80614 (S.D. Fla. Apr. 8, 2020); Corsi v. Stone, Case No. 1:19-cv-00324; Corsi v. Caputo,
Case No. 1:19-cv-01573-TJK (D.D.C.). Plaintiffs have also filed similar suits in state courts. See
Corsi v. Stone, Case No. 50-2019-CA-013711-MB (15th Jud. Cir., Fla. 2019); Klayman v. Stone,
Case No. 50-2019-CA-015104-MB (15th Jud. Cir., Fla. 2019); Klayman v. Stone, Case No. CACE
19-002672 (17th Jud. Cir., Fla. 2019); Klayman v. Infowars, Stone, Case No. CACE-20-007120
(17th Jud. Cir., Fla. filed Apr. 28, 2020); Corsi v. InfoWars, LLC & Stone, CACE 20-004473 (17th
Jud. Cir., Fla. filed Mar. 11, 2020).

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     Case1:20-cv-00298-LY-DH
          1:20-cv-00298-LY-AWA
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                                      165-1
                                         108 Filed
                                              Filed10/22/21
                                                    05/25/21 Page
                                                              Page40
                                                                   3 of 19
                                                                        290




mentally degraded to the point of . . . dementia,” had a stroke, and does not tell the truth, and that

Stone falsely stated that Corsi was fired from a prior job, is an alcoholic, often lies, is willing to

perjure himself, and is a “deep state” operative and a “fraud” who seeks to make political

conservatives look bad. Id. at ¶¶ 42-45, 50-53, 55-56, 90. Plaintiffs further allege that in one of the

videos, Stone attacked Klayman’s reputation, stating that Klayman “could be the single worst lawyer

in America,” has “never actually won a courtroom victory in his life,” and is an “idiot” and an

“egomaniac.” Id. at ¶¶ 55, 59.

        In their Amended Complaint, Plaintiffs acknowledge that the sole speakers of the allegedly

defamatory statements at issue are Stone and Alex Jones. Dkt. No. 47 at ¶¶ 37-39. Nonetheless,

Plaintiffs contend that Stone has “used and continues to employ surrogates and agents, either out in

the open or secretly, to defame Plaintiffs,” alleging that the Defendants have “acted in concert” at

Stone’s direction to defame them. Id. at ¶¶ 31-32, 76. Plaintiffs further allege that they are

competitors to Defendants “as conservative media personalities, broadcasters, authors and

columnists on social media and elsewhere,” and that Defendants’ actions thus constitute unfair

competition in violation of the Lanham Act. Id. at ¶¶ 70-74, 104-109. Their Amended Complaint

also states causes of action for intentional infliction of emotional distress and assault, alleging that

Defendants threatened Plaintiffs, causing them severe emotional distress and has placed them “in

apprehension of an imminent harmful or offensive contact and physical harm and death, by coercing

and threatening Plaintiffs.” Id. at ¶¶ 93-103. In five separately filed motions to dismiss, Defendants

seek dismissal of Plaintiffs’ suit in its entirety. See Dkt. Nos. 55, 57, 58, 59, 70.

                                     II. LEGAL STANDARDS

        Federal Rule of Civil Procedure 12(b)(1) allows a party to assert lack of subject matter

jurisdiction as a defense to suit. FED. R. CIV. P. 12(b)(1). Federal district courts are courts of limited

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     Case
      Case1:20-cv-00298-LY-DH
           1:20-cv-00298-LY-AWA
                              Document
                                Document
                                       165-1
                                          108 Filed
                                               Filed10/22/21
                                                     05/25/21 Page
                                                               Page41
                                                                    4 of 19
                                                                         290




jurisdiction and may only exercise such jurisdiction as is expressly conferred by the Constitution and

federal statutes. Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S. 375, 377 (1994). A federal

court properly dismisses a case for lack of subject matter jurisdiction when it lacks the statutory or

constitutional power to adjudicate the case. Home Builders Ass’n of Miss., Inc. v. City of Madison,

143 F.3d 1006, 1010 (5th Cir. 1998). In ruling on a Rule 12(b)(1) motion, the court may consider

any one of the following: (1) the complaint alone; (2) the complaint plus undisputed facts evidenced

in the record; or (3) the complaint, undisputed facts, and the court's resolution of disputed facts.

Lane v. Halliburton, 529 F.3d 548, 557 (5th Cir. 2008). “The burden of proof for a Rule 12(b)(1)

motion to dismiss is on the party asserting jurisdiction.” Ramming v. United States, 281 F.3d 158,

161 (5th Cir. 2001). “Accordingly, the plaintiff constantly bears the burden of proof that jurisdiction

does in fact exist.” Id.

        Federal Rule of Civil Procedure 12(b)(6) allows a party to move to dismiss an action for

failure to state a claim on which relief can be granted. In deciding a Rule 12(b)(6) motion to dismiss

for failure to state a claim, the court “accepts all well-pleaded facts as true, viewing them in the light

most favorable to the [nonmovant].” In re Katrina Canal Breaches Litig., 495 F.3d 191, 205 (5th

Cir. 2007) (internal quotation marks omitted). The Supreme Court has explained that a complaint

must contain sufficient factual matter “to state a claim to relief that is plausible on its face.” Ashcroft

v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570

(2007)). “A claim has facial plausibility when the [nonmovant] pleads factual content that allows

the court to draw the reasonable inference that the [movant] is liable for the misconduct alleged.”

Ashcroft, 556 U.S. at 678. “While a complaint attacked by a Rule 12(b)(6) motion to dismiss does

not need detailed factual allegations, a plaintiff’s obligation to provide the grounds of his

entitle[ment] to relief requires more than labels and conclusions, and a formulaic recitation of the

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      Case1:20-cv-00298-LY-DH
           1:20-cv-00298-LY-AWA
                              Document
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                                       165-1
                                          108 Filed
                                               Filed10/22/21
                                                     05/25/21 Page
                                                               Page42
                                                                    5 of 19
                                                                         290




elements of a cause of action will not do.” Twombly, 550 U.S. at 555 (internal quotations and

citations omitted). “Factual allegations must be enough to raise a right to relief above the speculative

level.” Id. “The court’s review is limited to the complaint, any documents attached to the complaint,

and any documents attached to the motion to dismiss that are central to the claim and referenced by

the complaint.” Ironshore Europe DAC v. Schiff Hardin, L.L.P., 912 F.3d 759, 763 (5th Cir. 2019)

(quoting Lone Star Fund V (U.S.), L.P. v. Barclays Bank PLC, 594 F.3d 383, 387 (5th Cir. 2010)).

“A statute of limitations may support dismissal under Rule 12(b)(6) where it is evident from the

plaintiff’s pleadings that the action is barred and the pleadings fail to raise some basis for tolling or

the like.” Jones v. Alcoa, Inc., 339 F.3d 359, 366 (5th Cir. 2003).

                                           III. ANALYSIS

A.      Lanham Act Claims

        The Lanham (Trademark) Act, 15 U.S.C. § 1051 et seq., prohibits deceptive trade practices

such as false advertising and trademark infringement. Section 1125 provides for civil liability in the

case of:

        any person who on or in connection with any goods or services, ... uses in commerce
        any word, term, name, symbol, or device, or any combination thereof, or any ... false
        or misleading description of fact, or false or misleading representation of fact,
        which—

        (A) is likely to cause confusion, or to cause mistake, or to deceive as to the
        affiliation, connection, or association of such person with another person, or as to the
        ... sponsorship, or approval of his or her goods, services, or commercial activities by
        another person, or

        (B) in commercial advertising or promotion, misrepresents the nature, characteristics,
        qualities, or geographic origin of his or another person’s goods, services, or
        commercial activities[.]

15 U.S.C. § 1125(a)(1)(A) & (B).



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    Case
     Case1:20-cv-00298-LY-DH
          1:20-cv-00298-LY-AWA
                             Document
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                                         108 Filed
                                              Filed10/22/21
                                                    05/25/21 Page
                                                              Page43
                                                                   6 of 19
                                                                        290



       Plaintiffs argue that because Defendants are their competitors “as conservative media

personalities, broadcasters, authors and columnists on social media and elsewhere,” that Defendants’

allegedly defamatory and misleading statements during the InfoWars videos thus constitute unfair

competition in violation of the Act. Dkt. No. 47 at ¶¶ 104-109. Defendants argue that Plaintiffs

have failed to establish their standing under the Lanham Act. Dkt. No. 55 at 7; Dkt. No. 57 at 16;

Dkt. No. 70 at 4-9.

       To establish standing under the Lanham Act, “the Plaintiff’s injuries must fall within the

‘zone of interests’ the statute was intended to protect.” Lexmark Int’l v. Static Control Comps., 572

U.S. 118, 130 (2014). In Lexmark Int’l, the Supreme Court explained that a “plaintiff suing under

§ 1125(a) ordinarily must show economic or reputational injury flowing directly from the deception

wrought by the defendant’s advertising; and that occurs when deception of consumers causes them

to withhold trade from the plaintiff.” Id. In other words, to proceed with their Lanham Act claim,

Plaintiffs must plead an injury to some commercial interest in sales or business reputation that was

proximately caused by the Defendants’ misrepresentations.

       Plaintiffs have not met their burden to establish standing under the Lanham Act. Specifically,

Plaintiffs fail to show that their alleged injuries fall within the zone of interests of the Act. Here,

the Plaintiffs allege that they compete with Defendants as media personalities who derive income

from the internet and radio. Dkt. No. 47 at ¶ 74. According to Plaintiffs, the Defendants’ allegedly

defamatory remarks were made to harm their reputations and eliminate them as competition for

potential listeners or donors. Dkt. No. 79 at 6. However,“[t]he mere fact that the parties may

compete in the marketplace of ideas is not sufficient to invoke the Lanham Act.” Farah v. Esquire

Magazine, 736 F.3d 528, 541 (D.C. Cir. 2013).




                                                  6
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           1:20-cv-00298-LY-AWA
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                                       165-1
                                          108 Filed
                                               Filed10/22/21
                                                     05/25/21 Page
                                                               Page44
                                                                    7 of 19
                                                                         290



       It is well established that Section 1125(a) applies only to commercial speech, which is not at

issue here. Alliance for Good Government v. Coalition for Better Government, 901 F.3d 498, 506

n.8 (5th Cir. 2018) (noting Section 1125(a) applies only to “commercial advertising and promotion”);

Nichols v. Club for Growth Action, 235 F. Supp. 3d 289, 295 (D.D.C. 2017) (“The Lanham Act only

restricts commercial speech, or speech connected with a good or service.”). The allegedly defamatory

comments made by Defendants during the InfoWars video are not commercial speech or

advertisements, but rather expressions of opinions as commentary during a radio show. See Farah,

736 F.3d at 541. The complained of conduct at issue does not fall within the zone of interest that the

Lanham Act was intended to protect. Seven-Up Co. v. Coca-Cola Co., 86 F.3d1379, 1383 n. 6 (5th

Cir. 1996). Because Plaintiffs do not have standing under the Lanham Act,2 the claims under that

statute should be dismissed with prejudice.

B.     Defamation Claims

       Plaintiffs’ Amended Complaint alleges claims for defamation, defamation per se, and

defamation by implication against each of the Defendants. Dkt. No. 47 at ¶¶ 75-92. Under Texas

law, a plaintiff seeking to state a defamation claim must plead the following elements: (1) publication

of a false statement of fact to a third party, (2) the statement must concern the plaintiff and be

defamatory, (3) the publication must be made with the requisite degree of fault, and (4) the

publication must cause damages. In re Lipsky, 460 S.W.3d 579, 593 (Tex. 2015). A statement is



       2
         Notably, in April 2020, Plaintiff Klayman filed a nearly identical suit filed in the Southern
District of Florida. See Klayman v. Infowars, Case No. 20-cv-80614 (S.D. Fla. Apr. 13, 2020).
There, sua sponte the district judge issued an order requiring a more definite statement, directing
Klayman that if he were to replead his Lanham Act unfair competition claim, he needed to show that
he had standing to do so. Id. Rather than replead, Klayman voluntarily dismissed that action, Dkt.
Nos. 34-3, and instead has pursued the claim here, without alleging any additional facts to address
the standing deficiencies the Florida court noted.

                                                  7
    Case
     Case1:20-cv-00298-LY-DH
          1:20-cv-00298-LY-AWA
                             Document
                               Document
                                      165-1
                                         108 Filed
                                              Filed10/22/21
                                                    05/25/21 Page
                                                              Page45
                                                                   8 of 19
                                                                        290



defamatory “if it tends to injure a person’s reputation and thereby expose the person to public hatred,

contempt, ridicule, or financial injury or to impeach any person's honesty, integrity, virtue, or

reputation.” Lipsky, 460 S.W.3d at 593. Damages must be shown unless the statements are

defamatory per se, meaning that the statements are so clearly harmful that general damages may be

presumed. Id.

        When a defamation suit is brought against a media defendant over a matter of public concern,

the plaintiff bears the burden of proving falsity. Klentzman v. Brady, 312 S.W.3d 886, 898 (Tex. App.

– Houston [1st Dist.] 2009). Texas Courts employ the “substantial truth doctrine” to determine the

truth or falsity of a broadcast or publication: “if a broadcast taken as a whole is more damaging to the

plaintiff’s reputation than a truthful broadcast would have been, the broadcast is not substantially true

and is actionable.” Neely v. Wilson, 418 S.W.3d 52, 63 (Tex. 2013).

        Claims of defamation by implication cover both “gist” and implication. Dallas Morning

News, Inc. v. Tatum, 2018 WL 2182625, at *8 (Tex. 2018). To determine defamation by implication,

the court must “determine whether the implication the plaintiff alleges is among the implications that

the objectively reasonable reader would draw.” Id. at *9. The court must “not place ‘overwhelming

emphasis on a[ny] single term’ or ‘focus on individual statements’ to the exclusion of the entire

publication.” Id. at *10. It must “consider[ ] inferential meaning carefully, but not exhaustively.” Id.

Further, in order to curtail a chilling effect on freedom of speech, the plaintiff “must point to

‘additional, affirmative evidence’ within the publication itself that suggests the defendant ‘intends

or endorses the defamatory inference.’” Id.

        1.      Owen Shroyer

        Defendant Shroyer’s motion to dismiss asserts that Plaintiffs have not pled sufficient facts to

maintain a defamation claim against him. Dkt. No. 55. The Court agrees. Plaintiffs’ Amended

                                                   8
    Case
     Case1:20-cv-00298-LY-DH
          1:20-cv-00298-LY-AWA
                             Document
                               Document
                                      165-1
                                         108 Filed
                                              Filed10/22/21
                                                    05/25/21 Page
                                                              Page46
                                                                   9 of 19
                                                                        290



Complaint contains no allegations that Shroyer himself engaged in defamatory conduct, but instead

seeks to hold Shroyer liable for the alleged defamatory conduct of other defendants by arguing

Shroyer was acting “in concert” with them. Dkt. No. 47 at ¶¶ 8, 76, 81, 87. Plaintiffs provide no

facts in support of their conclusory allegations of conspiracy to defame with other defendants or that

Shroyer “ratified” the allegedly defamatory statements complained of by Plaintiffs. Rather, the only

facts alleged against Shroyer in the Amended Complaint are that he appeared in InfoWars videos with

his co-host Stone when Stone made the allegedly defamatory comments about Corsi and Klayman.

Dkt. No. 47 at ¶¶ 49-54, 59-62. Plaintiffs’ attempt to equate Shroyer’s presence in these videos with

a conspiracy to defame is entirely conclusory and insufficient to support their claims. Walker v.

Beaumont Ind. School Dist., 938 F.3d 724, 734 (5th Cir. 2019); Hourani v. Mirtchev, 796 F.3d 1, 16

(D.C. Cir. 2015); King v. Jarrett, 2016 WL 11581949, at *6 (W.D. Tex. June 17, 2016). Given the

lack of any factual allegations supporting Plaintiffs’ assertion that Shroyer conspired with other

defendants to defame Corsi or Klayman, Plaintiffs have failed to state a defamation claim against him.

       2.      David Jones

       The defamation claims against David Jones fail for the same reason. Plaintiffs’ Amended

Complaint does not make any specific allegations of defamatory conduct by David Jones. As with

Shroyer, Plaintiffs attempt to hold David Jones liable for alleged defamatory remarks made by other

defendants by asserting that David Jones was “acting in concert” with the other defendants. Dkt. No.

47 at ¶¶ 8, 76, 81, 87. The Amended Complaint’s only factual allegations regarding David Jones are

that he is the father of Defendant Alex Jones, that he is the alleged co-owner of Defendant entities

InfoWars and Free Speech Systems,3 and that he allegedly held the position of Director of Human


       3
        In his motion to dismiss, David Jones denies the allegation that he is an owner of either
InfoWars or Free Speech Systems. Dkt. No. 57 at 5.

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    Case1:20-cv-00298-LY-DH
         1:20-cv-00298-LY-AWADocument
                               Document
                                      165-1
                                        108 Filed
                                            Filed10/22/21
                                                  05/25/21 Page
                                                           Page47
                                                                10of
                                                                  of290
                                                                     19



Relations for Free Speech Systems. Id. at ¶ 8. Based on these assertions alone, Plaintiffs contend that

David Jones “worked in concert with and as an agent for the other Defendants,” “participated in and

ratified the illegal acts set forth in this Complaint,” and “profited … from the tortious acts of the other

Defendants.” Id. These assertions are wholly conclusory and unsupported by facts, and thus

insufficient to survive a Rule 12(b)(6) motion. Hershey v. Energy Transfer Partners, 610 F.3d 239,

245-46 (5th Cir. 2010); Walker, 938 F.3d at 734.

        To the extent Plaintiffs attempt to hold David Jones liable for any alleged defamatory actions

of other defendants as an alleged owner of the limited liability companies InfoWars and Free Speech

Systems, this argument also fails. Under Texas law, owners of limited liability companies are not

liable for the torts of the entity, unless the plaintiff can allege some basis for piercing the corporate

veil. See Hong v. Havey, 551 S.W.3d 875, 885 (Tex. App.—Houston [14th Dist.] 2018, no pet.);

Bates Energy Oil & Gas v. Complete Oildfield Svcs., 361 F.Supp. 3d 633, 665 (W.D. Tex. 2019).

Here, Plaintiffs include no allegations that indicate an intention to proceed against David Jones as an

owner on an alter-ego theory of liability. Given the lack of any allegations that David Jones

personally engaged in defamatory conduct, or allegations supporting a basis to pierce the corporate

veil or to hold David Jones liable on a theory of conspiracy, Plaintiffs’ defamation claims against

David Jones should be dismissed without prejudice.

        3.      Alex Jones, InfoWars, and Free Speech Systems

        Defendants Alex Jones, InfoWars, and Free Speech Systems (“Moving Defendants”) jointly

move to dismiss the claims filed by Corsi (Dkt. No. 58) and Klayman (Dkt No. 59), arguing that their

defamation claims fail to allege facts sufficient to state a claim against them. Dkt. Nos. 58, 59.

Klayman does not allege Alex Jones himself made any defamatory remarks about Klayman.

Nevertheless, as with Shroyer and David Jones, he seeks to hold Alex Jones and the Moving


                                                    10
    Case
    Case1:20-cv-00298-LY-DH
         1:20-cv-00298-LY-AWADocument
                               Document
                                      165-1
                                        108 Filed
                                            Filed10/22/21
                                                  05/25/21 Page
                                                           Page48
                                                                11of
                                                                  of290
                                                                     19



Defendants liable for Stone’s allegedly defamatory remarks about Klayman, based on a conspiracy

theory. Dkt. No. 47 at ¶¶ 8, 76, 81, 87. The Moving Defendants assert that these claims fail because

Plaintiffs fail to connect the Moving Defendants to the remarks. Dkt. No. 59 at 15-16. For the

reasons discussed above with regard to Shroyer and David Jones, the Court agrees. Plaintiffs fail to

allege any facts that give credence to any of the Defendants acting “in concert” such that the Moving

Defendants could be held liable for any alleged defamatory remarks of other defendants.

Accordingly, the undersigned recommends these claims be dismissed.

       Plaintiffs’ Amended Complaint does, however, contain allegations that Alex Jones himself

made several defamatory statements about Corsi during the October 2018 and January 2019 InfoWars

videos. Dkt. No. 47 at 41-44. The statements Corsi alleges Jones made are these:

       •       “[W]hen I was in DC about six months ago with dr. [sic] Corsi he seemed to mentally
               be extremely degraded to the point of what I would call dementia.” Dkt. 47 ¶ 42.

       •       “[Corsi]’s on the ground at another table we had to help him out of there man they
               thought he was dead in the elevator.” Id. ¶ 43.

       •       “[Corsi] had a stroke or whatever’s going on with Corsi that whatever comes out of
               his mouth ain’t the truth.” Id. ¶ 44

       •        Corsi is a “spook, back and forth with different agencies.” Id. ¶ 67

The Moving Defendants assert that none of these remarks are actionable because they are all

expressions of opinion, rhetorical hyperbole, or substantially true statements. Dkt. No. 58 at 15-17.

They argue that none of the remarks are actionable defamation because they are the type of

imaginative expression, rhetorical hyperbole, and opinion statements that “cannot reasonably be

interpreted as stating actual facts about an individual.” Milkovich v. Lorain Journal Co., 491 U.S.

1, 2 (1990).




                                                 11
    Case
    Case1:20-cv-00298-LY-DH
         1:20-cv-00298-LY-AWADocument
                               Document
                                      165-1
                                        108 Filed
                                            Filed10/22/21
                                                  05/25/21 Page
                                                           Page49
                                                                12of
                                                                  of290
                                                                     19



       Defendants allege that Jones’ statement that “when I was in DC about six months ago with

dr. [sic] Corsi he seemed to mentally be extremely degraded to the point of what I would call

dementia,” is a statement of Alex Jones’ opinion, and is thus not actionable as defamation. Dkt. No.

58 at 15-16. The Court agrees. Jones in this statement is offering his opinion regarding how he

perceived Corsi’s cognitive state based on seeing him in person. This is not a fact statement, but

rather a statement of opinion and is thus not actionable. The same is the case with the related

statement that “[Corsi]’s on the ground at another table we had to help him out of there man they

thought he was dead in the elevator.” Corsi does not contend that Jones did not see him on the floor,

nor does he challenge that others were concerned about his medical state. Again, this is a statement

of what Jones perceived. Further, Corsi fails to demonstrate how the statement has a defamatory

meaning.

       With regard to the statement that “[Corsi] had a stroke or whatever’s going on with Corsi that

whatever comes out of his mouth ain’t the truth,”(Dkt. No. 47 ¶ 44), the motion asserts the statement

was rhetorical hyperbole, and cannot be the basis of a defamation action. Dkt. No. 58 at 16. They

contend that, reviewed in context, “a person of ordinary intelligence would perceive these words as

nothing more than rhetorical hyperbole.” Id. (citing Rehak Creative Servs. v. Witt, 404 S.W.3d 716,

729 (Tex. App. 2013)). The Court agrees that the second half of this statement, that “whatever’s

going on with Corsi that whatever comes out of his mouth ain’t the truth,” would be considered by

the ordinary person, particularly in the context of an InfoWars video, to be rhetorical hyperbole. The

statement that “[Corsi] had a stroke,” however, is a straightforward factual statement, which, if false

could support a defamation claim. Jones concedes this, noting that, “in isolation, these might sound

like false statements of fact.” Dkt. 80 at 5. He notes, however, that when read in the full context of

Jones’ commentary, the statement is not defamatory, and instead is a statement of Jones’ speculation


                                                  12
    Case
    Case1:20-cv-00298-LY-DH
         1:20-cv-00298-LY-AWADocument
                               Document
                                      165-1
                                        108 Filed
                                            Filed10/22/21
                                                  05/25/21 Page
                                                           Page50
                                                                13of
                                                                  of290
                                                                     19



on Corsi’s medical state. This context includes Jones’ earlier statement that “I think he’s got dementia

or a stroke I mean I don’t know,” and his description of Corsi having “a really sharp brain until about

a year ago.” See Dkt. No. 7-2. Jones contends that in this context, the statement is Jones’ view that

Corsi was prone to error based on Jones’ observations of Corsi’s health. Though this is a closer call

than the other statements, the Court agrees.

        With regard to Jones’ statement calling Corsi a “spook, back and forth with different

agencies,” (Dkt. No. 47 at ¶ 67), Jones contends the statement is not defamatory, but rather “most

reasonable people would find such facts to be flattering.” Dkt. No. 58 at 17. Indeed, a “spook” is a

colloquial term for a person employed in the intelligence community,4 and is generally not taken as

a derogatory term. It is akin to referring to a police officer as a “cop.” Further, Corsi’s own affidavit

establishes that the statement is literally true, in that Corsi worked with several intelligence agencies

and had a top secret security clearance. Dkt. 74 at 24-26; ¶¶ 7, 15. To the extent Corsi contends that

the implication of the statement was that he had assisted the Mueller investigation in an attempt to

harm Roger Stone and Donald Trump, that implication is not apparent from anything alleged in the

Amended Complaint, and Corsi fails to demonstrate how, even assuming the implication was made,

the statement is defamatory.

        In addition to the above arguments, the Moving Defendants also argue that the defamation

claims fail because Plaintiffs have failed to allege any facts establishing the Defendants made these

statements with actual malice. Because Corsi and Klayman’s own pleadings demonstrate they are

public figures, the Moving Defendants contend Corsi and Klayman must meet a heightened pleading

standard requiring that they allege facts showing the Defendants made the defamatory remarks with


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         The Merriam Webster Dictionary defines “spook” as “an undercover agent: SPY.” See
https://www.merriam-webster.com/dictionary/spook (visited 5/24/21).


                                                   13
    Case
    Case1:20-cv-00298-LY-DH
         1:20-cv-00298-LY-AWADocument
                               Document
                                      165-1
                                        108 Filed
                                            Filed10/22/21
                                                  05/25/21 Page
                                                           Page51
                                                                14of
                                                                  of290
                                                                     19



actual malice. See Gertz v. Robert Welch, Inc., 418 U.S. 323, 345 (1974) (holding that private

individuals become public figures when they have “thrust themselves to the forefront of particular

public controversies in order to influence the resolution of the issues involved.”). The Moving

Defendants’ contend Corsi’s and Klayman’s defamation claims fail because they make no plausible

allegations that Defendants acted with actual malice. Dkt. No. 58 at 18. The Court agrees. Actual

malice is a high burden. See Peter Scalamandre & Sons, Inc. v. Kaufman, 113 F.3d 556, 561 (5th Cir.

1997). A public figure suing for defamation must show the defendant knowingly made false

statements, or made false statements with reckless disregard for the truth. Id. In this regard, the

Amended Complaint is lacking. There are no allegations that lead to a reasonable inference that the

Defendants acted with malice or a reckless disregard for the truth with regard to the remarks above.

This is an alternative reason that dismissal is appropriate on these claims.

       Corsi has failed to adequately allege that Alex Jones knowingly made false statements or acted

with reckless disregard for the truth in making the complained of statements about Corsi, and has

failed to adequately plead that Jones acted with malice in making the statements. As a result he has

failed to state a claim against Jones or the Moving Defendants.

       4.      Roger Stone

       Lastly, Defendant Stone asserts that the defamation claims against him should be dismissed

because they are time-barred. Dkt. No. 70 at 11-13. Under Texas law, defamation claims generally

are subject to a one-year statute of limitations. TEX. CIV. PRAC. & REM. CODE, § § 16.002(a),

16.003(a); Jackson v. W. Telemarketing Corp., 245 F. 3d 518, 523 (5th Cir. 2001); Hamad v. Center

for Jewish Cmty. Studies, 265 F. App’x 414, 417 (5th Cir. 2008). To determine whether a defamation

claim is timely, courts in Texas have adopted the “single publication rule.” Forbes Inc. v. Granada

Biosciences, Inc., 124 S.W.3d 167, 173 (Tex. 2003). Under the single publication rule, defamation


                                                 14
     Case
     Case1:20-cv-00298-LY-DH
          1:20-cv-00298-LY-AWADocument
                                Document
                                       165-1
                                         108 Filed
                                             Filed10/22/21
                                                   05/25/21 Page
                                                            Page52
                                                                 15of
                                                                   of290
                                                                      19



claims must be brought within one year from the first date of publication, whether that be traditional

print publication or publication on the internet. Id.; Glassdoor, Inc. v. Andra Group, LP, 575 S.W.3d

523, 529 (Tex. 2019).

       Here, the allegedly defamatory statements on which the Plaintiffs’ claims are premised were

published when the InfoWars videos were made available online in October 2018 and January 2019,

respectively. Dkt. No. 47 at ¶¶ 41-69. Corsi and Klayman sued Shroyer, Alex Jones, David Jones,

InfoWars, and Free Speech Systems on March 7, 2019, are thus the claims against these defendants

are timely under the statute of limitations. See Dkt. No. 1. However, Stone was not added as a

defendant until the filing of the Amended Complaint on July 29, 2020. Dkt. No. 47. Because the

claims against Stone were filed after the one year statute of limitations expired, the claims are time-

barred. See, e.g. Jones v. Alcoa, Inc., 339 F.3d 359, 366 (5th Cir. 2003) (“A statute of limitations may

support dismissal under Rule 12(b)(6) where it is evident from the plaintiff’s pleadings that the action

is barred and the pleadings fail to raise some basis for tolling or the like.”). Accordingly, the

Plaintiffs’ defamation claims against Stone should be dismissed with prejudice.

C.     Intentional Infliction of Emotional Distress Claims

       Next, Plaintiffs assert common law claims of intentional infliction of emotional distress

(“IIED”). To recover for IIED under Texas law, “a plaintiff must prove that 1) the defendant acted

intentionally or recklessly, 2) the conduct was ‘extreme and outrageous,’ 3) the actions of the

defendant caused the plaintiff emotional distress, and 4) the resulting emotional distress was severe.”

Standard Fruit & Veg. Co. v. Johnson, 985 S.W.2d 62, 65 (Tex. 1998). Plaintiffs assert IIED claims

against each Defendant for “knowingly and intentionally threatening Plaintiffs, in a manner similar

to other death threats co-conspirator and Defendant Stone made to at least one material witness,

involved in Special Counsel Mueller’s Russian collusion investigation … as well as Judge Amy


                                                  15
     Case
     Case1:20-cv-00298-LY-DH
          1:20-cv-00298-LY-AWADocument
                                Document
                                       165-1
                                         108 Filed
                                             Filed10/22/21
                                                   05/25/21 Page
                                                            Page53
                                                                 16of
                                                                   of290
                                                                      19



Berman Jackson.” Dkt. No. 47 at ¶ 95. The Amended Complaint otherwise fails to allege facts to

support any of the elements of their IIED claims, and further, includes no specific allegations as to

any defendant except for Stone. Id.

       In addition to this lack of factual allegations necessary support the claim, IIED is a “gap-filler

tort” designed to “supplement existing forms of recovery by providing a cause of action for egregious

conduct ‘that its more established neighbors in tort doctrine would technically fence out.’” Standard

Fruit, 985 S.W.2d at 65. Thus, “[w]here the gravamen of a plaintiff’s complaint is really another tort,

intentional infliction of emotional distress should not be available.” Hoffmann-La Roche, Inc. v.

Zeltwanger, 144 S.W.3d 438, 447-48 (Tex. 2004). Here, the “gravamen” of Plaintiffs’ IIED claim

is defamation. Their IIED claim is“merely incidental to the commission of some other tort,” and thus

should be dismissed. Standard Fruit, 985 S.W.2d at 68.

D.     Assault Claims

       Plaintiffs also assert common law claims of assault against all Defendants. Texas law defines

assault as “threaten[ing] another with imminent bodily injury.” Texas Penal Code § 22.01(a).5 The

Amended Complaint vaguely alleges that “Defendants placed Plaintiffs in apprehension of an

imminent harmful or offensive contact and physical harm and death. . .” Dkt. No. 47 at ¶ 98. It

further alleges, without any factual support, that Defendants call their followers “to arms” against

unspecified victims. Id. at ¶¶ 99-100. With the exception of a vague comparison of Defendant Stone

to the “Mafia,” the Complaint provides no specific allegations that the Defendants threatened Corsi

or Klayman with imminent bodily injury. Id. at ¶¶ 99-100. Plaintiffs’ assault claims thus fail to

survive Defendants’ Rule 12(b)(6) motions and should be dismissed.



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        Under Texas law, the elements for assault are the same in the civil and criminal context.
Sanders v. Schulze, 2015 WL 5547630, at *9 (N.D. Tex. Aug. 31, 2015).

                                                  16
     Case
     Case1:20-cv-00298-LY-DH
          1:20-cv-00298-LY-AWADocument
                                Document
                                       165-1
                                         108 Filed
                                             Filed10/22/21
                                                   05/25/21 Page
                                                            Page54
                                                                 17of
                                                                   of290
                                                                      19



E.     Leave to Amend

       Generally, a court should not dismiss an action for failure to state a claim under Rule 12(b)(6)

without giving plaintiff “at least one chance to amend.” Hernandez v. Ikon Ofc. Solutions, Inc., 306

Fed. Appx. 180, 182 (5th Cir. 2009). “Although leave to amend under Rule 15(a) is to be freely given,

that generous standard is tempered by the necessary power of a district court to manage a case.”

Yumilicious Franchise, L.L.C. v. Barrie, 819 F.3d 170, 177 (5th Cir. 2016) (quoting United States

ex rel. Willard v. Humana Health Plan of Tex., Inc., 336 F.3d 375, 387 (5th Cir. 2003)). The Fifth

Circuit has previously stated that “[a] bare request in an opposition to a motion to dismiss—without

any indication of the particular grounds on which the amendment is sought—does not constitute a

motion [within] the contemplation of Rule 15(a).” Id. (quoting Confederate Mem'l Ass'n, Inc. v.

Hines, 995 F.2d 295, 299 (D.C. Cir. 1993)). As noted earlier, this is one of several lawsuits Corsi and

Klayman have filed raising these very same claims. Moreover, they have already amended their

complaint in this case once. Further, a nearly identical version of this suit was filed in the Southern

District of Florida, and the judge there issued an order that pointed out many of the same problems

that are addressed above, and ordered Corsi and Klayman to file a more definite statement to address

the problems. Instead of doing so, they chose to withdraw that suit and file this one. Thus, if they

had more facts to plead to cure the identified problems, they have certainly already had the

opportunity to do so. For these reasons, the undersigned recommends that the Court not permit Corsi

or Klayman leave to amend, and dismiss the claims with prejudice.

                                IV. MOTIONS FOR SANCTIONS

       In addition to the motions to dismiss, Defendants Shroyer and Stone have both filed motions

seeking sanctions against Corsi and Klayman under Rule 11. Dkt. Nos. 56, 84. Should the district

judge adopt the recommendations made herein, it is possible that sanctions could be appropriate as


                                                  17
    Case
    Case1:20-cv-00298-LY-DH
         1:20-cv-00298-LY-AWADocument
                               Document
                                      165-1
                                        108 Filed
                                            Filed10/22/21
                                                  05/25/21 Page
                                                           Page55
                                                                18of
                                                                  of290
                                                                     19



the defendants who made no challenged statements, and as to Stone, given that the statute of

limitations had run on the claim against him when the suit was filed. It would, however, be premature

for the Court to address that issue before the district judge has acted on this Report and

Recommendation. Accordingly, the undersigned ORDERS that Defendants Shroyer and Stone’s

Motions for Sanctions (Dkt. Nos. 56 & 84) be DENIED WITHOUT PREJUDICE to being refiled

once the district judge acts on this Report and Recommendation.

                                   V. RECOMMENDATIONS

       For the reasons set forth above, the undersigned RECOMMENDS that the Court GRANT

the Defendants’ motions to dismiss (Dkt. Nos. 55, 57, 58, 59, 70), and DISMISS the Plaintiffs’

claims WITH PREJUDICE, for failure to state a claim, and             DENY Defendants Shroyer and

Stone’s Motions for Sanctions (Dkt. Nos. 56 & 84) WITHOUT PREJUDICE to being refiled once

the district judge acts on this Report and Recommendation.

                                          VI. WARNINGS

       The parties may file objections to this Report and Recommendation. A party filing objections

must specifically identify those findings or recommendations to which objections are being made.

The District Court need not consider frivolous, conclusive, or general objections. See Battle v. United

States Parole Comm'n, 834 F.2d 419, 421 (5th Cir. 1987). A party’s failure to file written objections

to the proposed findings and recommendations contained in this Report within fourteen (14) days

after the party is served with a copy of the Report shall bar that party from de novo review by the

District Court of the proposed findings and recommendations in the Report and, except upon grounds

of plain error, shall bar the party from appellate review of unobjected-to proposed factual findings and

legal conclusions accepted by the District Court. See 28 U.S.C. § 636(b)(1)(C); Thomas v. Arn, 474



                                                  18
    Case
    Case1:20-cv-00298-LY-DH
         1:20-cv-00298-LY-AWADocument
                               Document
                                      165-1
                                        108 Filed
                                            Filed10/22/21
                                                  05/25/21 Page
                                                           Page56
                                                                19of
                                                                  of290
                                                                     19



U.S. 140, 150-53, 106 S. Ct. 466, 472-74 (1985); Douglass v. United Servs. Auto. Ass’n, 79 F.3d

1415, 1428-29 (5th Cir. 1996) (en banc).

       SIGNED this 24th day of May, 2021.



                                           _____________________________________
                                           ANDREW W. AUSTIN
                                           UNITED STATES MAGISTRATE JUDGE




                                              19
     Case 1:20-cv-00298-LY-DH Document 165-1 Filed 10/22/21 Page 57 of 290




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS

DR. JEROME CORSI, et al

                       Plaintiffs

              v.
                                                    Case Number:    1:20-cv-298-LY
INFOWARS, LLC, et al

                      Defendants.


     PLAINTIFFS JEROME CORSI’S AND LARRY KLAYMAN’S OBJECTIONS TO
     REPORT AND RECOMMENDATION OF MAGISTRATE ANDREW W. AUSTIN

       Plaintiffs Dr. Jerome Corsi and Larry Klayman (“Plaintiffs”), pursuant to Fed. R. Civ. P.

72(b)(2), hereby submits the following written objections to Magistrate Andrew W. Austin’s

(“Magistrate Austin”) Report and Recommendation of May 25, 2021. ECF No. 108. (the

“Report”)

I.     INTRODUCTION

       As set forth in detail previously in Plaintiffs’ Motion to Have Presiding Judge Decide

Outstanding Motions to Dismiss, at the hearing of March 23, 2021 before Magistrate Austin, and

related pleadings he demonstrated a virtual complete lack of understanding about the allegations

of the Amended Complaint, and in so doing appeared to have prejudged the case without a valid

basis. ECF No’s 108, 112, 114. This lack of understanding combined with prejudgment has,

regrettably, carried over to his fatally flawed Report, which contains numerous factual and legal

errors which must be rejected and thus corrected.

       Indeed, Magistrate Austin’s Report, which appears to have been hastily written on the

eve of his retirement, after an enormously prejudicial nearly (8) month delay after this matter


                                               1
       Case 1:20-cv-00298-LY-DH Document 165-1 Filed 10/22/21 Page 58 of 290




had been fully briefed, in the face of the presiding judge’s strong direction issued at the outset of

this case, where he told the parties to move this case along to trial:

         You're going to have to figure how much time you want because once I get it set,
         once I fill in after a subsequent conference your trial month and final pretrial
         conference date and time, you're not likely to get a continuance or a
         postponement.

         I like to try lawsuits. If I had my way and could pass one law, I would do away
         with motion practice altogether, and you would either settle your case or try your
         case, the way it was in the olden days.

         This necessitated the filing of Plaintiffs’ Motion to Vacate Report and Recommendation

of Magistrate Austin, which was not a personal attack on Magistrate Austin whatsoever, as

Defendants disingenuously assert, but simply a necessary pleading to point out the numerous

errors contained out in the Report and to argue that this case must now move quickly to

discovery and trial. These legal and factual errors are set forth fully, in detail below.

II.      LEGAL STANDARD

         The district judge must determine de novo any part of the magistrate judge's disposition

that has been properly objected to. The district judge may accept, reject, or modify the

recommended disposition; receive further evidence; or return the matter to the magistrate judge

with instructions. As Magistrate Austin is now retired, the latter option is not viable in any event.

Fed. R. Civ. P. 72(b)(3).

III.     LEGAL ARGUMENT

         As set forth above, Magistrate Austin’s Report contains numerous legal and factual errors

that are addressed in turn below.

         a.     Magistrate Austin’s Report Contains Numerous Legal Errors

         As a threshold matter, Magistrate Austin gravely erred when he ignored the sworn

affidavits submitted by both Plaintiff Klayman, Dr. Corsi, Kelly Morales (formerly Mrs. Alex
                                              2
    Case 1:20-cv-00298-LY-DH Document 165-1 Filed 10/22/21 Page 59 of 290




Jones), which show that Plaintiffs went far beyond the necessary pleading requirements set forth

under Fed. R. Civ. P. 8(a) and under Supreme Court precedent. Exhibits 1, 2, and 4 attached

hereto. ECF No. 73, 74. The standard for a Rule 12(b)(6) motion is that a complaint “does not

require detailed factual allegations.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (U.S. 2009) (internal

quotations omitted). To survive a motion to dismiss, a complaint need only “contain sufficient

factual matter, accepted as true, to state a claim to relief that is plausible on its face.” Id.

Plaintiffs’ Amended Complaint more than meets this low pleading standard, and they have

buttressed their claims even further with sworn affidavits from themselves as well as Defendant

Alex Jones’ ex-wife Kelly Morales, while Defendants have provided no affidavits. Exhibits 1, 2,

and 4 attached hereto. ECF No 73, 74.

       What Magistrate Austin has done here is he has usurped the role of the jury, which is

especially egregious at the motion to dismiss stage. In situations where resolution is necessarily

fact intensive, like defamation, the U.S. Supreme Court has held that “[m]aintenance of the jury

as a fact-finding body is of such importance and occupies so firm a place in our history and

jurisprudence that any seeming curtailment of the right to a jury trial should be scrutinized with

the utmost care.” Dimick v. Schiedt, 293 U.S. 474, 486 (U.S. 1935). If a statement is capable of

more than one meaning, it requires a jury to decide whether that statement is defamatory. “If,

however, the court finds the statement is capable of at least one defamatory meaning and at least

one non-defamatory meaning, a jury must determine whether the defamatory meaning was

conveyed.” Tu Nguyen v. Duy Tu Hoang, 318 F. Supp. 3d 983, 1007 (S.D. Tex. 2018).

Magistrate Austin’s error here is underscored by in the Report where he writes at page 8, that

“[w]hen a defamation suit is brought against a media defendant over a matter of public concern,

the plaintiff bears the burden of proving falsity.” Of course this is true if the matter were given to

                                                  3
    Case 1:20-cv-00298-LY-DH Document 165-1 Filed 10/22/21 Page 60 of 290




a jury, but at the motion to dismiss stage, there is no burden to “prove” falsity on Plaintiffs. This

is a clear error that resulted from Magistrate Austin improperly appointing himself as the entire

jury.

              i.       Magistrate Austin Ignored the Allegations in the Complaint that
                       Defendants Were Working Together in Concert

        Magistrate Austin recommended dismissal of claims against Defendants Shroyer and

David Jones because Plaintiffs have not made any factual allegations supporting the assertion

that these Defendants have conspired with their co-Defendants to defame them. This is simply

not true, and a subversion of the pleading standard set forth in Iqbal.

        The Amended Complaint specifically and expressly alleges that the Infowars Defendants

were at all material times “working together in concert with and as agents of Stone….” Am.

Comp. ¶ 36. Furthermore, “Plaintiffs have demanded retraction and correction of the defamatory

videos and publications…but Defendant shave arrogantly refused, thereby ratifying any and all

defamatory statements contained therein….” Am. Comp. ¶ 38.

        These assertions are supported by detailed factual allegations:

        Defendant InfoWars and Defendant Free Speech Systems are both owned,
        controlled, and operated by Defendant Alex Jones and David Jones. Defendant
        Free Speech Systems owns www.infowars.com, where content created by
        Defendants Alex Jones, Shroyer and Stone were at all material times posted and
        broadcast into this district, nationally and internationally. Am. Comp. ¶ 11.

        Defendant David Jones is Defendant Alex Jones’s father and holds the official
        title of Director of Human Relations for Defendant Free Speech Systems. On
        information and belief, Defendant David Jones is the owner of Defendant
        InfoWars and Free Speech Systems and he manages and controls the business and
        related activities for Defendants InfoWars and Free Speech Systems, as well as
        Defendant Alex Jones’ other companies. Am. Comp. ¶ 8.

Thus, given the fact that each of every one of the Infowars Defendants are intricately bound

together by virtue of the fact that they all directly participate in creating and publishing the

                                                 4
    Case 1:20-cv-00298-LY-DH Document 165-1 Filed 10/22/21 Page 61 of 290




content on the Infowars site, it is more than merely plausible that they are working together in

concert. This is more than enough at the pleading stage, where again, to survive a motion to

dismiss, a complaint need only “contain sufficient factual matter, accepted as true, to state a

claim to relief that is plausible on its face.” Iqbal, 556 U.S. at 678.

        However, Plaintiffs have taken this a step further and submitted sworn affidavits of

themselves as well as Ms. Morales, Defendant Alex Jones’ ex-wife who swears under oath:

        Based on my personal knowledge and experience, David Jones runs Infowars with
        Alex Jones and helps him with his activities, including fixing media stories and
        endorsing and/or aiding his slanderous and/or fraudulent behaviors, all for profit.

        Alex Jones could not function without David Jones, and has conspired with him
        on the past to commit this breach of fiduciary duty and fraud on my
        business/estate with Alex Jones. While David Jones did this, he slandered and/or
        defamed me to experts and assisted Alex Jones and his attorneys to do the same,
        so as to steal/hide my estate and his grandchildren’s inheritance.

        Alex Jones is quasi-illiterate, and cannot use technology or apps such as email
        with any fluency, and he cannot function without assistance from those around
        him, including David Jones. Exhibit 2.

This was in addition to an affidavit submitted by David Jones himself on behalf of Alex Jones in

his bankruptcy case, where he states, “I have been involved with Alex Jones’ personal and

business finances for many years….” Exhibit 3.

        Notwithstanding the affidavits incorporated into a well pled Amended Complaint and

related pleadings, and the hard fact that all of the Defendants all closely work together as part of

Infowars and appeared together in concert on the same defamatory broadcasts, the law, which

was presented to the Magistrate, shows otherwise:

        Civil conspiracy is used to extend tort liability beyond the wrongdoer to those
        who merely planned, assisted, or encouraged his acts. See Carroll v. Timmers
        Chevrolet, Inc., 592 S.W.2d 922, 925-26 (Tex. 1979); Helping Hands Home
        Care, Inc. v. Home Health of Tarrant County, Inc., 393 S.W.3d 492, 506 (Tex.
        App.-Dallas 2013, pet. denied). Once a civil conspiracy is proved, each
        conspirator is responsible for all acts done by any of the conspirators in
                                                5
    Case 1:20-cv-00298-LY-DH Document 165-1 Filed 10/22/21 Page 62 of 290




       furtherance of the conspiracy. Bentley v. Bunton, 94 S.W.3d 561, 619 (Tex.
       2002); Carroll, 592 S.W.2d at 926 (Tex. 1979); Helping Hands, 393 S.W.3d at
       506. A finding of civil conspiracy imposes joint and several liability on all
       conspirators for actual damages resulting from the acts in furtherance of the
       conspiracy. Carroll, 592 S.W.2d at 925; Helping Hands, 393 S.W.3d at
       506. When a jury finds that liability for a civil conspiracy exists, this finding
       requires the legal conclusion to impose joint and several liability on the co-
       conspirators. LandAmerica Commonwealth Title Co. v. Wido, No. 05-14-00036-
       CV, 2015 Tex. App. LEXIS 11201, at *29 (Tex. App. Oct. 29, 2015).

       Additionally, under Restatement (Second) of Torts, § 577, comment f, “One is liable for

defamation by a third person whom as his servant, agent, or otherwise he directs or procures to

publish defamatory matter.” See also Universal Commun. Sys. v. Turner Broad. Sys., 2005 U.S.

Dist. LEXIS 58575, at *8 (S.D. Fla. Mar. 17, 2005) (“One is liable for defamation by a third

person whom as his servant, agent, or otherwise he directs or procures to publish defamatory

matter.”)

       Thus, given all of this, it was a grave error for Magistrate Austin to recommend dismissal

of Defendant Shroyer and Defendant David Jones on the basis of lack of personal involvement,

especially at the pleading stage, where it has been expressly alleged that (1) all of the Defendants

were working together in concert, and (2) each of the Infowars Defendants were acting at the

direction of Defendant Stone. Am. Comp. ¶ 36. Plaintiffs have more than adequately pled, if not

proved, all of the Defendants specific, personal involvement as set forth in the allegations of the

Amended Complaint. And if the Magistrate wanted more, he should not have stayed discovery,

creating a heads I win, tails you lose scenario.

             ii.       Magistrate Austin Erred By Recommending Dismissal of Defamation
                       Claims

       This defamatory statements at issue in this case are so outrageous that they are clearly

defamatory on their faces, and they are defamatory per se, as they harm Plaintiffs in their trade

and profession, and as such damages are presumed, as set forth in detail below. Statements that
                                             6
        Case 1:20-cv-00298-LY-DH Document 165-1 Filed 10/22/21 Page 63 of 290




injure a person in her office, profession, or occupation are typically classified as defamatory per

se. Hancock v. Variyam, 400 S.W.3d 59, 63–64 (Tex. 2013). These published statements are:

          (1) “He (Klayman) was ousted at Judicial Watch. Ask Tom Fitton [the
              current president of Judicial Watch] why he left. He was ‘ousted’ because
              of a ‘sexual harassment complaint.’” Am. Comp. ¶ 56.

          (2) “He’s (Klayman) never actually won a courtroom victory in his life.” Am.
              Comp. ¶ 55

          (3) “For those people out there who think...that Larry Klayman’s IQ is
              higher than 70, you’re wrong...” Am. Comp. ¶ 62.

          (4) “He’s (Klayman) incompetent, he’s a numbskull, he’s an idiot, he’s an
              egomaniac, and he could be the single worst lawyer in America. With him
              as Jerry Corsi’s lawyer, Corsi may get the electric chair. So your idea
              that he’s a good guy is entirely wrong” Am. Comp. ¶ 59

          (5) Plaintiff Klayman is a “piece of garbage.” Am. Comp. ¶ 61

          With regard to Plaintiff Dr. Corsi, Defendants have falsely and maliciously published

that:

          (1) “Plaintiff Corsi “seemed to be extremely mentally degraded to the point
              of what I would call dementia.” Am. Comp. ¶ 42

          (2) Defendant Alex Jones purportedly saw Plaintiff Corsi at a steakhouse “on
              the ground at another table” and that his security staff “thought he was
              dead in the elevator.” Am. Comp. ¶ 43

          (3) Accusing Plaintiff Corsi of having suffered a stroke, publishes maliciously
              that “whatever comes out of his mouth ain’t the truth.” Am. Comp. ¶ 44

          (4) that Plaintiff Corsi was “fired from World Net Daily.” Am. Comp. ¶ 49

          (5) “He (Corsi) was perfectly willing to lie, to perjure himself saying that a
              memo that he had wrote me was written on the 30th for the purposes of
              cover-up.... which is further proof that Jerry lied under oath.” Am.
              Comp. ¶ 50

          (6) “and then states that I knew about John Podesta’s emails being stolen in
              advance, the only proof of that is Jerry’s feeble alcohol affected memory
              – it’s a lie....” Am. Comp. ¶ 51

                                                7
    Case 1:20-cv-00298-LY-DH Document 165-1 Filed 10/22/21 Page 64 of 290




       (7) “Jerry was prepared to stab a principle Trump supporter in the back, he
           was perfectly prepared to bear false witness against me, even though I
           had done nothing in my entire life other than help him.” Am. Comp. ¶ 52

       (8) “all I ever did was show Jerry Corsi friendship and support and try to
           help him and his family and what I get is Judas Iscariot, the willingness to
           testify against me and help the deep state bury me....and then he makes
           up this story about helping me formulate a cover story.” Am. Comp. ¶ 53

       (9) “… you can always tell when Jerry Corsi is lying because his lips are
           moving....” Am. Comp. ¶ 54

       (10) “He [Corsi] was perfectly willing to bear false witness against me on
           multiple points that are complete fabrications.” Am. Comp. ¶ 64

       (11) “the good doctor [Corsi] has told a number of lies. In fact, he’s
           starting to conflate his lies.... he was perfectly willing to lie about me....
           but now lying about Alex Jones, lying about InfoWars, lying about Dr.
           (David) Jones, who’s one of the nicest, gentlest, sweetest, most honest men
           I have ever met, it’s beyond the pale.... Jerry Corsi can no longer be
           believed.” Am. Comp. ¶ 65

       (12) “I think you’ve [Corsi] been deep state from the beginning. Your
           whole birther thing is used as a club to destroy conservatives....I look
           forward to our confrontation. I will demolish you. You’re a fraudster, out
           of your alcoholic haze you have made up lies about David Jones and Alex
           Jones and Roger Stone and now I suspect they want you to lie about the
           President.” Am. Comp. ¶ 66

       (13) Plaintiff Corsi of being a “spook, back and forth with different
           agencies,” Am. Comp. ¶ 67

       (14) Falsely publishing a false statement of Plaintiff Corsi “not being able
           to walk.” Am. Comp. ¶ 68

                      1.     Magistrate Austin Erred In Finding that Plaintiffs Did Not
                             Allege Actual Malice

Magistrate Austin simply arbitrarily writes that “Corsi has failed to adequately allege that Alex

Jones knowingly made false statements or acted with reckless disregard for the truth in making

the complained of statements about Corsi, and has failed to adequately plead that Jones acted

with malice in making the statements.” ECF No. 108 at 14. This conclusion is reached with zero

                                               8
    Case 1:20-cv-00298-LY-DH Document 165-1 Filed 10/22/21 Page 65 of 290




analysis, supporting Plaintiffs’ assertion that the Report was written hastily and with

prejudgment in mind.

       Indeed, a review of the record shows that Magistrate Austin’s finding here was clearly

erroneous. First, and foremost, the Amended Complaint expressly sets forth that the Defendants

acted with actual malice, as they knew that the defamatory statements were false given their long

history, relationship, and familiarity with Plaintiffs: “Defendants, each and every one of them, as

set forth herein, acted with actual malice, in concert, as joint tortfeasors, as they knew that the

statements which they published were false…. Am. Comp. ¶ 36.

       The Amended Complaint sets forth the fact that Defendants “have known Plaintiff Corsi

for a long time and even worked with him… so they were well aware that the statements made

by the co- Defendant Stone, and their own false, misleading, malicious and defamatory

statements were, indeed, false, as well as their acting as agents of, much less their ratification of

the malicious false statements published by Defendant Stone on their networks and media sites.”

Am. Comp. ¶ 39. This is further buttressed by Dr. Corsi’s affidavit, Exhibit 1, which details his

long-standing relationships with the Defendants:

       I personally know Defendant Roger Stone (“Defendant Stone”) and he personally
       knows my qualifications and me. I have even ghostwritten books for Defendant
       Stone and we used to be friends and colleagues. Defendant Stone is thus
       intimately familiar with my personal and professional history.

       In 2016, after the presidential election, I worked very closely with Alex Jones and
       his father David Jones, as well as with the Infowars staff, including Owen
       Shroyer. I made multiple trips to Austin, Texas, to appear live in-studio on
       Infowars broadcasts. I accepted an assignment from Alex Jones to create for
       Infowars a news bureau in Washington, D.C. From the beginning, I found Alex
       Jones to be erratic, subjects to emotional outbursts, even reacting that I was trying
       to “steal his company” when with his father’s assistance, I brought a multi-million
       dollar legitimate investment offer from highly credible sources to the table to
       discuss the proposal with Alex and his father.


                                                 9
    Case 1:20-cv-00298-LY-DH Document 165-1 Filed 10/22/21 Page 66 of 290




       Several times, concerned that I might quit over how badly Alex Jones was treating
       me, Dr. Jones met with me privately, often over breakfast. In those breakfasts, I
       counseled Dr. Jones over my concerns that Alex should seek professional
       psychological help. While in my work under various contracts with federal
       government agencies to consult over anti-terrorism tactics, I had the opportunity
       to work with very experienced psychiatrists and psychologists. Still, I am not
       medically trained, and I cautioned Dr. Jones that the problems I perceived with
       Alex’s behavior should be professionally evaluated by qualified medical
       professionals. Exhibit 1.

Indeed, as conclusive evidence that Defendants were acting with actual malice, as set forth in Dr.

Corsi’s affidavit, Indeed, Dr. Corsi’s book, “Killing the Deep State,” was at all material times,

still available for sale on the Infowars website! Exhibit 1. This shows that the Infowars

Defendants at all times knew that Dr. Corsi was neither an alcoholic nor a liar, yet still willingly

participated in branding him as such. This is textbook actual malice.

       With regard to Plaintiff Klayman, “At 1:30 in the January 18 Video, Stone maliciously

falsely published, “He (Klayman) was ousted at Judicial Watch. Ask Tom Fitton [the current

president of Judicial Watch] why he left. He was ‘ousted’ because of a ‘sexual harassment

complaint.’” Defendant Stone had no basis to make these false, malicious, and defamatory

claims. As pled in the Amended Complaint, Mr. Klayman “left Judicial Watch

voluntarily on his own accord in order to run for U.S. Senate in Florida in 2003 -2004.”
Am. Comp.       ¶57. This is a fact. Defendant Stone’s false revisionist history is a malicious
and false statement of fact.

       Furthermore, as the final “nail in the coffin” to Defendant Stone’s assertions, Thomas

Fitton (“Fitton”), under oath, at a deposition in another matter testified that “[y]ou [Mr.

Klayman] weren’t ousted as a result of a sexual harassment complaint.” Exhibit 5. This

conclusively shows that Defendant Stone, in concert with the Infowars Defendants, published an

objectively verifiable false statement. Indeed, at the same deposition, Fitton admits to never have


                                                10
    Case 1:20-cv-00298-LY-DH Document 165-1 Filed 10/22/21 Page 67 of 290




spoken to Stone, which shows that Stone simply made this lie up. Exhibit 5. Stone admitted

under oath in a deposition that he did not speak to Fitton about this either, so it’s clear that Stone

made this up to defame Mr. Klayman. Exhibit 5. This evidences the fact that Defendant Stone, in

concert with the other Defendants, acted with actual malice.

        Furthermore, Mr. Klayman’s affidavit further shows that Defendant Stone and the other

Defendants, acting in concert, with actual malice and at a minimum acted with reckless disregard

for the truth.

        Defendant Stone was a “political consultant” who claimed to help get presidents
        and other politicians elected. The firm made money by then lobbying the very
        men they put in office.

        Defendant Stone backed Republican candidate Jack Kemp for President and he
        recommended that I be put on the executive finance committee, which also
        included Donald J. Trump.

        Because Defendant Stone knew of my successes and capabilities as a private
        lawyer, he told me that he had recommended me for U.S. Attorney when
        George Bush was President in 1992.

        In 1996, at a Republican Convention in San Diego, California, Defendant Stone
        was filmed at a “toga party” with his wife at a “swingers party.

        The media at the time went after Defendant Stone because of his alleged
        participation in the “sex party” and created a scandal.

        The media alleged at the time that Defendant Stone solicited sex half-naked, and
        that there was a picture of Defendant Stone in a compromising position to back up
        the story.

        Defendant Stone contacted me and, because he knew my capabilities and
        acumen as a lawyer, retained me to represent him to get the media to cease
        what he claimed then was a smear campaign.

        I successfully got the media to back off Defendant Stone through my skill as
        a lawyer and Defendant Stone was grateful.

        Because he was aware of my prior successes at Judicial Watch and before,
        Defendant Stone wanted to work with me as my U.S. Senate campaign manager.

                                                 11
    Case 1:20-cv-00298-LY-DH Document 165-1 Filed 10/22/21 Page 68 of 290




        During this time, the spring, summer, and fall of 2003, and in preparation for my
        U.S. Senate run, Defendant Stone researched and kept books and records of many
        of my accomplishments. He had several binders (2-3 feet) full of information
        about me and the victories that I had obtained at Judicial Watch and elsewhere.
        Again, because Defendant Stone knew of my successes and legal political
        acumen, Defendant Stone wanted to be on my team and help me run for the U.S.
        Senate.

        Defendant Stone thus knew of many cases I had won in courtrooms and other
        legal accomplishments and in fact had kept records of successes in a book of my
        accomplishments. Exhibit 4.

Accordingly, this shows that Defendant Stone had actual knowledge that his statement

regarding Mr. Klayman’s abilities as a lawyer were flat out false, including but not limited to the

“fact” that Mr. Klayman had “never won a courtroom victory in his life.” Thus, Mr. Klayman has

also far exceeded any requisite showing of actual malice. Thus, Magistrate Austin’s finding

that Plaintiffs failed to show actual malice was a clear error.

                        2.      Magistrate Austin Erred By Finding Defendants’ Statements
                                Unactionable as Defamation

        Magistrate Austin’ Report is limited to statements made by Defendant Alex Jones of and

concerning Dr. Corsi. Because he makes no finding that Defendant Stone’s statements were not

defamatory, to the extent that the Court adopts any part of Magistrate Austin’s Report, this

finding concerning Defendant Stone must also be adopted. Magistrate Austin only found that the

defamation claims against Defendant Stone fall outside of the statute of limitations.

        The elements that a defamation plaintiff must prove are that (a) the defendant published a

false statement of fact; (b) the statement defamed the plaintiff; (c) the defendant acted with

actual malice, if the plaintiff is a public figure or a public official, or negligently, if the plaintiff

is a private individual; and (d) the statement proximately caused damages.” Rodriguez v.

Gonzales, 566 S.W.3d 844, 848 (Tex. App. 2018). Furthermore, in a claim for defamation per se,

damages are presumed, as the “statements are so obviously harmful that damages, such as mental
                                              12
    Case 1:20-cv-00298-LY-DH Document 165-1 Filed 10/22/21 Page 69 of 290




anguish and loss of reputation, are presumed.” Van Der Linden v. Khan, 535 S.W.3d 179, 198

(Tex. App. 2017). Statements that injure a person in her office, profession, or occupation are

typically classified as defamatory per se. Hancock v. Variyam, 400 S.W.3d 59, 63–64 (Tex.

2013). A defamation by implication claim arises when a “when discrete facts, literally or

substantially true, are published in such a way that they create a substantially false and

defamatory impression by omitting material facts or juxtaposing facts in a misleading way.”

Dall. Morning News, Inc. v. Tatum, 554 S.W.3d 614, 627 (Tex. 2018).

       Furthermore, the Supreme Court of Texas has found that a defendant may not escape

liability for his defamatory conduct simply by couching his defamatory statement as an

“opinion.” Bentley v. Bunton, 94 S.W.3d 561 (Tex. 2002). The Bentley court gave an example:

       If a speaker says, "In my opinion John Jones is a liar," he implies a knowledge of
       facts which lead to the conclusion that Jones told an untruth. Even if the speaker
       states the facts upon which he bases his opinion, if those facts are either incorrect
       or incomplete, or if his assessment of them is erroneous, the statement may still
       imply a false assertion of fact. Simply couching such statements in terms of
       opinion does not dispel these implications; and the statement, "In my opinion
       Jones is a liar," can cause as much damage to reputation as the statement, "Jones
       is a liar." As Judge Friendly aptly stated: be destructive of the law of libel if a
       writer could escape liability for accusations of [defamatory conduct] simply by
       using, explicitly or implicitly, the words 'I think.'" See Cianci [v. New Times
       Publishing Co., 639 F.2d 54, 64 (2d Cir., 1980)]. It is worthy of note that at
       common law, even the privilege of fair comment did not extend to "a false
       statement of fact, whether it was expressly stated or implied from an expression of
       opinion." Restatement (Second) of Torts, § 566, Comment a (1977). Id. at 583-84.

Magistrate Austin committed a grave error in ignoring the black letter law of the Bentley Court

and recommending that the Defendants escape liability simply by couching their factual

defamatory statements as opinion.

                                  a. Statements Concerning Dr. Corsi

       There are numerous defamatory statements at issue in this matter, each of which are

defamatory per se, as they directly involve Plaintiffs’ trades and professions and therefore
                                            13
    Case 1:20-cv-00298-LY-DH Document 165-1 Filed 10/22/21 Page 70 of 290




damages are presumed. This also evidences the fact that these statements qualify as commercial

speech under the Lanham Act, since Defendants are disparaging and discrediting Plaintiffs in

their trades and professions, as Plaintiffs and Defendants are commercial competitors. This is set

forth in detail in the following section.

       The first statement at issue appears in paragraph 42 of the Amended Complaint, where

Defendant Alex Jones stated that Dr. Corsi “seemed to be extremely mentally degraded to the

point of what I would call dementia.” Magistrate Austin found that this was Alex Jones “offering

his opinion regarding how he perceived Corsi’s cognitive state based on seeing him in person.”

However, this is an erroneous conclusion under Bentley. Whether a person is “mentally

degraded” is a medical question of fact. One either is, or is not. Defendant Alex Jones takes it a

step further, making a diagnosis of “dementia.” Again, this is an objective medical diagnosis that

is a statement of fact. One either has dementia or he doesn't. Dr. Corsi is neither “mentally

degraded” not does he have “dementia.” Thus, the statements of “fact” spewed by Defendant

Alex Jones are objectively and provably false. It should make no difference under well-

established precent that Alex Jones cleverly couched this as opinion. Thus, Magistrate Austin’s

finding was erroneous.

       The second statement at issue appears in paragraph 43 of the Amended Complaint, where

“Defendant Alex Jones, acting in concert with the other Defendants, maliciously fabricates a

story where he purportedly saw Plaintiff Corsi at a steakhouse “on the ground at another table”

and that his security staff “thought he was dead in the elevator.” Magistrate Austin’s prejudice

and haste in writing his Report truly comes through with regard to these false and defamatory

statements, which Alex Jones did not even attempt to couch as opinion. These are two statements

of objectively verifiable fact. Either Dr. Corsi collapsed or he didn't, and either his security staff

                                                 14
    Case 1:20-cv-00298-LY-DH Document 165-1 Filed 10/22/21 Page 71 of 290




thought he “was dead in the elevator” or they didn't. This is not a question of what Alex Jones

perceived, as Magistrate Austin erroneously writes. It is a question of (1) whether Dr. Corsi

collapsed at a steakhouse, and (2) whether his security staff thought Dr. Corsi was dead in the

elevator. This finding was clearly erroneous.

        The third statement at issue appears in paragraph 44 of the Amended Complaint, where

“after accusing Plaintiff Corsi of having suffered a stroke, publishes maliciously that “whatever

comes out of his mouth ain’t the truth.” This is textbook defamation, especially in the context of

Defendant Alex Jones’ previous attempts to cast Dr. Corsi as a liar or, at a minimum, someone

mentally incapable of telling the truth. As set forth above, falsely accusing someone of having

suffered a stroke is not only reprehensible, but it is also stating a false, objectively verifiable fact.

Magistrate Austin admits as much, expressly finding that the statement that “[Corsi] had a

stroke,” however, is a straightforward factual statement, which, if false could support a

defamation claim.” ECF No. 108 at 12. However, he then strains to still find this statement as

non-actionable, despite clearly making the opposite finding, based on supposed “context” in the

form of Alex Jones saying, “I think he’s got dementia or a stroke I mean I don’t know,” and his

description of Corsi having “a really sharp brain until about a year ago.” There is absolutely

nothing about this supposed “context” that lessens the defamatory impact of this statement. If

anything, it amplifies the defamatory nature, as he falsely accuses Dr. Corsi of having suffered a

stroke more than once! Whether indicative of strong bias and prejudice, or simple hasty

carelessness, this is a clear error in Magistrate Austin’s Report.

        The fourth statement at issue is that “Defendant Alex Jones maliciously and falsely

accuses Plaintiff Corsi of being a ‘spook, back and forth with different agencies,’ falsely saying

that Dr. Corsi had worked with different government agencies.” Am. Comp. ¶ 67. This is an

                                                   15
    Case 1:20-cv-00298-LY-DH Document 165-1 Filed 10/22/21 Page 72 of 290




actual statement where the context is important, but tellingly, Magistrate Austin here refuses to

consider said context. However, the defamatory nature of this false statement of fact is apparent

when considering the context in which it was made. This statement was made to advance the

false notion that Dr. Corsi was cooperating with Special Counsel Mueller to try to take down

Stone, and by extension, President Trump. By publishing the false statement that Dr. Corsi is

now working with Mueller to take down Trump, the Infowars Defendants has severely harmed

Plaintiff Corsi professional image and reputation. This has negatively impacted Plaintiff Corsi’s

ability to garner support and make a living in the conservative community. Falsely accusing Dr.

Corsi of working with Mueller to take down President Trump is tantamount to an accusation of

“treason” in the conservative community. Indeed, conservatives who support Trump and

believed Defendants’ false statements would understandably be turned off to Dr. Corsi’s work.

       Lastly, Magistrate Austin does not even address Alex Jones’ falsely accusing Dr. Corsi

sometimes “sometimes “not being able to walk,” creating the false and defamatory implication

that he is an alcoholic.” Am. Comp. ¶ 68. There is no possible “context” where this is not

defamatory. Merely falsely asserting that at some point, Dr. Corsi had been, or continues to be

unable to even walk, especially when trying to accuse Dr. Corsi of alcoholism, clearly tends to

injure reputation in the popular sense; to diminish the esteem, respect, goodwill or confidence in

which the plaintiff is held, or to excite adverse, derogatory or unpleasant feelings or opinions

against him.

                                 b. Statements Concerning Mr. Klayman

       As with Dr. Corsi, Defendants’ defamation of Mr. Klayman is per se defamatory as they

are specifically targeting Mr. Klayman’s trade and profession.



                                               16
    Case 1:20-cv-00298-LY-DH Document 165-1 Filed 10/22/21 Page 73 of 290




       For instance: “At 1:30 in the January 18 Video, Stone maliciously falsely published, “He

(Klayman) was ousted at Judicial Watch. Ask Tom Fitton [the current president of Judicial

Watch] why he left. He was ‘ousted’ because of a ‘sexual harassment complaint.’” Defendant

Stone had no basis to make these false, malicious, and defamatory claims. As pled in the

Amended Complaint, Mr. Klayman “left Judicial Watch voluntarily on his own accord in
order to run for U.S. Senate in Florida in 2003 -2004.” Am. Comp.                ¶57. This is a fact.
Defendant Stone’s false revisionist history evidences actual malice and is clearly a false
statement of fact.

       Furthermore, as the final “nail in the coffin” to Defendant Stone’s assertions, Thomas

Fitton (“Fitton”), under oath, at a deposition in another matter testified that “[y]ou [Mr.

Klayman] weren’t ousted as a result of a sexual harassment complaint.” Exhibit 5. This

conclusively shows that Defendant Stone, in concert with the Infowars Defendants, published an

objectively verifiable false statement. Indeed, at the same deposition, Fitton admits to never have

spoken to Stone, which shows that Stone simply made this lie up. Exhibit 5. Stone admitted

under oath in a deposition that he did not speak to Fitton about this either, so it’s clear that Stone

made this up to defame Mr. Klayman. Exhibit 5.

       Furthermore, Defendant Stone, in concert with the Infowars Defendants made the false

statement that Mr. Klayman had “never actually won a courtroom victory in his life.” Am.

Comp. ¶ 55. To the contrary:

       Klayman has been a practicing attorney for over four decades and has won
       numerous cases on behalf of his clients and also against the government for
       constitutional and other violations. He is the founder of both Judicial Watch and
       Freedom Watch, a former candidate for the U.S. Senate in Florida, a former trial
       attorney and prosecutor of the Antitrust Division of the U.S. Department of
       Justice, where he was a member of the trial team that successfully broke up the
       AT&T monopoly and created competition in the telecommunications industry.
       Among many other legal victories, Plaintiff Klayman also won landmark
       decisions at the chairman and general counsel of Freedom Watch enjoining the
                                               17
    Case 1:20-cv-00298-LY-DH Document 165-1 Filed 10/22/21 Page 74 of 290




       illegal mass surveillance by the National Security Agency. Klayman v. Obama,
       1:13-cv-851 (D.D.C). Am. Comp. ¶ 60.

This is further disproved in Mr. Klayman’s affidavit. Exhibit 4.

       Later, with my law firm, I won Section 337 unfair trade practice cases at the
       U.S. International Trade Commission ("USITC") concerning tennis rackets from
       Belgium, power tools from Taiwan, luggage from Taiwan, mass spectrometers
       from France, jam from Belgium, and machine tools from Brazil. I won a
       landmark case concerning recloseable plastic bags, which broke the patents of
       Minigrip and Dow Corning, Minigrip's licensee. That case victory opened up
       competition for zip lock bags, a multi-trillion dollar industry. Exhibit 4.

       I won a jury trial against Makita over power tools, another jury trial against
       domestic manufacture of removable swimming pools for my client Remove Pool
       Fence Co., and yet another jury trial for my client, Maccaferri, on a contract
       dispute. Exhibit 4.

       I brought a case for Jose Basulto of Brothers to the Rescue in a Florida court,
       which resulted in a $1.8 million judgment against the Republic of Cuba for
       shooting down Brothers to the Rescue planes, and I represented the Miami family
       of Elian Gonzales and other victims of Fidel Castro, such as journalists who were
       jailed by Castro for their political beliefs. In this regard, I not only filed criminal
       complaints for these victims against Fidel Castro in Belgium courts, but also
       lobbied and testified in both Italian and French in Italy and France, as I am fluent
       in both languages, before various European parliaments to increase economic
       sanctions on Cuba for abuse of human rights. I also lobbied the European Union
       in Brussels, Belgium for increased sanctions on Cuba. Exhibit 4. ECF No. 73.

Thus, despite Magistrate Austin choosing not to address it in his Report, there are clearly

actionable defamatory statements as to Mr. Klayman.

            iii.      Magistrate Austin Erred in Finding that Plaintiffs Lacked Standing
                      Under the Lanham Act

       The Lanham Act protects consumers from being misled by the use of "unfair practices by

an imitating competitor." ADT, LLC v. Capital Connect, Inc., 145 F. Supp. 3d 671, 686 (N.D.

Tex. 2015). Under Section 43(a) of the Lanham Act:

       Any person who, on or in connection with any goods or services, or any
       container for goods, uses in commerce any word, term, name, symbol, or
       device, or any combination thereof, or any false designation of origin, false or
       misleading description of fact, or false or misleading representation of fact,
                                             18
    Case 1:20-cv-00298-LY-DH Document 165-1 Filed 10/22/21 Page 75 of 290




       which— (A) is likely to cause confusion, or to cause mistake, or to deceive as
       to the affiliation, connection, or association of such person with another person,
       or as to the origin, sponsorship, or approval of his or her goods, services, or
       commercial activities by another person, or (B) in commercial advertising or
       promotion, misrepresents the nature, characteristics, qualities, or geographic
       origin of his or her or another person's goods, services, or commercial
       activities, shall be liable in a civil action by any person who believes that he or
       she is or is likely to be damaged by such act. 15 U.S.C. 1125.

Here, Mr. Klayman is “a media personality and author, columnist, and syndicated radio talk

show host.” Am. Comp. ¶ 4. Dr. Corsi is an “author and political commentator….” Am.

Comp. ¶ 3. “Plaintiffs Corsi and Plaintiff Klayman are both competitors to Defendants as

conservative media personalities, broadcasters, authors and columnists on social media and

elsewhere.” Am. Comp. ¶ 70. Thus, both Mr. Klayman and Dr. Corsi are media personalities

who derive income from their appearances on radio and the internet. Defendant Stone clearly

also appears on radio and internet in order to derive income, as evidenced by the allegations

against him in paragraphs 47-63 of the Amended Complaint, where he appeared on The

War Room with Defendant Owen Shroyer. The same is true of the Infowars Defendants, who

derive their income from their internet and radio broadcasts of their programming through

the Infowars network and website.

       The Amended Complaint clearly and expressly alleges that:


       Plaintiffs, like Defendants, rely on viewer and listener financial and other support
       and sales and their reputations and good will in order to continue their work.
       Defendants’ false and/or misleading statements concerning Plaintiffs is meant to,
       and has, diverted financial and other support, referrals and sales away from
       Plaintiffs and to Defendants instead, and severely harmed Plaintiffs’ personal and
       professional reputations. Am. Comp. ¶ 74.

This is further buttressed in Dr. Corsi’s affidavit. Exhibit 1. Dr. Corsi declared:

       In 2016, after the presidential election, I worked very closely with Alex Jones
       and his father David Jones, as well as with the Infowars staff, including
       Owen Shroyer. I made multiple trips to Austin, Texas, to appear live in-studio
                                               19
    Case 1:20-cv-00298-LY-DH Document 165-1 Filed 10/22/21 Page 76 of 290




       on Infowars broadcasts. I accepted an assignment from Alex Jones to create for
       Infowars a news bureau in Washington, D.C. From the beginning, I found Alex
       Jones to be erratic, subjects to emotional outbursts, even reacting that I was
       trying to “steal his company” when with his father’s assistance, I brought a
       multi-million dollar legitimate investment offer from highly credible sources to
       the table to discuss the proposal with Alex and his father. Exhibit 1.

       Given the fact that Dr. Corsi used to “work…very closely” with the Infowars Defendants,

as well as the other pled factual allegations, it is clear that they are all in the same commercial

field, and are therefore competitors. Exhibit 1

       Thus, the Amended Complaint clearly alleges that each of the Defendants were all

direct competitors to Plaintiffs as media personalities and commentators who derive income

from the internet and radio. Am. Comp. ¶ 70.

       Furthermore, the Lanham Act prescribes liability for “commercial advertising or

promotion.” 15 U.S.C. § 1125(a)(1)(B). One of the factors that the Supreme Court has set forth

in determining “commercial speech” is whether the speaker had an economic motivation for

distributing the material. Bolger v. Youngs Drug Prods. Corp., 463 U.S. 60, 67 (1983).

Defendant Stone’s and the other Defendants’ economic strong economic motivation is expressly

pled in the Amended Complaint. For instance, “Defendants’ false and/or misleading statements

concerning Plaintiffs is meant to, and has, diverted financial and other support, referrals and

sales away from Plaintiffs and to Defendants instead, and severely harmed Plaintiffs’ personal

and professional reputations.” Am. Comp. ¶ 74.

       Accordingly, the Amended Complaint clearly sets forth (1) the Plaintiffs and Defendants

are all competitors and (2) that Defendants engaged in commercial speech. Magistrate Austin

erred in minimizing Plaintiff’s claims as alleging “[t]he mere fact that the parties may compete in

the marketplace of ideas….” As set forth in Am. Comp. ¶ 74, “Defendants’ false and/or

misleading statements concerning Plaintiffs is meant to, and has, diverted financial and other
                                              20
    Case 1:20-cv-00298-LY-DH Document 165-1 Filed 10/22/21 Page 77 of 290




support, referrals and sales away from Plaintiffs and to Defendants instead, and severely harmed

Plaintiffs’ personal and professional reputations.” This is textbook commercial speech, meant to

degrade the nature of Plaintiffs’ services and divert business to Defendants instead.

       Lastly, and Magistrate Austin does not find otherwise, each of the Defendants are clearly

within the statute of limitations for Plaintiffs’ claims under the Lanham Act.

            iv.        Magistrate Austin Erred in Finding That Plaintiffs Did Not
                       Adequately Plead Intentional Infliction of Emotional Distress

       To succeed on a claim of intentional infliction of emotional distress, a plaintiff must

show that “1) the defendant acted intentionally or recklessly, 2) the conduct was extreme and

outrageous, 3) the actions of the defendant caused the plaintiff emotional distress, and 4)

the emotional distress suffered by the plaintiff was severe.” Twyman v. Twyman, 855 S.W.2d

619, 621 (Tex. 1993). Texas Courts have held that a single threat of physical harm or

death can sustain a claim for intentional infliction of emotional distress. “With the possible

exceptions of the bomb and death threats, no single action…rises to the level of

intentional infliction of emotional distress.” Household Credit Servs., Inc. v. Driscol, 989

S.W.2d 72, 82 (Tex. App. El Paso 1998).

       Here, Defendant Stone directly threatens Dr. Corsi, after maliciously defaming him,

saying “I think you’ve [Corsi] been deep state from the beginning. Your whole birther thing is

used as a club to destroy conservatives…. I look forward to our confrontation. I will demolish

you. You’re a fraudster, out of your alcoholic haze you have made up lies about David Jones and

Alex Jones and Roger Stone and now I suspect they want you to lie about the President.” Am.

Comp. ¶ 66. (emphasis added). This is a direct, credible threat to Dr. Corsi’s life and the lives of

those around him.


                                                21
     Case 1:20-cv-00298-LY-DH Document 165-1 Filed 10/22/21 Page 78 of 290




        Magistrate Austin errs in finding that this claim was derivative of the defamation claims.

Plaintiffs’ IIED claims are apart from any claim for defamation, as Defendant Stone’s intent was

to specifically cause Dr. Corsi emotional distress and physical harm, which would have removed

Dr. Corsi as a witness who could by Stone’s paranoid thinking testified against him at his

criminal prosecution. Lastly, it is indisputable that Texas has a two year statute of limitations for

Intentional Infliction of Emotional Distress, so Defendant Stone’s actions fall squarely within

that period.

               v.          Magistrate Austin Erred in Finding That Plaintiffs Did Not
                           Adequately Plead Assault

        In order to sustain a claim for assault, a Plaintiff need only plead that the Defendant

“intentionally or knowingly threatens another with imminent bodily injury.” Moore v. City

of Wylie, 319 S.W.3d 778, 782 (Tex. App. 2010).

        Defendant Stone made direct threats to Dr. Corsi’s life, saying “I look forward to

our confrontation. I will demolish you.” Am. Comp ¶ 66. These threats are more than

credible, as Stone also threatened to kill Randy Credico and his service dog. Am. Comp. ¶

66. Thus, it was more than perfectly reasonable for Plaintiffs to take this as a credible threat on

their lives.

               vi.         Defendant Stone’s Statute of Limitations

        It is telling that the Defendants argued that Florida law should apply, in an attempt to

have this Court apply the Florida Anti-SLAPP statute. Plaintiffs would welcome Florida law

being applied to this case as to Stone, who resides in South Florida and is a citizen of Florida,

along with its two-year statute of limitations for defamation.

        b.           Magistrate Austin’s Report Contains Numerous Factual Errors


                                                  22
    Case 1:20-cv-00298-LY-DH Document 165-1 Filed 10/22/21 Page 79 of 290




       In addition to the numerous legal errors set forth above, Magistrate Austin’s Report

contains a litany of factual errors that evidence that his Report was given “short shrift,” and was

simply hastily written on the eve of his retirement.

       First, Magistrate Austin’s Report recommended dismissal of the Amended Complaint

against Defendant David Jones without prejudice on page 10, but then, deciding on his own that

even leave to amend would be futile, writes at page 17 “…the undersigned recommends that the

Court not permit Corsi or Klayman leave to amend, and dismiss (all) the claims with prejudice.”

It is clear that, in haste, the Magistrate Austin right hand had no idea what his left hand was

doing. Errors like this strongly evidence the fact that Magistrate Austin gave Plaintiffs’

submissions little to no consideration.

       Second, the Magistrate, relying on a sua sponte order of another judge in another case

which did not even involve Plaintiff Corsi, states in his Report that he and Mr. Klayman had an

obligation to amend a complaint which Mr. Klayman voluntarily dismissed. Klayman v.

Infowars, Case No. 20-cv-80614 (S.D. Fla. Apr. 8, 2020). However, the cold hard fact remains

that this case was not dismissed by the judge, but voluntarily dismissed by Mr. Klayman alone,

when he concluded based on objective facts that the judge had a personal relationship with Roger

Stone and had likely been recommended for appointment by President Trump to the federal

bench by Stone, one of the Defendants. Indeed, Mr. Klayman inquired about this with the 38

year old newly appointed and confirmed judge and he refused to respond, necessitating a

complaint, asking for an investigation, with the Judicial Council of the Eleventh Circuit, which

remains pending. Tellingly, the Infowars Defendants picked up on this error and even falsely

tried to use this to their advantage, falsely writing in their opposition Plaintiffs’ Motion to Vacate



                                                 23
      Case 1:20-cv-00298-LY-DH Document 165-1 Filed 10/22/21 Page 80 of 290




the Report and Recommendation that this case had been dismissed by the judge instead of

voluntarily dismissed by Mr. Klayman.

        These errors are indicative of the prejudice and hastiness that is readily evident in

Magistrate Austin’s fatally flawed report.

IV.     CONCLUSION

        As shown above, Magistrate Austin’s Report is filled with both legal and factual errors

that must not be adopted but instead put aside by this Honorable Court. These errors strongly

indicate that Magistrate Austin gave Plaintiffs’ submissions little to no consideration, and that he

hastily crafted the Report on the eve of his retirement. Accordingly, the Report should be given

no weight, and the Honorable Lee Yeakel should now rule that this case must go to discovery

and then trial. This is underscored by the “heads I win, tails you lose” approach used by

Magistrate Austin where be made up his own facts, taking the matter away from a jury, that he

pulled out of thin air, then unjustifiably stayed discovery contrary to the directive of Judge

Yeakel to move this case along to trial at the outset of this case being transferred to this Court.

        Plaintiffs Corsi and Klayman have been seriously damaged—which continues to this day

–by the tortious actions of all of the Defendants, acting in concert, and they at least deserve their

day in court before a jury of their peers.

Dated: June 8, 2021                                           Respectfully Submitted,


                                                              /s/Sanjay Biswas
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                                                 24
    Case 1:20-cv-00298-LY-DH Document 165-1 Filed 10/22/21 Page 81 of 290




                                                         Counsel for Dr. Jerome Corsi

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                                                         Tel: 561-558-5336

                                                         Plaintiff Pro Se




                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on June 8, 2021, a true copy of the foregoing was filed via

ECF and served to all counsel of record though the Court’s ECF system.


                                                                 /s/ Sanjay Biswas




                                             25
Case 1:20-cv-00298-LY-DH Document 165-1 Filed 10/22/21 Page 82 of 290




               EXHIBIT 1
    Case
     Case1:20-cv-00298-LY-DH
          1:20-cv-00298-LY-AWA
                             Document
                               Document
                                      165-1
                                         74 Filed 09/30/20
                                                  10/22/21 Page 23
                                                                83 of 39
                                                                      290



                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS
                                       AUSTIN DIVISION

                                                §
DR. JEROME CORSI and                            §     CIVIL ACTION NO. 1:20-CV-00298-LY
LARRY KLAYMAN,                                  §
                                                §
               Plaintiffs,
                                                §
       vs.                                      §
                                                §
INFOWARS, LLC, FREE SPEECH                      §
SYSTEMS, LLC, ALEX E. JONES,                    §
DAVID JONES, OWEN SHROYER, and                  §
ROGER STONE                                     §
                                                §
               Defendants.


                     SWORN DECLARATION OF DR. JEROME CORSI

       I, Dr. Jerome Corsi, being over eighteen years of age and duly competent to testify,

hereby swear and affirm as follows:

       1.      I have personal knowledge of the following facts and if called upon as a witness,

could testify competently thereto.

       2.      I graduated magna cum laude with a B.A. in Political Science and Economics

from Case Western Reserve University in 1968.

       3.      I received a Ph.D. in Political Science from Harvard University in 1972.

       4.      For over twenty-five (25) years, I worked in banking and finance, establishing

investment programs for banks in the United States and worldwide to create financial planning

services for their retail customers.

       5.      From 1968 to 1981, I worked at various universities where I conducted research

on federally funded grants.




                                                1
    Case
     Case1:20-cv-00298-LY-DH
          1:20-cv-00298-LY-AWA
                             Document
                               Document
                                      165-1
                                         74 Filed 09/30/20
                                                  10/22/21 Page 24
                                                                84 of 39
                                                                      290




       6.      In 1981, I published “Terrorism as a Desperate Game: Fear, Bargaining, and

Communication in the Terrorist Event” in Journal of Conflict Resolution, a mathematical game-

theoretical model for predicting the outcome of terrorist events.

       7.      The content of my publication resulted in a top-secret clearance by the U.S.

Department of State’s (“State Department”) Agency for International Development, where I

joined a team of psychiatrists and psychologists to develop a hostage-survival training program

for State Department’s officials overseas.

       8.      Since 2004, I have published over twenty-five (25) books, seven (7) of which

were New York Times Bestsellers, including two (2) #1 New York Times Best-sellers.

       9.      In addition to being a New York Times Bestselling author, I am also an

investigative journalist and political analyst.

       10.     I currently hold active Life & Health insurance licenses, as well as Property &

Casualty insurance licenses in New Jersey.

       11.     For over twenty (20) years, I have been a licensed National Association of

Security Dealers registered representative, currently holding FINRA-registered licenses as a

Registered Principal, Financial Principal, Options Principal and Municipals Principal.

       12.     I have been a frequent guest on radio and television shows, including but not

limited to appearances on CNN, Fox News, Fox Business, MSNBC, and on Infowars, before

having been defamed by Defendants.

       13.     I personally know Defendant Roger Stone (“Defendant Stone”) and he personally

knows my qualifications and me. I have even ghostwritten books for Defendant Stone and we

used to be friends and colleagues. Defendant Stone is thus intimately familiar with my personal

and professional history.




                                                  2
    Case
     Case1:20-cv-00298-LY-DH
          1:20-cv-00298-LY-AWA
                             Document
                               Document
                                      165-1
                                         74 Filed 09/30/20
                                                  10/22/21 Page 25
                                                                85 of 39
                                                                      290




       14.     In 2016, after the presidential election, I worked very closely with Alex Jones and

his father David Jones, as well as with the Infowars staff, including Owen Shroyer. I made

multiple trips to Austin, Texas, to appear live in-studio on Infowars broadcasts. I accepted an

assignment from Alex Jones to create for Infowars a news bureau in Washington, D.C. From the

beginning, I found Alex Jones to be erratic, subjects to emotional outbursts, even reacting that I

was trying to “steal his company” when with his father’s assistance, I brought a multi-million

dollar legitimate investment offer from highly credible sources to the table to discuss the

proposal with Alex and his father.

       15.     Several times, concerned that I might quit over how badly Alex Jones was treating

me, Dr. Jones met with me privately, often over breakfast. In those breakfasts, I counseled Dr.

Jones over my concerns that Alex should seek professional psychological help. While in my

work under various contracts with federal government agencies to consult over anti-terrorism

tactics, I had the opportunity to work with very experienced psychiatrists and psychologists. Still,

I am not medically trained, and I cautioned Dr. Jones that the problems I perceived with Alex’s

behavior should be professionally evaluated by qualified medical professionals.

       16.     My efforts to create a news bureau in the nation’s capital failed because Alex

Jones insisted that staff I wanted to hire must work for free as “interns.” Throughout my 12

years at World Net Daily, I frequently had White House press credentials. In 2012, the Secret

Service cleared me to work as “traveling press,” riding on the Romney campaign airplane for the

last 3 weeks of the presidential campaign. At no time was I ever denied press credentials at the

highest levels was alcohol ever raised as an issue in the many extensive background checks I

underwent. In the early 1980s, I received Top Secret clearance from the federal government to




                                                 3
    Case
     Case1:20-cv-00298-LY-DH
          1:20-cv-00298-LY-AWA
                             Document
                               Document
                                      165-1
                                         74 Filed 09/30/20
                                                  10/22/21 Page 26
                                                                86 of 39
                                                                      290




work on anti-terrorism contracts with the Agency for International Development at the State

Department in Washington, D.C.

       17.     Throughout the time I spent with Infowars, Dr. Jones would typically pick me up

at the Austin Airport to transport me to the downtown hotel where Dr. Jones had made my room

reservations. At various times, we had breakfast together, often on trips when he was returning

me to the airport to depart Austin.

       18.     I am today 74 years-old. I have no alcohol-related offenses on my record. Since

the mid-1980s, I have held securities licenses, first with the NASD and now with FINRA,

agencies that conduct licensing in the securities industry for the federal government. My

securities records over that time, contain no customer complaints and no reports of behavior

problems of any kind, including no alcohol-related problems. I also have held for decades

property and casualty as well as life and health insurance licenses in New Jersey. I have created

two broker/dealers in my financial services career.

       19.     On my website, CorsiNation.com — a website I founded and managed as CEO —

I conduct a daily hour-long podcast, live-streamed on multiple Internet channels

simultaneously. I hold a Ph.D. from Harvard University’s Department of Political Science,

dating back to 1972. I appear regularly on various news programs, including those broadcast by

the major networks. I have conducted thousands of radio interviews going back to 2004, when I

entered the third phase of my career, currently working full-time as an investigative journalist

and political commentator.

       20.     Charges of alcoholism by the Defendants including broadcast charges made by

Alex Jones and Defendant Roger Stone, have no basis in fact or substantiation in the extensive

public record that exists of my life and professional career.




                                                 4
    Case
     Case1:20-cv-00298-LY-DH
          1:20-cv-00298-LY-AWA
                             Document
                               Document
                                      165-1
                                         74 Filed 09/30/20
                                                  10/22/21 Page 27
                                                                87 of 39
                                                                      290




       21.     Special Counsel Robert Mueller indicted Defendant Stone on seven counts of

perjury, witness tampering and obstruction of justice.

       22.     The Honorable Amy Berman Jackson who presided over Defendant Stone’s

prosecution, placed a gag order on him in part for threatening the judge herself by posing an

Instagram meme of a crosshairs (gun) to her head.

       23.     The seven-count indictment against Defendant Stone included lying under oath,

witness tampering and obstruction of justice by threatening to kill a material witness, Randy

Credico (“Credico”) and his service dog if Credico did not lie or invoke the Fifth Amendment to

government authorities concerning his involvement with Defendant Stone. Credico is Person 2 in

the indictment. I am Person 1. Defendant Stone was later convicted of all seven (7) felony counts.

       24.     Based on my personal knowledge of the interactions of Defendant Stone and the

other Defendants, I assert that Defendant Stone, acting in concert with the other Defendants

including Alex Jones, David Jones, Owen Shroyer, Free Speech and Infowars, began a calculated

and premeditated public relations campaign against my lawyer, Mr. Larry Klayman (“Mr.

Klayman”) and myself.

       25.     Defendant Stone knew of his imminent indictment and therefore began his

malicious crusade against Mr. Klayman and myself in order to influence public opinion and

Special Counsel Robert Mueller by trying to attribute guilt to me.

       26.     It is apparent that the malicious crusade against me by Defendants, who acted in

concert, was calculated to coerce me to testify falsely at Defendant Stone’s criminal trial.

       27.     Defendant Stone, acting in concert with the other Defendants, also sought to

divert funds away from my legal defense fund, while boosting his own.




                                                 5
    Case
     Case1:20-cv-00298-LY-DH
          1:20-cv-00298-LY-AWA
                             Document
                               Document
                                      165-1
                                         74 Filed 09/30/20
                                                  10/22/21 Page 28
                                                                88 of 39
                                                                      290




       28.     Contrary to Defendant Stone’s false publication, I am not “certifiably insane and I

have not “told multiple provable lies.” Compl. at ¶ 26. In publishing this false statement that

Defendants knew to be false or published recklessly because they are intimately familiar with me,

as set forth above, Defendant Stone acted in concert with the other Defendants, including Alex

Jones, David Jones, Owen Shroyer, Free Speech and Infowars.

       29.     Contrary to Defendant Stone’s false publication, I am not “mentally degraded to

the point of [] dementia.” Compl. at ¶ 42. I do not have dementia and have never been diagnosed

with any mental illness. In publishing this false statement that Defendants knew to be false or

published recklessly because they are intimately familiar with me, as set forth above, Defendant

Stone acted in concert with the other Defendants, including Alex Jones, David Jones, Owen

Shroyer, Free Speech and Infowars.

       30.     Importantly, I was under contract with Infowars until the relationship ended and

Defendants would not have retained me if I was “mentally degraded to the point of [] dementia.”

Compl. at ¶ 42.

       31.     Contrary to Defendant Stone’s false publication, he never saw me at a steakhouse

where I was “on the ground at another table” where security staff “thought that [I] was dead in

the elevator.” Compl. at ¶ 43. In publishing this false statement that Defendants knew to be false

or published recklessly because they are intimately familiar with me, as set forth above,

Defendant Stone acted in concert with the other Defendants, including Alex Jones, David Jones,

Owen Shroyer, Free Speech and Infowars.

       32.     Contrary to Defendant Stone’s false publication, I never suffered a stroke and it is

a false statement of fact that “whatever comes out of [my] mouth ain’t the truth.” Compl. at ¶ 44.

In publishing this false statement that Defendants knew to be false or published recklessly




                                                6
    Case
     Case1:20-cv-00298-LY-DH
          1:20-cv-00298-LY-AWA
                             Document
                               Document
                                      165-1
                                         74 Filed 09/30/20
                                                  10/22/21 Page 29
                                                                89 of 39
                                                                      290




because they are intimately familiar with me, as set forth above, Defendant Stone acted in

concert with the other Defendants, including Alex Jones, David Jones, Owen Shroyer, Free

Speech and Infowars.

       33.     Contrary to Defendant Stone’s false publication, I was not “fired from World Net

Daily.” Compl. at ¶ 49. In publishing this false statement that Defendants knew to be false or

published recklessly because they are intimately familiar with me, as set forth above, Defendant

Stone acted in concert with the other Defendants, including Alex Jones, David Jones, Owen

Shroyer, Free Speech and Infowars.

       34.     Contrary to Defendant Stone’s false publication, I was not “perfectly willing to lie,

to perjure [myself] saying that a memp that [I] had [written] [Defendant Stone] on the 30th for the

purposes of cover-up . . . which is further proof that [I] lied under oath.” Compl. at ¶ 50. In

publishing this false statement that Defendants knew to be false or published recklessly because

they are intimately familiar with me, as set forth above, Defendant Stone acted in concert with

the other Defendants, including Alex Jones, David Jones, Owen Shroyer, Free Speech and

Infowars.

       35.     Contrary to Defendant Stone’s false publication, I do not have a “feeble alcohol

affected memory.” Compl. at ¶ 51. In publishing this false statement that Defendants knew to be

false or published recklessly because they are intimately familiar with me, as set forth above,

Defendant Stone acted in concert with the other Defendants, including Alex Jones, David Jones,

Owen Shroyer, Free Speech and Infowars.

       36.     Contrary to Defendant Stone’s publication, I was not “prepared to stab a principle

Trump supported in the back” nor was I “perfectly prepared to bear false witness against

[Defendant Stone].” Compl. at ¶ 52. In publishing this false statement that Defendants knew to




                                                7
    Case
     Case1:20-cv-00298-LY-DH
          1:20-cv-00298-LY-AWA
                             Document
                               Document
                                      165-1
                                         74 Filed 09/30/20
                                                  10/22/21 Page 30
                                                                90 of 39
                                                                      290




be false or published recklessly because they are intimately familiar with me, as set forth above,

Defendant Stone acted in concert with the other Defendants, including Alex Jones, David Jones,

Owen Shroyer, Free Speech and Infowars.

       37.     Contrary to Defendant Stone’s publication, it is a false statement of fact that “all

[Defendant Stone] ever did was show [me] friendship and support and try to help [me] and [my]

family and what [Defendant Stone] got was Judas Iscariot, the willingness to testify against

[Defendant Stone] and help the deep state bury [Defendant Stone] . . . and then [I] make[] up this

story about helping [Defendant Stone] formulate a cover story.” Compl. at ¶ 53. In publishing

this false statement that Defendants knew to be false or published recklessly because they are

intimately familiar with me, as set forth above, Defendant Stone acted in concert with the other

Defendants, including Alex Jones, David Jones, Owen Shroyer, Free Speech and Infowars.

       38.     Contrary to Defendant Stone’s false publication, it is a false statement of fact that

“you can always tell when [I] [am] lying because [my] lips are moving . . .” Compl. at ¶ 54. In

publishing this false statement that Defendants knew to be false or published recklessly because

they are intimately familiar with me, as set forth above, Defendant Stone acted in concert with

the other Defendants, including Alex Jones, David Jones, Owen Shroyer, Free Speech and

Infowars.

       39.     Contrary to Defendant Stone’s false publication, it is a false statement of fact that

Mr. Klayman “never actually won a courtroom victory in his life.” Compl. at ¶ 55. In publishing

this false statement that Defendants knew to be false or published recklessly because they are

intimately familiar with me, as set forth above, Defendant Stone acted in concert with the other

Defendants, including Alex Jones, David Jones, Owen Shroyer, Free Speech and Infowars.




                                                 8
    Case
     Case1:20-cv-00298-LY-DH
          1:20-cv-00298-LY-AWA
                             Document
                               Document
                                      165-1
                                         74 Filed 09/30/20
                                                  10/22/21 Page 31
                                                                91 of 39
                                                                      290




       40.    Contrary to Defendant Stone’s false publication, it is a false statement of fact that

Mr. Klayman “was ousted at Judicial Watch. Ask Tom Fitton why he left .he was ‘ousted’

because of a sexual harassment complaint.” Compl. at ¶ 56. In publishing this false statement

that Defendants knew to be false or published recklessly because they are intimately familiar Mr.

Klayman and with me, as set forth above, Defendant Stone acted in concert with the other

Defendants, including Alex Jones, David Jones, Owen Shroyer, Free Speech and Infowars.

       41.    Contrary to Defendant Stone’s false publication, it is a false statement of fact that

Mr. Klayman is “incompetent, he’s a numbskull, he’s an idiot, he’s an egomaniac, and he could

be the worst single lawyer in America. With him as [my] lawyer, [I] may get the electric chair.

So [the] idea that he’s a good guy is entirely wrong.” Compl. at ¶ 59. In publishing this false

statement that Defendants knew to be false or published recklessly because they are intimately

familiar with Mr. Klayman and me, as set forth above, Defendant Stone acted in concert with the

other Defendants, including Alex Jones, David Jones, Owen Shroyer, Free Speech and Infowars.

       42.    Contrary to Defendant Stone’s false publication, it is a false statement of fact that

Mr. Klayman is “a piece of garbage.” Compl. at ¶ 61. In publishing this false statement that

Defendants knew to be false or published recklessly because they are intimately familiar with Mr.

Klayman and me, as set forth above, Defendant Stone acted in concert with the other Defendants,

including Alex Jones, David Jones, Owen Shroyer, Free Speech and Infowars.

       43.    Contrary to Defendant Stone’s false publication, Mr. Klayman’s IQ is higher than

70. Compl. at ¶ 62. In publishing this false statement that Defendants knew to be false or

published recklessly because they are intimately familiar with me, as set forth above, Defendant

Stone acted in concert with the other Defendants, including Alex Jones, David Jones, Owen

Shroyer, Free Speech and Infowars.




                                                9
    Case
     Case1:20-cv-00298-LY-DH
          1:20-cv-00298-LY-AWA
                             Document
                               Document
                                      165-1
                                         74 Filed 09/30/20
                                                  10/22/21 Page 32
                                                                92 of 39
                                                                      290




        44.     Contrary to Defendant Stone’s false publication, it is a false statement of fact that

“[I] was perfectly willing to bear false witness against [Defendant Stone] on multiple points that

are complete fabrications.” Compl. at ¶ 64. In publishing this false statement that Defendants

knew to be false or published recklessly because they are intimately familiar with me, as set forth

above, Defendant Stone acted in concert with the other Defendants, including Alex Jones, David

Jones, Owen Shroyer, Free Speech and Infowars.

        45.     Contrary to Defendant Stone’s false publication, it is a false statement of fact that

“[I] had told a number of lies. In fact, [I] [am] starting to conflate [my] lies . . . [I] was perfectly

willing to lie about [Defendant Stone] . . . but now lying about Alex Jones, lying about Infowars,

lying about Dr. [David] Jones . . . [I] can no longer be believed.” Compl. at ¶ 65.

        46.     Defendant Stone falsely published: “I think you’ve [Corsi] been deep state from

the beginning. Your whole birther thing is used as a club to destroy conservatives . . . I look

forward to our confrontation. I will demolish you. You’re a fraudster, out of your alcoholic

haze you have made up lies about David Jones and Alex Jones and Roger Stone and now I

suspect they want you to lie about the President.” Compl. at ¶ 66 (emphasis added). Not only

does Defendant Stone know this to be false but this malicious rant is also a threat. In publishing

this false statement that Defendants knew to be false or published recklessly because they are

intimately familiar with me,, as set forth above, Defendant Stone acted in concert with the other

Defendants, including Alex Jones, David Jones, Owen Shroyer, Free Speech and Infowars.

        47.     Contrary to Defendant Stone’s false publication, I am not a “spook, back and

forth with different agencies[.]” Compl. at ¶ 67. In publishing this false statement that

Defendants knew to be false or published recklessly because they are intimately familiar with me,




                                                  10
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 Case1:20-cv-00298-LY-DH
      1:20-cv-00298-LY-AWA
                         Document
                           Document
                                  165-1
                                     74 Filed 09/30/20
                                              10/22/21 Page 33
                                                            93 of 39
                                                                  290
Case 1:20-cv-00298-LY-DH Document 165-1 Filed 10/22/21 Page 94 of 290




               EXHIBIT 2
Case
 Case1:20-cv-00298-LY-DH
      1:20-cv-00298-LY-AWA
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                           Document
                                  165-1
                                     74 Filed 09/30/20
                                              10/22/21 Page 37
                                                            95 of 39
                                                                  290



                              IN THE UNITED STATES DISTRICT COURT
                               FOR THE WESTERN DISTRICT OF TEXAS

      DR. JEROME CORSI, ET AL

                    ​
      Plaintiffs                        ​
                        v.
                                    ​                     Case Number:      1:20-cv-298-LY
      INFOWARS, LLC, et al

                             ​Defendants.




                             SWORN DECLARATION OF KELLY MORALES



              1. I, Kelly Morales, hereby declare under penalty of perjury that the following is true and
      correct and based on my personal knowledge and belief.
              2. I am over the age of 18 and mentally and legally competent to make this affidavit,
      sworn under oath.
              3. I am the former wife of Defendant Alex Jones. I was married to Alex Jones for 12
      years and with him for 15 years and we have 3 children together. During our time together, I was
      involved in the activities of Alex, his father David and Infowars and am intimately
      knowledgeable about their activities and business structure.
              4. Based on my personal knowledge and experience, David Jones runs Infowars with
      Alex Jones and helps him with his activities, including fixing media stories and endorsing and/or
      aiding his slanderous and/or fraudulent behaviors, all for profit.
              5. Infowars, LLC is a sub-entity of Free Speech Systems, LLC (“FSS”), and David Jones
      is an employee of FSS, or he has been.
              6. David Jones is additionally a managing member of multiple entities that are closely
      held businesses, constituting financial holding companies or financial distribution centered
      around Infowars/Alex Jones’ supplement line, which are quintessential to funding and running
      Infowars.
              7. Alex Jones could not function without David Jones, and has conspired with him on the
      past to commit this breach of fiduciary duty and fraud on my business/estate with Alex Jones.
      While David Jones did this, he slandered and/or defamed me to experts and assisted Alex Jones
      and his attorneys to do the same, so as to steal/hide my estate and his grandchildren’s inheritance.
              8. Alex Jones is quasi-illiterate, and cannot use technology or apps such as email with
      any fluency, and he cannot function without assistance from those around him, including David
      Jones.
              I hereby swear under oath and penalty of perjury that the foregoing facts are true and
      correct to the best of my knowledge and belief.
              Executed on September 30, 2020
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 Case1:20-cv-00298-LY-DH
      1:20-cv-00298-LY-AWA
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                                  165-1
                                      74 Filed 09/30/20
                                                  10/22/21 Page 38   96 of 39
                                                                           290

                                              ​Kelly Morales
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Case 1:20-cv-00298-LY-DH Document 165-1 Filed 10/22/21 Page 97 of 290
      Case
       Case1:20-cv-00298-LY-DH
20-10118-hcm1:20-cv-00298-LY-AWA Document
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                                                       10/22/21
                                                    13:17:45 MainPage 39
                                                                      98 of 39
                                                                  Document  290
                                                                              Pg 97 of
                                         97



                                   UNITED STATES BANKRUPTCY COURT
                                      WESTERN DISTRICT OF TEXAS
                                            AUSTIN DIVISION

    In re:                                                    §
                                                              §
    Alexander E. .Jones,                                      §   CASE NO. 20-10118-hem
                                                              §
             Alleged Debtor.                                  §   Chapter 11
                                                              §
                   Affidavit of David Jones in Support of Alleged Debtor’s Motion to Dismiss

    STATE OF TEXAS                      §
                                         §
   COUNTY OF TRAVIS                     §


                   BEFORE ME, the undersigned authority, on this day personally appeared David Jones,
     who after being sworn did state upon his oath, as follows:


              1.        “My name is David Jones. .1 am over 18 years of age and otherwise competent and
   capable of making this Affidavit. I have personal knowledge oflhe facts set forth herein and they
   are true and correct.


             2.         “I have been involved with Alex Jones' personal and business finances for many
   years and have personal knowledge of the matters set forth herein, and they are true and correct.


             3.         "I have personally reviewed the Real Estate Lien Note from Alexander Jones to
   Kel ly R. Jones dated March 19, 2015 (the "Note''), which is attached to the Involuntary Bankruptcy
   Petition filed in the above referenced case and have reviewed the record of payments made by
   Alexander Jones to Kelly R, Jones under the Note. I have personally calculated the remaining
   balance of the Note. The balance oflhe Note is $596.267.16 as of the date hereof.


             ''Further Affiant sayeth not."’


                  SIGNED on this J ^         y of February. 2020. / \




               Sworn to and subscribed before me. the undersigned authority, on                    day of
     February. 2020.
                                                                    /C
                               PATRICK RILEY
                                                            _____ {/
                      $c Notary Public, State of Texas      Notary Public for the State of Texas
                                Comra- Empires 09-24-2022                            gyp
     -583/-5475-5/P               Notary ID 131734177
Case 1:20-cv-00298-LY-DH Document 165-1 Filed 10/22/21 Page 99 of 290




               EXHIBIT 4
    Case
     Case1:20-cv-00298-LY-DH
           1:20-cv-00298-LY-AWA
                              Document
                                 Document
                                       165-1
                                          73 Filed
                                             Filed10/22/21
                                                   09/30/20 Page
                                                            Page100
                                                                 28 of
                                                                     of66
                                                                        290



                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

                                                §
DR. JEROME CORSI and                            §      CIVIL ACTION NO. 1:20-CV-00298-LY
LARRY KLAYMAN,                                  §
                                                §
               Plaintiffs,
                                                §
       vs.                                      §
                                                §
INFOWARS, LLC, FREE SPEECH                      §
SYSTEMS, LLC, ALEX E. JONES,                    §
DAVID JONES, OWEN SHROYER, and                  §
ROGER STONE                                     §
                                                §
               Defendants.


                        SWORN AFFIDAVIT OF LARRY KLAYMAN

       I, Larry Klayman, being over eighteen years of age and duly competent to testify, hereby

swear and affirm as follows:

                         A BRIEF HISTORY OF MY BACKGROUND

       1.      I have personal knowledge of the following facts and if called upon as a witness,

could testify competently thereto.

       2.      In 1973, I graduated from Duke University where I majored in political science and

French literature. I excelled academically and graduated with honors.

       3.      I then matriculated at Emory Law School where I excelled academically and

graduated in 1977. While in law school, I worked as an intern at the U.S. International Trade

Commission, the Georgia Attorney General and the U.S. Attorney for the Northern District of

Georgia.

       4.      I passed The Florida Bar the first time I took the exam.

       5.      I passed all bar exams on my first attempt, including the District of Columbia Bar.



                                                 1
    Case
     Case1:20-cv-00298-LY-DH
           1:20-cv-00298-LY-AWA
                              Document
                                 Document
                                       165-1
                                          73 Filed
                                             Filed10/22/21
                                                   09/30/20 Page
                                                            Page101
                                                                 29 of
                                                                     of66
                                                                        290



       6.      I began my legal career in this circuit in Miami, Florida as an associate for

Blackwell, Walker, Gray, Roberts, Flick & Hoehl (. Blackwell ), which was then the largest and

most prestigious law firm in Florida. I was admitted into The Florida Bar having been sworn in on

December 7, 1977. I have practiced law in this circuit continuously and extensively throughout my

forty-two-year career and have active cases pending in this circuit and elsewhere in Florida,

                                 I                              U.S. D               J          ( DOJ )

Antitrust Division, from 1980 to 1982, where I was assigned litigation in this circuit.

       7.      I                              J           W     , I . ( J        W        )     1994,



abuse. I was the Chairman, General Counsel, and Corporate Treasurer of Judicial Watch until I

voluntarily departed in 2003 to run as a candidate for the U.S. Senate in Florida in the Republican

primary election.

       8.      In 1998, during the time I ran Judicial Watch, I          T       J. F     ( F      )

my contract assistant. I later appointed him president of the organization I founded.

       9.      In September of 2003, I voluntarily departed from Judicial Watch to run for the

U.S. Senate in Florida. At the time I left Judicial Watch, I learned that Fitton had never graduated

from college, which he had told me he had when I initially hired him.

       10.     C            D           R         S       ( D            S   )

publications, I have enjoyed many successes in my career as a lawyer, many of which have been

brought to the attention of the public by complimentary newspapers, magazines, editorials and

journals.

       11.     For example, I practiced law at Blackwell with my supervising partners Paul Larkin

and Layton Mank and participating in winning product liability cases as defense counsel for

Blackwell including cases involving Raleigh bicycles, pharmaceutical drugs manufactured by


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     Case1:20-cv-00298-LY-DH
           1:20-cv-00298-LY-AWA
                              Document
                                 Document
                                       165-1
                                          73 Filed
                                             Filed10/22/21
                                                   09/30/20 Page
                                                            Page102
                                                                 30 of
                                                                     of66
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Burroughs-Wellcome, and allegedly misdiagnosed cancer victims, and other personal injury and

medical malpractice cases. Additionally, I handled lawsuits in admiralty.

         12.     I left Blackwell to join the DOJ as a trial lawyer, prosecutor and defense lawyer in

late 1979. During my time at the DOJ, I had many victories in the courtroom as well as favorable

settlements for the government, i.e., such as for the Consumer Affairs Section of the Antitrust

Division over misbranded, adulterated food and drug products including fruit drinks and

prophylactics for the Food & Drug Administration ( FDA ) and successful seizures and criminal

prosecutions of dangerous products on behalf of the Consumer Product Safety Commission

( CPSC ) such as slant-sided refuse bins,                            sleepwear, and intraocular lens

implants for cataract patients.

         13.     Importantly, I was also on the trial team that successfully broke up the AT&T

monopoly       creating competition in the telecommunications industry. I left the DOJ in late 1981.

         14.     Then, working as an international trade lawyer for Busby, Rehm & Leonard and

after a few years having founded my own firm The Law Offices of Larry E. Klayman, later named

Klayman & Associates, P.C., I won countervailing duty and antidumping duty cases concerning

steel from South Africa, garden furniture from Italy, musical instrument pads from Italy, coffee

filters from Brazil, key limes from Peru, fireworks from China and a host of other product imports.

I represented both importers and exporters. (While at Busby, Rehm & Leonard, I also took some

months on hiatus and worked in the Competition Directorate (DG-4) of the Commission of the

Europe     C              S       ( E.C. ).

         15.     Later, with my law firm, I won Section 337 unfair trade practice cases at the U.S.

I              T      C            ( USITC ) concerning tennis rackets from Belgium, power tools

from Taiwan, luggage from Taiwan, mass spectrometers from France, jam from Belgium, and

machine tools from Brazil. I won a landmark case concerning recloseable plastic bags, which


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     Case1:20-cv-00298-LY-DH
           1:20-cv-00298-LY-AWA
                              Document
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                                       165-1
                                          73 Filed
                                             Filed10/22/21
                                                   09/30/20 Page
                                                            Page103
                                                                 31 of
                                                                     of66
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broke the patents of Minigrip and Dow Corning, M                   licensee. That case victory opened up

competition for zip lock bags, a multi-trillion dollar industry.

       16.     There was also an USITC patent case, pursuant to Section 337, which I litigated

and won involving motorcycle helmets and another antidumping and countervailing duty cases

before the Commerce Department and USITC concerning fire protection products and scuba

diving neoprene body suits.

       17.     I also won a Section 302 case involving paper from Brazil.

       18.     All of the Section 337 cases were judge-tried and I won every one of them.

       19.     I won a jury trial against Makita over power tools, another jury trial against a

domestic manufacture of removable swimming pools for my client Remove Pool Fence Co., and

yet another jury trial for my client, Maccaferri, on a contract dispute. These are only some of the

jury trials I won during my early career.

       20.     Because of my work during the time I ran Judicial Watch, a court ruled that

President William Clinton committed a crime during the Filegate litigation. I also triggered the

famous Chinagate scandal in a Freedom of Information Act, 5 U.S.C. § 552 et seq., which gave

rise to Judicial Watch ultimately being awarded almost a million dollars. I filed cases which ended

Bill and Hillary C

their home at Chappaqua, New York and ended the illegal payment of legal fees to the Clintons by

State Farm, which was a form of bribery. I also participated in the famous Gore v. Bush litigation

in Tallahassee, Florida that settled the 2000 presidential elections by the U.S Supreme Court. I

                               F        A       R            A ( FARA )                 C       E

Task Force that made its way to the U.S. Supreme Court.

       21.     I brought a case for Jose Basulto of Brothers to the Rescue in a Florida court, which

resulted in a $1.8 million judgment against the Republic of Cuba for shooting down Brothers to


                                                    4
    Case
     Case1:20-cv-00298-LY-DH
           1:20-cv-00298-LY-AWA
                              Document
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                                       165-1
                                          73 Filed
                                             Filed10/22/21
                                                   09/30/20 Page
                                                            Page104
                                                                 32 of
                                                                     of66
                                                                        290



the Rescue planes, and I represented the Miami family of Elian Gonzales and other victims of

Fidel Castro, such as journalists who were jailed by Castro for their political beliefs. In this regard,

I not only filed criminal complaints for these victims against Fidel Castro in Belgium courts, but

also lobbied and testified in both Italian and French in Italy and France, as I am fluent in both

languages, before various European parliaments to increase economic sanctions on Cuba for abuse

of human rights. I also lobbied the European Union in Brussels, Belgium for increased sanctions

on Cuba.

       22.     On December 16, 2013, Judge Richard J. Leon granted my request for a

                                                 N          S       A        ( NSA )            O

administration, when Judge Leon found for the first time in history that the collection of metadata

telephony records by the NSA was likely unconstitutional.

       23.     Because of that ruling, Congress enacted the USA Freedom Act, which sought to

end illegal and unconstitutional mass surveillance by government intelligence agencies and the

Federal Bureau of I              ( FBI ).

       24.     I obtained a jury verdict in the U.S. District Court for the Southern District of

Florida against my former public interest group Judicial Watch, which was then run by Fitton, for

maliciously defaming me in the amount of $181,000, which included punitive damages.

       25.     My client Sheriff Joe Arpaio and I were the first to challenge former President

O                                                    over 5 million illegal aliens and were ultimately

successful, along with 25 other attorneys general, in front of the U.S. Supreme Court.

       26.     I                                         D. J      C      ( D. C        ) from getting

indicted, first because he told the truth and did not engage in witness tampering and threaten to kill

a witness such as Randy Credico, as Defendant Stone did, and second because of my legal skill

and acumen. Dr. Corsi is a material witness in the Russian Collusion investigation by Special


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     Case1:20-cv-00298-LY-DH
           1:20-cv-00298-LY-AWA
                              Document
                                 Document
                                       165-1
                                          73 Filed
                                             Filed10/22/21
                                                   09/30/20 Page
                                                            Page105
                                                                 33 of
                                                                     of66
                                                                        290



C          R           M           ( M                 )                       a material witness as Person 1 in Defendant

S       M                               .

       27.         I have had many other successes in addition to the above-listed victories.

       28.         I myself                                                W           : W                H         I C       e to Fight the

E                                               2009. I    , I wrote about my unfortunate experience with Defendant

Stone. See Exhibit A. I authored this book myself without a ghostwriter and I came runner-up at

an International Book Fair. It also still has a review on www.Barnesandnoble.com of 4.5 stars out

of the maximum 5 stars.

       29.         Upon its publication, J                   C         ,                          R       B           B

               : T         Time                                                L       K              M

of Time,       K                   .T                         J            W                          B                               . See

Exhibit B.

       30.         J           F            ,                     W        N D          .     ,                                     : L

Klayman is my hero because he has integrity                           enough to prevent him from blind loyalty to party

or ideolog . . . T                                                                                                        ...T

other men like Larry early in American history. Their names were Washington, Jefferson,

Madison and Henry. See Exhibit B.

       31.         Louis Jacobson of the National Journal said this of me:                                    ...

of secrecy rules, Larry Klayman has become a force in Washington. See Exhibit B.

       32.         B       M            ,          N       PBS,                : ...

door some public official has marked secret . . . Larry Klayman is himself a conservative, but

                                                                  .

       33.         Frank Rich, famed                                       T       N              T                           : L     ...I

appreciate your own maverick                       if we can still use that word!            thinking                     .


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      Case1:20-cv-00298-LY-DH
            1:20-cv-00298-LY-AWA
                               Document
                                  Document
                                        165-1
                                           73 Filed
                                              Filed10/22/21
                                                    09/30/20 Page
                                                             Page106
                                                                  34 of
                                                                      of66
                                                                         290



          34.       These are just a few of the accolades I have received over the years from

conservatives and liberals alike, who appreciate and admire my work. See my biography attached

as Exhibit C and incorporated herein by reference; see also E              D, L    K        ,    O

M    T     P                             genesis of the Tea Party to me.

          35.       I am now the founder, Chairman and General Counsel of Freedom Watch, Inc.,

which has the mission of investigating and prosecuting government corruption and abuse through

legal advocacy. I also am in private practice with The Klayman Law Group, P.A. I am unique as a

public interest advocate. I am a columnist for World Net Daily and have had about 500+ columns

published over the last 10 years. I have also been a columnist for Newsmax through a blog titled

 K              C         and in addition to my book Whores: How and Why I Came to Fight the

E                   , I also published two other books: Fatal Neglect and Essays of a Mad Man. I

also have my own syndicat                            R      A                 S        P

L     K             .

                        MY EXPERIENCES WITH DEFENDANT ROGER STONE

          36.       I met Defendant Stone at the Old Ebbitt Grill in Washington, D.C. in 1988 while he

was a partner with Paul Manafort and others and was working as a lobbyist for the firm Black,

Manafort, Stone, & Kelly.

          37.       Defendant Stone was a political consultant who claimed to help get presidents

and other politicians elected. The firm made money by then lobbying the very men they put in

office.

          38.       Defendant Stone backed Republican candidate Jack Kemp for President and he

recommended that I be put on the executive finance committee, which also included Donald J.

Trump.




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     Case
      Case1:20-cv-00298-LY-DH
            1:20-cv-00298-LY-AWA
                               Document
                                  Document
                                        165-1
                                           73 Filed
                                              Filed10/22/21
                                                    09/30/20 Page
                                                             Page107
                                                                  35 of
                                                                      of66
                                                                         290



       39.     Because Defendant Stone knew of my successes and capabilities as a private

lawyer, he told me that he had recommended me for U.S. Attorney when George Bush was

President in 1992.

       40.     In 1996, at a Republican Convention in San Diego, California, Defendant Stone

                                                                .

       41.     The media at the time went after Defendant Stone because of his alleged

pa                                                    .

       42.     The media alleged at the time that Defendant Stone solicited sex half-naked, and

that there was a picture of Defendant Stone in a compromising position to back up the story.

       43.     Defendant Stone contacted me and, because he knew my capabilities and acumen

as a lawyer, retained me to represent him to get the media to cease what he claimed then was a

smear campaign.

       44.     I successfully got the media to back off Defendant Stone through my skill as a

lawyer and Defendant Stone was grateful.

       45.     I maintained in sporadic contact with Defendant Stone until 2003 when I told him

of my plans to voluntarily leave Judicial Watch and run for the U.S. Senate.

       46.     There were confirmed rumors that Senator Bob Graham would retire from the U.S

Senate well before he announced his retirement in November 2003. Defendant Stone traveled in

Republican and political circles and knew that the Senator would be retiring in early to mid 2003.

       47.     Thus, I was in contact with Defendant Stone in early to mid 2003, having been put

in contact with him by Scott Reed, then Chief of Staff to Jack Kemp, who then was Secretary of

Housing and Urban Development, and Defendant Stone was made aware by Scott Reed that I

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                                                  8
    Case
     Case1:20-cv-00298-LY-DH
           1:20-cv-00298-LY-AWA
                              Document
                                 Document
                                       165-1
                                          73 Filed
                                             Filed10/22/21
                                                   09/30/20 Page
                                                            Page108
                                                                 36 of
                                                                     of66
                                                                        290



       48.     As I was a newcomer to politics, it would have been virtually impossible for me to

beat Bob Graham, the incumbent, given the privileges and name recognition an incumbent

receives, unless he or she is enmeshed in a major scandal. Senator Bob Graham was never

enmeshed in such scandal.

       49.     Because he was aware of my prior successes at Judicial Watch and before,

Defendant Stone wanted to work with me as my U.S. Senate campaign manager. During this time,

the spring, summer, and fall of 2003, and in preparation for my U.S. Senate run, Defendant Stone

researched and kept books and records of many of my accomplishments. He had several binders

(2-3 feet) full of information about me and the victories that I had obtained at Judicial Watch and

elsewhere. Again, because Defendant Stone knew of my successes and legal political acumen,

Defendant Stone wanted to be on my team and help me run for the U.S. Senate.

       50.     Defendant Stone thus knew of many cases I had won in courtrooms and other legal

accomplishments and in fact had kept records of successes in a book of my accomplishments.

       51.     Soon after I hired him and during the height of my U.S. Senate campaign, I

discovered that Defendant Stone had a conflict of interest and was working with Al Sharpton,

while simultaneously working with me. He had agreed to represent me exclusively and I

considered Al Sharpton to be an unsavory character. He also was not competently running my

campaign with a staff of his friends which he had hired at great expense to me.

       52.     I let Defendant Stone go roughly after about one month of his working with me on

my U.S. Senate campaign. Shortly after his being let go, Defendant Stone and his sidekick Mike

Caputo,                                                                    , along with other staff

Defendant Stone had hired, stole thousands of dollars of campaign cell phones and laptops, which

I had purchased with my personal funds for the campaign.




                                                 9
     Case
      Case1:20-cv-00298-LY-DH
            1:20-cv-00298-LY-AWA
                               Document
                                  Document
                                        165-1
                                           73 Filed
                                              Filed10/22/21
                                                    09/30/20 Page
                                                             Page109
                                                                  37 of
                                                                      of66
                                                                         290



        53.     I have not spoken to Defendant Stone since I parted ways with him in 2003 given

this experience.

        54.     Defendant Stone is an individual and citizen of Florida. Special Counsel Robert

M        ( M         )             S                                   R        C

seven different felony counts, including lying under oath, witness tampering and obstruction of

justice by threatening to kill a material witness and his service dog.

        55.     The January 18, 2019 InfoWars video, published in this circuit, contained several

false, misleading and defamatory statements concerning me. These false and defamatory

statements include but are not limited to:

        A ̀ 1:25, De e. da         S       e a ,      He    (K a       a )     e e   ac a         a
        c           c                      e.

        A 1:30, De e da        S        e a , He (K a a ) a                    ed a J d c a Wa c .
        A T      F                     e e . He a    ed beca e                 a e a a a       e
        c    a .

        A    1:37,    De e da  S e a , He (K a a )        c                           ee , e      a
             b       , e a d , e a e      a ac, a d e c d be                          e   e
         a e          A e ca. W      a Je    C      a e , C                             a   e     e
        electric c   a .S      dea a e a    d      e   e                              .

        A 2:01, De e da        S       e   b     ed   a Pa                 a   ece    a ba e.

        A 4:11, De e da S              e a , F             e e     e          e e           ...   a
        La   Ka a      IQ                 e  a 70,            e            ...

Am. Compl. at ¶¶ 55, 56, 59, 61, 62.

        56.     Defendant Stone acted with actual when he published the false, misleading and

defamatory statements concerning me because he knew they were false or acted with a reckless

disregard to their truth, as set forth herein.

        57.     Defendant Stone not only acted with actual malice when he published the false,

misleading and defamatory statements concerning me, but he also had motives to maliciously



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     Case
      Case1:20-cv-00298-LY-DH
            1:20-cv-00298-LY-AWA
                               Document
                                  Document
                                        165-1
                                           73 Filed
                                              Filed10/22/21
                                                    09/30/20 Page
                                                             Page110
                                                                  38 of
                                                                      of66
                                                                         290



defame me. He published the false and misleading statements knowing that they were false or with

a reckless disregard for their truth. Defendant Stone had reason to know that his statements were

false.

         58.   Defendant Stone is aware of many, many victories of mine as he was in charge of

putting together the book of my accomplishments for fundraising purposes for my U.S. Senate

campaign, among other reasons.

         59.   Since the time I let Defendant Stone go as my campaign manager in late 2003,

Defendant Stone has tried to trade off my clients like a scavenger. I have warned my clients not

to become involved with him as, in my opinion and through my experience, Defendant Stone is

not an honorable, ethical or honest person. He has been widely and rightly called a self-styled

                In my opinion, this characterization is accurate based on my experience dealing

with him. See G          R       S            N    ,

https://www.netflix.com/title/80114666. He tried to trade off my clients for his own profit and

purposes.

         60.   When the National Enquirer contacted me in 2018 to get a comment on a story it

was writing about President Donald Trump and to get my legal opinion on the Mueller

investigation, I told the reporter not to quote me in the same article as Defendant Stone, or any

article in which he wrote, as Defendant Stone wrote for the National Enquirer at the time. The

National Enquirer is located in South Florida and is apparently close with Defendant Stone, a

South Florida citizen. I did not want to be quoted or associated at all with Defendant Stone

because I consider him       like others do   to be a self-styled dirty trickster who was likely going to

be indicted for alleged criminal behavior by Mueller and in fact was indicted by Mueller.

         61.   In 2018, I also told Alex Jones and his show producers on InfoWars that I did not

want to appear on any show which included Defendant Stone or had ties to Defendant Stone,


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    Case
     Case1:20-cv-00298-LY-DH
           1:20-cv-00298-LY-AWA
                              Document
                                 Document
                                       165-1
                                          73 Filed
                                             Filed10/22/21
                                                   09/30/20 Page
                                                            Page111
                                                                 39 of
                                                                     of66
                                                                        290



either as a guest or as a host, because I strongly felt at the time that Mueller may indict Defendant

Stone. Defendant Stone was at the time a host on InfoWars.

        62.     I also warned Alex Jones not to release any information          that was potentially

under seal in the contempt case of Melendrez v. Arpaio, 07-cv-02513 (D. Ariz. 2007)         which he

may have improperly obtained from Defendant Stone or others concerning Dennis Montgomery,

another whistleblower client of mine who contracted with the U.S. government so it could use his

software capabilities for intelligence gathering.

        63.     During the criminal trial of my client Cliven Bundy, again to try to scavenge off

my clients, Defendant Stone flew to Las Vegas, Nevada where the Bundys lived and boasted that

                           C       B                     .I       C   B      ,C

              , to stay away from Defendant Stone and she did.

        64.     I also warned my then client at the time, Dennis Montgomery, to stay away from

Defendant Stone.

        65.     Defendant Stone wanted to      and did     intimate and threaten my client Dr. Corsi

since he is a material witness in the Mueller investigation as Defendant Stone obviously feared

that he would testify ag               M      .D              S                  D.C

he knew that I know what type of person he is and must have thought falsely that my

representation of Dr. Corsi was my revenge for him having harmed me during my U.S. Senate

campaign.

        66.     In sum, Defendant Stone tried to trade off my clients and I shut this down every

time in order to protect my clients from Defendant Stone. He also knew that I wanted nothing to

do with him and I predicted early on in the Russian collusion investigation that Mueller would

most likely indict Defendant Stone because of        in my experience with him    his rank dishonesty

and dirty tricks.


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    Case
     Case1:20-cv-00298-LY-DH
           1:20-cv-00298-LY-AWA
                              Document
                                 Document
                                       165-1
                                          73 Filed
                                             Filed10/22/21
                                                   09/30/20 Page
                                                            Page112
                                                                 40 of
                                                                     of66
                                                                        290



       67.     This, in addition to other information that will be meted out in discovery, supplies

the motive to maliciously defame me. That he attacks my acumen and ability as a lawyer and

defamed me personally with false sexual harassment complaint claims is directly related to my

having kept him away from my clients.

       68.     This vindictive, malicious retaliation by Defendant Stone had a logical purpose. He

tried to intimate and threaten Dr. Corsi and me in order for us not to collaborate with Mueller. We

obviously did not collaborate with Mueller but Defendant Stone is both unstable and unhinged

(See CDs containing videos of defamatory statements and publications) and apparently paranoid

and he tried to prevent collaboration at all costs in order to save his own skin. His conduct toward

us is similar to his conduct toward Material Witness 2 in the Mueller investigation, Randy

Credico, who he allegedly threatened M                    to kill. He even allegedly threatened to kill

C                      ,                                   .

                                             DAMAGES

       69.     As an attorney, I rely on my virtue and integrity, as my reputation and good will

determines the amount of clients that come to me to earn a living for their legal matters in the

public interest and privately.

       70.     Any damage done to my reputation harms my ability to practice law as a lawyer,

particularly in this circuit, which is my community. This also harms my work as an author,

columnist and syndicated radio talk show host, all of which depend on reputation and good will.

       71.     D           S                  s in this instance have caused harm to my reputation,

good will and well being in this circuit, the United States, and globally, as I am also an

international lawyer as previously set forth in this affidavit.




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     Case1:20-cv-00298-LY-DH
           1:20-cv-00298-LY-AWA
                              Document
                                 Document
                                       165-1
                                          73 Filed
                                             Filed10/22/21
                                                   09/30/20 Page
                                                            Page113
                                                                 41 of
                                                                     of66
                                                                        290



       72.       There was never any single instance of someone making a sexual harassment

complaint against me during my almost ten years at Judicial Watch. Defen           S

to the contrary are false and defamatory and made with actual malice.

       73.       Defendant Stone acted with actual                                     I

because of a sexual harassment complaint because he knew that was false. Am. Compl. at ¶ 56.

Defendant Stone knew or had reason to know that this was false, as he was my campaign manager

when I left Judicial Watch.

       74.       A                             D                               ,

testimony of Fitton of Judicial Watch, this also proves the falsity of this statement. Indeed, both

Fitton and Defendant Stone have been forced to testify under oath that they never spoke about my

                 .   Defendant Stone thus fabricated this falsity, according to F            sworn

testimony.

       75.       The damage done to me and my clients Dr. Corsi, Cliven Bundy, and the Gold Star

parents of Extortion 17 whose sons died in combat in Afghanistan, because of Defendant Stone is

continuing. As just one example, a person approached me in an elevator and told me that I was

             J        W     .

       76.       Defendant Stone acted with actual malice when he published all of the defamatory

statements. He knew the statements were false or had a reckless disregard for their truth. He had

reason to know his false and misleading statements were false.

       77.       I was damaged financially, as well as to my reputation and good will, and

emotionally, by the defamatory and other tortious acts of Defendant Stone.

       78.       Each of the Defendants, Alex Jones, David Jones, Owen Shroyer, Free Speech and

Infowars, is intimately familiar with my background, qualifications and successes as a public

interest and private attorney. For this reason, I was previously invited to appear on Infowars on


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    Case
     Case1:20-cv-00298-LY-DH
           1:20-cv-00298-LY-AWA
                              Document
                                 Document
                                       165-1
                                          73 Filed
                                             Filed10/22/21
                                                   09/30/20 Page
                                                            Page114
                                                                 42 of
                                                                     of66
                                                                        290



many occasions before Defendants decided   at the direction of Defendant Stone   to defame my

client, Dr. Corsi and me.

Affiant Sayeth Not

SWORN TO UNDER OATH THIS 30TH DAY OF SEPTEMBER OF 2020.


                                                        _______________________
                                                        Larry Klayman




                                            15
Case 1:20-cv-00298-LY-DH Document 165-1 Filed 10/22/21 Page 115 of 290




                EXHIBIT 5
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 Case1:20-cv-00298-LY-DH
       1:20-cv-00298-LY-AWA
                          Document
                             Document
                                   165-1
                                      73 Filed
                                         Filed10/22/21
                                               09/30/20 Page
                                                        Page116
                                                             54 of
                                                                 of66
                                                                    290




Transcript of Thomas J. Fitton
                           Date: June 6, 2019
                         Case: Klayman -v- Fitton




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          Case1:20-cv-00298-LY-DH
                1:20-cv-00298-LY-AWA
                                   Document
                                      Document
                                            165-1
                                               73 Filed
                                                  Filed10/22/21
                                                        09/30/20 Page
                                                                 Page117
                                                                      55 of
                                                                          of66
                                                                             290

                                                             Transcript of Thomas J. Fitton                                      1 (1 to 4)

                                                              Conducted on June 6, 2019
                                                                      1                                                                       3
1              IN THE UNITED STATES DISTRICT COURT                          1                  A P P E A R A N C E S
2             FOR THE SOUTHERN DISTRICT OF FLORIDA                          2
3                                                                           3    ON BEHALF OF THE PLAINTIFF PRO SE:
4    LARRY KLAYMAN,                  *                                      4      LARRY KLAYMAN, ESQUIRE
5             Plaintiff,             *                                      5      Klayman Law Group, P.A.
6       vs.                          *   Civil Action                       6      Suite 345
7    THOMAS FITTON,                  *   No. 1:19-cv-20544                  7      2020 Pennsylvania Avenue, Northwest
8             Defendant.             *                                      8      Washington, D.C.     20006
9                                                                           9      (310) 595-8088
10                                                                          10
11                                                                          11
12      Videotaped Deposition of THOMAS J. FITTON                           12
13                       Washington, D.C.                                   13 ON BEHALF OF THE DEFENDANT:
14                  Thu rsday, June 6, 2019                                 14     RICHARD W. DRISCOLL, ESQUIRE
15                           3:06 p.m.                                      15     Driscoll & Seltzer
16                                                                          16     Suite 610
17                                                                          17     300 North Washington Street
18                                                                          18     Alexandria, Virgini a    22314
19   Job No.: 247643                                                        19      (703) 822-5001
20   Pages 1 - 92                                                           20
21   Reported by:     Vicki L. Forman                                       21
22                                                                          22
23                                                                          23
24                                                                          24
25                                                                          25



                                                                      2                                                                       4
1              Videotaped Deposition of THOMAS J. FITTON,                   1    ON BEHALF OF THE DEFENDANT:
2    held at the offices of:                                                2       KATIE M. MERWIN, ESQUIRE
3                                                                           3      Cole, Scott & Kissane, P.A.
4       Planet Depos                                                        4      Suite 120
5       Suite 950                                                           5      222 Lakeview Avenue
6       1100 Connecticut Avenue, Northwest                                  6      West Palm Beach, Florida     33401
7       Washington, D.C.     20036                                          7      (561) 383-9206
8       (888) 433-3767                                                      8      (Present via Telephone.)
9                                                                           9
10                                                                          10
11                                                                          11
12            Pursuant to agreement, before Vicki L.                        12 ALSO PRESENT:     Joannis Arsenis, Videographer
13 Forman, Court Reporter and Notary Public in and                          13
14 for the District of Columbia.                                            14
15                                                                          15
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       Case
        Case1:20-cv-00298-LY-DH
              1:20-cv-00298-LY-AWA
                                 Document
                                    Document
                                          165-1
                                             73 Filed
                                                Filed10/22/21
                                                      09/30/20 Page
                                                               Page118
                                                                    56 of
                                                                        of66
                                                                           290

                                            Transcript of Thomas J. Fitton                                 11 (41 to 44)

                                             Conducted on June 6, 2019
                                                        41                                                           43
1      MR. KLAYMAN: Certify it.                              1 have been disclosed to me.
2    Q  So as President of Judicial Watch you                2     Q But you don't know for sure that
3 would have known for sure that this Complaint had          3 Mr. Peterson didn't have contact with Roger Stone?
4 been filed, correct?                                       4      MR. DRISCOLL: Objection to form.
5      MR. DRISCOLL: Objection to form.                      5     A I'm confident there was no such contact.
6    A Well, the press release indicates it was              6     Q You have told Mr. Peterson in the past,
7 filed and I recall we sued about the raid, yes.            7 have you not, that I was ousted from Judicial
8    Q And you gave interviews about suing in the            8 Watch because of a sexual harassment complaint?
9 raid, correct, in the media?                               9       MR. DRISCOLL: Objection to form.
10 A I don't remember.                                       10 Mr. Peterson is an in-house counsel and I'm going
11 Q Turn to the last page, page five.                       11 to direct the witness not to answer. That's an
12     The Complaint is signed by James F                    12 attorney-client privilege.
13 Peterson, correct?                                        13     MR. KLAYMAN: Certify it.
14 A His name is on the last page of the                     14    Q  So you don't know whether or not
15 Complaint as a signatory.                                 15 Mr. Peterson repeating what you had told him then
16 Q He is an attorney at Judicial Watch,                    16 republished that to Roger Stone?
17 correct?                                                  17     MR. DRISCOLL: The communications between
18 A Yes.                                                    18 an in-house counsel and the President of the
19 Q Now, Mr. Peterson had contact with Roger                19 corporation relating to legal advice and
20 Stone over the issue of the raid on his house, did        20 assistance are privileged. He can't answer the
21 he not?                                                   21 question about the contents of the communication
22 A Not that I'm aware of.                                  22 or derivative questions that would disclose the
23     MR. DRISCOLL: Objection to form.                      23 content of the communication.
24 Q You're saying you don't know one way or                 24     MR. KLAYMAN: That's the crux of the
25 the other?                                                25 lawsuit. That does not apply in this context.
                                                        42                                                           44
1     A I don't believe he has. I said I would               1       MR. DRISCOLL: That doesn't waive the
2 know if he had.                                            2 privilege.
3     Q How would you know if you couldn't even              3     Q Are you saying that you never told anyone
4 identify the Complaint?                                    4 at Judicial Watch that I was ousted because of a
5     A Another abusive harassing question.                  5 sexual harassment complaint?
6       MR. DRISCOLL: It's a foundation question.            6       MR. DRISCOLL: Anyone other than the
7 You can go ahead and answer it.                            7 attorneys?
8       How would you know if he had contacted               8       MR. KLAYMAN: Anyone.
9 Roger Stone?                                               9       MR. DRISCOLL: No, I can't allow him to
10      MR. KLAYMAN: Or if Roger Stone contacted             10 answer that question.
11 him.                                                      11 Q Are you saying that you never told anyone
12 A Is it privileged?                                       12 that I was -- regardless -- let's take attorneys
13      MR. DRISCOLL: That's an interesting                  13 out of it.
14 question. The fact of the communication would not         14      Have you ever -- you have told other
15 be. The contents of it would be.                          15 people in addition to -- strike that.
16 A How I would know is my question of whether              16      You have told other people excluding
17 it's privileged or not.                                   17 attorneys that I was ousted from Judicial Watch
18      MR. DRISCOLL: No, I'm going to allow you             18 because of a sexual harassment complaint?
19 to answer that one.                                       19 A You have to ask the question again.
20 A How I would know about what my attorneys                20      MR. KLAYMAN: Read it back, please.
21 are doing or Judicial Watch's attorneys are doing?        21 A Please.
22      MR. DRISCOLL: Yeah, and you're not                   22      MR. KLAYMAN: Let me rephrase it.
23 disclosing a communication. You're just                   23    Q  I'm taking attorneys out of this question.
24 describing a process.                                     24 I'm saying you have told others who aren't
25 A Typically that type of communication would              25 attorneys over the course of the last 16 years
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      Case
       Case1:20-cv-00298-LY-DH
             1:20-cv-00298-LY-AWA
                                Document
                                   Document
                                         165-1
                                            73 Filed
                                               Filed10/22/21
                                                     09/30/20 Page
                                                              Page119
                                                                   57 of
                                                                       of66
                                                                          290

                                           Transcript of Thomas J. Fitton                                 12 (45 to 48)

                                            Conducted on June 6, 2019
                                                        45                                                           47
1 since I left Judicial Watch that I was ousted              1 Judicial Watch was motivated by an employee's
2 because of a sexual harassment complaint?                  2 sexual harassment complaint," do you see that?
3    A No, because that's not true. You weren't              3     A Yeah.
4 ousted as a result of a sexual harassment                  4     Q Again, that statement does not say that
5 complaint.                                                 5 you never spoke with Roger Stone, just that you've
6    Q After I sued you in this particular case              6 never published that particular issue, correct?
7 has anyone -- have you or anyone at Judicial Watch         7     A It says what it says.
8 or your counsel tried to contact Roger Stone?              8     Q And then it states "Any statement by Roger
9      MR. DRISCOLL: Objection to form. The                  9 Stone regarding Klayman was made without my
10 question invades the attorney-client privilege and        10 knowledge or information and therefore I did not
11 the attorney work product. I direct the witness           11 intend and could not intend to harm Klayman or his
12 not to answer.                                            12 reputation," do you see that?
13     MR. KLAYMAN: Certify it.                              13 A Yes.
14     Madam court reporter, have a page in the              14 Q Now, you're not saying in that statement
15 front where you have all the certified questions          15 that you didn't communicate with Roger Stone.
16 and where you can find them to make it easy for           16 You're saying that you didn't know that he was
17 the Magistrate Judge. Thank you.                          17 going to republish anything about me, correct?
18 Q Now, I turn your attention back to your                 18      MR. DRISCOLL: Objection to form. The
19 affidavit which is --                                     19 document speaks for itself.
20 A Exhibit 3.                                              20 A The document speaks for itself.
21 Q Exhibit 3. Turn your attention to                       21 Q If you don't want to explain it that's
22 paragraph seven where it says "I have no                  22 fine.
23 recollection of ever having any communication with        23 A You're mischaracterizing it.
24 Roger Stone," do you see that?                            24 Q I do agree. It speaks for itself and
25 A Uh-huh.                                                 25 there's a lot of loopholes in it.
                                                        46                                                           48
1    Q Now, it doesn't say you didn't have a                 1      MR. DRISCOLL: Why don't you just ask him
2 communication with Roger Stone. It just says that          2 the question. Did he ever --
3 you have no recollection of having one, correct?           3      MR. KLAYMAN: I will ask the questions
4    A That's correct.                                       4 that I want to ask, Mr. --
5    Q Do you remember during the Clinton years              5      MR. DRISCOLL: All right.
6  that witnesses would always come in and say we            6     Q I want to turn to paragraph eight.
7 have no specific recollection and we would contest         7      Do you see the statements in the last
8 that?                                                      8 sentence of paragraph eight where it says "To
9       MR. DRISCOLL: Just ask your question,                9 support his claim Judicial Watch submitted
10 Larry.                                                    10 evidence demonstrating that Klayman was forced to
11 Q So you can't say categorically that you                 11 resign due to inappropriate conduct" and you list
12 haven't had communications with Roger Stone?              12 three examples of your alleged inappropriate
13 You're just saying you don't have a recollection          13 conduct, do you see that?
14 of ever having it, correct?                               14 A Yeah.
15 A I think the statement speaks for itself.                15 Q Now, you have in the last 16 years told
16 Q You could have said I have never                        16 many people, and I'm excluding any attorneys,
17 communicated with Roger Stone, correct, if that's         17 exactly what is written in this affidavit and
18 what you were trying to say, that you never had           18 which you swore to under oath?
19 any contact?                                              19     MR. DRISCOLL: I'm going to object to the
20 A The statement speaks for itself.                        20 question and direct the witness not to answer that
21 Q Then you state in the next sentence "I                  21 question to the extent it's related to the other
22 have never published, uttered or implied to Roger         22 lawsuit that is currently pending in the U.S.
23 Stone that Klayman was the subject of a sexual            23 District Court for the District of Columbia, Case
24 harassment complaint during his employment by             24 Number 06-cv-670.
25 Judicial Watch or that his resignation from               25     MR. KLAYMAN: That's not a basis to tell
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            Case
             Case1:20-cv-00298-LY-DH
                   1:20-cv-00298-LY-AWA
                                      Document
                                         Document
                                               165-1
                                                  73 Filed
                                                     Filed10/22/21
                                                           09/30/20 Page
                                                                    Page120
                                                                         58 of
                                                                             of66
                                                                                290
                                                                               Roger Stone taken on 2/12/2020


   1                  IN THE CIRCUIT COURT OF THE SEVENTEENTH CIRCUIT
                   IN AND FOR BROWARD COUNTY AND THE FIFTEENTH JUDICIAL
   2                  CIRCUIT FOR PALM BEACH COUNTY, FLORIDA, FLORIDA
   3

   4      LARRY KLAYMAN,
                                                                   CASE NO. 19-011394
   5                                Plaintiff,
   6           -vs-
   7      ROGER STONE,
   8                      Defendant.
               ____________________________________/
   9
               JEROME CORSI, et al
 10
                                        Plaintiff
 11

 12            vs.                                              CASE NO. 50-2019-CA-013711
 13
               ROGER STONE, et al
 14
                          Defendant
 15            ____________________________________/
 16
                                    VIDEOTAPED DEPOSITION OF ROGER STONE
 17
                                                   VOLUME I OF II
 18
                                          Wednesday, February 12, 2020
 19                                          9:42 a.m. - 4:28 p.m.
 20
                                  110 Southeast 6th Street, Suite 1700
 21                                  Fort Lauderdale, Florida 33301
 22
               Stenographically Reported By:
 23            PATRICIA BAILEY-ENTIN, FPR
               Notary Public, State of Florida
 24            BAILEY & ASSOCIATES REPORTING, INC.
               Fort Lauderdale Office
 25            Phone - 954-358-9090


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            Case
             Case1:20-cv-00298-LY-DH
                   1:20-cv-00298-LY-AWA
                                      Document
                                         Document
                                               165-1
                                                  73 Filed
                                                     Filed10/22/21
                                                           09/30/20 Page
                                                                    Page121
                                                                         59 of
                                                                             of66
                                                                                290
                                                                                 Roger Stone taken on 2/12/2020


   1                            But let's start with my sworn affidavit on top,
   2           and I'll ask that that be marked.                        It -- it entails --
   3                            MR. KLAYMAN:               And you can just mark it right in
   4                   the book --
   5                            THE REPORTER:                   Sure.
   6                            MR. KLAYMAN:               -- to make it easy.
   7                            That's Exhibit 2 to the Stone deposition and it
   8                   entails 59 pages.
   9                            (Plaintiffs' No. 2, Affidavit of Larry Klayman,
 10            was marked for Identification.)
 11            BY MR. KLAYMAN:
 12                    Q.       You are aware, Mr. Stone, that I'm the founder
 13            of Judicial Watch?
 14                    A.       I am.
 15                    Q.       You've spoken to Tom Fitton, haven't you?
 16                    A.       One time in my entire life.                I saw him
 17            backstage at a conference in -- at Dural, maybe a couple
 18            months ago, and we -- we shook hands in passing.                                Beyond
 19            that, I've never spoken to the man.
 20                    Q.       You've spoken to others at Judicial Watch,
 21            though, haven't you?
 22                    A.       No, actually, I haven't.                Not that I recall.
 23                    Q.       You -- you may have, but you just don't recall?
 24                    A.       I don't recall ever speaking to anyone at -- at
 25            Judicial Watch.                 I couldn't name anybody else at


Bailey & Associates c/o Empire Legal Reporting (954) 241-1010                                         Page: 39
      Case
        Case
           1:20-cv-00298-LY-DH
              1:20-cv-00298-LY-AWA
                                Document
                                   Document
                                         165-1
                                             122Filed
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                                                       10/22/21
                                                         06/25/21Page
                                                                   Page
                                                                      122
                                                                        1 of 5
                                                                             290



                             IN THE UNITED STATES DISTRICT COURT
                                                                                    212!
                              FOR THE WESTERN DISTRICT OF TEXAS                                   ,

                                        AUSTIN DIVISION

 JEROME CORSI AND LARRY
 KLAYMAN
              PLAINTIFFS,

 V.                                                       CAUSE NO. 1:20-CV-298-LY

 INFO WARS, LLC, FREE SPEECH
 SYSTEMS, LLC, ALEX E. JONES,
 DAVID JONES, OWEN SHROYER,
 AND ROGER STONE,
               DEFENDANTS.

                   ORDER ADOPTING REPORT AND RECOMMENDATION OF
                        THE UNITED STATES MAGISTRATE JUDGE
        Before the court in the above-styled and numbered cause of action are Defendant Owen

Shroyer's Motion to Dismiss for Failure to State a Claim and for Attorneys' Fees and Costs Under

Fla. Stat.   §   768.295 filed August 26, 2020 (Doc. #5 5), Shroyer's Motion for Sanctions Against Dr.

Jerome Corsi Pursuant to Fed. R. Civ. P.       11   filed August 26, 2020 (Doc. #56), Defendant David

Jones's Motion to Dismiss Amended Complaint for Failure to State a Claim filed September 2,

2020 (Doc. #57), Defendants Infowars, LLC, Alex E. Jones, and Free Speech Systems, LLC's

(collectively referred to as "Infowars") Motion to Dismiss Plaintiff Jerome Corsi's Portion of the

Amended Complaint for Failure to State a Claim filed September 2, 2020 (Doc. #58), Infowars's

Motion to Dismiss Plaintiff Larry Klayman's Portion of the Amended Complaint for Failure to

State a Claim filed September 2, 2020 (Doc. #59), Defendant Roger Stone's Motion to Dismiss

filed September 16, 2020 (Doc. #70), Stone's Motion for Sanctions filed October 13, 2020 (Doc.

#84), and associated response and reply briefs.

        On October 29, 2020, the district court referred all pending and future motions in this case

to a United States Magistrate Judge for resolution and report and recommendation.          See   28 U.S.C.
     Case
       Case
          1:20-cv-00298-LY-DH
             1:20-cv-00298-LY-AWA
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                                  Document
                                        165-1
                                            122Filed
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                                                      10/22/21
                                                        06/25/21Page
                                                                  Page
                                                                     123
                                                                       2 of 5
                                                                            290




§   636(b); Fed. R. Civ. P. 72; Loc. R. W.D. Tex. App'x C, R. 1. The magistrate judge signed a

report and recommendation on May 24, 2021 (Doc. #108), recommending that this court grant

Infowars, David Jones, Shroyer, and Stone's motions to dismiss, dismiss Corsi and Klayman's

claims with prejudice for failure to state a claim, and deny Shroyer and Stone's motions for

sanctions without prejudice to being refiled.

         A party may serve and file specific written objections to the proposed findings and

recommendations of a magistrate judge within 14 days after being served with a copy of the report

and recommendation and thereby secure de novo review by the district court.                      See 28

U.S.C.   §   636(b); Fed. R. Civ. P. 72(b). A party's failure to timely file written objections to the

proposed findings, conclusions, and recommendation in a report and recommendation bars that

party, except upon grounds of plain error, from attacking on appeal the unobjected-to proposed

factual findings and legal conclusions accepted by the district court. See Douglass         v.   United

Services Auto Ass 'ii, 79 F.3d 1415 (5th Cir. 1996) (en banc).

         Corsi and Klayman filed objections to the report and recommendation on June 8, 2021

(Doc. #115).         Stone responded to Corsi and Klayman's objections to the report and

recommendation on June 15, 2021 (Doc. #117), David Jones responded to the objections to the

report and recommendation on June 21, 2021 (Doc. #118), and Infowars and Shroyer responded

to the objections to the report and recommendation on June 22, 2021 (Doc. #119). Corsi and

Klayman replied to Stone's response to the objections on June 22, 2021 (Doc. #120) and replied

to David Jones's response to the objections on June 24, 2021 (Doc. #121).             In light of the

objections, the court undertakes a de novo review of the record and applicable law.

         Corsi and Klayman's Motion for Status Conference and to Vacate Report and

Recommendation of the United States Magistrate Andrew W. Austin was filed May 27, 2021 (Doc.



                                                    2
    Case
      Case
         1:20-cv-00298-LY-DH
            1:20-cv-00298-LY-AWA
                              Document
                                 Document
                                       165-1
                                           122Filed
                                                 Filed
                                                     10/22/21
                                                       06/25/21Page
                                                                 Page
                                                                    124
                                                                      3 of 5
                                                                           290



#109). David Jones responded to Corsi and Klayman's motion for status conference and to vacate

report and recommendation on June 10, 2021 (Doc. #116). In light of the court overruling Corsi

and Klayman's objections and adopting the magistrate judge's report and recommendation, the

court will deny Corsi and Klayman's motion for a status conference and to vacate the report and

recommendation.

       Corsi and Klayman first argue that the magistrate judge erred when ignoring affidavits

submitted by Corsi, Klayman, and Kelly Morales. The magistrate judge correctly pointed out that

the inquiry on a Federal Rule of Civil Procedure 1 2(b)(6) motion to dismiss is "limited to the

complaint, any documents attached to the complaint, and any documents attached to the motion to

dismiss that are central to the claim and referenced by the complaint." Ironshore Eur. DAC    v.


SchffHardin, L.L.P., 912 F.3d 759, 763 (5th Cir. 2019). The affidavits referenced in Corsi and

Klayman's objections were attached to Corsi and Klayman's opposition briefs and not included

with the amended complaint. The magistrate judge is correct to focus on the actual pleadings and

the application of the Rule 12(b)(6) legal standard.

       Corsi and Klayman next argue that the magistrate judge erroneously recommended

dismissing the defamation claims against Shroyer and David Jones based on a lack of personal

involvement because allegations in the complaint that defendants were working "in concert" to

defame Corsi and Klayman were ignored. The court disagrees. In reviewing the pleadings, the

magistrate judge determined that Corsi and Klayman' s claims of alleged concerted action or

conspiracy were insufficient to survive dismissal because the assertions were wholly conclusory

and unsupported by any facts. In their objections, Corsi and Klayman provide no basis to sustain

this objection and merely reassert the same insufficient, conclusory claims while referencing

affidavits outside of the scope of a Rule 12(b)(6) inquiry.



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    Case
      Case
         1:20-cv-00298-LY-DH
            1:20-cv-00298-LY-AWA
                              Document
                                 Document
                                       165-1
                                           122Filed
                                                 Filed
                                                     10/22/21
                                                       06/25/21Page
                                                                 Page
                                                                    125
                                                                      4 of 5
                                                                           290



       Corsi and Klayman also assert that the magistrate judge erred in finding they did not allege

actual malice, an alternative reason provided in the report and recommendation that dismissal of

the defamation claims is appropriate. Specifically, Corsi and Klayman argue that Infowars, David

Jones, Shroyer, and Stone acted with actual malice since they knew that the alleged defamatory

statements were false because of their long histories and familiarity with Corsi and Klayman. The

court disagrees. Again, Corsi and Klayman base this objection on affidavits outside of the scope

of a Rule 12(b)(6) inquiry and offer no evidence from the pleadings that plausibly supports the

claim that Infowars, David Jones, Shroyer, and Stone knew the complained-of statements were

falsely made or with reckless disregard for the truth.

       Next, Corsi and Klayman object to the magistrate judge's determination that they did not

adequately plead Intentional Infliction of Emotional Distress ("lIED"). Corsi and Klayman rely

on a comment directed at Corsi by Stone, saying, "I look forward to our confrontation. I will

demolish you." However, Corsi and Klayman provide no argument to counter the magistrate

judge's determination that the TIED is not "merely incidental to the commission of some other

tort," and is thus appropriate for dismissal. Even if the referenced comment by Stone were enough

of a factual allegation to necessarily support an lIED claim, the magistrate judge's determination

that the "gravamen" of Corsi and Klayman's lIED claim is defamation would still warrant

dismissal in this case.

       The court is of the opinion that the remaining objections do not raise issues that were not

adequately addressed in the report and recommendation. Therefore, finding no error, the court

accepts and adopts the report and recommendation filed in this case for substantially the reasons

stated therein. Accordingly,




                                                 4
      Case
        Case
           1:20-cv-00298-LY-DH
              1:20-cv-00298-LY-AWA
                                Document
                                   Document
                                         165-1
                                             122Filed
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                                                       10/22/21
                                                         06/25/21Page
                                                                   Page
                                                                      126
                                                                        5 of 5
                                                                             290



         IT IS ORDERED that Corsi and Klayman's motion for status conference and to vacate

the report and recommendation (Doc. #109) is DENIED.

         IT IS FURTHER ORDERED that Corsi and Klayman's objections (Doc.         #115)   to the

report and recommendation of the United States Magistrate Judge are OVERRULED.

        IT IS FURTHER ORDERED that the report and recommendation of the United States

Magistrate Judge (Doc.    #108)   is ACCEPTED AND ADOPTED by the court.

         IT IS FURTHER ORDERED that Shroyer and Stone's motions for sanctions (Docs.      #56,


84)   are DENIED without prejudice to refihing.

         IT IS FURTHER ORDERED that Infowars, David Jones, Shroyer, and Stone's motions

to dismiss (Docs. #55,   57, 58, 59, 70)   are GRANTED.

         IT IS FINALLY ORDERED that all of Corsi and Klayman's claims against Infowars,

David Jones, Shroyer, and Stone are DISMISSED WITH PREJUDICE.

         A final judgment shall be rendered subsequently.

         SIGNED this                 day of June, 2021.



                                                LE     E   L
                                                     TED STAT S DIS   CT JUDGE
   Case 1:20-cv-00298-LY-DH Document 165-1 Filed 10/22/21 Page 127 of 290




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS

DR. JEROME CORSI, et al

                       Plaintiffs

               v.
                                                    Case Number:     1:20-cv-298-LY
INFOWARS, LLC, et al
                                                        ORAL ARGUMENT
                      Defendants.                         REQUESTED




   PLAINTIFFS JEROME CORSI’S AND LARRY KLAYMAN’S MOTION FOR
RECONSIDERATION AND REPLY TO THE INFOWARS DEFENDANTS’ RESPONSE
  TO OBJECTIONS TO REPORT AND RECOMMENDATION OF MAGISTRATE
                       ANDREW W. AUSTIN

       Plaintiffs Dr. Jerome Corsi and Larry Klayman (“Plaintiffs”) hereby move the Court for

reconsideration of its June 25, 2021 Order adopting the Report and Recommendation of the U.S.

Magistrate and Granting Defendants’ Motions to Dismiss and Judgment. ECF No. 122, 123 (the

“Order”). Plaintiffs respectfully request expedited oral argument on this motion.

        Plaintiffs also, for the record, submit the following in reply to Defendants Infowars LLC,

Free Speech Systems LLC, Alex Jones, and Owen Shroyer’s (the “Infowars Defendants”)

response to Plaintiffs’ written objections to Magistrate Andrew W. Austin’s (“Magistrate

Austin”) Report and Recommendation of May 25, 2021. ECF No. 108. (the “Report”).

                           MOTION FOR RECONSIDERATION

       Plaintiffs hereby move for reconsideration of the Court’s Order of June 25, 2021 pursuant

to Fed. R. Civ. P 59(e). Generally, a Motion for Reconsideration may be granted under Rule

59(e) if the movant shows: (1) the motion is necessary to correct a manifest error of fact or law;

(2) the movant presents newly discovered or previously unavailable evidence; (3) the motion is
                                                1
     Case 1:20-cv-00298-LY-DH Document 165-1 Filed 10/22/21 Page 128 of 290




necessary in order to prevent manifest injustice; or (4) the motion is justified by an intervening

change in the controlling law.” Ramos v. Lucio, No. B-08-122, 2009 U.S. Dist. LEXIS 146718,

at *9 (S.D. Tex. May 19, 2009). Here, reconsideration is necessary in order to prevent manifest

injustice and to correct a manifest error of fact or law.

I.     At A Minimum, Plaintiffs Should Have Been Granted Leave to Amend

       Based on the Court’s Order, the primary reason that it chose to grant dismissal was the

fact that the extremely fact-oriented affidavits were not attached to the Amended Complaint, and

therefore could not be considered on a Rule 12(b)(6) motion. For instance, the Court wrote, “The

affidavits referenced in Corsi and Klayman's objections were attached to Corsi and Klayman's

opposition briefs and not included with the amended complaint. The magistrate judge is correct

to focus on the actual pleadings and the application of the Rule 12(b)(6) legal standard.” ECF

No. 122 at 3. Nowhere in the Court’s Order does it make the finding that the affidavits, if

properly considered, would still not be adequate to survive a motion to dismiss. Thus,

notwithstanding that Plaintiffs properly and in detail pled the actionable causes of action against

all Defendants, they at a minimum should have been afforded leave to amend their Amended

Complaint to incorporate their affidavits, along with Ms. Kelly Morales’ affidavit, and moot out

any other concerns that the Court might have had.

       Under Rule 15, leave to amend is to be freely granted. Patric v. City of Austin & Joshua

Visi, 2005 U.S. Dist. LEXIS 58488, at *6 (W.D. Tex. June 29, 2005); see also Smith v. EMC

Corp., 393 F.3d 590, 595 (5th Cir. 2004). “Although the decision concerning a motion to amend

is entrusted to the sound discretion of the district court, a district court must possess a substantial

reason to deny a request for leave to amend. Id. In determining whether to grant a party leave to

amend a complaint, courts consider the following factors: (1) undue delay, (2) bad faith or

                                                  2
      Case 1:20-cv-00298-LY-DH Document 165-1 Filed 10/22/21 Page 129 of 290




dilatory motive, (3) repeated failure to cure deficiencies by previous amendments, (4) undue

prejudice to the opposing party, and (5) futility of the amendment.” Id.

        It is clear here that amendment would not be futile, as there is no possible argument that

the affidavits of Plaintiffs and Ms. Morales bolster the allegations to a level that far exceeds

ordinary pleading standards and any motion to dismiss. There is clearly no undue delay, bad

faith or dilatory motive, or undue prejudice to the Defendants as well, as Plaintiffs are making

the motion immediately after the issuance of the June 25 Order. Any delay in this case is through

no fault of the Plaintiffs, as there was simply a 8-month delay before the Magistrate even issued

its Report and Recommendation. This case is therefore still only in its beginning stages, with no

discovery even having taken place, as the Magistrate stayed discovery. There is also no “repeated

failure” to cure deficiencies, as Plaintiffs were unable to obtain the affidavit of Ms. Morales until

after their had first amended their complaint, and to that point, Plaintiffs have only amended their

Complaint only one time so far.

        Thus, Plaintiffs respectfully request that the Court grant them leave to amend, as such

leave is required under these facts pursuant to Fed. R. Civ. P. 15.

II.     Alternatively, The Court’s Order Should Be Stayed Pending Discovery

        In the alternative, Plaintiffs respectfully request that the Court stay its June 25, 2021

Order and allow for full discovery of the Defendants.

        Magistrate Austin denied Plaintiffs any discovery, yet proceeded to usurp the fact-finding

role of the jury to override the allegations of the Amended Complaint and make factual

determinations concerning the allegations of the Amended Complaint. This is not proper, but for

whatever reason, Magistrate Austin decided to make his Report in this manner.



                                                 3
       Case 1:20-cv-00298-LY-DH Document 165-1 Filed 10/22/21 Page 130 of 290




         In doing so, Magistrate Austin essentially converted Defendants’ motions to dismiss into

a motion for summary judgment under Fed. R. Civ. P. 56, as he ruled upon factual evidence in

rendering his Report. In this regard, the affidavits that Plaintiffs submitted into the record should

have been properly considered. In other words, Magistrate Austin cannot have it both ways.

Either he should not have looked past the Amended Complaint by ruling upon factual evidence,

in which case the affidavits were not necessary, or if he was going to weigh evidence, then the

affidavits should have been considered and discovery should have been granted in the first place.

Ironically, of course, Defendants presented no factual evidence, so to reach his conclusions the

Magistrate had to glean his own factual evidence, which went far beyond the four corners of the

Amended Complaint and which was improper.

         Indeed, it is clear, just from the affidavits provided to the Court, that the allegations of the

Amended Complaint would be borne out in discovery. That is why leave to amend should be

granted, as it is clearly not futile and would obviously moot out any concerns the Court may

have, as set forth above. However, if the Court is not inclined to grant such leave, it must at a

minimum, stay its June 25 Order pending discovery—something that the Magistrate should have

done in the first place.

III.     Plaintiffs Motion Must be Granted to Correct Manifest Errors of Fact and Law

         Lastly, Plaintiffs’ Motion must be granted to correct manifest errors of fact and law, as

set forth in detail in Plaintiffs’ Objections to Magistrate Austin’s Report, ECF No. 115, Reply to

Defendant Roger Stone’s Response to Objections, ECF No. 120, Reply to Defendant David

Jones’ Response to Objections, ECF No. 121, and the Reply to the Infowars Defendants

Response to Objections, set forth below.



                                                    4
      Case 1:20-cv-00298-LY-DH Document 165-1 Filed 10/22/21 Page 131 of 290




        These pleadings set forth in great detail the litany of highly prejudicial errors of fact and

law contained in Magistrate Austin’s Report, which this Court subsequently adopted in full, with

little to no demonstrated analysis. These errors, such as the Magistrate first dismissing Defendant

David Jones without prejudice and then dismissing him with prejudice, underscores just how

flawed his Report is and why the multitude of other errors must be considered and corrected on

the record.

REPLY TO INFOWARS DEFENDANTS’ RESPONSE TO PLAINTIFFS’ OBJECTIONS
                          TO REPORT

I.      Plaintiffs’ Motion For Status Conference and to Vacate Report and
        Recommendation of the United States Magistrate Andrew W. Austin Does Not
        Constitute Plaintiffs’ Objections

        The Infowars Defendants make the truly bizarre argument that Plaintiffs’ Motion for

Status Conference and to Vacate Report and Recommendation (the “Motion”), ECF No. 109,

somehow constitutes their actual objections, which were timely filed. ECF No. 115. Plaintiffs’

Motion seeks specific relief—namely for a status conference, and to vacate the Report—that is

entirely unrelated to the purpose of filing objections to a Report and Recommendation pursuant

to Fed. R. Civ. P. 72(b)(2), which does not contain any type of motion for relief. The mere fact

that there is some overlap in the reasoning set forth in Plaintiffs’ Motion and Plaintiffs’

Objections does not render this “two bites at the apple” as the Infowars Defendants

disingenuously assert. These are two separate, distinct pleadings properly filed by Plaintiffs.

Tellingly, none of the Infowars Defendants’ co-Defendants have adopted this truly strange and

bizarre argument.

II.     The Statements At Issue Are Per Se Defamatory Statements of Pure Fact

        The defamatory statements at issue in this case are so outrageous that they are clearly

defamatory and demonstrably false on their faces, and they are defamatory per se, as they harm
                                              5
    Case 1:20-cv-00298-LY-DH Document 165-1 Filed 10/22/21 Page 132 of 290




Plaintiffs in their trade and profession, and as such damages are presumed, as set forth in detail

below. Statements that injure a person in her office, profession, or occupation are typically

classified as defamatory per se. Hancock v. Variyam, 400 S.W.3d 59, 63–64 (Tex. 2013). These

published statements are:

        (1) “He (Klayman) was ousted at Judicial Watch. Ask Tom Fitton [the
            current president of Judicial Watch] why he left. He was ‘ousted’ because
            of a ‘sexual harassment complaint.’” Am. Comp. ¶ 56.

        (2) “He’s (Klayman) never actually won a courtroom victory in his life.” Am.
            Comp. ¶ 55

        (3) “For those people out there who think...that Larry Klayman’s IQ is
            higher than 70, you’re wrong...” Am. Comp. ¶ 62.

        (4) “He’s (Klayman) incompetent, he’s a numbskull, he’s an idiot, he’s an
            egomaniac, and he could be the single worst lawyer in America. With him
            as Jerry Corsi’s lawyer, Corsi may get the electric chair. So your idea
            that he’s a good guy is entirely wrong” Am. Comp. ¶ 59

        (5) Plaintiff Klayman is a “piece of garbage.” Am. Comp. ¶ 61

        With regard to Plaintiff Dr. Corsi, Defendants have falsely and maliciously published

that:

        (1) “Plaintiff Corsi “seemed to be extremely mentally degraded to the point
            of what I would call dementia.” Am. Comp. ¶ 42

        (2) Defendant Alex Jones purportedly saw Plaintiff Corsi at a steakhouse “on
            the ground at another table” and that his security staff “thought he was
            dead in the elevator.” Am. Comp. ¶ 43

        (3) Accusing Plaintiff Corsi of having suffered a stroke, publishes maliciously
            that “whatever comes out of his mouth ain’t the truth.” Am. Comp. ¶ 44

        (4) that Plaintiff Corsi was “fired from World Net Daily.” Am. Comp. ¶ 49

        (5) “He (Corsi) was perfectly willing to lie, to perjure himself saying that a
            memo that he had wrote me was written on the 30th for the purposes of
            cover-up.... which is further proof that Jerry lied under oath.” Am.
            Comp. ¶ 50

                                                6
   Case 1:20-cv-00298-LY-DH Document 165-1 Filed 10/22/21 Page 133 of 290




       (6) “and then states that I knew about John Podesta’s emails being stolen in
           advance, the only proof of that is Jerry’s feeble alcohol affected memory
           – it’s a lie....” Am. Comp. ¶ 51

       (7) “Jerry was prepared to stab a principle Trump supporter in the back, he
           was perfectly prepared to bear false witness against me, even though I
           had done nothing in my entire life other than help him.” Am. Comp. ¶ 52

       (8) “all I ever did was show Jerry Corsi friendship and support and try to
           help him and his family and what I get is Judas Iscariot, the willingness to
           testify against me and help the deep state bury me....and then he makes
           up this story about helping me formulate a cover story.” Am. Comp. ¶ 53

       (9) “… you can always tell when Jerry Corsi is lying because his lips are
           moving....” Am. Comp. ¶ 54

       (10) “He [Corsi] was perfectly willing to bear false witness against me on
           multiple points that are complete fabrications.” Am. Comp. ¶ 64

       (11) “the good doctor [Corsi] has told a number of lies. In fact, he’s
           starting to conflate his lies.... he was perfectly willing to lie about me....
           but now lying about Alex Jones, lying about InfoWars, lying about Dr.
           (David) Jones, who’s one of the nicest, gentlest, sweetest, most honest men
           I have ever met, it’s beyond the pale.... Jerry Corsi can no longer be
           believed.” Am. Comp. ¶ 65

       (12) “I think you’ve [Corsi] been deep state from the beginning. Your
           whole birther thing is used as a club to destroy conservatives....I look
           forward to our confrontation. I will demolish you. You’re a fraudster, out
           of your alcoholic haze you have made up lies about David Jones and Alex
           Jones and Roger Stone and now I suspect they want you to lie about the
           President.” Am. Comp. ¶ 66

       (13) Plaintiff Corsi of being a “spook, back and forth with different
           agencies,” Am. Comp. ¶ 67

       (14) Falsely publishing a false statement of Plaintiff Corsi “not being able
           to walk.” Am. Comp. ¶ 68

       These statements are clearly defamatory on their face, and importantly, they are clearly

statements of fact, not opinion. This is patently obvious to even a first-year law student, or

anyone using even a modicum of common sense. As just one example—the false statement that

Mr. Klayman was ousted from Judicial Watch due to a sexual harassment complaint, Am. Comp.
                                            7
       Case 1:20-cv-00298-LY-DH Document 165-1 Filed 10/22/21 Page 134 of 290




¶ 56, does not contain even a smidge of opinion. It is purely a false statement of fact that is

clearly very damaging to Mr. Klayman in his trade and profession as a public interest advocate

and litigator, as well as private practitioner, as well as personally as it connotes moral turpitude,

which also amounts to defamation per se. Magistrate Austin’s factual findings that these

statements were not defamatory were clearly made in error, and especially so, since he denied

Plaintiffs’ discovery and then usurped the role of the jury to make (erroneous) factual findings.

III.     Plaintiffs Properly Alleged Actual Malice

         Indeed, a simple review of the record shows that Magistrate Austin’s finding that

Plaintiffs had failed to allege actual malice was in clear error. First, and foremost, it is

indisputable that the Amended Complaint expressly sets forth that the Defendants acted with

actual malice, as they knew that the defamatory statements were false given their long history,

relationship, and familiarity with Plaintiffs: “Defendants, each and every one of them, as set

forth herein, acted with actual malice, in concert, as joint tortfeasors, as they knew that the

statements which they published were false…. Am. Comp. ¶ 36.

         Magistrate Austin overrides the allegations of the Amended Complaint, again after

improperly denying discovery, to make the erroneous factual finding that Plaintiffs allegation

above was false and therefore no actual malice was alleged. This “heads I win, tails you lose”

approach created by Magistrate Austin is exemplary of the grossly prejudicial errors permeating

his Report.

         In fact, the Amended Complaint goes even much further than simply alleging actual

malice, and sets forth in painstaking detail exactly how and why. This includes the fact that

Defendants “have known Plaintiff Corsi for a long time and even worked with him… so they

were well aware that the statements made by the co- Defendant Stone, and their own false,

                                                 8
   Case 1:20-cv-00298-LY-DH Document 165-1 Filed 10/22/21 Page 135 of 290




misleading, malicious and defamatory statements were, indeed, false, as well as their acting as

agents of, much less their ratification of the malicious false statements published by Defendant

Stone on their networks and media sites.” Am. Comp. ¶ 39. This is further buttressed by Dr.

Corsi’s affidavit, ECF No. 115, Ex. 1, which details his long-standing relationships with the

Defendants:

       I personally know Defendant Roger Stone (“Defendant Stone”) and he personally
       knows my qualifications and me. I have even ghostwritten books for Defendant
       Stone and we used to be friends and colleagues. Defendant Stone is thus
       intimately familiar with my personal and professional history.

       In 2016, after the presidential election, I worked very closely with Alex Jones and
       his father David Jones, as well as with the Infowars staff, including Owen
       Shroyer. I made multiple trips to Austin, Texas, to appear live in-studio on
       Infowars broadcasts. I accepted an assignment from Alex Jones to create for
       Infowars a news bureau in Washington, D.C. From the beginning, I found Alex
       Jones to be erratic, subjects to emotional outbursts, even reacting that I was trying
       to “steal his company” when with his father’s assistance, I brought a multi-million
       dollar legitimate investment offer from highly credible sources to the table to
       discuss the proposal with Alex and his father.

       Several times, concerned that I might quit over how badly Alex Jones was treating
       me, Dr. Jones met with me privately, often over breakfast. In those breakfasts, I
       counseled Dr. Jones over my concerns that Alex should seek professional
       psychological help. While in my work under various contracts with federal
       government agencies to consult over anti-terrorism tactics, I had the opportunity
       to work with very experienced psychiatrists and psychologists. Still, I am not
       medically trained, and I cautioned Dr. Jones that the problems I perceived with
       Alex’s behavior should be professionally evaluated by qualified medical
       professionals. ECF No. 115, Ex. 1.

       Indeed, as conclusive evidence that Defendants were acting with actual malice, as set

forth in Dr. Corsi’s affidavit, Indeed, Dr. Corsi’s book, “Killing the Deep State,” was at all

material times, still available for sale on the Infowars website! This shows that the Infowars

Defendants at all times knew that Dr. Corsi was neither an alcoholic nor a liar, yet still willingly

participated in branding him as such. This is textbook actual malice.


                                                 9
    Case 1:20-cv-00298-LY-DH Document 165-1 Filed 10/22/21 Page 136 of 290




        With regard to Plaintiff Klayman, “At 1:30 in the January 18 Video, Stone and the other

Defendants maliciously falsely published, “He (Klayman) was ousted at Judicial Watch. Ask

Tom Fitton [the current president of Judicial Watch] why he left. He was ‘ousted’ because of

a ‘sexual harassment complaint.’” Defendant Stone a n d t h e o t h e r D e f e n d a n t s had no

basis to make these false, malicious, and defamatory claims. As pled in the Amended

Complaint, Mr. Klayman “left Judicial Watch voluntarily on his own accord in order to
run for U.S. Senate in Florida in 2003 -2004.” Am. Comp. ¶57. This is a fact. Defendant

Stone’s false revisionist history is a malicious and false statement of fact.

        Furthermore, as the final “nail in the coffin” to Defendant Stone’s assertions, Thomas

Fitton (“Fitton”), under oath, at a deposition in another matter testified that “[y]ou [Mr.

Klayman] weren’t ousted as a result of a sexual harassment complaint.” ECF No. 115, Ex. 5.

This conclusively shows that Defendant Stone, in concert with the Infowars Defendants,

published an objectively verifiable false statement. Indeed, at the same deposition, Fitton admits

to never have spoken to Stone, which shows that Stone simply made this lie up. ECF No. 115,

Ex. 5. Stone admitted under oath in a deposition that he did not speak to Fitton about this either,

so it’s clear that Stone made this up to defame Mr. Klayman. ECF No. 115, Ex. 5. This evidences

the fact that Defendant Stone, in concert with the other Defendants, acted with actual malice.

        Furthermore, Mr. Klayman’s affidavit further shows that Defendant Stone and the other

Defendants, acting in concert, with actual malice and at a minimum acted with reckless disregard

for the truth.

        Defendant Stone was a “political consultant” who claimed to help get presidents
        and other politicians elected. The firm made money by then lobbying the very
        men they put in office.




                                                10
   Case 1:20-cv-00298-LY-DH Document 165-1 Filed 10/22/21 Page 137 of 290




       Defendant Stone backed Republican candidate Jack Kemp for President and he
       recommended that I be put on the executive finance committee, which also
       included Donald J. Trump.

       Because Defendant Stone knew of my successes and capabilities as a private
       lawyer, he told me that he had recommended me for U.S. Attorney when
       George Bush was President in 1992.

       In 1996, at a Republican Convention in San Diego, California, Defendant Stone
       was filmed at a “toga party” with his wife at a “swingers party.

       The media at the time went after Defendant Stone because of his alleged
       participation in the “sex party” and created a scandal.

       The media alleged at the time that Defendant Stone solicited sex half-naked, and
       that there was a picture of Defendant Stone in a compromising position to back up
       the story.

       Defendant Stone contacted me and, because he knew my capabilities and
       acumen as a lawyer, retained me to represent him to get the media to cease
       what he claimed then was a smear campaign.

       I successfully got the media to back off Defendant Stone through my skill as
       a lawyer and Defendant Stone was grateful.

       Because he was aware of my prior successes at Judicial Watch and before,
       Defendant Stone wanted to work with me as my U.S. Senate campaign manager.

       During this time, the spring, summer, and fall of 2003, and in preparation for my
       U.S. Senate run, Defendant Stone researched and kept books and records of many
       of my accomplishments. He had several binders (2-3 feet) full of information
       about me and the victories that I had obtained at Judicial Watch and elsewhere.
       Again, because Defendant Stone knew of my successes and legal political
       acumen, Defendant Stone wanted to be on my team and help me run for the U.S.
       Senate.

       Defendant Stone thus knew of many cases I had won in courtrooms and other
       legal accomplishments and in fact had kept records of successes in a book of my
       accomplishments. ECF No. 115, Ex. 4

       Accordingly, this shows that Defendant Stone and the other Defendants had actual

knowledge that his statement regarding Mr. Klayman’s abilities as a lawyer were flat out false,



                                              11
      Case 1:20-cv-00298-LY-DH Document 165-1 Filed 10/22/21 Page 138 of 290




including but not limited to the “fact” that Mr. Klayman had “never won a courtroom victory in

his life.” Thus, Mr. Klayman has also far exceeded any requisite showing of actual malice.

        Given all of this, it is indisputable that Magistrate Austin’s decision to usurp the fact

finding role of the jury, after improperly denying Plaintiffs discovery, and then erroneously find

that the Defendants did not act with actual malice was a clear error.

IV.     Plaintiffs Properly Alleged that the Infowars Defendants Were Acting Together in
        Concert As Agents of Defendant Stone

        The Amended Complaint specifically and expressly alleges that the Infowars Defendants

were at all material times “working together in concert with and as agents of Stone….” Am.

Comp. ¶ 36. Furthermore, “Plaintiffs have demanded retraction and correction of the defamatory

videos and publications…but Defendant shave arrogantly refused, thereby ratifying any and all

defamatory statements contained therein….” Am. Comp. ¶ 38.

        These assertions are supported by detailed factual allegations:

        Defendant InfoWars and Defendant Free Speech Systems are both owned,
        controlled, and operated by Defendant Alex Jones and David Jones. Defendant
        Free Speech Systems owns www.infowars.com, where content created by
        Defendants Alex Jones, Shroyer and Stone were at all material times posted and
        broadcast into this district, nationally and internationally. Am. Comp. ¶ 11.

        Defendant David Jones is Defendant Alex Jones’s father and holds the official
        title of Director of Human Relations for Defendant Free Speech Systems. On
        information and belief, Defendant David Jones is the owner of Defendant
        InfoWars and Free Speech Systems and he manages and controls the business and
        related activities for Defendants InfoWars and Free Speech Systems, as well as
        Defendant Alex Jones’ other companies. Am. Comp. ¶ 8.

        The Defendants, acting in concert, as part of their latest scheme for notoriety,
        fame, and profit, worked in concert with and on information and belief continue
        to work in concert with Defendant Stone, who was at all material times an integral
        host on Infowars, and handsomely compensated by it, to defame, intimidate, and
        threaten Plaintiffs. Am. Comp. ¶ 22.

        Defendants have, by working in concert with and as agents of Stone, therefore
        engaged in illegal witness tampering, intimidation and threats in violation of 18
                                               12
    Case 1:20-cv-00298-LY-DH Document 165-1 Filed 10/22/21 Page 139 of 290




        U.S.C. § 1512 by virtue of the defamatory and threatening acts and practices as
        alleged herein. Not coincidentally, this was what largely Stone was indicted and
        convicted for by Special Counsel Robert Mueller, for which he was sentenced to
        40 months of incarceration a federal penitentiary. Am. Comp. ¶ 36.

        In a video from October 26, 2018, Defendant Alex Jones, acting in concert with
        the other Defendants and at their direction, particularly Defendant Stone, makes
        several false, misleading, malicious and defamatory statements about Plaintiff
        Corsi. Am. Comp. ¶ 41.

        Thus, given the fact that each of every one of the Infowars Defendants are intricately

bound together by virtue of the fact that they all directly participate in creating and publishing

the content on the Infowars site, it is more than merely plausible that they are working together

in concert. This is more than enough at the pleading stage, where again, to survive a motion to

dismiss, a complaint need only “contain sufficient factual matter, accepted as true, to state a

claim to relief that is plausible on its face.” Iqbal, 556 U.S. at 678.

        Plaintiffs took it even a step further and provided the Court with affidavits in addition to a

well pled Amended Complaint and related pleadings, all of which show the hard fact that all of

the Defendants all closely work together as part of Infowars and appeared together in concert on

the same defamatory broadcasts, the law, which was presented to the Magistrate, shows

otherwise:

        Civil conspiracy is used to extend tort liability beyond the wrongdoer to those
        who merely planned, assisted, or encouraged his acts. See Carroll v. Timmers
        Chevrolet, Inc., 592 S.W.2d 922, 925-26 (Tex. 1979); Helping Hands Home
        Care, Inc. v. Home Health of Tarrant County, Inc., 393 S.W.3d 492, 506 (Tex.
        App.-Dallas 2013, pet. denied). Once a civil conspiracy is proved, each
        conspirator is responsible for all acts done by any of the conspirators in
        furtherance of the conspiracy. Bentley v. Bunton, 94 S.W.3d 561, 619 (Tex.
        2002); Carroll, 592 S.W.2d at 926 (Tex. 1979); Helping Hands, 393 S.W.3d at
        506. A finding of civil conspiracy imposes joint and several liability on all
        conspirators for actual damages resulting from the acts in furtherance of the
        conspiracy. Carroll, 592 S.W.2d at 925; Helping Hands, 393 S.W.3d at
        506. When a jury finds that liability for a civil conspiracy exists, this finding
        requires the legal conclusion to impose joint and several liability on the co-

                                                  13
     Case 1:20-cv-00298-LY-DH Document 165-1 Filed 10/22/21 Page 140 of 290




        conspirators. LandAmerica Commonwealth Title Co. v. Wido, No. 05-14-00036-
        CV, 2015 Tex. App. LEXIS 11201, at *29 (Tex. App. Oct. 29, 2015).

        Additionally, under Restatement (Second) of Torts, § 577, comment f, “One is liable for

defamation by a third person whom as his servant, agent, or otherwise he directs or procures to

publish defamatory matter.” See also Universal Commun. Sys. v. Turner Broad. Sys., 2005 U.S.

Dist. LEXIS 58575, at *8 (S.D. Fla. Mar. 17, 2005) (“One is liable for defamation by a third

person whom as his servant, agent, or otherwise he directs or procures to publish defamatory

matter.”)

        Plaintiffs have more than adequately pled, if not proved, all of the Defendants specific,

personal involvement as set forth in the allegations of the Amended Complaint. Magistrate

Austin’s decision to ignore the allegations of the Amended Complaint, and make the factual

determination that Defendants were not acting in concert, after improperly denying discovery, is

a gross, prejudicial appealable error.

V.      Plaintiffs Properly Alleged a Claim Under the Lanham Act

        The Infowars Defendants misapply Farah v. Esquire Magazine, 736 F.3d 528 (D.C. Cir.

2013), which is a non-binding D.C. Circuit case in any event. Farah involved a claim under the

Lanham Act arising out of a parody/satire article titled “BREAKING: Jerome Corsi's Birther Book

Pulled from Shelves!” This parody/satire article was published one day after Dr. Corsi had released

his book, “Where's the Birth Certificate? The Case that Barack Obama is not Eligible to Be

President," written by Jerome Corsi and published by Joseph Farah's WND Books. Farah's website,

WorldNetDaily, announced the book launch with the headline, "It's out! The book that proves

Obama's ineligible: Today's the day Corsi is unleashed to tell all about that 'birth certificate'" Id. at

530. Under these facts—which are clearly very different from the facts of this instant case—the D.C.

Circuit found that the Plaintiffs had failed to state a claim under the Lanham Act. Importantly,

                                                   14
   Case 1:20-cv-00298-LY-DH Document 165-1 Filed 10/22/21 Page 141 of 290




however, there is zero (0) support for the Infowars Defendants’ proposition that a radio talk show

does not qualify as “commercial advertising or promotion” in Farah.

       Indeed, what well-established case law does show is that Plaintiffs, in fact, do have proper

Lanham Act claims. The crux of the Infowars Defendants’ argument is that they did not engage in

commercial speech. This is not so. In Bolger v. Youngs Drug Prods. Corp., 463 U.S. 60 (1983) the

Supreme Court set forth a three-factor test for determining whether speech is commercial. These

factors are (i) whether the communication is an advertisement, (ii) whether it refers to a specific

product or service, and (iii) whether the speaker has an economic motivation for the speech.

       In Bolger, the Supreme Court found that “informational pamphlets discussing the

desirability and availability of prophylactics in general or Youngs' products in particular”

constituted commercial speech despite the fact that they contained “discussions of important

public issues such as venereal disease and family planning.” Id.at 67. In doing so, the Supreme

Court reasoned:

       We have made clear that advertising which "links a product to a current public
       debate" is not thereby entitled to the constitutional protection afforded
       noncommercial speech. Central Hudson Gas & Electric Corp. v. Public Service
       Comm'n of New York, 447 U.S., at 563, n. 5. A company has the full panoply of
       protections available to its direct comments on public issues, so there is no reason
       for providing similar constitutional protection when such statements are made in
       the context of commercial transactions. See ibid. Advertisers should not be
       permitted to immunize false or misleading product information from government
       regulation simply by including references to public issues. Id. at 68.

       The Bolger case definitively rebuts the Infowars Defendants’ strategy of attempting to

mischaracterize the issue as competition in the “marketplace of ideas.” A Defendant cannot

escape liability under the Lanham Act simply by disguising their commercial speech as public

discourse.




                                                15
   Case 1:20-cv-00298-LY-DH Document 165-1 Filed 10/22/21 Page 142 of 290




          Other circuits have reached the same conclusion. In Procter & Gamble Co. v. Haugen,

222 F.3d 1262 (10th Cir. 2000), the Tenth Circuit found that the following was commercial

speech:

          I wanna run something by you real quick that I think you will find pretty
          interesting. Just talking to a guy the other night about this very subject and it just
          so happens that a guy brings information in and lays it on my desk this morning,
          so here it goes.

          It says the president of Procter & Gamble appeared on the Phil Donahue Show on
          March 1, '95. He announced that due to the openness of our society, he was
          coming out of the closet about his association with the church of satan. He stated
          that a large portion of the profits from [P&G] products go to support his satanic
          church. When asked by Donahue if stating this on television would hurt his
          business, his reply was, "There are not enough Christians in the United States to
          make a difference." And below it has a list of the [P&G] products which I'll read:
          [the subject message then lists 43 P&G products].

          It says if you are not sure about a product, look for the symbol of the ram's horn
          that will appear on each product beginning in April. The ram's horn will form the
          666 which is known as satan's number. I'll tell you it really makes you count your
          blessings to have available to all of us a business that allows us to buy all the
          products that we want from our own shelf and I guess my real question is, if
          people aren't being loyal to themselves and buying from their own business, then
          whose business are they supporting and who are they buying from. Love you.
          Talk to you later. Bye.

In doing so, the Tenth Circuit reasoned:

          In the present case, we are likewise dealing with a message containing both a
          noncommercial,       "theological"    component     and      a     commercial
          component. As Bolger and Fox indicate, however, the bare fact that the subject
          message contains a "theological" component is insufficient to transform it into
          noncommercial speech.

          Furthermore, we reject appellees' assertion that the subject message does not
          promote "commercial transactions." On the contrary, the message unambiguously
          urges recipients to eschew purchasing P&G products in favor of Amway products.
          While economic motivation or reference to a specific brand name and products,
          when viewed in isolation, might not render a message commercial speech, we
          conclude that those factors taken together with the instant message's promotion of
          Amway products at the expense of P&G products support the characterization of
          the subject message as commercial speech.

                                                   16
   Case 1:20-cv-00298-LY-DH Document 165-1 Filed 10/22/21 Page 143 of 290




Similarly, in Porous Media Corp. v. Pall Corp., 173 F.3d 1109 (8th Cir. 1999), the Eighth

Circuit found that the following was commercial speech:

       ALERT Please be advised that a filter has been introduced to the marketplace that
       in appearance seems to be a "clone" of the Pall Breathing Circuit Filter (BB-
       50T). Be advised that the similarity ends with appearance. The attached [set of
       reports] notes a serious hydrophobic deficiency as to the competitive product. The
       "clone" device is offered by a company called Porous Media. If your particular
       application for the Pall BB-50T operates in any moist, wet, high-humidity
       (condensation) environment, then you will run into "product occurrence"
       situations routinely should you utilize the Porous Media device instead of the Pall
       BB-50T. I urge you or your engineering staff to consider the enclosed, and
       conduct your own tests for verification if necessary. Please contact me with any
       questions or comments.

In doing so, the Eighth Circuit reasoned, “Whatever nobler concerns may have driven Pall to

inform the market of the public health dangers allegedly posed by Porous's non-

hydrophobic filter, "commercial speech" need not originate solely from economic

motives.” (emphasis added).

       Both Porous Media and Haugen involved one competitor denigrating the quality of

another competitor’s goods and/or services for their financial gain, which is exactly what is

alleged here:

       Plaintiffs, like Defendants, rely on viewer and listener financial and other support
       and sales and their reputations and good will in order to continue their work.
       Defendants’ false and/or misleading statements concerning Plaintiffs is meant to,
       and has, diverted financial and other support, referrals and sales away from
       Plaintiffs and to Defendants instead, and severely harmed Plaintiffs’ personal and
       professional reputations. Am. Comp. ¶ 74.

       Each of the courts found this to be commercial speech. Haugen is particularly instructive.

The Tenth Circuit found that an email from an Amway provider accusing the president of

Proctor & Gamble of being affiliated with the church of satan to be commercial speech. There

was no reference the quality of any of Proctor & Gamble’s products, but nonetheless, the Tenth


                                               17
      Case 1:20-cv-00298-LY-DH Document 165-1 Filed 10/22/21 Page 144 of 290




Circuit correctly found this to be commercial speech despite the clear “noncommercial

theological” component.

        Here, as set forth in the Amended Complaint, the Infowars Defendants clearly engaged in

commercial speech, as everything that he stated was intended to “and has, diverted financial and

other support, referrals and sales away from Plaintiffs and to Defendants instead.” Am. Comp. ¶

74. This is far more compelling than even the facts in Haugen or Porous Media.

        In fact, the Amended Complaint sets forth that the Infowars Defendants “do substantial

business and promote and sell various goods in this judicial district and nationwide, including

medicine, supplements, and “tchotchkes” with InfoWars branding. The money earned from these

sales funded the conspiracy and concerted acts between amongst Defendants to defame,

intimidate, coerce and threaten Plaintiffs….” Am. Comp. ¶ 15. During the Infowars Defendants’

broadcasts, advertisements for these various goods are interwoven into the broadcast, in between

and even during periods where they are making defamatory statements, rendering the Infowars

Defendants’ trade and profession as “defamation for profit.” Additionally, both Plaintiffs also

sell books and various goods in this judicial district and nationwide.1 This means that they are in

direct competition not only for fundraising, but also for the sale of goods as well.

        Thus, it is indisputable that the Infowars Defendants engaged in commercial speech and

therefore Plaintiffs have properly alleged a cause of action under the Lanham Act. They are all

competitors with Plaintiffs and use their published transmission to sell their products and reap

large profits, here to the detriment of Plaintiffs, who they trashed with their concerted defamation

and false statements, tantamount to false advertising under the Lanham Act.

VI.     Magistrate Austin’s Denial of Discovery Was Clearly Erroneous

1
 https://www.simonandschuster.com/authors/Jerome-R-Corsi/48217651;
https://www.simonandschuster.com/authors/Larry-Klayman/177669336.
                                           18
   Case 1:20-cv-00298-LY-DH Document 165-1 Filed 10/22/21 Page 145 of 290




       Furthermore, Magistrate Austin grossly erred by recommending dismissal of all claims

against the Infowars Defendants—as well as all of the other Defendants—after having denied

Plaintiffs leave to conduct any discovery. All of the detailed, fact specific allegations in the

Amended Complaint pertaining to the Infowars Defendants’ personal involvement in the

defamation of Plaintiffs—as well as those pertaining to the other Defendants—would have been

confirmed in discovery, as evidenced by Plaintiffs’ affidavits, for starters. By denying discovery,

and then usurping the fact-finding role of the jury to make the factual determinations that what

the Infowars Defendants said was not defamatory or malicious, Magistrate Austin has created a

no-win situation for Plaintiffs and has essentially taken the case into his own hands. With all due

respect, this was not Magistrate Austin’s role, and him doing so was a grave error that has

severely prejudiced Plaintiffs.

                                        CONCLUSION

       It is clear that Magistrate Austin did not do his job, and that his Report was simply rushed

out the door on the eve of his retirement. Plaintiffs making this argument is not attacking

Magistrate Austin personally, but simply protecting their own rights. Plaintiffs are entitled to a

fair, unbiased, and thorough judicial process, and Magistrate Austin simply did not do that.

       Plaintiffs respectfully request expedited oral argument on their Motion for

Reconsideration to address this not just the errors in the Magistrate’s Report but to seek to

prevent a manifest injustice.

Dated: June 28, 2021                                        Respectfully Submitted,


                                                            /s/Sanjay Biswas
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                                                19
   Case 1:20-cv-00298-LY-DH Document 165-1 Filed 10/22/21 Page 146 of 290




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                                                         Email:leklayman@gmail.com
                                                         Tel: 561-558-5336

                                                         Plaintiff Pro Se




                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on June 28, 2021, a true copy of the foregoing was filed via

ECF and served to all counsel of record though the Court’s ECF system.


                                                                 /s/ Sanjay Biswas




                                             20
6/28/2021         Case 1:20-cv-00298-LY-DH              Document
                            Alex Jones’ Lawyer Violated Legal            165-1PornFiled
                                                              Ethics By Soliciting         10/22/21
                                                                                   Bribes. Just How Dirty Is Page    147 of
                                                                                                             Marc Randazza?    290
                                                                                                                            | HuffPost

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               Alex Jones’ Lawyer Violated Legal Ethics By
              Soliciting Porn Bribes. Just How Dirty Is Marc
                                Randazza?
                     America’s foremost attorney for far-right extremists wanted “a little gravy,” then
                      lied to cover it up. That’s just part of his twisted journey through a lax legal
                                                           system.

                                          By Luke O’Brien | 12/27/2018 03:09 pm ET | Updated Dec 27, 2018


                                                                                           
                        One morning this June, a group of lawyers filed into the office of the State Bar of
                        Nevada and closed the door. It was summer in Las Vegas, the morning temperature
                        already nearing 100 degrees, but inside the low-slung tan building, the lawyers had a
                        chilly question to address: what to do about one of their own.

                        Marc Randazza had been a problem for years.

                        Randazza, who represents conspiracy theorist Alex Jones and many other far-right
                        extremists, had long relied on lawyer buddies to pump his public image. By their telling
                        and his own, Randazza was a First Amendment “badass.” But he was a combative
                        badass, even vicious, and he’d left a trail of bad blood and trampled ethics behind him.

                        Randazza had made enemies. Plenty of them. But he was cunning. He’d sidestepped
                        previous bar complaints and once avoided paying $600,000 in damages to his former
                        employer by filing for bankruptcy and having his malpractice insurance kick in.
                        Randazza was lucky, too. When an appeals court assigned a panel of judges to look
                        into his misrepresentations in court under oath, the underlying case settled before the
                        panel could meet. So off Randazza went, scuttling along through the Mojave as
                        unaccountable as a scorpion.

https://www.huffpost.com/entry/alex-jones-lawyer-marc-randazza_n_5c1c283ae4b08aaf7a86b9e4                                                           1/31
6/28/2021         Case 1:20-cv-00298-LY-DH              Document
                            Alex Jones’ Lawyer Violated Legal            165-1PornFiled
                                                              Ethics By Soliciting         10/22/21
                                                                                   Bribes. Just How Dirty Is Page    148 of
                                                                                                             Marc Randazza?    290
                                                                                                                            | HuffPost

                        His problems, though, now appeared to be gaining on him. For five years, the Nevada
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                        Bar had been aware of allegations that Randazza violated ethics rules in 2011 and 2012
                        while working for pornographers. By the time the lawyers met in Vegas to decide his
                        fate, Randazza had attained a new level of notoriety.

                        Since Donald Trump’s election, he had become, as much as any attorney in America, a
                        legal crowbar for far-right grifters and goons to leverage the protections of democracy
                        in an effort to undermine them. And although Randazza had taken on legitimate free
                        speech cases in the past, he’d grown curiously chummy with fascists and racists who
                        use defamation, harassment and threats to silence others.

                        Aside from Jones, Randazza and his firm represented neo-Nazi publisher Andrew
                        Anglin; white nationalist Republican congressional candidate Paul Nehlen; white
                        supremacist patriarch Jared Taylor; Holocaust-denying slanderer Chuck Johnson;
                        Pizzagate peddler Mike Cernovich; pro-rape misogynist Daryush “Roosh” Valizadeh; an
                        alt-right member who helped organize the deadly white supremacist rally in
                        Charlottesville, Virginia; the booking agent for white nationalist Richard Spencer; 8chan,
                        an online message board teeming with neo-Nazis; and Gab, the alt-right social media
                        platform where Robert Bowers, who allegedly killed 11 people at a synagogue in
                        Pittsburgh in October, appears to have radicalized himself.

                        In Randazza, these extremists had found their own bush league Roy Cohn, the attorney
                        who in a pre-internet era served as the “legal executioner” for right-wing thugs such as
                        Trump and Joseph McCarthy and repped mafia bosses like Carmine “Lilo” Galante and
                        “Fat Tony” Salerno. (Cohn was disbarred for “dishonesty, fraud, deceit and
                        misrepresentation” shortly before he died in 1986.)

                        Like Cohn, Randazza was willing to go on the offensive for authoritarians. And like
                        Cohn, Randazza’s legal license and bunco man’s talent for beguilement made him as
                        problematic as some of the people he represented. This summer, a former federal judge
                        who’d scrutinized Randazza’s unethical behavior in an arbitration proceeding described
                        the attorney as nothing short of a danger to the public.

                        Certainly, Randazza’s misbehavior had happened in public — it was all there in the
                        court records for anyone who cared to slog through them, a testament to how easily a
                        bad actor with the right credentials can abuse a system that assumes candor from its
                        professional class, not to mention an illustration of how white-collar privilege can abet
                        white-collar wrongdoing in America. Like a Wall Street banker selling bad debt or a
                        well-connected U.S. Supreme Court nominee fibbing under oath, Randazza had been
                        given a pass. Until now.

                        The backstory to what he’d done was complicated, the details sordid. The short of it is
                        this: While working as the in-house general counsel for gay pornographers a few years
                        ago, he solicited bribes, embraced conflicts of interest, relied on ill-gotten privileged
                        information to gain a legal advantage, made misrepresentations about his fees to
                        various courts and despoiled evidence of his treachery, according to an arbitrator’s


https://www.huffpost.com/entry/alex-jones-lawyer-marc-randazza_n_5c1c283ae4b08aaf7a86b9e4                                                  2/31
6/28/2021         Case 1:20-cv-00298-LY-DH              Document
                            Alex Jones’ Lawyer Violated Legal            165-1PornFiled
                                                              Ethics By Soliciting         10/22/21
                                                                                   Bribes. Just How Dirty Is Page    149 of
                                                                                                             Marc Randazza?    290
                                                                                                                            | HuffPost

                        findings, sworn statements in legal proceedings, interviews with opposing counsel,
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                        Randazza’s own admissions and thousands of pages of court records.

                        But what was the Nevada Bar prepared to do about it?

                        A Troll Is Born
                        Randazza grew up in Gloucester, Massachusetts, where his Sicilian family immigrated,
                        worked as fishermen and gained repute as champion traversers of greased
                        poles during the town’s annual St. Peter’s Fiesta. Randazza chose a different path. In
                        high school, he was voted “most likely to be dead or in jail” by 25. He claims to have
                        failed out of the University of Massachusetts three times.

                        Twenty-year-old Randazza enlisted in the U.S. Army during one hiatus from college with
                        the goal of becoming a psychological operations soldier, according to military records
                        obtained by HuffPost. He lasted less than five months in the Army. Randazza
                        completed boot camp and airborne “jump school” training but appears to have washed
                        out of psy-ops training and was discharged for undisclosed reasons during the Gulf
                        War.

                        He returned to the University of Massachusetts and plunged into controversy. A school
                        administrator at the time remembers Randazza as “an oppositional personality” who
                        was “just interested in burning stuff down.” Randazza lived in Butterfield Hall, a dorm
                        known for its drug-fueled parties, and took to flying a Jolly Roger flag from an antenna
                        on the building’s slate roof ― an early, if misguided, free speech stand. Randazza, the
                        former administrator said, egged on other students to climb on the steep roof. The
                        school removed the flag several times because of safety concerns, only to have
                        someone put it back up, at one point by allegedly using explosives to blast off metal
                        bars the school had installed over windows to prevent students from accessing the
                        roof. Randazza claimed the bars “rusted and fell out.”

                        When one female student complained that the flag resembled the logo of White Aryan
                        Resistance, a prominent neo-Nazi organization, Randazza mocked her concerns and
                        covered a letter she’d written in crude sexual insults, according to the student
                        newspaper. The insults, he said, were his “trademark.”




https://www.huffpost.com/entry/alex-jones-lawyer-marc-randazza_n_5c1c283ae4b08aaf7a86b9e4                                                  3/31
6/28/2021         Case 1:20-cv-00298-LY-DH              Document
                            Alex Jones’ Lawyer Violated Legal            165-1PornFiled
                                                              Ethics By Soliciting         10/22/21
                                                                                   Bribes. Just How Dirty Is Page    150 of
                                                                                                             Marc Randazza?    290
                                                                                                                            | HuffPost

                                                 Randazza seemed to delight in antagonizing the UMass administration.
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                                                                       MASSACHUSETTS DAILY COLLEGIAN




                        It took Randazza seven years to graduate from UMass with a journalism degree in
                        1994. After college, he drifted for a few years — a period he vaguely refers to as his
                        time as a “former news reporter,” although scant evidence of his journalism career
                        exists. Randazza filed at least two dispatches from Italy, where he now has dual
                        citizenship, for the newsletter of the Order Sons of Italy in America, a national
                        organization for people of Italian heritage.

                        In 1997, Randazza managed to get into Georgetown law school; he said he finished a
                        “dead last” in his class. He caused a furor when he ran for the Student Bar Association
                        using campaign posters that referenced penile implants. When the Women’s Legal
                        Association tore down the posters, Randazza protested to the dean that his political
                        speech was being censored. He got to put his posters back up. “And then,”
                        Randazza gloated on one legal blog, “the WLA cow had to apologize to me.”

                        Randazza completed his third year of law school at the University of Florida because,
                        as he put it, he never fit in at Georgetown: “I found it to be too conformist and
                        oppressive. I’m a hardcore left-wing guy, but at Georgetown, there was no room to
                        dissent.” (Georgetown is a large law school that graduates students from all walks of
                        life and political backgrounds. Among them: Atlantic Media owner David Bradley,
                        Federal Reserve Chairman Jerome Powell, House Majority Leader-elect Steny Hoyer,
                        criminal Republican lobbyist Jack Abramoff, and criminal Republican lobbyist and
                        former Trump campaign manager Paul Manafort.)

                        In almost every interview, Randazza describes himself as a “leftist” or a “libtard” or “so
                        liberal” that he’s “practically a communist,” which might have been accurate in 1996,
                        when he listed his party affiliation as the Socialist Workers Party, according to Florida
                        voter registration records. But it wasn’t in 2000, when Randazza volunteered for John
                        McCain’s presidential campaign. Since at least 2002, Randazza has been a registered
                        and active Republican voter, according to both Florida and Nevada records.



                            “He went out of his way to take advantage of us.
                            With him, there’s always an end game that occurs
                            at the expense of somebody else. And he has no
                            remorse.
                            —Brian Dunlap, vice president of Liberty’s sister company, Excelsior




                        He began his legal practice in earnest around that time and, with his bad grades,
                        struggled at first to find a job. He claimed to shun the idea of working at a big firm
                        because “it’s all about being a billing machine and ethics aren’t important.” Instead, his


https://www.huffpost.com/entry/alex-jones-lawyer-marc-randazza_n_5c1c283ae4b08aaf7a86b9e4                                                  4/31
6/28/2021         Case 1:20-cv-00298-LY-DH              Document
                            Alex Jones’ Lawyer Violated Legal            165-1PornFiled
                                                              Ethics By Soliciting         10/22/21
                                                                                   Bribes. Just How Dirty Is Page    151 of
                                                                                                             Marc Randazza?    290
                                                                                                                            | HuffPost

                        moral compass pointed to pornography, which he called “one of the most ethical                                 
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                        industries I have ever dealt with.”

                        In 2004, he landed a junior position at a small firm that specialized in First Amendment
                        and intellectual property cases. His career received an immediate and major boost
                        when Fox News made him a talking head after an academic paper he wrote about
                        online vote swapping garnered national attention. From the start, though, smut was
                        Randazza’s primary focus. In Florida, the porn lawyer tooled around in a yellow Porsche
                        with U.S. paratrooper plates.

                        In 2009, he took a nearly $250,000-a-year job in San Diego as in-house general counsel
                        for Excelsior Media, a gay porn company, and Excelsior’s production and distribution
                        arms Liberty Media Holdings and Corbin Fisher. (Because all of the cases Randazza
                        worked on involve Liberty as a party, we will refer to his employer as Liberty throughout
                        this article.) Liberty later relocated to Las Vegas, and Randazza moved with the
                        company.

                        On his first attempt at passing the Nevada Bar exam, Randazza failed the ethics portion
                        of the test.

                        The Porn Lawyer Ascendant
                        Randazza staggered naked down the stairs, clutching a bottle of red wine. It was
                        January 2010, and the attorney was boozing it up at the villa Liberty had rented for a
                        location-scouting trip to Costa Rica. Around 9 a.m. that day, according to court
                        records, Randazza stopped studying for the California Bar exam and started guzzling
                        vodka and peach soda. He kept drinking over lunch at a nearby hillside restaurant,
                        tossing back so many cocktails that he had to be helped outside to vomit in the parking
                        lot. Brian Dunlap, vice president of Liberty’s sister company, Excelsior, drove Randazza
                        back to the villa in a rental Jeep, the vehicle bouncing over small cobblestone roads as
                        Randazza puked violently out the window, his heaving taking on a staccato rhythm with
                        the bumps.

                        Back at the villa, Dunlap got the attorney into his bedroom and went to hose down the
                        Jeep. But Randazza was soon back on his feet and making for the pool with a wine
                        bottle. Now, he was naked. The Liberty executives looked on, laughing. One of them
                        filmed the glassy-eyed Randazza wobbling into the pool.

                        “As your attorney,” Randazza said, turning full-frontal to the camera as he held his wine
                        bottle aloft, “I advise you to drink this.”




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6/28/2021         Case 1:20-cv-00298-LY-DH              Document
                            Alex Jones’ Lawyer Violated Legal            165-1PornFiled
                                                              Ethics By Soliciting         10/22/21
                                                                                   Bribes. Just How Dirty Is Page    152 of
                                                                                                             Marc Randazza?    290
                                                                                                                            | HuffPost

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                                      Marc Randazza getting drunk and naked on a trip to scout porn shoot locations in Costa Rica.
                                                                            HUFFPOST IMAGE




                        Initially, Randazza’s antics seemed harmlessly incorrigible. And his raffish demeanor
                        was hardly out of place in the freewheeling porn industry. Randazza didn’t just party
                        with his bosses. He procured concealed carry permits for them, helped them with legal
                        name changes and sorted out their messy personal affairs. On one occasion, he acted
                        as a cooler after a Liberty performer who was in a sexual relationship with the
                        company’s CEO allegedly attacked the executive. Randazza bundled the porn actor
                        into a cab bound for the airport and a flight out of Las Vegas.

                        “[Your] 702 area code privileges have been revoked,” he told the man.

                        Above all, though, Randazza served as Liberty’s attack dog. His main duty was to go
                        after copyright infringers, earning a 25 percent bonus on any settlement funds he
                        brought in. Some of the infringers were companies, but Randazza also shook down gay
                        kids and small-time pirates, even unemployed ones.

                        But Randazza was two-timing Liberty. He was secretly doing work for Liberty
                        competitors such as Bang Bros, Titan Media and Kink.com, sometimes billing his
                        outside clients almost 100 hours a month. He also worked for companies accused of
                        infringing Liberty’s copyrights, including XVideos. Most attorneys would shun these
                        conflicts of interest. Randazza barreled into them. He played clients off each other and
                        cited “fair use” to dissuade Liberty from suing infringers.

                        “The big targets that we kept asking him to go after for months were his clients,”
                        Dunlap said. “We kept saying, ‘What about XVideos? What about XVideos? They’re the
                        worst.’”

                        Only years later did Liberty executives realize that when they sent takedown notices to
                        XVideos, the lawyer handling them sat down the hall. Randazza invoiced XVideos for

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6/28/2021         Case 1:20-cv-00298-LY-DH              Document
                            Alex Jones’ Lawyer Violated Legal            165-1PornFiled
                                                              Ethics By Soliciting         10/22/21
                                                                                   Bribes. Just How Dirty Is Page    153 of
                                                                                                             Marc Randazza?    290
                                                                                                                            | HuffPost

                        over $44,000 while employed by Liberty.                                                                        
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                        “He went out of his way to take advantage of us,” Dunlap said. “With him, there’s
                        always an end game that occurs at the expense of somebody else. And he has no
                        remorse.”

                        Randazza misled people on multiple fronts. When he started his Liberty job, he
                        accurately described himself in court as the “in-house counsel for Liberty Media
                        Holdings.” But a year later, he was giving judges, journalists and potential clients the
                        impression that he was an outside attorney, rather than a Liberty employee. He
                        swapped out his Liberty email address and letterhead for a personal email address and
                        the letterhead of the “Randazza Legal Group,” a firm he’d set up in Florida. He handed
                        out personal business cards that made no reference to his Liberty job.

                        In court filings, Randazza referred to himself as “counsel for Plaintiff” or “an attorney for
                        the Plaintiff.” He told courts that Liberty had “incurred” his fees or that he’d “charged”
                        the company at billing rates of $425 to $500 per hour. To support those rates, he
                        sometimes filed affidavits from a paralegal who stated under oath that he was Liberty’s
                        “Vice President for Intellectual Property Management,” a position Dunlap said the
                        paralegal never held. Randazza also submitted affidavits from lawyer friends of his,
                        along with time sheets showing his rates, even though he was a salaried employee.

                        It’s not clear why he did this. He may have thought it would make it easier for him to
                        recover fees, which juiced his 25 percent bonus on settlement money and allowed him
                        to hike up his rate ceiling. (He now charges some clients $700 per hour.)

                        In the U.S. legal system, each party typically pays its own legal bills. There are,
                        however, provisions in some types of litigation — federal copyright cases, for example
                        — that allow for the winning party to collect its fees from the losing party. Judges would
                        probably scrutinize an in-house counsel’s request to recover fees more closely,
                        according to several ethics experts and law professors. But an in-house counsel has
                        just as good a chance at recovering fees, the experts added — a fact Randazza might
                        not have been aware of at the time.

                        “All the stuff that is misleading is tailored for him to win that fee award,” said Adam
                        Springel, a Las Vegas attorney and expert in commercial and business law who
                        examined a number of Randazza’s fee filings at HuffPost’s request. “He was clearly
                        trying to get the judge to rubber-stamp his fee requests.”

                        By creating the impression that he was an outside hired gun, Randazza may have also
                        been trying to build name recognition and drum up business for the Randazza Legal
                        Group, whose growth Liberty was subsidizing. Randazza didn’t tell his employer about
                        some of the fee awards he won — “the substantial ones, in particular,” Dunlap said —
                        and later refused to let Liberty audit the account where he deposited litigation payouts.
                        He said it would look better in court to use the Randazza Legal Group on filings, as
                        “insulation” for his employers.



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6/28/2021         Case 1:20-cv-00298-LY-DH              Document
                            Alex Jones’ Lawyer Violated Legal            165-1PornFiled
                                                              Ethics By Soliciting         10/22/21
                                                                                   Bribes. Just How Dirty Is Page    154 of
                                                                                                             Marc Randazza?    290
                                                                                                                            | HuffPost

                        “We took it as legal advice, and didn’t think much of it at the time,” Dunlap said.“We
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                        had no idea to what extent he was trying to double dip. ... But when we discovered he
                        was trying to say he was an outside firm charging us hourly and running up huge legal
                        bills, that’s when it became apparent he was trying to pull a fast one with the court.”

                        Greedhead & Fleecer, LLP
                        Randazza’s dirty pool went beyond duping his employer and the courts. He was also
                        soliciting illicit payoffs from parties that Liberty wanted him to sue. Records that
                        surfaced during the arbitration proceeding and that were later made public in U.S.
                        Bankruptcy Court in Nevada reveal the grimy particulars. In December 2010, while
                        negotiating a settlement for Liberty with the website TNAFlix, Randazza went after his
                        first bribe. He wanted TNA to pay to “conflict [him] out” of being able to sue the website
                        again. A $5,000 “contract” figure came up. Randazza’s opposing counsel, Val Gurvits,
                        had no idea that Randazza was working in-house for Liberty at the time.

                        “Not a single communication from him ever came on Liberty letterhead,” Gurvits told
                        HuffPost.

                        Randazza concealed his job while hunting for money from other companies. But he
                        didn’t hide his avarice.

                        “There needs to be a little gravy for me,” he emailed Gurvits. “And it has to be more
                        than the $5K you were talking about before. I’m looking at the cost of at least a new
                        Carrera in retainer deposits after circulating around the adult entertainment expo this
                        week. I’m gonna want at least used BMW money.”

                        Randazza asked for $30,000 and raised the possibility of teaming up with Gurvits to
                        broker a sale of TNA to one of Randazza’s outside clients, which could have earned
                        him a $375,000 commission. He pushed hard to secure both deals. When Gurvits
                        hesitated, Randazza claimed another company wanted to hire him to sue TNA.

                        “I can’t hold these guys back any longer,” he warned.




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6/28/2021         Case 1:20-cv-00298-LY-DH              Document
                            Alex Jones’ Lawyer Violated Legal            165-1PornFiled
                                                              Ethics By Soliciting         10/22/21
                                                                                   Bribes. Just How Dirty Is Page    155 of
                                                                                                             Marc Randazza?    290
                                                                                                                            | HuffPost

                                              Marc Randazza worked long hours chasing porn money, some of it illicit.
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                                                                     OWEN FREEMAN FOR HUFFPOST




                        Randazza’s first known solicitation of a bribe was an apparent violation of the Nevada
                        Rules of Professional Conduct, which forbid lawyers from “offering or making”
                        agreements like these that could restrict them from practicing law. (The Nevada rules
                        mirror the model rules of the American Bar Association, a baseline version of which has
                        been adopted in every jurisdiction except California.) Randazza later tried to wring a
                        bribe out of Megaupload, a file-sharing site that had allegedly infringed Liberty’s
                        copyright, according to arbitration records.

                        “Once you take a financial stake in the outcome of your client’s case, then you have a
                        conflict of interest. It compromises the independent professional judgment of the
                        lawyer. It’s not even a close call,” said Russell McClain, an associate professor at the
                        University of Maryland School of Law and an expert in professional responsibility.

                        The extent of Randazza’s web of deception became apparent in Liberty’s 2012 federal
                        lawsuit against Oron, a file-sharing site. When Randazza tried to recover fees in the
                        case, he not only failed to identify himself as Liberty’s in-house counsel but also
                        bundled his own “charged” fees with the fees of outside attorneys he’d brought on at
                        his firm. He claimed the Randazza Legal Group had billed Liberty almost 366 hours,
                        causing the porn company to “incur” $214,964 in attorneys’ fees and costs. Of that
                        total, Randazza told the court, $90,833.98 resulted from his nearly 182 hours of work at
                        $500 per hour.

                        He also reported that his employees billed Liberty at their “standard hourly rates.” For
                        his partner, Ronald Green, that meant $400 per hour. For paralegals, it was $125 per
                        hour. In reality, the Randazza Legal Group gave Liberty a massive discount, sometimes
                        75 percent off market rates, on work done by its lawyers — a fact that Randazza
                        withheld from the court.

                        These were material misrepresentations, according to multiple fee experts interviewed
                        by HuffPost. And Randazza got away with them: U.S. District Judge Gloria Navarro
                        eventually ordered Oron to pay an extra $131,797.50 to cover Randazza’s claimed fees.

                        Randazza had crossed the line in other ways, too. While negotiating a $550,000
                        settlement agreement with Oron, he’d chased another bribe. If the file-sharing company
                        paid him $75,000, Randazza would “never be able to sue [Oron and its sister
                        companies] forever and ever,” he promised Oron’s counsel. For that price, Randazza
                        said he’d “provide some really great value” — including a “plan that you’ll drool over” to
                        make it harder for other companies like Liberty to sue Oron.

                        Randazza had an unfair advantage. He’d acquired information about Oron’s privileged
                        legal communications and its Hong Kong bank account from a softcore porn
                        photographer named James Grady who also wanted to take down the file-sharing
                        company. Grady had paid “a guy — call him a forensic investigator — to dig past

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6/28/2021         Case 1:20-cv-00298-LY-DH              Document
                            Alex Jones’ Lawyer Violated Legal            165-1PornFiled
                                                              Ethics By Soliciting         10/22/21
                                                                                   Bribes. Just How Dirty Is Page    156 of
                                                                                                             Marc Randazza?    290
                                                                                                                            | HuffPost

                        Domains by Proxy and things like that,” the photographer told Randazza in an email,
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                        making it clear that his source “didn’t get the info at Walmart in the course of normal
                        commerce.”

                        According to Val Gurvits, whom Oron brought in to help with its case because of his
                        experience dealing with Randazza, the only way to know about Oron’s overseas bank
                        account would be if someone “broke into Oron’s gmail.”

                        It certainly looked that way. Grady sent Randazza a receipt showing that Oron had
                        released money from its PayPal account to its Hong Kong bank account. He sent
                        information about the personal email account of Oron’s owner.

                        He sent the owner’s Skype call logs, which Grady said came from one of Oron’s email
                        accounts. He supplied Randazza with detailed descriptions of internal emails sent by
                        Oron’s lawyer. The intel helped Randazza get a temporary restraining order in Nevada
                        federal court and freeze Oron’s assets.

                        Randazza invited Grady to Las Vegas to be a “star witness” in the case, urging the
                        photographer to be careful about what he might tell the judge about the Oron material.
                        “You [need] to consider what happens if the judge wants to know where you got your
                        information,” Randazza wrote. “As far as I know, it was lawfully obtained. You certainly
                        got it lawfully. If the source is a disgruntled Oron employee, great. Jilted lover, great.
                        Hacker, problematic.”

                        Randazza was forbidden from collecting evidence this way. He also wasn’t allowed to
                        engage in “conduct involving dishonesty, fraud, deceit or misrepresentation,” according
                        to multiple ethics experts. In fact, state bars across the country have determined that it
                        is wrong for a lawyer to fail to inform opposing counsel about inadvertently received
                        privileged material. The mere act of reading such material is unethical.

                        “We would file a brief, and they would have a response the next day,” said Stevan
                        Lieberman, one of Oron’s lawyers. “It’s very clear that [Randazza] used the privileged
                        attorney-client communications to his advantage.”

                        Randazza also shared his “entire Oron file” with one of his porn attorney friends, telling
                        a paralegal to let the attorney “lift anything he wants,” according to internal Randazza
                        Legal Group emails. That attorney, who’d later become a partner at Randazza’s firm,
                        and a different company would soon file a copycat suit in California that ratcheted up
                        pressure on Oron and kept the company’s assets frozen.

                        In a bind, Gurvits agreed to pay Randazza the $75,000 but insisted that the payment be
                        part of the settlement agreement between Liberty and Oron. “If it wasn’t for me
                        insisting, we would have had a separate agreement,” Gurvits told HuffPost. “But I felt
                        that was improper. That’s how Randazza offered to do it. I said, ‘I’m not going to do an
                        end-run around your client.’”

                        And that’s how Randazza got caught.


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6/28/2021         Case 1:20-cv-00298-LY-DH              Document
                            Alex Jones’ Lawyer Violated Legal            165-1PornFiled
                                                              Ethics By Soliciting         10/22/21
                                                                                   Bribes. Just How Dirty Is Page    157 of
                                                                                                             Marc Randazza?    290
                                                                                                                            | HuffPost

                       An Unhappy Ending                                                                                             

                        When his boss at Liberty, Jason Gibson, thumbed through a draft of the proposed
                        settlement with Oron, he spotted a curious one-line item for $75,000: Randazza’s gravy.

                        “My stomach is churning after reading the proposed agreement,” he emailed Randazza.

                        Their relationship quickly unraveled. Within days, Randazza left his job. He and a
                        paralegal covered their tracks by repeatedly running data-wiping software on their
                        company computers that prevented Liberty from recovering evidence, according to
                        court documents and forensic investigator testimony. He refused to release the
                        $550,000 Oron settlement award to Liberty from his trust account.

                        Randazza laid siege to the company.

                        “Murum aries attigit” is a war doctrine attributed to Julius Caesar that translates to “the
                        [battering] ram has touched the wall.” The phrase has a baleful meaning: If your
                        enemies refuse to surrender before hostilities commence, destroy them without mercy.
                        This is Randazza’s motto as a lawyer.

                        “Once the ram touches the wall, you have to commit to ending the other party as a
                        going concern,” he explained on his blog. “You must leave the other party with nothing
                        left with which to fight. Because, if a party is fool enough to refuse the favorable terms,
                        that party is fool enough (and poorly advised enough) to keep being a pain in your ass
                        until you finally put them down like a diseased animal.”

                        Randazza filed a complaint with the Nevada Equal Rights Commission, alleging that
                        he’d been sexually harassed at work as a straight man because Liberty, which mainly
                        makes gay porn, once filmed a sex scene ― a straight scene, it turned out ― in his
                        office. It was a peculiar claim. In the Liberty workplace, Randazza had been exuberantly
                        lewd. He’d talked about wanting to “snap a nasty metal bar across [a man’s] wiener”
                        and purchased a couch used for porn shoots for his home, then emailed around a
                        picture of his scantily clad wife posing on it. But the free speech crusader who called
                        political correctness a “disease” and casually, if jokingly, threw around words like
                        “nigger” and “cunt” now was saying he’d suffered ethnic harassment as an Italian-
                        American because Liberty executives had sarcastically called him a “guinea” and a
                        “wop,” usually in response to his own off-color instigations.

                        Randazza’s harassment complaint was an obvious farce, and it went nowhere.




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6/28/2021         Case 1:20-cv-00298-LY-DH              Document
                            Alex Jones’ Lawyer Violated Legal            165-1PornFiled
                                                              Ethics By Soliciting         10/22/21
                                                                                   Bribes. Just How Dirty Is Page    158 of
                                                                                                             Marc Randazza?    290
                                                                                                                            | HuffPost

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                                        Randazza would bring all his legal firepower to bear in trying to destroy his former client.
                                                                              HUFFPOST IMAGE




                        In December 2012, he sued Liberty’s parent company in Nevada state court on
                        allegations of fraud, breach of contract and unjust enrichment. Four months later,
                        Liberty filed a complaint against Randazza with the Nevada Bar, reporting his
                        solicitation of bribes, conflicts of interest, misleading fee motions and warning that
                        Randazza had on multiple occasions threatened to “drown anyone who attempts to
                        challenge him in legal bills and debt.” But the bar dismissed the complaint, citing the
                        ongoing state lawsuit.

                        “The bar’s approach was like, ‘Hey, we can’t really do anything because there’s a civil
                        matter going on now,’” Dunlap said. “But that policy is what allows people to get away
                        with this because private citizens have to assume the burden and the expense of
                        having to prove all this themselves. That means Randazza can drown us in legal fees,

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                            Alex Jones’ Lawyer Violated Legal            165-1PornFiled
                                                              Ethics By Soliciting         10/22/21
                                                                                   Bribes. Just How Dirty Is Page    159 of
                                                                                                             Marc Randazza?    290
                                                                                                                            | HuffPost

                        which is what he tried to do. It’s a process that can be manipulated because if you
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                        a grievance with an attorney, all the attorney has to do is sue you.”

                        Even when Liberty found a way to hold Randazza accountable, the attorney wriggled
                        away. Not long after Randazza sued Liberty, the porn company reported his self-
                        dealing in his fee recovery efforts to an appeals court where the dispute between Oron
                        and Liberty was still playing out. The appeals court asked a panel of judges to look into
                        Randazza’s fees, but Liberty and Oron settled their differences and the case was
                        dismissed before the panel could meet. Unfortunately for Oron, the copycat suit that
                        Randazza helped his friend bring against the file-sharing firm kept Oron’s assets on ice.
                        Unable to pay its hosting provider, Oron went out of business, according to the
                        company’s statements in court filings.

                        Randazza, on the other hand, stayed in business. And he wasn’t done with Liberty. Not
                        long after he left the company, he crossed paths with Dunlap at a porn conference in
                        Arizona and invited his former co-worker to step outside and fight.

                        “I wonder how much it would cost me to punch you in the face right now,” Randazza
                        said, according to sworn testimony by Dunlap in a subsequent legal dispute.

                        Randazza’s next move was to file an arbitration claim against the porn company in
                        which he claimed wrongful termination, breach of contract, back pay and damages
                        from the sexual and ethnic harassment Randazza said he’d suffered. He demanded
                        over $4 million in damages.

                        The arbitration dragged on for three years and cost Liberty over $1 million. But it
                        backfired spectacularly on Randazza. Liberty brought counterclaims for, among other
                        things, legal malpractice and unjust enrichment. The evidence quickly piled up against
                        Randazza. Billing records proved he’d been getting paid by XVideos every month. Many
                        of the damning emails he thought he’d destroyed were produced and showed him
                        soliciting bribes. Under oath, one of his own expert witnesses was forced to concede
                        that Randazza had likely misled him and violated ethical rules.

                        Randazza tried to explain away the bribes as a ruse to squeeze extra money for Liberty
                        out of infringers. He’d described his dishonesty in one court filing as “mere puffery.”




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6/28/2021         Case 1:20-cv-00298-LY-DH              Document
                            Alex Jones’ Lawyer Violated Legal            165-1PornFiled
                                                              Ethics By Soliciting         10/22/21
                                                                                   Bribes. Just How Dirty Is Page    160 of
                                                                                                             Marc Randazza?    290
                                                                                                                            | HuffPost

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                              In emails to opposing counsel that later surfaced during arbitration, Randazza brazenly pursued bribes to conflict
                                                                        himself out of future litigation.
                                                                     HUFFPOST IMAGE/ARBITRATION RECORDS




                        His battering ram had splintered. During arbitration hearings, the normally cocksure
                        Randazza wouldn’t even look at Liberty’s attorney, Wendy Krincek. He turned his seat
                        away from the arbitration table and put his back to his own attorney, Ken White, a
                        longtime Randazza confederate who runs the Popehat legal blog. Randazza also
                        refused to look at the arbitrator, a former federal judge and assistant Watergate special
                        prosecutor. Instead, the attorney stared at the floor, his body hunched over, hand
                        pressed to the side of his face as he answered Krincek’s questions.

                        “You wouldn’t lie to opposing counsel, would you?” Krincek asked Randazza during
                        one hearing while confronting him over a misrepresentation about his fees.

                        “Yes, I would,” Randazza replied.

                        “I’ve never seen anything like it before,” Krincek said. “He’s a litigator. He knows how to
                        present as a witness. He was physically incapable of doing that. … It was a tell that he
                        was uncomfortable answering the questions. He’s a smart guy and he’s pretty
                        charismatic. I think he can generally talk his way out of anything, but he was getting
                        nowhere.”




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                            Alex Jones’ Lawyer Violated Legal            165-1PornFiled
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                                                                                   Bribes. Just How Dirty Is Page    161 of
                                                                                                             Marc Randazza?    290
                                                                                                                            | HuffPost

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                        Randazza was so rattled after the hearing that he appeared to stick a large wad of used
                        chewing gum on the rear window of Krincek’s Saab station wagon in the parking lot,
                        according to Dunlap. (Randazza denied being the gum-sticker.)

                        In June 2015, the arbitrator ruled against Randazza on every point, finding that the
                        attorney had “been involved in and successfully concluded negotiations for a bribe,”
                        among a litany of other wrongdoing. The arbitrator ordered Randazza to pay Liberty
                        more than $600,000 in damages.

                        But Randazza had one more card to play. Claiming to be almost $14 million in debt, he
                        filed for bankruptcy and froze the arbitration award. A few months earlier, he’d taken
                        steps to shield many of his assets by moving them into college funds for his children,
                        transferring his BMW and his 80 percent share of his legal practice into a “self-settled
                        spendthrift” trust and lending $300,000 to his in-laws for them to buy a property in Las
                        Vegas, according to Clark County public records. Oddly, the loan came at a time when
                        Randazza’s marriage was falling apart. About two weeks after the arbitration ruling, his
                        wife filed for divorce.

                        “Conceptually, it’s not OK to do all sorts of pre-bankruptcy planning and move your
                        assets around,” said Bob Keach, one of the country’s top bankruptcy lawyers. “This is
                        clearly a guy who has spent some time playing the system.”

                        But the U.S. trustee overseeing Randazza’s bankruptcy “didn’t seem to care” when the
                        issue was raised at a creditors’ meeting, according to Dunlap.

                        Now, it was Liberty’s turn to go on the offensive. With the arbitration decision in hand
                        and binders of evidence proving its case, Liberty filed a second complaint against
                        Randazza with the Nevada Bar. This time, the bar moved forward.

                        Publicly, Randazza blasted the arbitration as a “miscarriage of justice,” but the
                        arbitrator’s determinations became the bedrock of the disciplinary proceeding against
                        him. In private, Randazza worried. Liberty had also filed bar complaints against him in
                        Florida, California, Arizona and Massachusetts — every other jurisdiction that licenses
                        him ― and Randazza quietly made the porn company an unusual offer: He’d pay
                        Liberty $20,000 for each of his bar licenses that wasn’t suspended or revoked. He was,
                        in other words, proposing a bribe.

                        “He offered us a bounty on his bar licenses ― we’d get more of the award if we did not
                        cooperate with bar investigators or send follow-up complaints,” Dunlap said. “We
                        refused this offer because it was insulting [and] unethical.”

                        Only in Florida did Randazza fail to offer a bounty — he felt he’d be suspended or
                        disbarred there anyway, according to an email his legal team sent Liberty. Randazza
                        had already made misrepresentations in a letter to The Florida Bar about the Oron bribe
                        and his work for XVideos. When he was busted for them during arbitration, he blamed
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                            Alex Jones’ Lawyer Violated Legal            165-1PornFiled
                                                              Ethics By Soliciting         10/22/21
                                                                                   Bribes. Just How Dirty Is Page    162 of
                                                                                                             Marc Randazza?    290
                                                                                                                            | HuffPost

                        one of his lawyers for making an “inaccurate” statement in the letter. (The Florida
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                        declined to pursue its own investigation.)

                        And Liberty wasn’t the only party upset with Randazza in Florida. In federal court there,
                        Paul Berger, Randazza’s opposing counsel in an unrelated case, submitted a copy of a
                        bar complaint he said he’d filed against Randazza over a 2015 episode in which
                        Randazza screamed curses at Berger and his client after a mediation session.
                        Randazza threatened to assault them both and send the client, who happened to be
                        Jewish, to the Gaza Strip, according to Berger’s complaint.

                        “It appears that Mr. Randazza knows no ethical boundaries,” Berger told The Florida
                        Bar, which apparently either declined to pursue an investigation or found nothing in
                        Berger’s complaint that merited disciplinary action. Pursuant to its policy, the bar then
                        deleted all records of the complaint and, when contacted by HuffPost, was unable to
                        acknowledge the document’s prior existence.

                        In June 2016, Randazza settled his state lawsuit in Nevada against Liberty. He’d been
                        the one to sue, but now his malpractice insurer was the one to pay, shelling out
                        $205,000 to make a counterclaim Liberty filed against Randazza for malpractice go
                        away.

                        In February of this year, Randazza settled in bankruptcy court with Liberty, where the
                        porn company had also filed a claim. This time, Randazza paid only $40,000. After
                        nearly six years of grueling lawfare, he’d managed to dodge almost all the damages
                        from the arbitration award, which the parties agreed to vacate as part of the bankruptcy
                        settlement.

                        Vacating the award did not sit well with the arbitrator, who warned in a court filing this
                        July that an “attempted erasure” of his findings might conceal Randazza’s “proven
                        serious ethical violations” and weaken protections for “future victims and the public.”

                        The former judge was right to worry.

                        Nazi Punks, Jump In
                        Randazza has scrubbed his Liberty job from his resume. The attorney-to-the-trolls now
                        spends most of his days wringing his hands over the “marketplace of ideas” as he tries
                        to game the system for racists and fascists ― as if Nazism deserves another spin
                        through the public square.



                                            Marc J. Randazza
                                            @marcorandazza
                                     Replying to @Megg_Ellis
                                     The number of people "affected" by Naziism since 1945 is
                                     probably less than the number of people who have been
                                     crushed by vending machines. The philosophy lost in the
                                     marketplace of ideas until recently, where those who try to
                                     suppress it are driving new recruits to it in droves
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                                                                                                             Marc Randazza?    290
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                                    3:47 PM · May 14, 2018                                                                           
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                        He openly lauds the “alt-right” movement:



                                            Marc J. Randazza
                                            @marcorandazza
                                     Replying to @njcarbonaro @phloob and @ali
                                     Yes. The Right used to act that way. Those who are
                                     sometimes called “alt right” are some of the most open
                                     and accepting of diverse views people I’ve met in politics.
                                     9:15 AM · Jan 24, 2018
                                          3               Copy link to Tweet

                        His reputation as a First Amendment attorney has frayed. Even his capstone free
                        speech victory in 2011 over Righthaven, a copyright troll, carries a hoggish taint in
                        hindsight. At the time, Randazza was employed by Liberty, which permitted him,
                        pending the company’s approval, to take on pro bono free speech cases to offset any
                        bad press from Liberty’s own copyright enforcement lawsuits. But Randazza concealed
                        his work on Righthaven from his employer and kept a $60,000 payout — money Liberty
                        only found out about during arbitration.

                        “Mr. Randazza was unjustly enriched,” wrote the arbitrator, who ruled that the payout
                        should have gone to Liberty.




                            “If you want to represent detestable clients, fine.
                            But when you go out into the media and don’t just
                            defend them but actually adopt their logic and
                            moral arguments, that’s different. Then, it looks
                            like you agree with them.
                            —Elie Mystal, executive editor of the Above the Law blog




                        Some of Randazza’s troubles are behind him — in June, he settled another malpractice
                        claim brought by a former client for $50,000 — but others lie ahead. He remains in
                        Chapter 11 bankruptcy and had only $15,652 in two bank accounts at the end of
                        October, according to court records. In the sloppy monthly reports he is required to file
                        with the bankruptcy court, he lists a sad series of expenses that include his daily coffee
                        at Caffe Sicilia in Gloucester, shopping sprees at Men’s Wearhouse and over $4,000 per
                        month in payments to cover alimony to his ex-wife and and child support for their two
                        children.

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                            Alex Jones’ Lawyer Violated Legal            165-1PornFiled
                                                              Ethics By Soliciting         10/22/21
                                                                                   Bribes. Just How Dirty Is Page    164 of
                                                                                                             Marc Randazza?    290
                                                                                                                            | HuffPost

                        “I suspect that after the Liberty fiasco, his clients disappeared,” Gurvits said. “He
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                        riding high, he was really well-known, and then all of a sudden — disgrace. So who’s
                        going to hire him now?”

                        The answer is the disgraced. Lawyers trying to make their bones as free speech
                        attorneys often take on one extremist client. Maybe two. Randazza has assembled a
                        panzer squad of them, a career choice that is generating new problems for him. When
                        he signed on this year to represent the Satanic Temple in a complaint against Twitter,
                        dozens of members of the organization revolted, describing Randazza as an “agent of
                        the alt-right” and an “ally to Nazis.”

                        They aren’t wrong. In January, he partied with rape apologist Mike Cernovich and Gavin
                        McInnes, the founder of the Proud Boys, a fascist gang that commits political violence
                        throughout the country. Other pro-Trump racists and “free speech advocates” were
                        there, yukking it up about “brown people” and “faggots” and the genitalia of
                        transgender women. Randazza also appears routinely on Infowars to lend a legal
                        imprimatur to the lies of hate-spewing, violence-stoking propagandist Alex Jones. In an
                        August appearance, Randazza likened Jones, a key gateway to white nationalism, to
                        black civil rights leaders in the South during the 1960s.




                                          Randazza advocates for far-right extremists outside the courtroom as well as inside.
                                                                            HUFFPOST IMAGE




                        “If you want to represent detestable clients, fine,” Elie Mystal, the executive editor of
                        the Above the Law blog, wrote in a recent column about Randazza. “But when you go
                        out into the media and don’t just defend them but actually adopt their logic and moral
                        arguments, that’s different. Then, it looks like you agree with them. And if you agree
                        with them, you can no longer avail yourself of the lawyerly presumption that you are just
                        doing your job. Instead of being a mere part of the process, you become part of the
                        problem.”


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                            Alex Jones’ Lawyer Violated Legal            165-1PornFiled
                                                              Ethics By Soliciting         10/22/21
                                                                                   Bribes. Just How Dirty Is Page    165 of
                                                                                                             Marc Randazza?    290
                                                                                                                            | HuffPost

                        Randazza has gone into business with at least one of his extremist clients, having
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                        produced both of Cernovich’s films. The most recent one, “Hoaxed,” is a propaganda
                        reel that appears to demonize the free press and relies on figures such as Jones and
                        Stefan Molyneux, another important conduit to white nationalism.

                        In a Daily Beast profile, Randazza described the Vladimir Putin-loving, Pizzagate-
                        pushing Cernovich as “an A-plus level friend, and the kind of rare soul now where you
                        can really trust his word as his bond.”

                        And Randazza doesn’t just play defense for Cernovich and his other far-right pals.
                        Unlike most First Amendment lawyers, he’s willing to brandish the plaintiff’s knives for
                        them and carve out space in the legal system for their political agenda.

                        Since 2016, for example, Randazza and the Holocaust-denying MAGA troll Chuck
                        Johnson have been trying to scavenge coins off the corpse of Gawker after libertarian
                        billionaire Peter Thiel sued the publication into bankruptcy — a legal outcome widely
                        celebrated by fascists that has had a chilling effect on press freedom. Of Gawker and
                        its former CEO, Nick Denton, Johnson said, “In a just world, I’d have them killed. But
                        we are not there yet.”

                        From 2016 to 2017, Randazza represented professional misogynist and rape advocate
                        Daryush Valizadeh in an attempt to sue one of Valizadeh’s alleged victims. She lives in
                        Iceland and told her story of sexual assault to Jane Gari, a book author and blogger.
                        Gari gave the alleged victim a pseudonym and published her account of Valizadeh
                        following the woman home, talking his way into her apartment with the pretext of using
                        the bathroom — a ruse another woman who has accused Valizadeh of sexual assault
                        told HuffPost he has used for at least a decade — then raping her. Valizadeh had
                        written a guidebook to having sex with women years before in which he described a
                        similar encounter:


                             While walking to my place, I realized how drunk she was. In America, having sex
                             with her would have been rape, since she couldn’t legally give her consent. … I
                             can’t say I cared or even hesitated.


                        Randazza apparently didn’t care either. He sent a letter to Gari, who has written a book
                        about being sexually abused as a child, and accused her of fabricating the rape
                        account and “causing harm” to “real victims” of sexual assault. He demanded she take
                        down the post and confess on her blog.

                        “Simply admit that you lied, and all can be forgiven,” Randazza wrote.

                        When Gari refused, Randazza subpoenaed her in South Carolina federal court in an
                        effort to get the alleged victim’s name for Valizadeh, whose followers were already
                        menacing Gari.

                        “Listen you dumb cunt, you hideous skank,” one Valizadeh fan emailed her, “making
                        false rape accusations is a great disservice against real victims of sex assaults, you
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                                                              Ethics By Soliciting         10/22/21
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                                                                                                             Marc Randazza?    290
                                                                                                                            | HuffPost

                        attention seeking lowly cunt.”                                                                                 
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                        The case was an about-face from Randazza’s earlier work defending small bloggers.
                        Now he was looking to pierce South Carolina’s shield law for reporters and muscle a
                        sex abuse survivor on behalf of his pro-rape client. But Gari managed to fend off
                        Valizadeh and Randazza in court and protect her source. When the judge granted her
                        the right to depose Valizadeh and examine his claim that he’d been defamed, Randazza
                        moved to dismiss the case. His own case.

                        “I don’t think a true First Amendment advocate would have taken this case,” said
                        Wallace Lightsey, Gari’s attorney. “We saw it as an attempt to find the source so the
                        source could be harassed.”

                        Randazza has been equally unscrupulous in his lawyering for Paul Nehlen, Alex Jones
                        and others. When Chuck Johnson was sued for defamation earlier this year after
                        smearing the wrong man as the driver of the car that killed Heather Heyer in
                        Charlottesville last summer, Randazza told a Michigan court that Johnson had simply
                        repurposed information from 4chan ― a website Randazza described as a “wire
                        service” and a “reliable source.” But 4chan’s /pol/ forum, where the libel circulated, is
                        neither a wire service nor a reliable source. It is a place where neo-Nazis congregate to
                        spread hate and disinformation.

                        But nothing compares to Randazza’s advocacy for neo-Nazi Daily Stormer publisher
                        Andrew Anglin, who is being sued in Montana by Tanya Gersh, a Jewish woman Anglin
                        targeted in a vicious anti-Semitic harassment campaign he launched from his site.

                        “Fuck Nazis, but fuck Tanya Gersh too,” Randazza tweeted while neo-Nazis were
                        threatening Gersh’s life. Anglin soon hired Randazza, paying him out of a more than
                        $155,000 legal defense fund raised by Johnson, who took a 15 percent cut, the scum
                        forming a closed loop.

                        In court, Randazza has played childish games about Anglin’s location and sinister ones
                        by advancing Holocaust denial as a legal defense. While trying to reduce the case to a
                        debate in the “marketplace of ideas,” Randazza essentially has argued that a neo-
                        Nazi’s call to action to terrorize a Jewish woman and her family is protected speech, a
                        position one local paper called a “desperate attempt by a lawyer who should have a
                        better understanding of the First Amendment.”

                        In November, a judge shot down Randazza’s argument and allowed the case to move
                        forward, finding that Anglin “drew heavily on his readers’ hatred and fear of ethnic
                        Jews” to incite them to harass Gersh.

                        Even a free speech absolutist might struggle to defend some of Anglin’s rhetoric. The
                        neo-Nazi has said he “would absolutely and unequivocally endorse” violence to achieve
                        his goals, and Daily Stormer fans — including Dylann Roof, a white supremacist who
                        killed nine black churchgoers in Charleston, South Carolina — have committed at least
                        a dozen racist or politically motivated murders since 2015. In October, Anglin cheered
                        the stabbing of a reporter in Germany by neo-Nazi youths, writing:
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                                                              Ethics By Soliciting         10/22/21
                                                                                   Bribes. Just How Dirty Is Page    167 of
                                                                                                             Marc Randazza?    290
                                                                                                                            | HuffPost

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                             Journalists deserve to fucking die. Every last one of them deserves to be rounded
                                                                                                                                       
                             up, lined up and shot execution style and tossed in a mass grave. ... It makes me
                             warm and fuzzy inside to know that journalists are seeing this story and wondering
                             if they’ll be next.


                        Randazza has increasingly shown himself susceptible to fledgling far-right views. He
                        openly agrees, for example, with Trump’s description of the press as Americans’
                        “enemy.” Earlier this year, Randazza tried to intimidate a reporter and his publication
                        over a harmless tweet that vexed Cernovich. On Twitter, Randazza proclaimed his
                        willingness to support the white nationalist Faith Goldy in her Toronto mayoral
                        campaign. He promoted a white nationalist lie about the Democratic Party deploying
                        anti-fascists as its foot soldiers. (Antifa almost universally despise the Democratic
                        Party.)

                        He also tweeted this:



                                             Marc J. Randazza
                                             @marcorandazza
                                     Trump said he is a "nationalist."
                                     As far as I am concerned, being a nationalist is a bona fide
                                     job requirement for a U.S. President, Senator,
                                     Representative, Judge, all the way down to the lowest
                                     federal employee.




                                     8:12 AM · Oct 25, 2018
                                          279        25     Copy link to Tweet

                        The difference between patriotism (love of country) and nationalism (blind devotion to
                        country, usually with a chauvinistic assertion of superiority) should be obvious to a
                        lawyer who represents nationalists. And as someone who represents white nationalists,
                        Randazza would know that in the U.S. the word “nationalism” is linked to a violent and
                        racist anti-democratic ideology.

                        He just doesn’t care.
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                            Alex Jones’ Lawyer Violated Legal            165-1PornFiled
                                                              Ethics By Soliciting         10/22/21
                                                                                   Bribes. Just How Dirty Is Page    168 of
                                                                                                             Marc Randazza?    290
                                                                                                                            | HuffPost

                       Throne Of Lies                                                                                                

                        The rise of Trump has brought a common arc of radicalization on the political right into
                        sharper relief ― that of the contrarian troll who gets lost in his provocations and
                        mutates into something dangerous. Just as some snarky libertarians turned into neo-
                        Nazis and Tucker Carlson was a conservative snot before morphing into a megaphone
                        for white nationalist talking points, Randazza, too, appears to have transformed on his
                        trollish journey through the legal system.

                        And like Carlson, who gets to spout hate on Fox News because he’s a millionaire who
                        once wore a bowtie on CNN, Randazza benefits from the trappings of privilege. His
                        Georgetown law degree and admission to five state bars offer him what people targeted
                        by his clients rarely receive: the benefit of the doubt. Consider a recent front-page Wall
                        Street Journal story that focused on Gab and quoted Randazza as a First Amendment
                        expert. Incredibly, the story failed to mention that Randazza has served as Gab’s
                        attorney. Consider, too, that Fox News, CNN, Vice News and others have credulously
                        given Randazza a platform to polish his brand.

                        But his own profession has shown the least skepticism. Less than a week after the
                        confirmation of Brett Kavanaugh to the Supreme Court, the journal of the American Bar
                        Association ran a short column by Randazza lamenting how easy it is for “vindictive
                        lying women” to ruin the lives of innocent men. Randazza neglected to tell his ABA
                        editors he’d already run the column on a right-wing legal blog. He also failed to offer
                        any proof for his claim in the column that he currently represents (“at a deep discount”)
                        multiple women who have survived sexual assault.

                        He did, however, have a message for sexual assault victims.

                        “I believe in their right to tell their story without being sued for it,” he wrote.

                        Last year, Randazza was suing a woman for telling her story about being raped.

                        Randazza gets away with those sorts of moves because many people assume basic
                        honesty from lawyers. The legal system does too.

                        “It would take too much time and energy to second-guess and check up on everybody
                        all the time,” said Bernie Burk, a legal ethics expert and former professor at the
                        University of North Carolina School of Law. “Generally speaking, if you’re reasonably
                        clever and selective about your dishonesty, you can get away with a great deal before
                        the system catches you.”

                        Randazza’s duplicity, whether clever or selective, has been constant. Even in recent
                        cases that do not involve porn or Nazis, he has made a mockery of the truth. In Utah
                        federal court, he was — until a few weeks ago — defending a man named Ryan
                        Monahan who ran a website called Honest Mattress Reviews and had been sued by
                        Purple, a mattress manufacturer, after Monahan allegedly lied on his site about Purple’s
                        products being covered with a cancer-causing white powder. Purple declared that
                        Monahan had a business relationship with one of its main competitors, GhostBed.

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                            Alex Jones’ Lawyer Violated Legal            165-1PornFiled
                                                              Ethics By Soliciting         10/22/21
                                                                                   Bribes. Just How Dirty Is Page    169 of
                                                                                                             Marc Randazza?    290
                                                                                                                            | HuffPost

                        In court, Randazza adamantly argued that Monahan was “an independent journalist”
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                        entitled to full protection under the First Amendment. He dismissed the GhostBed
                        connection as a “conspiracy” that “even Alexander Dumas could not have imagined
                        when he wrote the Count of Monte Cristo.”

                        The conspiracy turned out to be real. A witness came forward with evidence proving
                        that Monahan “effectively acted as [GhostBed’s] head of marketing” and was being
                        paid $10,000 a month by GhostBed. Randazza and Monahan had misled both the U.S.
                        Court of Appeals for the 10th Circuit and, repeatedly, the Utah federal court.

                        “Interference with the judicial process here was substantial,” U.S. District Judge Dee
                        Benson wrote, adding that Monahan’s violations were “sufficiently egregious that
                        perjury prosecutions would, and perhaps should be, an appropriate consideration.”

                        In February, Benson ordered sanctions be imposed on Monahan and his business,
                        Honest Reviews LLC. A few weeks later, Monahan sold his website to Brooklyn
                        Bedding, another mattress company, and had it wire the money directly to Randazza to
                        pay Monahan’s “legal debt.” In July, Benson awarded Purple approximately $92,000 in
                        sanctions from Monahan. When Purple’s lawyers contacted Randazza to collect, he
                        told them Monahan didn’t have the money. Randazza had drained his client dry.

                        “So do what you gotta do,” he told Purple’s lawyers.

                        A desperate Monahan sent a letter to the judge saying he wanted to settle with Purple.
                        Randazza then filed a motion to withdraw from the case “as a matter of professional
                        ethics,” leaving Monahan to scramble to find replacement counsel.

                        “Everything that has exploded in this thing has been because of what [Randazza] has
                        done,” Monahan told HuffPost.

                        Yet Monahan, who said he has a limited grasp of the law, is the one on the hook for
                        sanctions. He is the only one whom the judge suggested should face perjury charges,
                        despite the judge’s ruling that Randazza had also “vigorously asserted”
                        misrepresentations in court.

                        “You know what I like about my life?” Randazza once told a legal blog. “There’s not a
                        motherfucker in this world who ever says, ‘I’m ambivalent about Marc Randazza.’ That
                        is what scares me … people being ambivalent about me.”




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                                                              Ethics By Soliciting         10/22/21
                                                                                   Bribes. Just How Dirty Is Page    170 of
                                                                                                             Marc Randazza?    290
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                      Where Randazza winds up next on his journey through the sewers of the legal system is anyone’s guess. “I did not get where I am
                                      by having a reputation for being someone who would stab others in the back,” he once said.
                                                                        OWEN FREEMAN FOR HUFFPOST




                        Lowering The Bar
                        Randazza had escaped sanctions in Utah. But in Nevada, his long disciplinary
                        proceeding was nearing its end. It had been half a decade since Liberty alerted the
                        Nevada Bar to Randazza’s misbehavior. The porn company had given the bar
                        thousands of pages of evidence about its former in-house counsel’s conflicts of interest
                        and solicitation of bribes, his misrepresentations about fees and use of privileged and
                        confidential material.

                        The bar treats multiple offenses and a “pattern of misconduct” as aggravating
                        circumstances that can justify harsher discipline, so Dunlap, the Excelsior vice
                        president who wrote the company’s bar complaints, made a deliberate point of
                        including that phrase. “We felt that would be the kicker, that once they had seen that
                        that pattern had been demonstrated that it would leave no room for being wishy-washy
                        or letting him off easy,” Dunlap said.

                        Randazza, in an effort to hang on to his law license, conceded as little as possible. He
                        submitted a conditional guilty plea to the bar confessing to two of the nine ethical
                        violations the bar alleged that he’d committed. The first forbids certain conflicts of
                        interest and concerned a shady loan Randazza made Liberty; the second prohibits a
                        lawyer from restricting his right to practice and was related to the Oron bribe.

                        In exchange for this plea, Randazza asked the bar for a stayed suspension and
                        probation — a slap on the wrist. But the bar was under no obligation to give it to him.
                        The baseline sanction for the violations Randazza admitted is suspension.

                        On Oct. 10, the order came down in Nevada Supreme Court.

                        “We hereby suspend Marc J. Randazza for 12 months, stayed for 18 months,” it read.

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                            Alex Jones’ Lawyer Violated Legal            165-1PornFiled
                                                              Ethics By Soliciting         10/22/21
                                                                                   Bribes. Just How Dirty Is Page    171 of
                                                                                                             Marc Randazza?    290
                                                                                                                            | HuffPost

                        That was Randazza’s punishment: a stayed suspension and probation, plus a small     fine                      
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                        and 20 hours of education in legal ethics. He will avoid actual suspension if he “stays
                        out of trouble” during his probation, according to the order.

                        The system had finally caught him. And the system didn’t seem to much care. The bar
                        didn’t pursue Randazza’s solicitation of other bribes or his other conflicts of interest.
                        Nor did it investigate whether Randazza despoiled evidence, lied to courts in fee
                        motions or used privileged information that might have been obtained illegally.

                        What the bar did find were “mitigating circumstances” to allow for lighter punishment.
                        Randazza, for instance, had no prior discipline in Nevada. Another factor was the “time
                        delay” between his ethical violations and the disciplinary hearing — a delay the bar
                        helped cause by dismissing Liberty’s initial complaint.

                        “We had … to essentially lay out everything for the [Nevada] Bar and then once we
                        handed it to them on a silver platter, they weren’t willing to go the distance,” Dunlap
                        said.

                        Here was Randazza’s privileged white-collar tribe, policing itself, barely, behind closed
                        doors. The bar refused multiple requests to discuss the Randazza matter or its own
                        arcane rules. For two months, the bar also rebuffed HuffPost’s attempts to view records
                        of Randazza’s disciplinary proceeding, despite their high public-interest value. At one
                        point, a lawyer for the bar insisted the records were confidential and could only be
                        obtained through a subpoena or a court order — a stance that clashed with that of the
                        Nevada Supreme Court. When asked for the bar’s policy on sealing disciplinary
                        records, the lawyer insisted it was an “internal” and unpublished policy. The next day,
                        he said the bar was “implementing a new policy” and handed over the records.

                        Among them is a transcript of the June hearing when the bar accepted Randazza’s
                        guilty plea. During the hearing, Matthew Carlyon, another bar lawyer, applauded
                        Randazza for reforming his conduct and cited as evidence of the metamorphosis
                        several phone calls Randazza had placed to the bar’s ethics hotline seeking advice.

                        “He is showing that he’s willing to change and not be out there endangering the
                        public,” Carlyon said. “That’s important because … ultimately our job here is to provide
                        protection to the public. We’re not here to discipline attorneys. That’s not why we exist.
                        We want to protect the public.”

                        Since then, Randazza has stayed true to form. In Montana federal court, he disobeyed
                        rules requiring him to keep the court informed about his disciplinary proceedings. The
                        judge, clearly upset, ordered Randazza in November to update the court. When
                        Randazza did, he mentioned his stayed suspension but said nothing about his
                        probation, despite describing it in detail to several other federal courts.

                        Randazza may soon face “reciprocal discipline” in other states where he is licensed.
                        Following his discipline in Nevada, the bars in Arizona, California and Florida have
                        opened or will open their own reviews of his ethical violations. But other bars tend to


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                            Alex Jones’ Lawyer Violated Legal            165-1PornFiled
                                                              Ethics By Soliciting         10/22/21
                                                                                   Bribes. Just How Dirty Is Page    172 of
                                                                                                             Marc Randazza?    290
                                                                                                                            | HuffPost

                        follow the example of the lead organization, and it is unclear if these states will 
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                        more deeply.

                        In a disciplinary proceeding against Randazza in Massachusetts federal court, he has
                        shown no remorse for his sleazy behavior and has already distorted reality in an
                        attempt to avoid a suspension. In one filing, he blamed Oron for his solicitation of a
                        bribe. He also audaciously told the court he didn’t “cause his clients to suffer any actual
                        harm or financial losses.”

                        “At every step of the way, that has proven to be untrue,” Dunlap countered.

                        Randazza pilfered the $60,000 Righthaven settlement from Liberty, according to the
                        arbitrator’s ruling. He caused Liberty to possibly miss out on another settlement by not
                        pursuing XVideos, one of his secret clients, for copyright infringement. Randazza also
                        violated the terms of the $550,000 settlement he’d negotiated with Oron — most
                        significantly by helping his friend file a copycat suit — causing Liberty to pay back
                        $275,000 of the award.

                        This week, however, the Massachusetts court let Randazza off the hook. The court
                        declined to put the rogue attorney on probation and deferred a decision about further
                        reciprocal discipline until his Nevada probation ends in April 2020. At that point, it’s
                        unclear what further discipline the court could even impose, especially if Randazza
                        stays out of new trouble. And, so, the lawyer of choice for far-right extremists will
                        continue to lawyer, at least for now ― an example not so much of what America
                        prohibits these days but rather what it permits, provided you belong to the right caste.

                        When reached by email, Randazza refused to comment for this story. He referred
                        HuffPost to his attorney, who also did not comment. Randazza’s attorney, it turned out,
                        was his expert witness from the Liberty arbitration — the one forced under oath to
                        essentially acknowledge Randazza’s dishonesty. Last year, the same attorney
                        submitted an affidavit supporting a Randazza fee motion and, on an attached resume,
                        listed his expert witness experience. The records of the Liberty arbitration were by then
                        public, but the man referred to the matter only as Confidential v. Confidential. His online
                        biography revealed more: Randazza’s attorney is a former chair and current member of
                        the ethics committee of the Nevada Bar.

                        Somewhere in Gloucester, looking out at his hometown and dreaming of zealotry, the
                        troll began to laugh.

                        Top illustration: Owen Freeman.




                        A few of the documents referenced in this story:

                        1.) Nevada Supreme Court order approving Randazza’s conditional guilty plea:
                        https://www.scribd.com/document/396164843/18-39837


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                            Alex Jones’ Lawyer Violated Legal            165-1PornFiled
                                                              Ethics By Soliciting         10/22/21
                                                                                   Bribes. Just How Dirty Is Page    173 of
                                                                                                             Marc Randazza?    290
                                                                                                                            | HuffPost

                        2.) Nevada Bar amended complaint against Randazza:                                                             
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                        https://www.scribd.com/document/396164997/Bar-Amended-Complaint

                        3.) Emails between Randazza and TNA counsel:
                        https://www.scribd.com/document/396166781/Randazza-TNA-Bribe

                        4.) Emails between Randazza and Oron counsel:
                        https://www.scribd.com/document/396166992/Randazza-Oron-Bribe

                        5.) Emails between Randazza and James Grady about Oron:
                        https://www.scribd.com/document/396166226/144-10-Grady

                        6.) Example of Randazza’s fee misrepresentations:
                        https://www.scribd.com/document/396167552/Fee-misrepresentations

                        7.) Randazza’s sham discrimination claim that was dismissed:
                        https://www.scribd.com/document/396166288/NERC-Claim

                        8.) Arbitration ruling against Randazza:
                        https://www.scribd.com/document/396166322/Interim-Arbitration-Award

                        9.) Randazza’s disclosure of liabilities and assets in Chapter 11 bankruptcy:
                        https://www.scribd.com/document/396282036/15

                        10.) Complaint about Randazza to The Florida Bar:
                        https://www.scribd.com/document/396166039/149-2

                        11.) Arbitrator’s opposition to vacating arbitration award:
                        https://www.scribd.com/document/396167710/Arbitrator-Vacatur-Brief

                        12.) Randazza’s military records:
                        https://www.scribd.com/document/396174634/Randazza-Military-Records

                        13.) Randazza’s letter to Jane Gari on behalf of Roosh Valizadeh:
                        https://www.scribd.com/document/396165595/10-5

                        14.) Utah federal court order addressing Randazza’s dishonesty:
                        https://www.scribd.com/document/396165707/292-pdf

                        15.) Randazza’s response in Massachusetts disciplinary action:
                        https://www.scribd.com/document/396167771/8

                        16.) Massachusetts court order deferring reciprocal discipline:
                        https://www.scribd.com/document/396167819/10


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                                                                                      Bribes. Just How Dirty Is Page    174 of
                                                                                                                Marc Randazza?    290
                                                                                                                               | HuffPost

                              Luke O’Brien                                                                      Suggest a              
                               Senior Reporter, HuffPost
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                            Alex Jones’ Lawyer Violated Legal            165-1PornFiled
                                                              Ethics By Soliciting         10/22/21
                                                                                   Bribes. Just How Dirty Is Page    175 of
                                                                                                             Marc Randazza?    290
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                            Alex Jones’ Lawyer Violated Legal            165-1PornFiled
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                                                                                   Bribes. Just How Dirty Is Page    176 of
                                                                                                             Marc Randazza?    290
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                            Alex Jones’ Lawyer Violated Legal            165-1PornFiled
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                                                                                   Bribes. Just How Dirty Is Page    177 of
                                                                                                             Marc Randazza?    290
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   Case 1:20-cv-00298-LY-DH Document 165-1 Filed 10/22/21 Page 178 of 290




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS

DR. JEROME CORSI, Individually
Denville, NJ, 07834

And

LARRY KLAYMAN, Individually                  Case Number:   1:20-cv-298-LY
7050 W. Palmetto Park Rd. #15-287
Boca Raton, FL, 33433                        AMENDED COMPLAINT

                      Plaintiffs

              v.

INFOWARS, LLC
100 Congress Ave., 22nd Floor
Austin, TX 78701

And

FREE SPEECH SYSTEMS, LLC
100 Congress Ave., 22nd Floor
Austin, TX 78701

And

ALEX E. JONES, Individually
3019 Alvin Devane Blvd., Suite 300-350
Austin, TX 78741

And

DAVID JONES, Individually
3019 Alvin Devane Blvd., Suite 300-350
Austin, TX 78741

And

OWEN SHROYER, Individually
3019 Alvin Devane Blvd., Suite 300-350
Austin, TX 78741

And




                                         1
    Case 1:20-cv-00298-LY-DH Document 165-1 Filed 10/22/21 Page 179 of 290




ROGER STONE, Individually
447 Coral Way
Fort Lauderdale, FL 33301

                       Defendants.




                                        INTRODUCTION

        Plaintiffs DR. JEROME CORSI (“Plaintiff Corsi or Dr. Corsi”) and LARRY

KLAYMAN (“Klayman”) hereby files this action against INFOWARS, LLC (“Defendant

InfoWars”), FREE SPEECH SYSTEMS, LLC (“Defendant Free Speech Systems”), ALEX E.

JONES (“Defendant Alex Jones”), DAVID JONES (“Defendant David Jones”), OWEN

SHROYER (“Defendant Shroyer”) (collectively the “Infowars Defendants”), and ROGER

STONE (“Defendant Stone”) for Defamation, Intentional Infliction of Emotional Distress, and

Assault, and violation of the Lanham Act.

                                 JURISDICTION AND VENUE

        1.     This Court has federal question jurisdiction over this case pursuant to 28 U.S.C §

1331.

        2.     Venue is proper pursuant to 28 U.S.C. § 1391(b)(2), (3) in that a substantial part

of the events or omissions giving rise to Plaintiffs’ claims arose in this district. The U.S. District

Court in the Southern District of Florida transferred this action to this Court. Defendants actions

were targeted to influence Special Counsel Robert Mueller’s Russian collusion investigation and

prosecution of Defendant Stone, a colleague of the other Defendants, which and who are

centralized in this judicial district and the defamatory and other illegal acts occurred herein as

well as throughout the United States and worldwide.




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    Case 1:20-cv-00298-LY-DH Document 165-1 Filed 10/22/21 Page 180 of 290




                                           THE PARTIES

        3.      Plaintiff Corsi is an author and political commentator who publishes works in this

judicial district and nationwide. Plaintiff Corsi is a citizen of New Jersey.

        4.      Plaintiff Klayman is a public interest legal advocate, private practitioner and

litigator who represented Plaintiff Corsi with regard to Special Counsel Robert Mueller’s

(“Mueller”) Russian collusion investigation. Plaintiff Klayman is also a media personality and

author, columnist and syndicated radio talk show host. Plaintiff Klayman is a citizen of Florida.

        5.      Defendant InfoWars is a Texas limited liability company with principal offices

located in Austin, TX.

        6.      Defendant Free Speech Systems is a Texas limited liability company with principal

offices located in Austin, TX.

        7.      Defendant Alex Jones is a well-known extreme fabricator of false stories and

conspiracies, who has been sued numerous times for alleged defamation. He is media personality

who creates frequently false and defamatory content that is broadcasted on the radio and posted on

the internet at www.infowars.com and elsewhere on the internet and other social media sites in this

district, nationally and internationally. Defendant Alex Jones is a citizen of Texas.

        8.      Defendant David Jones is Defendant Alex Jones’s father and holds the official title

of Director of Human Relations for Defendant Free Speech Systems. On information and belief,

Defendant David Jones is the owner of Defendant InfoWars and Free Speech Systems and he

manages and controls the business and related activities for Defendants InfoWars and Free Speech

Systems, as well as Defendant Alex Jones’ other companies. Defendant David Jones is a citizen of

Texas. At all material times he worked in concert with and as an agent for the other Defendants and

Defendant Roger Stone and furthered, participated in and ratified the illegal acts set forth in this




                                                    3
    Case 1:20-cv-00298-LY-DH Document 165-1 Filed 10/22/21 Page 181 of 290




Complaint. He profits and profited at all material times financially and otherwise from the tortious

acts of the other Defendants.

        9.      Defendant Shroyer is a newscaster for Defendant InfoWars. Defendant Shroyer is a

citizen of Texas.

        10.     Defendant Stone is an individual and a citizen of Florida and a resident of Fort

Lauderdale, Florida. Defendant Stone was indicted by Special Counsel Robert Mueller as part of the

alleged “Russian Collusion’ investigation and subsequently convicted on seven felony counts of

perjury, witness tampering and obstruction of justice. While his 40 month sentence to serve time

federal prison was commuted by President Donald J. Trump, notably he was not pardoned and his

felony convictions for perjury, witness tampering and obstruction of justice stand. He is a self-

proclaimed “Dirty Trickster” who admires and frequently extols the “virtues” of Mafia figures and

other unsavory persons, who he professes to pattern himself after. See Exhibit 1 – Mueller

Indictment.

                                       GENERAL ALLEGATIONS

        11.     Defendant InfoWars and Defendant Free Speech Systems are both owned,

controlled, and operated by Defendant Alex Jones and David Jones. Defendant Free Speech

Systems owns www.infowars.com, where content created by Defendants Alex Jones, Shroyer

and Stone were at all material times posted and broadcast into this district, nationally and

internationally.

        12.     Defendant Alex Jones hosts The Alex Jones Show, which is broadcast on radio

and internet social media networks throughout the United States of America and internationally,

including this judicial district, and online.

        13.     Defendant Shroyer hosts The War Room at all material times along with




                                                 4
    Case 1:20-cv-00298-LY-DH Document 165-1 Filed 10/22/21 Page 182 of 290




Defendant Stone which is broadcast on radio and internet social media networks throughout the

United States of America and internationally, including this judicial district, and online.

       14.     Defendants’ reach and influence are enormous. On information and belief,

Defendant Alex Jones and InfoWars has a radio audience of over two million people. Before it

was banned from YouTube, Defendant Alex Jones’ and InfoWars’ channel had more than 2.4

million subscribers.1

       15.     Defendants, each and every one of them, in concert, do substantial business and

promote and sell various goods in this judicial district and nationwide, including medicine,

supplements, and “tchotchkes” with InfoWars branding. The money earned from these sales

funded the conspiracy and concerted acts between amongst Defendants to defame, intimidate,

coerce and threaten Plaintiffs in order to first try to improperly influence the Mueller Russian

collusion investigation and subsequently try to coerce false testimony from Plaintiff Corsi at

Stone’s criminal prosecution favorable to Defendant Stone once he had been indicted.

       16.     Defendant Stone also does business promotes and sells various goods in this

judicial district and nationwide, including medicine, supplements, books, and “tchotchkes” with

his own branding, and he also fundraises by direct mail and the internet in this district. He claims

to have raised millions of dollars with his fundraising, wherein he falsely claims to have been

persecuted by a federal judge and the jury, despite not having presented one witness, including

himself, at his criminal trial, obviously because he was guilty as charged. In fact, he was

convicted on seven felony counts in this own words, as the undersigned pro se counsel, Mr.

Klayman, who sat in on the trial for his client Plaintiff Corsi, can attest. The money earned from


1 Casey Newton, YouTube deletes Alex Jones’ channel for violating its community guidelines,
The Verge, Aug. 6, 2018, available at: https://www.theverge.com/2018/8/6/17656708/youtube-
alex-jones-infowars-account-deleted-facebook-apple-spotify



                                                  5
    Case 1:20-cv-00298-LY-DH Document 165-1 Filed 10/22/21 Page 183 of 290




these sales funds Defendant Stone’s legal defense fund and the conspiracy between Defendants

and Stone to defame, intimidate, coerce and threaten Plaintiffs in order to first try to improperly

influence the Mueller Russian collusion investigation and subsequently try to coerce false

testimony from Plaintiff Corsi, Plaintiff Klayman’s client, favorable to Defendant Stone once he

had been indicted.

       17.     The Defendants related to Infowars in particular have a long and sordid history of

publishing and broadcasting defamatory material, including falsely, recklessly and baselessly

accusing the families of the schoolchildren who lost their lives during the 2012 Sandy Hook

Elementary School massacre of staging the massacre and faking the deaths of their children. 2

       18.     The Sandy Hook families had to endure years of abuse and torture from

Defendants before finally filing suit against numerous parties involved with InfoWars, including

Defendant Alex Jones and Shroyer, for defamation.

       19.     As just one example, a Florida woman was arrested for making death threats to a

parent of a Sandy Hook victim. 3 According to the U.S. Department of Justice, the motivation

behind the threats was the lies propagated by these Defendants that the Sandy Hook massacre

was a hoax.4

       20.     Furthermore, Defendant Alex Jones in concert with the other Defendants

propagated and promoted the “Pizzagate” conspiracy on his show, accusing a restaurant called

Comet Ping Pong in the Washington D.C. area of operating a child sex ring in its non-existent


2 Aaron Katersky, Families of Sandy Hook shooting victims win legal victory in lawsuit against
InfoWars, Alex Jones, ABC News, Jan. 11, 2019, available at:
https://abcnews.go.com/US/families-sandy-hook-shooting-victims-win-legal-
victory/story?id=60314174
3 Daniella Silva, Conspiracy Theorist Arrested for Death Threats Against Sandy Hook Parent,
NBC News, Dec. 7, 2016, available at: https://www.nbcnews.com/news/us-news/conspiracy-
theorist-arrested-death-threats-against-sandy-hook-parent-n693396
4 Id.




                                                6
    Case 1:20-cv-00298-LY-DH Document 165-1 Filed 10/22/21 Page 184 of 290




basement that purportedly involved Hillary Clinton and John Podesta. This caused one of his

listeners to shoot up the restaurant after being told by Defendant Jones to “self-investigate” the

“Pizzagate” conspiracy theory. 5

       21.     Defendants, acting in concert, propagated these outrageous lies with no regard for

the grief of their victims in order to gain notoriety, fame, and profit.

       22.     The Defendants, acting in concert, as part of their latest scheme for notoriety,

fame, and profit, worked in concert with and on information and belief continue to work in

concert with Defendant Stone, who was at all material times an integral host on Infowars, and

handsomely compensated by it, to defame, intimidate, and threaten Plaintiffs.

       23.     Defendant Stone - who was indicted on seven counts of perjury, witness

tampering and obstruction of justice by Special Counsel Robert Mueller and then placed under a

total gag order by the jurist, the Honorable Amy Berman Jackson, presiding over his prosecution

for, in part, even threatening her by posting, among other coercive and threatening acts, an

Instagram meme of a crosshairs, that is a gun, to her head, and subsequently convicted on all

seven felony counts - has appeared numerous times on shows broadcasted by Defendant

InfoWars, and hosted by Defendants Alex Jones and Shroyer, where Defendants at the direction

of Stone and Stone himself have published malicious false, misleading, and defamatory

statements concerning Plaintiffs.

       24.     Specifically, the seven count Mueller Indictment against Stone involved lying

under oath - that is, perjury - witness tampering and obstruction of justice by threatening to kill a

material witness, Randy Credico (“Credico”) and his service dog, if Credico did not lie or invoke


5James Doubek, Conspiracy Theorist Alex Jones Apologizes For Promoting 'Pizzagate', NPR,
Mar. 26, 2017, available at: https://www.npr.org/sections/thetwo-
way/2017/03/26/521545788/conspiracy-theorist-alex-jones-apologizes-for-promoting-pizzagate



                                                   7
    Case 1:20-cv-00298-LY-DH Document 165-1 Filed 10/22/21 Page 185 of 290




the Fifth Amendment to government authorities concerning his involvement with Roger Stone.

Credico is Person 2 in the Mueller Indictment of Stone. Id. Person 1 in this Mueller Indictment is

Dr. Corsi.

       25.     Even before Defendant Stone was indicted, he began a public relations campaign

in this district, nationally and internationally to maliciously defame, smear, intimidate and

threaten Dr. Corsi and Plaintiff Klayman, Plaintiff Corsi’s lawyer and defense counsel.

       26.     As just one example, in an article from The New Yorker, Defendant Stone was

quoted as saying about Plaintiff Corsi, “He’s certifiably insane, and he has told multiple provable

lies.”6 This malicious defamatory statement, among others, was published             in concert with

Defendants.

       27.     Defendant Stone knew that he was going to be indicted, and therefore began this

public relations campaign to maliciously defame smear, intimidate and threaten Plaintiff Corsi

and Plaintiff Klayman, Corsi’s legal counsel, even before his actual indictment on January 25,

2019, in order to try to influence public opinion and Special Counsel Robert Mueller – by trying

to attribute guilt to Plaintiff Corsi and not him - as well as to try to raise money for his legal

defense.

       28.     This defamatory public relations campaign was calculated to coerce Plaintiff

Corsi to testify falsely at Defendant Stone’s criminal trial before Judge Jackson.

       29.     Defendant Stone likes to portray himself as Mafia, and indeed on information and

belief has Mafia connections, frequently making reference to Mafia figures who he admires, as

well as other unsavory types who have been alleged to have engaged in unethical and/or illegal


6 Jeffrey Toobin, Roger Stone’s and Jerome Corsi’s Time in the Barrel, The New Yorker, Feb.
18 & 25 Issue, available at: https://www.newyorker.com/magazine/2019/02/18/roger-stones-and-
jerome-corsis-time-in-the-barrel



                                                 8
    Case 1:20-cv-00298-LY-DH Document 165-1 Filed 10/22/21 Page 186 of 290




behavior. For example, he frequently makes reference to his heroes being Hyman Roth in the

‘Godfather,” who was the movie version of Meyer Lansky, and Roy Cohn, not to mention,

Richard Nixon, for his role in Watergate. In this regard, after Stone was indicted he held a press

conference on the courthouse steps of the federal courthouse in Ft. Lauderdale, where he was

booked, with his arms defiantly in the air in the “victory’ pose used by Nixon after he resigned in

disgrace as a result of the Watergate scandal. At the time, Stone had been employed by a Nixon

group called CREEP, or the Committee to Reelect the President. Defendant Stone even has a

large tattoo of Richard Nixon affixed to his back. Thus, given his admiration for persons such as

these, particularly Mafia figures, his actions as pled herein must be taken as threats, as well as

being defamatory. And, Plaintiff Corsi is 72 years old and thus very vulnerable emotionally,

physically and financially to these threats. Stone’s intentional infliction of emotional distress and

coercion and threats were intended to try even cause Plaintiff Corsi to have heart attacks and

strokes, in order that Plaintiff Corsi would be unable to testify at Stone’s criminal trial. Tellingly,

Stone threatened kill a material witness and his service dog, Credico, Person 2 in the Mueller

Indictment, “Mafia style.” During his criminal trial, testimony was elicited by the government

prosecutors in proving their witness and obstruction of justice felony charges, that Defendant

Stone had told material witness Credico to do a Frank Pentangeli, a Mafia character in the film

The Godfather, that is not testify to the truth. Stone also fashions himself and indeed has the

reputation, at a minimum, as being the preeminent “dirty trickster,” of which he is proud. See

“Get Me Roger Stone” on Netflix.

       30.     By defaming Plaintiffs, Defendant Stone had hoped to not only intimidate

Plaintiffs to severely harm and damage their reputations, but also to coerce and threaten Plaintiff

Corsi to testify falsely if subpoenaed to be called as a material witness in Stone’s criminal trial.




                                                  9
    Case 1:20-cv-00298-LY-DH Document 165-1 Filed 10/22/21 Page 187 of 290




He was also trying divert funds away from Dr. Corsi’s legal defense fund, while boosting his

own legal defense fund.

       31.     Stone has also used and continues to employ surrogates and agents, either out in

the open or secretly, to defame Plaintiffs, such as Defendants herein, and his “friend” Michael

Caputo, Cassandra Fairbanks, reporter Chuck Ross of The Daily Caller, and Tom Fitton of

Judicial Watch, to name just a few.

       32.     Tellingly, in a video published by The Daily Caller, Defendant Shroyer appearing

with Stone, admits that he will serve as a surrogate, that is an agent for Stone if Stone receives a

gag order, which he did. 7 The other Defendants, like Shroyer, are also surrogates and agents of

Stone, including but not limited to agent and Defendant David Jones, who controls and approves

of and ratifies the conduct at all material times all of the Defendants.

       33.     Defendant Stone’s illegal and improper attempts to influence the Russian

collusion investigation was even recognized by the presiding judge, the Honorable Amy Berman

Jackson (“Judge Jackson”), who was forced to issue a complete “gag” order on Stone after Stone

attempted to incite violence against Judge Jackson by putting a picture of her face and gun

crosshairs up on his Instagram account. 8

       34.     In her minute order of February 21, 2019 imposing the total “gag” order on Stone,

Judge Jackson directly cited and referenced his use of surrogates, such as all of the other

Defendants herein :

       Furthermore, the defendant may not comment publicly about the case indirectly
       by having statements made publicly on his behalf by surrogates, family members,

7 https://www.youtube.com/watch?v=SSDkh5RYtGo
8 Judge in Roger Stone case orders hearing after he appeared to threaten her on Instagram,
Washington Post, Feb. 19, 2019, available at:
https://www.washingtonpost.com/politics/2019/02/18/roger-stone-deletes-photo-judge-presiding-
over-his-case-says-he-didnt-mean-threaten-her/?utm_term=.2d3c5afa6326



                                                 10
   Case 1:20-cv-00298-LY-DH Document 165-1 Filed 10/22/21 Page 188 of 290




       spokespersons, representatives, or volunteers.

       35.     Further evidence of Defendant Stone’s collaboration and actions in concert as

joint tortfeasors with the other Defendants, which other Defendants which and who were at all

material times Stone’s agents, as well as Stone’s pattern and practice of defamatory,

intimidating, coercive, threatening and defamatory conduct, is set forth in an amicus curiae brief

filed by Plaintiff Klayman on behalf of Plaintiff Corsi in Defendant Stone’s criminal case. Such

evidence is attached hereto as Exhibit 2 and incorporated herein by reference, as well as civil

complaint filed by Corsi and Klayman against Stone, and in a civil complaint filed by Klayman

against Fitton. See Exhibits 3, 4, and 5, which are incorporated herein by reference.

       36.     Defendants have, by working in concert with and as agents of Stone, therefore

engaged in illegal witness tampering, intimidation and threats in violation of 18 U.S.C. § 1512

by virtue of the defamatory and threatening acts and practices as alleged herein. Not

coincidentally, this was what largely Stone was indicted and convicted for by Special Counsel

Robert Mueller, for which he was sentenced to 40 months of incarceration a federal penitentiary.

                         DEFENDANTS’ DEFAMATORY CONDUCT

       37.     Defendant Stone has appeared numerous times on programs of the Defendants,

The Alex Jones Show and The War Room (and has been a compensated Infowars host in his own

right). These shows are hosted by Defendant Alex Jones and Shroyer and Stone where numerous

false, misleading, malicious and defamatory statements of and concerning Plaintiffs were made,

published, and or ratified by all of the Defendants, each and every one of them, as surrogates and

agents of Defendant Stone.

       38.     Plaintiffs have demanded retraction and correction of the defamatory videos and

publications set forth below and generally in this Complaint, but Defendants have arrogantly




                                                11
      Case 1:20-cv-00298-LY-DH Document 165-1 Filed 10/22/21 Page 189 of 290




refused, thereby ratifying any and all defamatory statements contained therein, and compounding

the damage alleged herein.

        39.    Defendants, at a minimum, acted recklessly with disregard for the truth, as they

have known Plaintiff Corsi for a long time, and even worked with him and are also intimately

familiar with Plaintiff Klayman, so they were well aware that the statements made by the co-

Defendant Stone, and their own false, misleading, malicious and defamatory statements were,

indeed, false, as well as their acting as agents of, much less their ratification of the malicious

false statements published by Defendant Stone on their networks and media sites.

        40.    As the content containing the malicious false, misleading,          and defamatory

statements were published on the internet and elsewhere, it is proliferated like a “cancerous

virus,” and is was and remains available for viewing from countless sources, thereby

exponentially increasing the prejudicial and defamatory impact and severe damage inflicted on

Plaintiffs. Judge Jackson, in issuing her two gag orders against Stone, herself recognized how

postings calling for physical harm to her and other threatening postings on the internet proliferate

widely and once made cannot be taken back.

        I.     The October 26, 2018 Video

        41.    In a video from October 26, 2018, Defendant Alex Jones, acting in concert with

the other Defendants and at their direction, particularly Defendant Stone, makes several false,

misleading, malicious and defamatory statements about Plaintiff Corsi.9

        42.    At 0:45, Defendant Alex Jones maliciously and falsely published at the direction

of Defendant Stone and the other Defendants that Plaintiff Corsi “seemed to be extremely

mentally degraded to the point of what I would call dementia.”

        43.    In the same video, Defendant Alex Jones, acting in concert with and at the

9   https://www.youtube.com/watch?v=UuXPAn0nZo8


                                                12
     Case 1:20-cv-00298-LY-DH Document 165-1 Filed 10/22/21 Page 190 of 290




direction of Defendant Stone and the other Defendants, maliciously fabricates a story where he

purportedly saw Plaintiff Corsi at a steakhouse “on the ground at another table” and that his

security staff “thought he was dead in the elevator.”

       44.     At 5:08, Defendant Alex Jones, acting in concert with and at the direction of

Defendant Stone and the other Defendants, after accusing Plaintiff Corsi of having suffered a

stroke, publishes maliciously that “whatever comes out of his mouth ain’t the truth.”

       45.     Tellingly and not at all coincidentally, Stone appeared as a guest on the same

video, as evidence of Defendants working in concert with and as agents of Stone.

       46.     These malicious false, misleading, and defamatory statements were published by

Defendants acting in concert and at the direction of Defendant Stone as Stone’s agents to

discredit and coerce into false testimony from Plaintiff Corsi in order to preserve the reputation

of and assist their co-conspirator Stone before Mueller’s Russian collusion investigation and later

prosecution, as Stone had been indicted and Plaintiff Corsi named a material witness.

Importantly, Plaintiff Corsi was not indicted. Plaintiff Klayman was known by all of the

Defendants to be Dr. Corsi’s legal counsel.

       II.     The January 18, 2019 Video

       47.     Before Defendant Stone was indicted, on or about January 18, 2019, he appeared

on The War Room with Defendant Shroyer, where he made several malicious false, misleading,

and defamatory statements in this district, nationally and internationally regarding Plaintiffs

(the “January 18 Video”).10 The same video was published on Stone’s YouTube channel, “Stone

Cold Truth,” on January 18, 2019.11

       48.     These malicious false, misleading, and defamatory statements were at the


10 https://www.infowars.com/watch/?video=5c3fbf24fe49383dcf6996e4
11 https://www.youtube.com/watch?v=cJyfgdvtFx8




                                                13
    Case 1:20-cv-00298-LY-DH Document 165-1 Filed 10/22/21 Page 191 of 290




direction of all of the Defendants and adopted and published by each and every one of the

Defendants, rendering them joint tortfeasors and jointly and severally liable.

       49.     At 2:09 in the January 18 Video, Stone and the other Defendants working in

concert and at the direction of Defendant Stone as his agents maliciously and falsely published

that Plaintiff Corsi was “fired from World Net Daily.”

       50.     At 2:27 in the January 18 Video, Stone and the other Defendants working in

concert and at the direction of Defendant Stone as his agents maliciously falsely and

misleadingly published that, “He (Corsi) was perfectly willing to lie, to perjure himself saying

that a memo that he had wrote me was written on the 30th for the purposes of cover-up…. which

is further proof that Jerry lied under oath.”

       51.     At 2:55 in the January 18 Video, Stone and the other Defendants working in

concert with at the direction of and as agents of Defendant Stone maliciously falsely and

misleadingly published, “and then states that I knew about John Podesta’s emails being stolen in

advance, the only proof of that is Jerry’s feeble alcohol affected memory – it’s a lie….”

       52.     At 3:35 in the January 18 Video, Stone and the other Defendants working in

concert at the direction of and as agents of Defendant Stone maliciously falsely and misleadingly

published that “Jerry was prepared to stab a principle Trump supporter in the back, he was

perfectly prepared to bear false witness against me, even though I had done nothing in my entire

life other than help him.”

       53.     At 4:20 in the January 18 Video, Stone and the other Defendants working in

concert with and at the direction and as agents of Defendant Stone maliciously falsely and

misleadingly published that “all I ever did was show Jerry Corsi friendship and support and try to

help him and his family and what I get is Judas Iscariot, the willingness to testify against me and




                                                14
     Case 1:20-cv-00298-LY-DH Document 165-1 Filed 10/22/21 Page 192 of 290




help the deep state bury me….and then he makes up this story about helping me formulate a

cover story.”

       54.      At 6:26 in the January 18 Video, Stone and the other Defendants working in

concert with and as agents at the direction of Defendant Stone maliciously falsely published that

“you can always tell when Jerry Corsi is lying because his lips are moving….”

       55.      At 1:25 in the January 18 Video, Stone and the other Defendants working in

concert with and as agents at the direction of Defendant Stone maliciously falsely published that

“He’s (Klayman) never actually won a courtroom victory in his life.”

       56.      At 1:30 in the January 18 Video, Stone and the other Defendants working in

concert and as agents at the direction of Defendant Stone maliciously falsely published, “He

(Klayman) was ousted at Judicial Watch. Ask Tom Fitton [the current president of Judicial

Watch] why he left. He was ‘ousted’ because of a ‘sexual harassment complaint.’”

       57.      In actuality and truth, Plaintiff Klayman left Judicial Watch voluntarily on his

own accord in order to run for U.S. Senate in Florida in 2003-2004.

       58.      Not coincidentally, Plaintiff Klayman has a jury verdict and judgment against

Fitton’s Judicial Watch for having defamed him with malice. Punitive damages were also

awarded by the jury in the U.S. District Court for the Southern District of Florida. See Exhibit 5-

1.

       59.      At 1:37 in the January 18 Video, Stone acting in concert with the other

Defendants maliciously working in concert with the other Defendants falsely published, “He’s

(Klayman) incompetent, he’s a numbskull, he’s an idiot, he’s an egomaniac, and he could be the

single worst lawyer in America. With him as Jerry Corsi’s lawyer, Corsi may get the electric

chair. So your idea that he’s a good guy is entirely wrong”




                                                15
   Case 1:20-cv-00298-LY-DH Document 165-1 Filed 10/22/21 Page 193 of 290




       60.     In actuality, Plaintiff Klayman has been a practicing attorney for over four

decades and has won numerous cases on behalf of his clients and also against the government for

constitutional and other violations. He is the founder of both Judicial Watch and Freedom

Watch, a former candidate for the U.S. Senate in Florida, a former trial attorney and prosecutor

of the Antitrust Division of the U.S. Department of Justice, where he was a member of the trial

team that successfully broke up the AT&T monopoly and created competition in the

telecommunications industry. Among many other legal victories, Plaintiff Klayman also won

landmark decisions at the chairman and general counsel of Freedom Watch enjoining the illegal

mass surveillance by the National Security Agency. Klayman v. Obama, 1:13-cv-851 (D.D.C).

See Exhibit 6 --Klayman biography, which is incorporated herein by reference. Stone knew this

when working in concert with the other Defendants he published acting in concert with the other

Defedants the malicious false and misleading statements about Klayman and thus willfully and

maliciously defamed Plaintiff Klayman.

       61.     At 2:01 in the January 18 Video, Stone maliciously working in concert with the

other Defendants falsely and misleadingly published that Plaintiff Klayman is a “piece of

garbage.”

       62.     At 4:11 in the January 18 Video, Stone maliciously working in concert with the

other Defendants falsely and misleadingly published, “For those people out there who

think…that Larry Klayman’s IQ is higher than 70, you’re wrong…”

       63.     Defendants, all of them working in concert and as agents of Defendant Stone,

published these malicious false, misleading, and defamatory statements with malice and with full

knowledge that they were false and misleading, and/or at a minimum, with a reckless disregard

for its truthfulness. These statements falsely and misleadingly state that Plaintiff Corsi was fired




                                                16
      Case 1:20-cv-00298-LY-DH Document 165-1 Filed 10/22/21 Page 194 of 290




from World Net Daily, that he committed perjury (a federal offense), and that he is an untruthful

person. They also create the false and misleading implication that Plaintiff Klayman is

unqualified to be an attorney, public advocate and is a bad and loathsome person, unfit for his

trades and professions. Plaintiff Klayman is also an author, columnist and nationally syndicated

radio and internet talk show host on Radio America, his show titled “Special Prosecutor with

Larry Klayman.” See www.radioamerica.com. The malicious false and misleading published

statements as alleged herein also severely damaged Plaintiff Klayman personally and

professionally in this regard, particularly since he and his show compete with Defendant

InfoWars and and the other Defendants in media markets in this district, nationally and

internationally. Plaintiff Corsi also competes with Defendant InfoWars and the other Defendants

in media markets in this district, nationally and internationally.

         III.   Other Malicious Defamatory Publications

         64.    In another appearance on InfoWars which was posted to YouTube12 on January

17, 2019, Defendant Stone working in concert with the other Defendants at 6:22 maliciously

falsely and misleadingly published that “He [Corsi] was perfectly willing to bear false witness

against me on multiple points that are complete fabrications.”

         65.    In another appearance on InfoWars, this time on The Alex Jones Show from

January 21, 2019, Defendant Stone maliciously working in concert with the other Defendants

falsely and misleadingly published that “the good doctor [Corsi] has told a number of lies. In

fact, he’s starting to conflate his lies…. he was perfectly willing to lie about me…. but now lying

about Alex Jones, lying about InfoWars, lying about Dr. (David) Jones, who’s one of the nicest,

gentlest, sweetest, most honest men I have ever met, it’s beyond the pale…. Jerry Corsi can no



12   https://www.youtube.com/watch?v=GJd8YBDvm1Q


                                                  17
      Case 1:20-cv-00298-LY-DH Document 165-1 Filed 10/22/21 Page 195 of 290




longer be believed.”13

         66.    In the same appearance, Stone maliciously working in concert with the other

Defendants falsely and misleadingly published that, “I think you’ve [Corsi] been deep state from

the beginning. Your whole birther thing is used as a club to destroy conservatives….I look

forward to our confrontation. I will demolish you. You’re a fraudster, out of your alcoholic haze

you have made up lies about David Jones and Alex Jones and Roger Stone and now I suspect

they want you to lie about the President.” This is clearly a threat, as well as being maliciously

defamatory. It is akin to the threats against Person 2 in the Mueller Indictment, Randy Credico,

who Defendant Stone, as set forth in the Mueller Indictment, based on Stone’s own words

contained in his own documentary evidence, threatened to kill along with Credico’s service dog.

Later Stone threatened the judge presiding over his criminal prosecution, the Honorable Amy

Berman Jackson.

         67.    In the same January 21, 2019 video, at 43:40, Defendant Alex Jones maliciously

acting in concert with the other Defendants and as an agent at the direction of Defendant Stone

falsely accuses Plaintiff Corsi of being a “spook, back and forth with different agencies,” falsely

saying that Dr. Corsi had worked with different government agencies.

         68.    Defendant Alex Jones further maliciously acting in concert with the other

Defendants and at the direction as an agent of Defendant Stone falsely accuses Plaintiff Corsi of

sometimes “not being able to walk,” creating the false and defamatory implication that he is an

alcoholic.

         69.    Defendants acting in concert as an agent at the direction of Stone published these

false, misleading, and defamatory statements at the direction and agent of and in concert with

Stone with malice and with full knowledge that they were false and misleading, and/or at a

13   https://www.youtube.com/watch?v=ANfe9d7YzL0 (Beginning at 38:00)


                                                18
    Case 1:20-cv-00298-LY-DH Document 165-1 Filed 10/22/21 Page 196 of 290




minimum, with a reckless disregard for their truthfulness. These statements falsely and

misleadingly published that Plaintiff Corsi committed perjury (a federal offense), is an untruthful

person, and is an alcoholic. They also contain threats, amplified by Defendants facial expressions

and hostile demeanor against Plaintiff Corsi and his legal counsel Larry Klayman. Defendants,

acting at the direction and working in concert with Stone, obviously believed that in order to

advance their interests and improper if not criminal motivations, they also had to destroy and

severely harm the legal counsel of Plaintiff Corsi, who had been at all material times

representing Plaintiff Corsi before Special Counsel Robert Mueller, congressional committees

and generally and counseled Plaintiff Corsi when he was subpoenaed to testify truthfully in

Stone’s criminal trial for perjury, witness tampering, threatening to kill a material witness and his

service dog, as well as obstruction of justice. Corsi, despite all of this, was never called as a

witness by Defendant Stone, since Stone and his legal counsel must have concluded that his

truthful testimony would not have benefited Stone.

             FACTS PERTAINING TO DEFENDANTS’ UNFAIR COMPETITION

       70.     In addition to being an investigative journalist/author and a public interest

litigator/advocate, respectively, Plaintiffs Corsi and Plaintiff Klayman are both competitors to

Defendants as conservative media personalities, broadcasters, authors and columnists on social

media and elsewhere.

       71.     For instance, Plaintiff Klayman also hosts a syndicated broadcast and on-line

radio show on about 50 networks and podcasts and produces videos that are posted on the

internet, issues press releases, commentary and other publications.

       72.     Defendants have directed, made, adopted, and or ratified numerous false or

misleading statements of fact of and concerning Plaintiffs during their various subject programs




                                                 19
    Case 1:20-cv-00298-LY-DH Document 165-1 Filed 10/22/21 Page 197 of 290




and media postings and publications as pled herein, which all contain significant advertisement

or promotions.

        73.      These false and/or misleading facts materially prejudice the viewers and/or

listeners as to the quality, nature, and contents of Plaintiffs’ services, which has caused

significant competitive and commercial injury to Plaintiffs, as well as loss of good will and

reputation.

        74.      Plaintiffs, like Defendants, rely on viewer and listener financial and other support

and sales and their reputations and good will in order to continue their work. Defendants’ false

and/or misleading statements concerning Plaintiffs is meant to, and has, diverted financial and

other support, referrals and sales away from Plaintiffs and to Defendants instead, and severely

harmed Plaintiffs’ personal and professional reputations.

                                   FIRST CAUSE OF ACTION
                                          Defamation

        75.      Plaintiffs re-alleges and incorporates by reference the allegations in the preceding

paragraphs of the Complaint as if fully set forth herein.

        76.      Acting in concert Defendants and as an agent at the direction of Defendant Stone

published the aforementioned malicious, false, misleading and defamatory statements of and

concerning Plaintiffs in this judicial district, nationwide, and worldwide.

        77.      These false and misleading statements were published with malice, as Defendants

knew that they were false and misleading, or at a minimum acted with a reckless disregard for

the truth.

        78.      Plaintiffs have been severely harmed and damaged by these false and misleading

statements because they subjected him to hatred, distrust, ridicule, contempt, and disgrace.




                                                  20
    Case 1:20-cv-00298-LY-DH Document 165-1 Filed 10/22/21 Page 198 of 290




        79.      Plaintiffs have been damaged by these false and misleading statements because

they severely injured Plaintiff Corsi and Plaintiff Klayman in their profession and businesses, as

well as severely injured and damaged them personally and professionally, financially,

emotionally, and in terms of their good will and reputations.

                                 SECOND CAUSE OF ACTION
                                     Defamation Per Se

        80.      Plaintiffs re-alleges and incorporates by reference the allegations in the preceding

paragraphs of the Complaint as if fully set forth herein.

        81.      Acting in concert, Defendants as alleged herein, published the aforementioned

numerous false, misleading and defamatory statements to severely harm and damage Plaintiffs,

which were republished elsewhere and widely in this district, nationally and internationally, and

through surrogates, which and wo published the falsities that Plaintiffs have committed crimes,

including perjury, and engaged in moral turpitude in the form of alcoholism, and committed

sexual misconduct, as set forth in the preceding paragraphs. These malicious and false statements

defamed Plaintiffs in their trades and professions.

        82.      These false, misleading and defamatory statements were published in this district

and on the internet and elsewhere, domestically and internationally for the entire world to see

and hear and in so doing Defendants published false and misleading facts, inter alia, that

Plaintiffs’ conduct, characteristics or a condition are incompatible with the proper exercise of

their lawful business, trades, professions or offices, as well as personally.

        83.      These false and misleading statements were published with malice, as Defendants

knew that they were false and misleading, and/or at a minimum acted with a reckless disregard

for the truth.

        84.      This statements are per se defamatory because they falsely and misleadingly



                                                  21
    Case 1:20-cv-00298-LY-DH Document 165-1 Filed 10/22/21 Page 199 of 290




published that Plaintiff Corsi committed perjury and Plaintiff Klayman had committed sexual

misconduct which are federal offense and felony, as well as defamed Plaintiffs in their trades and

professions. Defamation per se gives rise to the presumption that severe harm and damage has

arisen by virtue of the malicious false and misleading statements.

        85.      These malicious false, misleading, and defamatory statements are defamatory per

se and these false and misleading statements severely harmed and damaged Plaintiff Corsi in this

profession and business as a journalist, author and political commentator, whose credibility is the

most important trait, as well as personally and Plaintiff Klayman in his professions as a public

interest and private advocate and litigator and as an author, columnist and radio and internet

radio talk show and syndicated host, as well as personally.

                                   THIRD CAUSE OF ACTION
                                    Defamation by Implication

        86.      Plaintiffs re-alleges and incorporates by reference the allegations in the preceding

paragraphs of the Complaint as if fully set forth herein.

        87.      Acting in concert, Defendants published the aforementioned numerous false,

misleading and defamatory statements about Plaintiffs, as set forth in the preceding paragraphs.

        88.      These false, misleading and defamatory statements were published on the internet

and published and republished elsewhere in this district, domestically and internationally for the

entire world to see and hear.

        89.      These false and misleading statements were published with malice, as Defendants

knew that they were false and misleading, and/or at a minimum acted with a reckless disregard

for the truth.

        90.      These statements created the false and misleading implication that Plaintiff Corsi

is dishonest, committed perjury and is an alcoholic, and that Plaintiff Klayman committed sexual



                                                  22
    Case 1:20-cv-00298-LY-DH Document 165-1 Filed 10/22/21 Page 200 of 290




misconduct and is incompetent, among other false and misleading statements as pled in the

preceding paragraphs. These malicious false statements also defamed Plaintiffs in their trades

and professions.

       91.     Plaintiffs have been severely harmed and damaged by these false and misleading

statements because they subject him to hatred, distrust, ridicule, contempt, and disgrace.

       92.     Plaintiffs has been damaged by these malicious false and misleading statements

because the statements severely harmed and damaged Plaintiffs in their trades and professions as

journalists, authors, columnists, pubic interest and private practitioner lawyers and syndicated

radio talk show hosts, whose credibility is the most important trait, as well as personally.

                                FOURTH CAUSE OF ACTION
                           Intentional Infliction of Emotional Distress

       93.     Plaintiffs re-alleges and incorporates by reference the allegations in the preceding

paragraphs of the Complaint as if fully set forth herein.

       94.     Acting in concert, Defendants engaged in extreme and outrageous conduct by

threatening Plaintiffs, acting as agents in concert with Stone, who has made death threats to at

least one witness involved in Special Counsel Mueller’s Russian collusion investigation, Person

2 Randy Credico, as well as incited violence against Judge Amy Berman Jackson by posting a

meme on Instagram with a crosshairs and gun pointed at the jurist’s head, for which Stone was

sanctioned with a total gag order and threat of incarceration if this type of violative conduct of

the Court’s gag order occurred again, which it apparently has. See Exhibit 7.

       95.     Defendants knowingly and intentionally threatened Plaintiffs, in a manner similar

to other death threats co-conspirator and Defendant Stone made to at least one material witness,

involved in Special Counsel Mueller’s Russian collusion investigation, such as Randy Credico,

Person 2 in the Mueller Indictment, as well as Judge Amy Berman Jackson.



                                                 23
    Case 1:20-cv-00298-LY-DH Document 165-1 Filed 10/22/21 Page 201 of 290




       96.     Defendants’ extreme and outrageous conduct directly caused Plaintiffs severe

emotional distress and resulting severe harm and damage.

                                  FIFTH CAUSE OF ACTION
                                          Assault

       97.     Plaintiffs re-alleges and incorporates by reference the allegations in the preceding

paragraphs of the Complaint as if fully set forth herein.

       98.     Acting in concert, Defendants placed Plaintiffs in apprehension of an imminent

harmful or offensive contact and physical harm and death, by coercing and threatening Plaintiffs,

in a similar manner that co-conspirator Stone has used to make death threats to at least one

material witness involved in Special Counsel Mueller’s Russian collusion investigation, such as

Person 2 in the Mueller Indictment, Randy Credico and Judge Amy Berman Jackson.

       99.     The threats issued by Defendants are credible, as co-conspirator Stone portrays

and sees himself as a “Mafia” figure, as set forth above.

       100.    Furthermore, as set forth above, acting in concert Defendants have a pattern and

practice of calling their followers “to arms,” which has resulted in deadly violence against their

victims.

       101.    Plaintiffs did not consent to Defendants’ conduct.

       102.    As a direct and proximate result of Defendants’ wrongful conduct, acting in

concert and as an agent at the direction of Defendant Stone, Plaintiffs suffered conscious pain,

suffering, severe emotional distress and the fear of imminent serious bodily injury or death, and

other mental and physical injuries, and Plaintiffs were severely harmed and damaged thereby.

                               SIXTH CAUSE OF ACTION
                     Unfair Competition – Lanham Act 15 U.S.C. § 1125(a)




                                                 24
    Case 1:20-cv-00298-LY-DH Document 165-1 Filed 10/22/21 Page 202 of 290




         103.   Plaintiffs re-alleges and incorporates by reference the allegations in the preceding

paragraphs of the Complaint as if fully set forth herein.

         104.   Defendants have and are engaged in acts of unfair competition in violation of the

Lanham Act, 15 U.S.C. § 1125(a) and common law

         105.   Defendants have made false and/or misleading statements that have deceived

and/or had the tendency to deceive a substantial segment of the receiving audience.

         106.   Defendants’ false and/or misleading statements misrepresent the nature,

characteristics, and qualities of Plaintiff Klayman and Plaintiff Corsi’s goods or services.

         107.   Defendants false and/or misleading statements are material because that were

highly likely to mislead and influence supporters’ decisions to provide financial support and

sales to Defendants instead of Plaintiffs

         108.   These false and misleading statements were made in interstate commerce, as they

were widely broadcast on radio, on the internet, in social media, and elsewhere in this district,

nationally and internationally.

         109.   Plaintiffs have suffered significant damages, which are ongoing, due to

Defendants’ false and/or misleading statements. By law these damages are calculated based on

Defendants’ gross sales and receipts, which are trebled, plus an award of attorneys fees and

costs.

                                     PRAYER FOR RELIEF

         WHEREFORE, Plaintiffs pray for judgment against Defendants as follows:

         a.     Awarding Plaintiffs compensatory including actual, consequential, incidental and

                punitive damages for malicious tortious concerted conduct, jointly and severally

                in an amount to be determined at trial and in excess of $75, 000,000 U.S. Dollars




                                                 25
   Case 1:20-cv-00298-LY-DH Document 165-1 Filed 10/22/21 Page 203 of 290




              for each Plaintiff.

       b.     Awarding Treble Damages Under the Lanham Act, 15 U.S.C. 1125(a).

       b.     Awarding Plaintiffs attorney fees and costs

       c.     Granting such other     relief as the Court deems appropriate and necessary

              including preliminary and permanent injunctive relief.



      PLAINTIFFS DEMAND TRIAL BY JURY ON ALL CLAIMS SO TRIABLE.



Dated: July 29, 2020                                        Respectfully Submitted,


                                                               /s/ Larry Klayman
                                                            Larry Klayman, Esq.
                                                            KLAYMAN LAW GROUP, P.A.

                                                            2020 Pennsylvania Ave NW #800
                                                            Washington, DC, 20006
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                                                            /s/Sanjay Biswas
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                                                            Email:sanjaybiswas41@gmail.com
                                                            Fax: 1-800-506-6804

                                                            Counsel for Dr. Jerome Corsi




                                              26
   Case 1:20-cv-00298-LY-DH Document 165-1 Filed 10/22/21 Page 204 of 290




                                CERTIFICATE OF SERVICE

       I, Larry Klayman, hereby certify that on this day, July 29, 2020, I electronically filed the

foregoing with the Clerk of Court using the Court’s ECF system. I also certify that the foregoing

document is being served this day on all counsel of record through the Court’s eservice

procedures

                                                            /s/ Larry Klayman__________




                                                27
CaseCase
     1:20-cv-00298-LY-DH
          1:20-cv-00298-LY Document
                            Document165-1
                                     1 Filed
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                                             03/07/19
                                                 10/22/21
                                                        Page
                                                           Page
                                                             24 of
                                                                205109
                                                                     of 290




                 EXHIBIT 1
     CaseCase
          1:20-cv-00298-LY-DH
               1:20-cv-00298-LY Document
                                 Document165-1
                                          1 Filed
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                                                  03/07/19
                                                      10/22/21
                                                             Page
                                                                Page
                                                                  25 of
                                                                     206109
                                                                          of 290




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA                    *    CRIMINAL NO.
                                             *
         v.                                  *    Grand Jury Original
                                             *
 ROGER JASON STONE, JR.,                     *    18 U.S.C. §§ 1001, 1505, 1512, 2
                                             *
                Defendant.                   *
                                             *
                                             *
                                             *
                                          *******

                                        INDICTMENT

The Grand Jury for the District of Columbia charges:

                                          Introduction

1.      By in or around May 2016, the Democratic National Committee (“DNC”) and the

Democratic Congressional Campaign Committee (“DCCC”) became aware that their computer

systems had been compromised by unauthorized intrusions and hired a security company

(“Company 1”) to identify the extent of the intrusions.

2.      On or about June 14, 2016, the DNC—through Company 1—publicly announced that it

had been hacked by Russian government actors.

3.      From in or around July 2016 through in or around November 2016, an organization

(“Organization 1”), which had previously posted documents stolen by others from U.S. persons,

entities, and the U.S. government, released tens of thousands of documents stolen from the DNC

and the personal email account of the chairman of the U.S. presidential campaign of Hillary

Clinton (“Clinton Campaign”).
     CaseCase
          1:20-cv-00298-LY-DH
               1:20-cv-00298-LY Document
                                 Document165-1
                                          1 Filed
                                                Filed
                                                  03/07/19
                                                      10/22/21
                                                             Page
                                                                Page
                                                                  26 of
                                                                     207109
                                                                          of 290




        a.     On or about July 22, 2016, Organization 1 released documents stolen from the

               DNC.

        b.     Between on or about October 7, 2016 and on or about November 7, 2016,

               Organization 1 released approximately 33 tranches of documents that had been

               stolen from the personal email account of the Clinton Campaign chairman, totaling

               over 50,000 stolen documents.

4.      ROGER JASON STONE, JR. was a political consultant who worked for decades in U.S.

politics and on U.S. political campaigns. STONE was an official on the U.S. presidential campaign

of Donald J. Trump (“Trump Campaign”) until in or around August 2015, and maintained regular

contact with and publicly supported the Trump Campaign through the 2016 election.

5.      During the summer of 2016, STONE spoke to senior Trump Campaign officials about

Organization 1 and information it might have had that would be damaging to the Clinton

Campaign. STONE was contacted by senior Trump Campaign officials to inquire about future

releases by Organization 1.

6.      By in or around early August 2016, STONE was claiming both publicly and privately to

have communicated with Organization 1. By in or around mid-August 2016, Organization 1 made

a public statement denying direct communication with STONE. Thereafter, STONE said that his

communication with Organization 1 had occurred through a person STONE described as a “mutual

friend,” “go-between,” and “intermediary.” STONE also continued to communicate with members

of the Trump Campaign about Organization 1 and its intended future releases.

7.      After the 2016 U.S. presidential election, the U.S. House of Representatives Permanent

Select Committee on Intelligence (“HPSCI”), the U.S. Senate Select Committee on Intelligence

(“SSCI”), and the Federal Bureau of Investigation (“FBI”) opened or announced their respective



                                               2
      CaseCase
           1:20-cv-00298-LY-DH
                1:20-cv-00298-LY Document
                                  Document165-1
                                           1 Filed
                                                 Filed
                                                   03/07/19
                                                       10/22/21
                                                              Page
                                                                 Page
                                                                   27 of
                                                                      208109
                                                                           of 290




investigations into Russian interference in the 2016 U.S. presidential election, which included

investigating STONE’s claims of contact with Organization 1.

8.       In response, STONE took steps to obstruct these investigations. Among other steps to

obstruct the investigations, STONE:

         a.     Made multiple false statements to HPSCI about his interactions regarding

                Organization 1, and falsely denied possessing records that contained evidence of

                these interactions; and

         b.     Attempted to persuade a witness to provide false testimony to and withhold

                pertinent information from the investigations.

                                   Other Relevant Individuals

9.       Person 1 was a political commentator who worked with an online media publication during

the 2016 U.S. presidential campaign. Person 1 spoke regularly with STONE throughout the

campaign, including about the release of stolen documents by Organization 1.

10.      Person 2 was a radio host who had known STONE for more than a decade. In testimony

before HPSCI on or about September 26, 2017, STONE described Person 2 (without naming him)

as an “intermediary,” “go-between,” and “mutual friend” to the head of Organization 1. In a

follow-up letter to HPSCI dated October 13, 2017, STONE identified Person 2 by name and

claimed Person 2 was the “gentleman who confirmed for Mr. Stone” that the head of

Organization 1 had “‘[e]mails related to Hillary Clinton which are pending publication.’”

                                           Background

              STONE’s Communications About Organization 1 During the Campaign

11.      By in or around June and July 2016, STONE informed senior Trump Campaign officials

that he had information indicating Organization 1 had documents whose release would be




                                                3
      CaseCase
           1:20-cv-00298-LY-DH
                1:20-cv-00298-LY Document
                                  Document165-1
                                           1 Filed
                                                 Filed
                                                   03/07/19
                                                       10/22/21
                                                              Page
                                                                 Page
                                                                   28 of
                                                                      209109
                                                                           of 290




damaging to the Clinton Campaign. The head of Organization 1 was located at all relevant times

at the Ecuadorian Embassy in London, United Kingdom.

12.      After the July 22, 2016 release of stolen DNC emails by Organization 1, a senior Trump

Campaign official was directed to contact STONE about any additional releases and what other

damaging information Organization 1 had regarding the Clinton Campaign. STONE thereafter

told the Trump Campaign about potential future releases of damaging material by Organization 1.

13.      STONE also corresponded with associates about contacting Organization 1 in order to

obtain additional emails damaging to the Clinton Campaign.

         a.     On or about July 25, 2016, STONE sent an email to Person 1 with the subject line,

                “Get to [the head of Organization 1].” The body of the message read, “Get to [the

                head of Organization 1] [a]t Ecuadorian Embassy in London and get the pending

                [Organization 1] emails . . . they deal with Foundation, allegedly.” On or about the

                same day, Person 1 forwarded STONE’s email to an associate who lived in the

                United Kingdom and was a supporter of the Trump Campaign.

         b.     On or about July 31, 2016, STONE emailed Person 1 with the subject line, “Call

                me MON.” The body of the email read in part that Person 1’s associate in the

                United Kingdom “should see [the head of Organization 1].”

         c.     On or about August 2, 2016, Person 1 emailed STONE. Person 1 wrote that he was

                currently in Europe and planned to return in or around mid-August. Person 1 stated

                in part, “Word is friend in embassy plans 2 more dumps. One shortly after I’m

                back. 2nd in Oct. Impact planned to be very damaging.” The phrase “friend in

                embassy” referred to the head of Organization 1. Person 1 added in the same email,

                “Time to let more than [the Clinton Campaign chairman] to be exposed as in bed w



                                                 4
      CaseCase
           1:20-cv-00298-LY-DH
                1:20-cv-00298-LY Document
                                  Document165-1
                                           1 Filed
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                                                   03/07/19
                                                       10/22/21
                                                              Page
                                                                 Page
                                                                   29 of
                                                                      210109
                                                                           of 290




                enemy if they are not ready to drop HRC. That appears to be the game hackers are

                now about. Would not hurt to start suggesting HRC old, memory bad, has stroke –

                neither he nor she well. I expect that much of next dump focus, setting stage for

                Foundation debacle.”

14.      Starting in early August 2016, after receiving the August 2, 2016 email from Person 1,

STONE made repeated statements about information he claimed to have learned from the head of

Organization 1.

         a.     On or about August 8, 2016, STONE attended a public event at which he stated, “I

                actually have communicated with [the head of Organization 1]. I believe the next

                tranche of his documents pertain to the Clinton Foundation, but there’s no telling

                what the October surprise may be.”

         b.     On or about August 12, 2016, STONE stated during an interview that he was “in

                communication with [the head of Organization 1]” but was “not at liberty to discuss

                what I have.”

         c.     On or about August 16, 2016, STONE stated during an interview that “it became

                known on this program that I have had some back-channel communication with

                [Organization 1] and [the head of Organization 1].” In a second interview on or

                about the same day, STONE stated that he “communicated with [the head of

                Organization 1]” and that they had a “mutual acquaintance who is a fine

                gentleman.”

         d.     On or about August 18, 2016, STONE stated during a television interview that he

                had communicated with the head of Organization 1 through an “intermediary,

                somebody who is a mutual friend.”



                                                5
      CaseCase
           1:20-cv-00298-LY-DH
                1:20-cv-00298-LY Document
                                  Document165-1
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                                                   03/07/19
                                                       10/22/21
                                                              Page
                                                                 Page
                                                                   30 of
                                                                      211109
                                                                           of 290




         e.    On or about August 23, 2016, Person 2 asked STONE during a radio interview,

               “You’ve been in touch indirectly with [the head of Organization 1]. . . . Can you

               give us any kind of insight? Is there an October surprise happening?” STONE

               responded, “Well, first of all, I don’t want to intimate in any way that I control or

               have influence with [the head of Organization 1] because I do not. . . . We have a

               mutual friend, somebody we both trust and therefore I am a recipient of pretty good

               information.”

15.      Beginning on or about August 19, 2016, STONE exchanged written communications,

including by text message and email, with Person 2 about Organization 1 and what the head of

Organization 1 planned to do.

         a.    On or about August 19, 2016, Person 2 sent a text message to STONE that read in

               part, “I’m going to have [the head of Organization 1] on my show next Thursday.”

               On or about August 21, 2016, Person 2 sent another text message to STONE,

               writing in part, “I have [the head of Organization 1] on Thursday so I’m completely

               tied up on that day.”

         b.    On or about August 25, 2016, the head of Organization 1 was a guest on Person 2’s

               radio show for the first time. On or about August 26, 2016, Person 2 sent a text

               message to STONE that stated, “[the head of Organization 1] talk[ed] about you

               last night.” STONE asked what the head of Organization 1 said, to which Person 2

               responded, “He didn’t say anything bad we were talking about how the Press is

               trying to make it look like you and he are in cahoots.”

         c.    On or about August 27, 2016, Person 2 sent text messages to STONE that said, “We

               are working on a [head of Organization 1] radio show,” and that he (Person 2) was



                                                6
CaseCase
     1:20-cv-00298-LY-DH
          1:20-cv-00298-LY Document
                            Document165-1
                                     1 Filed
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                                             03/07/19
                                                 10/22/21
                                                        Page
                                                           Page
                                                             31 of
                                                                212109
                                                                     of 290




         “in charge” of the project. In a text message sent later that day, Person 2 added,

         “[The head of Organization 1] has kryptonite on Hillary.”

   d.    On or about September 18, 2016, STONE sent a text message to Person 2 that said,

         “I am e-mailing u a request to pass on to [the head of Organization 1].” Person 2

         responded “Ok,” and added in a later text message, “[j]ust remember do not name

         me as your connection to [the head of Organization 1] you had one before that you

         referred to.”

                i.       On or about the same day, September 18, 2016, STONE emailed

                         Person 2 an article with allegations against then-candidate Clinton

                         related to her service as Secretary of State. STONE stated, “Please

                         ask [the head of Organization 1] for any State or HRC e-mail from

                         August 10 to August 30—particularly on August 20, 2011 that

                         mention [the subject of the article] or confirm this narrative.”

                ii.      On or about September 19, 2016, STONE texted Person 2 again,

                         writing, “Pass my message . . . to [the head of Organization 1].”

                         Person 2 responded, “I did.” On or about September 20, 2016,

                         Person 2 forwarded the request to a friend who was an attorney with

                         the ability to contact the head of Organization 1. Person 2 blind-

                         copied STONE on the forwarded email.

   e.    On or about September 30, 2016, Person 2 sent STONE via text message a

         photograph of Person 2 standing outside the Ecuadorian Embassy in London where

         the head of Organization 1 was located.




                                           7
      CaseCase
           1:20-cv-00298-LY-DH
                1:20-cv-00298-LY Document
                                  Document165-1
                                           1 Filed
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                                                   03/07/19
                                                       10/22/21
                                                              Page
                                                                 Page
                                                                   32 of
                                                                      213109
                                                                           of 290




         f.    On or about October 1, 2016, which was a Saturday, Person 2 sent STONE text

               messages that stated, “big news Wednesday . . . now pretend u don’t know me . . .

               Hillary’s campaign will die this week.” In the days preceding these messages, the

               press had reported that the head of Organization 1 planned to make a public

               announcement on or about Tuesday, October 4, 2016, which was reported to be the

               ten-year anniversary of the founding of Organization 1.

         g.    On or about October 2, 2016, STONE emailed Person 2, with the subject line

               “WTF?,” a link to an article reporting that Organization 1 was canceling its “highly

               anticipated Tuesday announcement due to security concerns.” Person 2 responded

               to STONE, “head fake.”

         h.    On or about the same day, October 2, 2016, STONE texted Person 2 and asked,

               “Did [the head of Organization 1] back off.” On or about October 3, 2016, Person

               2 initially responded, “I can’t tal[k] about it.” After further exchanges with

               STONE, Person 2 said, “I think it[’]s on for tomorrow.” Person 2 added later that

               day, “Off the Record Hillary and her people are doing a full-court press they [sic]

               keep [the head of Organization 1] from making the next dump . . . That’s all I can

               tell you on this line . . . Please leave my name out of it.”

16.      In or around October 2016, STONE made statements about Organization 1’s future

releases, including statements similar to those that Person 2 made to him. For example:

         a.    On or about October 3, 2016, STONE wrote to a supporter involved with the Trump

               Campaign, “Spoke to my friend in London last night. The payload is still coming.”

         b.    Also on or about October 3, 2016, STONE received an email from a reporter who

               had connections to a high-ranking Trump Campaign official that asked, “[the head



                                                 8
      CaseCase
           1:20-cv-00298-LY-DH
                1:20-cv-00298-LY Document
                                  Document165-1
                                           1 Filed
                                                 Filed
                                                   03/07/19
                                                       10/22/21
                                                              Page
                                                                 Page
                                                                   33 of
                                                                      214109
                                                                           of 290




                 of Organization 1] – what’s he got? Hope it’s good.” STONE responded in part,

                 “It is. I’d tell [the high-ranking Trump Campaign official] but he doesn’t call me

                 back.”

         c.      On or about October 4, 2016, the head of Organization 1 held a press conference

                 but did not release any new materials pertaining to the Clinton Campaign. Shortly

                 afterwards, STONE received an email from the high-ranking Trump Campaign

                 official asking about the status of future releases by Organization 1. STONE

                 answered that the head of Organization 1 had a “[s]erious security concern” but that

                 Organization 1 would release “a load every week going forward.”

         d.      Later that day, on or about October 4, 2016, the supporter involved with the Trump

                 Campaign asked STONE via text message if he had “hear[d] anymore from

                 London.” STONE replied, “Yes - want to talk on a secure line - got Whatsapp?”

                 STONE subsequently told the supporter that more material would be released and

                 that it would be damaging to the Clinton Campaign.

17.      On or about October 7, 2016, Organization 1 released the first set of emails stolen from the

Clinton Campaign chairman. Shortly after Organization 1’s release, an associate of the high-

ranking Trump Campaign official sent a text message to STONE that read “well done.” In

subsequent conversations with senior Trump Campaign officials, STONE claimed credit for

having correctly predicted the October 7, 2016 release.

                                         The Investigations

18.      In or around 2017, government officials publicly disclosed investigations into Russian

interference in the 2016 U.S. presidential election and possible links to individuals associated with

the campaigns.



                                                  9
      CaseCase
           1:20-cv-00298-LY-DH
                1:20-cv-00298-LY Document
                                  Document165-1
                                           1 Filed
                                                 Filed
                                                   03/07/19
                                                       10/22/21
                                                              Page
                                                                 Page
                                                                   34 of
                                                                      215109
                                                                           of 290




         a.    On or about January 13, 2017, the chairman and vice chairman of SSCI announced

               the committee would conduct an inquiry that would investigate, among other

               things, any intelligence regarding links between Russia and individuals associated

               with political campaigns, as well as Russian cyber activity and other “active

               measures” directed against the United States in connection with the 2016 election.

         b.    On or about January 25, 2017, the chairman and ranking member of HPSCI

               announced that HPSCI had been conducting an inquiry similar to SSCI’s.

         c.    On or about March 20, 2017, the then-director of the FBI testified at a HPSCI

               hearing and publicly disclosed that the FBI was investigating Russian interference

               in the 2016 election and possible links and coordination between the Trump

               Campaign and the Russian government.

         d.    By in or around August 2017, news reports stated that a federal grand jury had

               opened an investigation into matters relating to Russian government efforts to

               interfere in the 2016 election, including possible links and coordination between

               the Trump Campaign and the Russian government.

                             STONE’s False Testimony to HPSCI

19.      In or around May 2017, HPSCI sent a letter requesting that STONE voluntarily appear

before the committee and produce:

               Any documents, records, electronically stored information
               including e-mail, communication, recordings, data and tangible
               things (including, but not limited to, graphs, charts, photographs,
               images and other documents) regardless of form, other than those
               widely available (e.g., newspaper articles) that reasonably could
               lead to the discovery of any facts within the investigation’s publicly-
               announced parameters.

On or about May 22, 2017, STONE caused a letter to be submitted to HPSCI stating that “Mr.



                                                 10
      CaseCase
           1:20-cv-00298-LY-DH
                1:20-cv-00298-LY Document
                                  Document165-1
                                           1 Filed
                                                 Filed
                                                   03/07/19
                                                       10/22/21
                                                              Page
                                                                 Page
                                                                   35 of
                                                                      216109
                                                                           of 290




Stone has no documents, records, or electronically stored information, regardless of form, other

than those widely available that reasonably could lead to the discovery of any facts within the

investigation’s publicly-announced parameters.”

20.      On or about September 26, 2017, STONE testified before HPSCI in Washington, D.C. as

part of the committee’s ongoing investigation. In his opening statement, STONE stated, “These

hearings are largely based on a yet unproven allegation that the Russian state is responsible for the

hacking of the DNC and [the Clinton Campaign chairman] and the transfer of that information to

[Organization 1].” STONE further stated that “[m]embers of this Committee” had made certain

“assertions against me which must be rebutted here today,” which included “[t]he charge that I

knew in advance about, and predicted, the hacking of Clinton campaign chairman[’s] email, [and]

that I had advanced knowledge of the source or actual content of the [Organization 1] disclosures

regarding Hillary Clinton.”

21.      In the course of his HPSCI testimony, STONE made deliberately false and misleading

statements to the committee concerning, among other things, his possession of documents

pertinent to HPSCI’s investigation; the source for his early August 2016 statements about

Organization 1; requests he made for information from the head of Organization 1; his

communications with his identified intermediary; and his communications with the Trump

Campaign about Organization 1.

  STONE’s False and Misleading Testimony About His Possession of Documents Pertinent to
                                 HPSCI’s Investigation

22.      During his HPSCI testimony, STONE was asked, “So you have no emails to anyone

concerning the allegations of hacked documents . . . or any discussions you have had with third

parties about [the head of Organization 1]? You have no emails, no texts, no documents

whatsoever, any kind of that nature?” STONE falsely and misleadingly answered, “That is correct.


                                                 11
      CaseCase
           1:20-cv-00298-LY-DH
                1:20-cv-00298-LY Document
                                  Document165-1
                                           1 Filed
                                                 Filed
                                                   03/07/19
                                                       10/22/21
                                                              Page
                                                                 Page
                                                                   36 of
                                                                      217109
                                                                           of 290




Not to my knowledge.”

23.      In truth and in fact, STONE had sent and received numerous emails and text messages

during the 2016 campaign in which he discussed Organization 1, its head, and its possession of

hacked emails. At the time of his false testimony, STONE was still in possession of many of these

emails and text messages, including:

         a.    The email from STONE to Person 1 on or about July 25, 2016 that read in part,

               “Get to [the head of Organization 1] [a]t Ecuadorian Embassy in London and get

               the pending [Organization 1] emails . . . they deal with Foundation, allegedly.”;

         b.    The email from STONE to Person 1 on or about July 31, 2016 that said an associate

               of Person 1 “should see [the head of Organization 1].”;

         c.    The email from Person 1 to STONE on or about August 2, 2016 that stated in part,

               “Word is friend in embassy plans 2 more dumps. One shortly after I’m back. 2nd

               in Oct. Impact planned to be very damaging.”;

         d.    Dozens of text messages and emails, beginning on or about August 19, 2016 and

               continuing through the election, between STONE and Person 2 in which they

               discussed Organization 1 and the head of Organization 1;

         e.    The email from STONE on or about October 3, 2016 to the supporter involved with

               the Trump Campaign, which read in part, “Spoke to my friend in London last night.

               The payload is still coming.”; and

         f.    The emails on or about October 4, 2016 between STONE and the high-ranking

               member of the Trump Campaign, including STONE’s statement that Organization

               1 would release “a load every week going forward.”




                                                12
      CaseCase
           1:20-cv-00298-LY-DH
                1:20-cv-00298-LY Document
                                  Document165-1
                                           1 Filed
                                                 Filed
                                                   03/07/19
                                                       10/22/21
                                                              Page
                                                                 Page
                                                                   37 of
                                                                      218109
                                                                           of 290




24.      By falsely claiming that he had no emails or text messages in his possession that referred

to the head of Organization 1, STONE avoided providing a basis for HPSCI to subpoena records

in his possession that could have shown that other aspects of his testimony were false and

misleading.

       STONE’s False and Misleading Testimony About His Early August 2016 Statements

25.      During his HPSCI testimony on or about September 26, 2017, STONE was asked to

explain his statements in early August 2016 about being in contact with the head of Organization 1.

STONE was specifically asked about his statement on or about August 8, 2016 that “I’ve actually

communicated with [the head of Organization 1],” as well as his statement on or about August 12,

2016 that he was “in communication with [the head of Organization 1]” but was “not at liberty to

discuss what I have.”

26.      STONE responded that his public references to having a means of contacting Organization

1 referred exclusively to his contact with a journalist, who STONE described as a “go-between, as

an intermediary, as a mutual friend” of the head of Organization 1. STONE stated that he asked

this individual, his intermediary, “to confirm what [the head of Organization 1] ha[d] tweeted,

himself, on July 21st, that he ha[d] the Clinton emails and that he [would] publish them.” STONE

further stated that the intermediary “was someone I knew had interviewed [the head of

Organization 1]. And I merely wanted confirmation of what he had tweeted on the 21st.” STONE

declined to tell HPSCI the name of this “intermediary” but provided a description in his testimony

that was consistent with Person 2.

27.      On or about October 13, 2017, STONE caused a letter to be submitted to HPSCI that

identified Person 2 by name as the “gentleman who confirmed for Mr. Stone” that the head of

Organization 1 had “‘[e]mails related to Hillary Clinton which are pending publication.’”



                                                 13
      CaseCase
           1:20-cv-00298-LY-DH
                1:20-cv-00298-LY Document
                                  Document165-1
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                                                   03/07/19
                                                       10/22/21
                                                              Page
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                                                                   38 of
                                                                      219109
                                                                           of 290




28.      STONE’s explanation of his August 2016 statements about communicating with the head

of Organization 1 was false and misleading. In truth and in fact, the first time Person 2 interviewed

the head of Organization 1 was on or about August 25, 2016, after STONE made his August 8 and

August 12, 2016 public statements. Similarly, at the time STONE made his August 2016

statements, STONE had directed Person 1—not Person 2—to contact the head of Organization 1.

And Person 1—not Person 2—had told STONE in advance of STONE’s August 8 and August 12,

2016 public statements that “[w]ord is friend in embassy plans 2 more dumps,” including one in

October. At no time did STONE identify Person 1 to HPSCI as another individual STONE

contacted to serve as a “go-between,” “intermediary,” or other source of information from

Organization 1. STONE also never disclosed his exchanges with Person 1 when answering

HPSCI’s questioning about STONE’s August 8 and August 12, 2016 statements.

 STONE’s False and Misleading Testimony About Requests He Made for Information from the
                                 Head of Organization 1

29.      During his HPSCI testimony, STONE was asked, “[W]hat was the extent of the

communication with [the intermediary]?” STONE replied, “I asked him to confirm . . . that the

tweet of [the head of Organization 1] of the 21st was accurate, that they did in fact have . . . Hillary

Clinton emails and that they would release them.” STONE was then asked, “Did you ask [the

intermediary] to communicate anything else to [the head of Organization 1]?” STONE falsely and

misleadingly responded, “I did not.” STONE was then asked, “Did you ask [the intermediary] to

do anything on your own behalf?” STONE falsely and misleadingly responded, “I did not.”

30.      In truth and in fact, STONE directed both Person 1 and Person 2 to pass on requests to the

head of Organization 1 for documents that STONE believed would be damaging to the Clinton

Campaign. For example:

         a.     As described above, on or about July 25, 2016, STONE sent Person 1 an email that


                                                  14
      CaseCase
           1:20-cv-00298-LY-DH
                1:20-cv-00298-LY Document
                                  Document165-1
                                           1 Filed
                                                 Filed
                                                   03/07/19
                                                       10/22/21
                                                              Page
                                                                 Page
                                                                   39 of
                                                                      220109
                                                                           of 290




                  read, “Get to [the head of Organization 1] [a]t Ecuadorian Embassy in London and

                  get the pending [Organization 1] emails . . . they deal with Foundation, allegedly.”

         b.       On or about September 18, 2016, STONE sent a text message to Person 2 that said,

                  “I am e-mailing u a request to pass on to [the head of Organization 1],” and then

                  emailed Person 2 an article with allegations against then-candidate Clinton related

                  to her service as Secretary of State. STONE added, “Please ask [the head of

                  Organization 1] for any State or HRC e-mail from August 10 to August 30—

                  particularly on August 20, 2011 that mention [the subject of the article] or confirm

                  this narrative.”

         c.       On or about September 19, 2016, STONE texted Person 2 again, writing “Pass my

                  message . . . to [the head of Organization 1].” Person 2 responded, “I did,” and the

                  next day Person 2, on an email blind-copied to STONE, forwarded the request to

                  an attorney who had the ability to contact the head of Organization 1.

       STONE’s False and Misleading Testimony About Communications with His Identified
                                         Intermediary

31.      During his HPSCI testimony, STONE was asked repeatedly about his communications

with the person he identified as his intermediary. STONE falsely and misleadingly stated that he

had never communicated with his intermediary in writing in any way. During one exchange,

STONE falsely and misleadingly claimed only to have spoken with the intermediary

telephonically:

                  Q:      [H]ow did you communicate with the intermediary?
                  A:      Over the phone.
                  Q:      And did you have any other means of communicating with
                          the intermediary?
                  A:      No.
                  Q:      No text messages, no – none of the list, right?

                                                   15
      CaseCase
           1:20-cv-00298-LY-DH
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                                  Document165-1
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                                                   03/07/19
                                                       10/22/21
                                                              Page
                                                                 Page
                                                                   40 of
                                                                      221109
                                                                           of 290




                A:     No.

Later during his testimony, STONE again falsely denied ever communicating with his

intermediary in writing:

                Q:     So you never communicated with your intermediary in
                       writing in any way?
                A:     No.
                Q:     Never emailed him or texted him?
                A:     He’s not an email guy.
                Q:     So all your conversations with him were in person or over
                       the phone.
                A:     Correct.

32.      In truth and in fact, as described above, STONE and Person 2 (who STONE identified to

HPSCI as his intermediary) engaged in frequent written communication by email and text

message. STONE also engaged in frequent written communication by email and text message

with Person 1, who also provided STONE with information regarding Organization 1.

33.      Written communications between STONE and Person 1 and between STONE and Person 2

continued through STONE’s HPSCI testimony. Indeed, on or about September 26, 2017—the day

that STONE testified before HPSCI and denied having ever sent or received emails or text

messages from Person 2—STONE and Person 2 exchanged over thirty text messages.

34.      Certain electronic messages between STONE and Person 1 and between STONE and

Person 2 would have been material to HPSCI. For example:

         a.     In or around July 2016, STONE emailed Person 1 to “get to” the head of

                Organization 1 and obtain the pending emails.

         b.     In or around September 2016, STONE sent messages directing Person 2 to pass a

                request to the head of Organization 1.

         c.     On or about January 6, 2017, Person 2 sent STONE an email that had the subject


                                                16
      CaseCase
           1:20-cv-00298-LY-DH
                1:20-cv-00298-LY Document
                                  Document165-1
                                           1 Filed
                                                 Filed
                                                   03/07/19
                                                       10/22/21
                                                              Page
                                                                 Page
                                                                   41 of
                                                                      222109
                                                                           of 290




                line “Back channel bs.” In the email, Person 2 wrote, “Well I have put together

                timelines[] and you [] said you have a back-channel way back a month before I had

                [the head of Organization 1] on my show . . . I have never had a conversation with

                [the head of Organization 1] other than my radio show . . . I have pieced it all

                together . . . so you may as well tell the truth that you had no back-channel or there’s

                the guy you were talking about early August.”

 STONE’s False and Misleading Testimony About Communications with the Trump Campaign

35.      During his HPSCI testimony, STONE was asked, “did you discuss your conversations with

the intermediary with anyone involved in the Trump campaign?” STONE falsely and misleadingly

answered, “I did not.” In truth and in fact, and as described above, STONE spoke to multiple

individuals involved in the Trump Campaign about what he claimed to have learned from his

intermediary to Organization 1, including the following:

         a.     On multiple occasions, STONE told senior Trump Campaign officials about

                materials possessed by Organization 1 and the timing of future releases.

         b.     On or about October 3, 2016, STONE wrote to a supporter involved with the Trump

                Campaign, “Spoke to my friend in London last night. The payload is still coming.”

         c.     On or about October 4, 2016, STONE told a high-ranking Trump Campaign official

                that the head of Organization 1 had a “[s]erious security concern” but would release

                “a load every week going forward.”

  Attempts to Prevent Person 2 from Contradicting STONE’s False Statements to HPSCI

36.      On or about October 19, 2017, STONE sent Person 2 an excerpt of his letter to HPSCI that

identified Person 2 as his “intermediary” to Organization 1. STONE urged Person 2, if asked by

HPSCI, to falsely confirm what STONE had previously testified to, including that it was Person 2



                                                  17
      CaseCase
           1:20-cv-00298-LY-DH
                1:20-cv-00298-LY Document
                                  Document165-1
                                           1 Filed
                                                 Filed
                                                   03/07/19
                                                       10/22/21
                                                              Page
                                                                 Page
                                                                   42 of
                                                                      223109
                                                                           of 290




who provided STONE with the basis for STONE’s early August 2016 statements about contact

with Organization 1. Person 2 repeatedly told STONE that his testimony was false and told him

to correct his testimony to HPSCI. STONE did not do so. STONE then engaged in a prolonged

effort to prevent Person 2 from contradicting STONE’s false statements to HPSCI.

37.      In or around November 2017, Person 2 received a request from HPSCI to testify voluntarily

before the committee. After being contacted by HPSCI, Person 2 spoke and texted repeatedly with

STONE. In these discussions, STONE sought to have Person 2 testify falsely either that Person 2

was the identified intermediary or that Person 2 could not remember what he had told STONE.

Alternatively, STONE sought to have Person 2 invoke his Fifth Amendment right against self-

incrimination. For example:

         a.     On or about November 19, 2017, in a text message to STONE, Person 2 said that

                his lawyer wanted to see him (Person 2). STONE responded, “‘Stonewall it. Plead

                the fifth. Anything to save the plan’ . . . Richard Nixon.” On or about November

                20, 2017, Person 2 informed HPSCI that he declined HPSCI’s request for a

                voluntary interview.

         b.     On or about November 21, 2017, Person 2 texted STONE, “I was told that the house

                committee lawyer told my lawyer that I will be getting a subpoena.” STONE

                responded, “That was the point at which your lawyers should have told them you

                would assert your 5th Amendment rights if compelled to appear.”

         c.     On or about November 28, 2017, Person 2 received a subpoena compelling his

                testimony before HPSCI. Person 2 informed STONE of the subpoena.

         d.     On or about November 30, 2017, STONE asked Person 1 to write publicly about

                Person 2. Person 1 responded, “Are you sure you want to make something out of



                                                18
      CaseCase
           1:20-cv-00298-LY-DH
                1:20-cv-00298-LY Document
                                  Document165-1
                                           1 Filed
                                                 Filed
                                                   03/07/19
                                                       10/22/21
                                                              Page
                                                                 Page
                                                                   43 of
                                                                      224109
                                                                           of 290




                this now? Why not wait to see what [Person 2] does. You may be defending

                yourself too much—raising new questions that will fuel new inquiries. This may

                be a time to say less, not more.” STONE responded by telling Person 1 that

                Person 2 “will take the 5th—but let’s hold a day.”

         e.     On multiple occasions, including on or about December 1, 2017, STONE told

                Person 2 that Person 2 should do a “Frank Pentangeli” before HPSCI in order to

                avoid contradicting STONE’s testimony. Frank Pentangeli is a character in the film

                The Godfather: Part II, which both STONE and Person 2 had discussed, who

                testifies before a congressional committee and in that testimony claims not to know

                critical information that he does in fact know.

         f.     On or about December 1, 2017, STONE texted Person 2, “And if you turned over

                anything to the FBI you’re a fool.” Later that day, Person 2 texted STONE, “You

                need to amend your testimony before I testify on the 15th.” STONE responded, “If

                you testify you’re a fool. Because of tromp I could never get away with a certain

                [sic] my Fifth Amendment rights but you can. I guarantee you you are the one who

                gets indicted for perjury if you’re stupid enough to testify.”

38.      On or about December 12, 2017, Person 2 informed HPSCI that he intended to assert his

Fifth Amendment privilege against self-incrimination if required to appear by subpoena. Person 2

invoked his Fifth Amendment privilege in part to avoid providing evidence that would show

STONE’s previous testimony to Congress was false.

39.      Following Person 2’s invocation of his Fifth Amendment privilege not to testify before

HPSCI, STONE and Person 2 continued to have discussions about the various investigations into

Russian interference in the 2016 election and what information Person 2 would provide to



                                                  19
    CaseCase
         1:20-cv-00298-LY-DH
              1:20-cv-00298-LY Document
                                Document165-1
                                         1 Filed
                                               Filed
                                                 03/07/19
                                                     10/22/21
                                                            Page
                                                               Page
                                                                 44 of
                                                                    225109
                                                                         of 290




investigators.   During these conversations, STONE repeatedly made statements intended to

prevent Person 2 from cooperating with the investigations. For example:

       a.        On or about December 24, 2017, Person 2 texted STONE, “I met [the head of

                 Organization 1] for f[i]rst time this yea[r] sept 7 . . . docs prove that. . . . You should

                 be honest w fbi . . . there was no back channel . . . be honest.” STONE replied

                 approximately two minutes later, “I’m not talking to the FBI and if your smart you

                 won’t either.”

       b.        On or about April 9, 2018, STONE wrote in an email to Person 2, “You are a rat.

                 A stoolie. You backstab your friends-run your mouth my lawyers are dying Rip

                 you to shreds.” STONE also said he would “take that dog away from you,”

                 referring to Person 2’s dog. On or about the same day, STONE wrote to Person 2,

                 “I am so ready. Let’s get it on. Prepare to die [expletive].”

       c.        On or about May 21, 2018, Person 2 wrote in an email to STONE, “You should

                 have just been honest with the house Intel committee . . . you’ve opened yourself

                 up to perjury charges like an idiot.” STONE responded, “You are so full of

                 [expletive]. You got nothing. Keep running your mouth and I’ll file a bar

                 complaint against your friend [the attorney who had the ability to contact the head

                 of Organization 1].”




                                                     20
      CaseCase
           1:20-cv-00298-LY-DH
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                                                   03/07/19
                                                       10/22/21
                                                              Page
                                                                 Page
                                                                   45 of
                                                                      226109
                                                                           of 290




                                         COUNT ONE
                                   (Obstruction of Proceeding)

40.      Paragraphs 1 through 39 of this Indictment are re-alleged and incorporated by reference as

if fully set forth herein.

41.      From in or around May 2017 through at least December 2017, within the District of

Columbia and elsewhere, the defendant ROGER JASON STONE, JR., corruptly influenced,

obstructed, impeded, and endeavored to influence, obstruct, and impede the due and proper

exercise of the power of inquiry under which any inquiry and investigation is being had by either

House, and any committee of either House and any joint committee of the Congress, to wit:

STONE testified falsely and misleadingly at a HPSCI hearing in or around September 2017;

STONE failed to turn over and lied about the existence of responsive records to HPSCI’s requests

about documents; STONE submitted and caused to be submitted a letter to HPSCI falsely and

misleadingly describing communications with Person 2; and STONE attempted to have Person 2

testify falsely before HPSCI or prevent him from testifying.

         All in violation of Title 18, United States Code, Sections 1505 and 2.




                                                 21
      CaseCase
           1:20-cv-00298-LY-DH
                1:20-cv-00298-LY Document
                                  Document165-1
                                           1 Filed
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                                                   03/07/19
                                                       10/22/21
                                                              Page
                                                                 Page
                                                                   46 of
                                                                      227109
                                                                           of 290




                                 COUNTS TWO THROUGH SIX
                                     (False Statements)

42.      Paragraphs 1 through 39 of this Indictment are re-alleged and incorporated by reference as

if fully set forth herein.

43.      On or about September 26, 2017, within the District of Columbia and elsewhere, in a matter

within the jurisdiction of the legislative branch of the Government of the United States, the

defendant ROGER JASON STONE, JR., knowingly and willfully made and caused to be made

materially false, fictitious, and fraudulent statements and representations, to wit:

                       Count                                       False Statement

                             2                      STONE testified falsely that he did not have
                                                    emails with third parties about the head of
                                                    Organization 1, and that he did not have any
                                                    documents, emails, or text messages that refer
                                                    to the head of Organization 1.

                             3                      STONE testified falsely that his August 2016
                                                    references to being in contact with the head of
                                                    Organization     1    were     references    to
                                                    communications with a single “go-between,”
                                                    “mutual friend,” and “intermediary,” who
                                                    STONE identified as Person 2.

                             4                      STONE testified falsely that he did not ask the
                                                    person he referred to as his “go-between,”
                                                    “mutual friend,” and “intermediary,” to
                                                    communicate anything to the head of
                                                    Organization 1 and did not ask the
                                                    intermediary to do anything on STONE’s
                                                    behalf.

                             5                      STONE testified falsely that he and the person
                                                    he referred to as his “go-between,” “mutual
                                                    friend,” and “intermediary” did not
                                                    communicate via text message or email about
                                                    Organization 1.

                             6                      STONE testified falsely that he had never
                                                    discussed his conversations with the person he
                                                    referred to as his “go-between,” “mutual

                                                 22
      CaseCase
           1:20-cv-00298-LY-DH
                1:20-cv-00298-LY Document
                                  Document165-1
                                           1 Filed
                                                 Filed
                                                   03/07/19
                                                       10/22/21
                                                              Page
                                                                 Page
                                                                   47 of
                                                                      228109
                                                                           of 290




                       Count                                       False Statement

                                                    friend,” and “intermediary” with anyone
                                                    involved in the Trump Campaign.


         All in violation of Title 18, United States Code, Sections 1001(a)(2) and 2.




                                         COUNT SEVEN
                                       (Witness Tampering)

44.      Paragraphs 1 through 39 of this Indictment are re-alleged and incorporated by reference as

if fully set forth herein.

45.      Between in or around September 2017 and present, within the District of Columbia and

elsewhere, the defendant ROGER JASON STONE, JR., knowingly and intentionally corruptly

persuaded and attempted to corruptly persuade another person, to wit: Person 2, with intent to

influence, delay, and prevent the testimony of any person in an official proceeding.

         All in violation of Title 18, United States Code, Section 1512(b)(1).




                                                      ________________________
                                                      Robert S. Mueller, III
                                                      Special Counsel
                                                      U.S. Department of Justice


A TRUE BILL:



________________________
Foreperson




                                                 23
   CaseCase
        1:20-cv-00298-LY-DH
             1:20-cv-00298-LY Document
                               Document165-1
                                        1 Filed
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                                                03/07/19
                                                    10/22/21
                                                           Page
                                                              Page
                                                                48 of
                                                                   229109
                                                                        of 290




Date: January 24, 2019




                                       24
CaseCase
     1:20-cv-00298-LY-DH
          1:20-cv-00298-LY Document
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                                             03/07/19
                                                 10/22/21
                                                        Page
                                                           Page
                                                             49 of
                                                                230109
                                                                     of 290




                 EXHIBIT 2
   CaseCase
        1:20-cv-00298-LY-DH
             1:20-cv-00298-LY Document
                               Document165-1
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                                                    10/22/21
                                                           Page
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                                                                50 of
                                                                   231109
                                                                        of 290



                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
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UNITED STATES OF AMERICA,            )
                                     )
                  Plaintiff,         )
                                     )
    v.                               )  Case No.: 1:19-CR-00018-ABJ
                                     )
ROGER J. STONE, JR.,                 )
                                     )
                  Defendant.         )
___________________________________ )

                   MOTION FOR LEAVE TO FILE AMICI CURIAE BRIEF

          Movant Dr. Jerome Corsi (“Dr. Corsi”) through counsel, hereby moves this Court for

leave to file an amici curiae brief in support of entry of an order pursuant to Local Criminal Rule

57.7(c), or colloquially, a “gag order.”

          Dr. Corsi’s amicus brief, attached hereto as Exhibit 1, sets forth the compelling reasons

why a “gag order” is necessary in this case, as he is named as Person 1, a material witness, in

Defendant Roger Stone’s (“Defendant Stone”) indictment. Defendant Stone has engaged in a

public relations campaign to defame, smear, intimidate and threaten both Dr. Corsi and his

counsel, Mr. Larry Klayman, which is the same conduct that he was indicted for in the first

place. Because Defendant Stone’s defamation, witness tampering, intimidation, and threats with

regard to Dr. Corsi and his counsel Mr. Klayman are not technically part of this criminal

prosecution, Dr. Corsi’s interests and position are not adequately represented by any party. Dr.

Corsi’s amicus brief will aid this Court in ruling upon the entry of an order pursuant to LCrR

57.7(c)

          The United States has taken no position with regard to filing of an amicus brief, and

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   CaseCase
        1:20-cv-00298-LY-DH
             1:20-cv-00298-LY Document
                               Document165-1
                                        1 Filed
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                                                03/07/19
                                                    10/22/21
                                                           Page
                                                              Page
                                                                51 of
                                                                   232109
                                                                        of 290



counsel for Defendant Stone has not substantively responded to Dr. Corsi’s request for consent.


Dated: February 8, 2019                             Respectfully submitted,


                                                    /s/ Larry Klayman   ____
                                                    Larry Klayman, Esq.
                                                    KLAYMAN LAW GROUP, PA
                                                    D.C. Bar No:
                                                    2020 Pennsylvania Ave NW #800
                                                    Washington, DC 20006
                                                    Email: leklayman@gmail.com
                                                    Tel: 310-595-0800


                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing was filed
electronically and served through the court’s ECF system to all counsel of record or parties on
February 8, 2019

                                                    /s/ Larry Klayman
                                                    Larry Klayman, Esq.




                                               2
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          1:20-cv-00298-LY Document
                            Document165-1
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                                                 10/22/21
                                                        Page
                                                           Page
                                                             52 of
                                                                233109
                                                                     of 290




      [SUB]EXHIBIT 1
   CaseCase
        1:20-cv-00298-LY-DH
             1:20-cv-00298-LY Document
                               Document165-1
                                        1 Filed
                                              Filed
                                                03/07/19
                                                    10/22/21
                                                           Page
                                                              Page
                                                                53 of
                                                                   234109
                                                                        of 290



                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
UNITED STATES OF AMERICA,            )
                                     )
                  Plaintiff,         )
                                     )
    v.                               )  Case No.: 1:19-CR-00018-ABJ
                                     )
ROGER J. STONE, JR.,                 )
                                     )
                  Defendant.         )
___________________________________ )

                      AMICI CURIAE BRIEF OF DR. JEROME CORSI

       Under Local Criminal Rule 57.7(b)(1):

       [i]t is the duty of the lawyer or law firm not to release or authorize the release of
       information or opinion which a reasonable person would expect to be
       disseminated by means of public communication, in connection with pending or
       imminent criminal litigation with which the lawyer or the law firm is associated,
       if there is a reasonable likelihood that such dissemination will interfere with a fair
       trial or otherwise prejudice the due administration of justice.

Furthermore, LCrR 57.7(c), which offers additional specific guidance with regard to highly

publicized cases - which this instant case certainly qualifies as – grants the Court with authority

to issue a “special order governing such matters as extrajudicial statements by parties, witnesses

and attorneys likely to interfere with the rights of the accused to a fair trial by an impartial jury.”

As set forth in Gentile v. State Bar of Nevada, 501 U.S. 1030, 1075 (1991):

       The limitations are aimed at two principal evils: (1) comments that are likely to
       influence the actual outcome of the trial, and (2) comments that are likely to
       prejudice the jury venire, even if an untainted panel can ultimately be found. Few,
       if any, interests under the Constitution are more fundamental than the right to a
       fair trial by “impartial” jurors, and an outcome affected by extrajudicial
       statements would violate that fundamental right.

       Here, Defendant Roger Stone (“Defendant Stone”) has already begun a public relations

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   CaseCase
        1:20-cv-00298-LY-DH
             1:20-cv-00298-LY Document
                               Document165-1
                                        1 Filed
                                              Filed
                                                03/07/19
                                                    10/22/21
                                                           Page
                                                              Page
                                                                54 of
                                                                   235109
                                                                        of 290



campaign meant specifically to influence the outcome of his upcoming trial and which are meant

to prejudice the jury venire. Defendant Stone is doing so by engaging in witness tampering,

defamation, and intimidation and coercion with regard to Dr. Corsi, who is named as Person 1 in

Defendant Stone’s indictment. As such, Dr. Corsi will likely subpoenaed to be called as a

material witness in Defendant Stone’s upcoming trial. Again he is Person 1 in the Mueller

Indictment.

       Defendant Stone is attempting to smear, defame, and discredit, tamper and threaten Dr.

Corsi so that when Dr. Corsi is called as a witness, the jurors will have a false impression of Dr.

Corsi as a liar, perjurer, and alcoholic. This would, obviously, improperly and unethically benefit

Defendant Stone. In fact, Defendant Stone’s targeted efforts to defame, coerce, intimidate and

threaten Dr. Corsi have resulted in a lawsuit filed in the U.S. District Court for the District of

Columbia, which is attached hereto as Exhibit A and incorporated by reference.

       Should this Court have any doubt as to Defendant Stone’s improper motivations and

already implemented and continuing designs to taint the jury venire, the content and article

written by Sara Murray and Sam Fossum titled, Roger Stone, facing gag order, launches

counterattack, should put any such doubts to bed. Exhibit B. It is only one of many such analyses

and accounts. It is clear that Defendant Stone’s strategy will be to use the media and publicity to

argue his case and to try to get public sentiment on his side, as well as to tamper with witnesses

like Dr. Corsi, which is exactly the type of conduct that LCrR 57.7 was meant to preclude.

       Accordingly, Movant Dr. Corsi respectfully requests that this Court issue an order

pursuant to LCrR 57.7(c) ordering Defendant Stone and his counsel from making statements to

the media or in public settings that pose a substantial likelihood of material prejudice to this case

and which in the context of Stone himself and in their ferocity also amount to witness tampering
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and obstruction of justice. See Exbibit A – Corsi Complaint.

Dated: February 8, 2019                             Respectfully submitted,


                                                    /s/ Larry Klayman   ____
                                                    Larry Klayman, Esq.
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                                                                                             - CNNPolitics 58 of
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     Roger Stone, facing gag order, launches
  counterattack
  By Sara Murray and Sam Fossum, CNN
  Updated 6:30 PM ET, Thu February 7, 2019


  Washington (CNN) — In the days since a federal judge warned Roger Stone that he could soon face a gag order,
  Stone has peddled conspiracy theories, claimed he can't get a fair trial and criticized the judge.

  "This is a lynching. This is a legal lynching of me," Stone said in a recent interview on the fringe right-wing website
  Infowars.

  Stone was arrested last month in a pre-dawn raid and charged with obstruction of justice, making false statements
  and witness tampering as part of special counsel Robert Mueller's Russia investigation. On Friday, federal
  prosecutors and Stone's legal team are due to submit briefs on the merits of a gag order.

  But rather than toning down his rhetoric, Stone appears to be abiding by the principles he espouses in his books.
  For instance, Stone's Rule #81: "Admit Nothing; Deny Everything; Launch Counterattack."

  It's a dubious legal strategy.

  "I would say that it's a terrible idea for Stone to be doing this," said CNN legal analyst Shan Wu. "I can't imagine a
  worse idea."

  Judge Amy Berman Jackson informed Stone last week that she was considering a gag order. She was quick to
  put similar restrictions on former Trump campaign chairman Paul Manafort's case, which she is also presiding over
  in Washington. Jackson, an appointee of President Barack Obama, said she was cognizant of Stone's First
  Amendment right to free speech, but she wanted to protect his right to a fair trial and ensure it was possible to
  select an unbiased jury.

  Stone's response, delivered via an Instagram post this week: "I will continue to defend myself unless an Obama
  appointed judge decides to suspend my ﬁrst amendment rights." In another post, Stone exclaimed, "Fair Trial in
  DC? Impossible."

  Stone, in his public diatribes, has claimed he is being targeted because he works for Infowars and supported
  Trump. And he has continued his long tradition of hyping fact-free conspiracy theories.

  In one Instagram post, Stone is shaking hands William Binney, a former National Security Agency o cial who has
  turned into a vocal critic of the agency. "Bill Binney explained to me why the forensic evidence shows the DNC was
  never hacked by anyone including the Russians," Stone wrote.

  US intelligence agencies have concluded Russian intelligence hacked the DNC and other top Democrats, and used
  platforms like WikiLeaks to disseminate the stolen material.

  Stone concluded his post with a series of hashtags including "#sethrich."

  Seth Rich was a Democratic National Committee sta er who was fatally shot in Washington in 2016. Police said
  evidence indicates Rich was the victim of a robbery gone wrong. But far-right activists and news organizations
  spread a conspiracy theory -- with no evidence -- that Rich was killed for leaking a trove of DNC emails to
  WikiLeaks.

  Both Fox News and the Washington Times ended up retracting stories based on the murder-as-leaking-retribution
  conspiracy plot, but the lore has lived on, to the devastation of Rich's family.
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  As for Stone, he recently settled a lawsuit unrelated to the Mueller probe in which he admitted to making false
  statements on Infowars about a Chinese businessman and apologized for his commentary.

  Stone's attorney and Mueller's o ce declined to comment.

  Prior legal woes aside, Stone's eagerness to discuss his case publicly -- and in colorful fashion -- could make the
  judge more inclined to put a gag order on the case.

  Stone and his attorneys have vowed to ﬁght any such e ort and are expected to make the case that Stone's
  livelihood depends on his ability to speak freely.

  "I make a living writing and speaking," Stone argued in a recent Infowars appearance. "So they would be depriving
  me of making a living if I am entirely gagged."

  Jackson appears to have anticipated that defense. In court last Friday, the judge said she was only considering
  limiting Stone's ability to talk about the case.

  " e would still be free to discuss foreign relations, immigration or Tom Brady," Jackson said.

  If she does crack down on public comments on the case, Stone's legal team could also appeal the move. Last
  year, Stone added First Amendment and constitutional law expert Bruce Rogow to his legal team.


                                                        rogerjs…
                                                        40.2k followers




                                              View More on Instagram

  Stone may have a solid legal premise for an appeal, Wu said, although most defendants consider it a risky move.

  "Most defendants don't want to do that because they don't want to run afoul of the judge," Wu said. " e doesn't
  care."


https://www.cnn.com/2019/02/07/politics/roger-stone-gag-order-counterattack/index.html                                      2/3
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  Indeed, Stone is still racking up appearances and using nearly all of them to hammer the tactics used in the pre-
  dawn raid at his Florida home.

  "This was a show of force, this was something you would expect from Nazi ermany or Soviet Russia. It was
  chilling," Stone told Infowars.

  Stone has also compared the law enforcement presence the morning of his arrest to the forces deployed against
  drug lord Joaqu n uzm n, known as "El Chapo," and Osama bin Laden, the former al aeda leader who was
  killed by US Special Forces in a 2011 raid.

  Stone's vocal complaints even sparked a response from ex-convict and former football star O.J. Simpson, who
  drew on his own experience with FBI raids, according to a video posted on celebrity news website TM .

  "The FBI can be wrong," Simpson said, "But to try to compare to El Chapo and Bin Laden? ey man, Bin Laden
  was carried out in a bag, not walked out in handcu s."

  Simpson's parting words for Stone: "Man up. Stop crying."




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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


DR. JEROME CORSI, Individually
Denville, NJ, 07834

                         Plaintiff

                v.                                      Case Number:

ROGER STONE, Individually                               COMPLAINT
4300 Bayview Drive
Fort Lauderdale, FL, 33308


                        Defendant.


                                         INTRODUCTION

        Plaintiff, DR. JEROME CORSI (“Plaintiff” or “Corsi”) hereby files this action against

ROGER STONE (“Defendant Stone”) for Defamation, Intentional Infliction of Emotional

Distress and Assault

                                     JURISDICTION AND VENUE

        1.!     This Court has diversity jurisdiction over this case pursuant to 28 U.S.C. § 1332,

as the parties are completely diverse in citizenship and the amount in controversy exceeds

$75,000.

        2.!     Venue is proper pursuant to 28 U.S.C. § 1391(b)(2), (3) in that a substantial part

of the events or omissions giving rise to Plaintiff Corsi’s claims arose herein.

                                           THE PARTIES

        3.!     Plaintiff, Dr. Jerome Corsi, is an author and political commentator who publishes

works in this judicial district and nationwide. Plaintiff Corsi is a citizen of New Jersey.

        4.!     Defendant, Roger Stone, is an individual and a citizen of Florida and a resident of




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Fort Lauderdale, Florida. Defendant Stone was recently indicted by Special Counsel Robert Mueller

as part of the alleged “Russian Collusion’ investigation. His address is 4300 Bayview Drive, Fort

Lauderdale, FL, 33308

                                        GENERAL ALLEGATIONS

        5.!        Defendant Stone was recently indicted by Special Counsel Robert Mueller

(“Mueller Indictment”) as part of his “Russian Collusion” investigation for the alleged crimes of

perjury, witness tampering and obstruction of justice. The indictment comprises seven different

felony counts. See Exhibit 1 – Mueller Indictment. Importantly, Plaintiff Corsi was not accused

of any wrongdoing or illegality in the Mueller Indictment, in which he named as Person 1, a

material witness to the alleged crimes committed by Stone.

        6.!        Specifically, the seven count Mueller Indictment against Defendant Stone

involves alleged lying under oath - that is, perjury - witness tampering and obstruction of justice

by threatening to kill a material witness, Randy Credico (“Credico”) and his dog if Credico did

not lie to government authorities concerning his involvement with Roger Stone. Credico is

Person 2 in the Mueller Indictment of Defendant Stone. Id. Person 1 in this Mueller Indictment is

Plaintiff Corsi.

        7.!        Even before Defendant Stone was indicted, he began a public relations campaign

in this district, nationally and internationally to smear, intimidate and threaten Plaintiff Corsi, a

material witness in the “Russian Collusion” investigation. Plaintiff Corsi is listed as Person 1 in

the Mueller Indictment and was not indicted along with Defendant Stone, as he testified

truthfully to the grand jury and in interviews.

        8.!        To the contrary, Plaintiff Corsi has never defamed or disparaged Defendant Stone.

        9.!        Defendant Stone knew that he was going to be indicted, and therefore began this




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                                                02/07/19   Page
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public relations campaign to smear, defame, intimidate and threaten Plaintiff Corsi, even before

his actual indictment on January 25, 2019, in order to try to influence public opinion and Special

Counsel Robert Mueller – by trying to attribute guilt to Plaintiff Corsi and not him - as well as to

try to raise money for his legal defense. This pattern and practice of defaming, intimidating and

threatening Plaintiff Corsi, and his legal counsel, is ongoing, so Plaintiff Corsi reserves the right

to amend this Complaint.

       10.!    Defendant Stone likes to portray himself as Mafia, frequently making reference to

Mafia figures who he admires, as well as other unsavory types who have been alleged to have

engaged in unethical and/or illegal behavior. He frequently makes reference to his heroes being

Hyman Roth in the ‘Godfather,” who was the movie version of Meyer Lansky, and Roy Cohn,

not to mention, Richard Nixon, for his role in Watergate. In this regard, after Stone was indicted

he held a press conference on the courthouse steps of the federal courthouse in Ft. Lauderdale,

where he was booked, with his arms defiantly in the air in the “victory’ pose used by Nixon after

he resigned in disgrace as a result of the Watergate scandal. At the time, Stone had been

employed by a Nixon group called CREEP, or the Committee to Reelect the President.

Defendant Stone even has a large tattoo of Richard Nixon affixed to his back. Thus, given his

admiration for persons such as these, particularly Mafia figures, his actions as pled herein can be

taken as threats, as well as being defamatory. And, Plaintiff Corsi is 72 years old. Defendant

Stone’s intentional infliction of emotional distress and coercion and threats are intended to try

even cause Plaintiff Corsi to have heart attacks and strokes, in order that Plaintiff will be unable

to testify at Stone’s criminal trial. Tellingly, Defendant Stone threatened kill a material witness

and his dog, Credico, Person 2 in the Mueller Indictment, “Mafia style.” Defendant Stone also

fashions himself and indeed has the reputation, at a minimum, as being the preeminent “dirty




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trickster.” See “Get Me Roger Stone” on Netflix.

       11.!    Plaintiff Corsi has been named as a material witness to Defendant Stone’s

upcoming prosecution, which has prompted Defendant Stone to try to intimidate, coerce and

threaten Plaintiff Corsi by defaming him and threatening him with physical violence, which is

ironically what he was criminally indicted for, in part.

       12.!    By defaming Plaintiff Corsi, Defendant Stone is hoping to not only intimidate

Plaintiff Corsi to severely harm and damage his reputation, but also to coerce and threaten

Plaintiff Corsi to testify falsely if subpoenaed to be called as a material witness in Defendant

Stone’s ensuing criminal trial. He is also trying divert funds away from Plaintiff Corsi’s legal

defense fund, while boosting his own legal defense fund.

       13.!    Defendant Stone has also used and continues to employ surrogates, either out in

the open or secretly, to defame Plaintiff Corsi, such as his “friend” Michael Caputo, Alex Jones

and J. Owen Stroyer of InfoWars, Cassandra Fairbanks, and reporter Chuck Ross of The Daily

Caller, to name just a few. More surrogates will be identified during discovery and they may be

joined, with leave of court to amend this Complaint, as defendants herein. The use of surrogates

is consistent with Defendant Stone’s reputation as a “dirty trickster” who works as well under

“cover of darkness” to harm and damage others who he sees for whatever reason as adversaries,

political or otherwise as in the case of Plaintiff Corsi. Plaintiff Corsi is not Defendant Stone’s

adversary, as he simply is committed as Person 1 in the Mueller Indictment to testify truthfully if

subpoenaed to testify at Stone’s criminal trial.

       14.!    Defendant Stone is no stranger to defamation lawsuits. As reported by Splinter

News, Defendant Stone was forced to - as part of a settlement in another defamation suit –

apologize in newspapers and on social media for lying about Chinese Businessman Guo Wengui




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                                                 02/07/19   Page
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                                                                          of 290




on InfoWars, after having falsely published that Mr. Wengui is a “turncoat criminal who is

convicted of crimes here and in China.”1

         15.!   Defendant Stone has therefore engaged in illegal witness tampering and

intimidation, in violation of 18 U.S.C. § 1512 by virtue of the defamatory and threatening acts

and practices as alleged herein. Not coincidentally, this was what largely he was indicted for by

Special Counsel Robert Mueller.

                   DEFENDANT STONE’S DEFAMATORY STATEMENTS

         16.!   Before Defendant Stone was indicted, on or about January 18, 2019, he appeared

on InfoWars, where he made several false, misleading and defamatory statements in this district,

nationally and internationally regarding Plaintiff Corsi (the “InfoWars Video”).2 The same video

was published on Defendant Stone’s YouTube channel, “Stone Cold Truth,” on January 18,

2019.3

         17.!   At 2:09 in the InfoWars Video, Defendant Stone falsely publishes that Plaintiff

Corsi was “fired from World Net Daily.”

         18.!   At 2:27 in the InfoWars Video, Defendant Stone falsely and misleadingly

publishes that, “He (Corsi) was perfectly willing to lie, to perjure himself saying that a memo

that he had wrote me was written on the 30th for the purposes of cover-up…. which is further

proof that Jerry lied under oath.”

         19.!   At 2:55 in the InfoWars Video, Defendant Stone falsely and misleadingly

publishes, “and then states that I knew about John Podesta’s emails being stolen in advance, the

only proof of that is Jerry’s feeble alcohol affected memory – it’s a lie….”
1
  Sophie Weiner, Roger Stone Lied About a Chinese Businessman on InfoWars and Now He Has
to Tell Everyone, Splinter News, Dec. 17, 2018, available at: https://splinternews.com/roger-
stone-lied-about-a-chinese-businessman-on-infowar-1831162926
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                                                   02/07/19   Page
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                                                                   667
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                                                                       248
                                                                        12109
                                                                            of 290




         20.!   At 3:35 in the InfoWars Video, Defendant Stone falsely and misleadingly

publishes that “Jerry was prepared to stab a principle Trump supporter in the back, he was

perfectly prepared to bear false witness against me, even though I had done nothing in my entire

life other than help him.”

         21.!   At 4:20 in the InfoWars Video, Defendant Stone falsely and misleadingly

publishes that “all I ever did was show Jerry Corsi friendship and support and try to help him and

his family and what I get is Judas Iscariot, the willingness to testify against me and help the deep

state bury me….and then he makes up this story about helping me formulate a cover story.”

         22.!   At 6:26 in the InfoWars Video, Defendant Stone falsely publishes that “you can

always tell when Jerry Corsi is lying because his lips are moving….”

         23.!   Defendant Stone made these false, misleading and defamatory statements with

malice and with full knowledge that they were false and misleading, and/or at a minimum, with a

reckless disregard for its truthfulness. These statements falsely and misleadingly state that

Plaintiff Corsi was fired from World Net Daily, that he committed perjury (a federal offense),

and that he is an untruthful person.

         24.!   On January 2, 2019, Defendant Stone published an article on www.infowars.com

titled “ROGER STONE BELIEVES JEROME CORSI WORKS FOR MUELLER4” in which

Defendant Stone falsely, misleadingly, and maliciously writes, “Before you decide that Corsi is a

hero you should be well aware of the fact that the good doctor was prepared to bear false witness

against others in the Trump orbit if he thought it would save his own skin.”

         25.!   Defendant Stone made these false, misleading and defamatory statements with

malice and with full knowledge that they were false and misleading, and/or at a minimum, with a

reckless disregard for its truthfulness. These statements falsely and misleadingly state that
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    https://www.infowars.com/roger-stone-the-treachery-of-jerome-corsi/


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Plaintiff Corsi committed perjury (a federal offense), and that he is an untruthful person.

        26.!     In another appearance on InfoWars, which was posted to YouTube5 on January

17, 2019, Defendant Stone at 6:22 falsely and misleadingly publishes that “He [Corsi] was

perfectly willing to bear false witness against me on multiple points that are complete

fabrications.”

        27.!     In another appearance on InfoWars, which was posted to YouTube6 on January

24, 2019, Defendant Stone at 5:58 falsely and misleadingly publishes that “the good doctor

[Corsi] has told a number of lies. In fact, he’s starting to conflate his lies…. he was perfectly

willing to lie about me…. but now lying about Alex Jones, lying about InfoWars, lying about Dr.

Jones, who’s one of the nicest, gentlest, sweetest, most honest men I have ever met, it’s beyond

the pale…. Jerry Corsi can no longer be believed.”

        28.!     In the same appearance, Defendant Stone at 8:34 falsely and misleadingly

publishes that, “I think you’ve [Corsi] been deep state from the beginning. Your whole birther

thing is used as a club to destroy conservatives….I look forward to our confrontation. I will

demolish you. You’re a fraudster, out of your alcoholic haze you have made up lies about David

Jones and Alex Jones and Roger Stone and now I suspect they want you to lie about the

President.” This is clearly a threat, as well as being defamatory. It is akin to the threats against

Person 2 in the Mueller Indictment, Randy Credico, who Defendant Stone, as set forth in the

Mueller Indictment, based on Stone’s own words contained in his own documentary evidence,

threatened kill along with Credico’s dog.

        29.!     Defendant Stone made these false, misleading and defamatory statements with

malice and with full knowledge that they were false and misleading, and/or at a minimum, with a

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    https://www.youtube.com/watch?v=GJd8YBDvm1Q
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    https://www.youtube.com/watch?v=fXUlJZRxe6E


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                                                 02/07/19   Page
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                                                                          of 290




reckless disregard for their truthfulness. These statements falsely and misleadingly state that

Plaintiff Corsi committed perjury (a federal offense), is an untruthful person, and is an alcoholic.

They also contain threats against Plaintiff Corsi.

                                   FIRST CAUSE OF ACTION
                                          Defamation

        30.!     Plaintiff re-alleges and incorporates by reference the allegations in the preceding

paragraphs of the Complaint as if fully set forth herein.

        31.!     Defendant Stone published malicious, false, misleading and defamatory

statements of and concerning Plaintiff Corsi in this judicial district, nationwide, and worldwide.

        32.!     These false and misleading statements were published with malice, as Defendant

Stone knew that they were false and misleading, or at a minimum acted with a reckless disregard

for the truth.

        33.!     Plaintiff Corsi has been severely harmed and damaged by these false and

misleading statements because they subjected him to hatred, distrust, ridicule, contempt, and

disgrace.

        34.!     Plaintiff Corsi has been damaged by these false and misleading statements

because they injured Plaintiff Corsi in his profession and business as a journalist and author,

whose credibility is the most important trait, as well as severely injured and damaged him

personally.

                                 SECOND CAUSE OF ACTION
                                     Defamation Per Se

        35.!     Plaintiff re-alleges and incorporates by reference the allegations in the preceding

paragraphs of the Complaint as if fully set forth herein.

        36.!     Defendant Stone, as alleged herein, published numerous false, misleading and




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                                                 02/07/19   Page
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defamatory statements to severely harm and damage Plaintiff Corsi, which were republished

elsewhere, and through surrogates, which publish the falsity that Plaintiff Corsi has committed

crimes, including perjury, and engaged in moral turpitude in the form of alcoholism, as set forth

in the preceding paragraphs.

        37.!    These false, misleading and defamatory statements were published in this district

and on the internet and elsewhere, domestically and for the entire world to see and hear and

specifically Stone published false and misleading facts, inter alia, that Plaintiff’s conduct,

characteristics or a condition is incompatible with the proper exercise of his lawful business,

trade, profession or office.

        38.!    These false and misleading statements were published with malice, as Defendant

Stone knew that they were false and misleading, and/or at a minimum acted with a reckless

disregard for the truth.

        39.!    This statements are per se defamatory because they falsely and misleadingly

publish that Plaintiff Corsi committed perjury, which is a federal offense and felony. Defamation

per se gives rise to the presumption that severe harm and damage has arisen by virtue of the false

and misleading statements.

        40.!    These false, misleading, and defamatory statements are defamatory per se and

these false and misleading statements severely harmed and damaged Plaintiff Corsi in his

profession and business as a journalist and author, whose credibility is the most important trait,

as well as personally.

                                  THIRD CAUSE OF ACTION
                                   Defamation by Implication

        41.!    Plaintiff re-alleges and incorporates by reference the allegations in the preceding

paragraphs of the Complaint as if fully set forth herein.



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        42.!    Defendant Stone published numerous false, misleading and defamatory

statements about Plaintiff Corsi, as set forth in the preceding paragraphs.

        43.!    These false, misleading and defamatory statements were published on the internet

and published and republished elsewhere in this district, domestically and for the entire world to

see and hear.

        44.!    These false and misleading statements were published with malice, as Defendant

Stone knew that they were false and misleading, and/or at a minimum acted with a reckless

disregard for the truth.

        45.!    These statements created the false and misleading implication that Plaintiff Corsi

is dishonest, committed perjury and is an alcoholic, among other false and misleading statements

as pled in the preceding paragraphs.

        46.!    Plaintiff Corsi has been severely harmed and damaged by these false and

misleading statements because they subject him to hatred, distrust, ridicule, contempt, and

disgrace.

        47.!    Plaintiff Corsi has been damaged by these false and misleading statements

because the statements severely harmed and damaged Plaintiff Corsi in his profession as a

journalist and author, whose credibility is the most important trait, as well as personally.

                                FOURTH CAUSE OF ACTION
                           Intentional Infliction of Emotional Distress

        48.!    Plaintiff re-alleges and incorporates by reference the allegations in the preceding

paragraphs of the Complaint as if fully set forth herein.

        49.!    Defendant Stone engaged in extreme and outrageous conduct by threatening

Plaintiff Corsi, in concert with Stone, who has made death threats to at least one witness

involved in Special Counsel Mueller’s Russian collusion investigation, Person 2 Randy Credico.



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                                                 02/07/19    Page
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       50.!    Defendant Stone knowingly and intentionally threatened Plaintiff Corsi, in a

manner similar to other death threats he made to at least one material witness, involved in

Special Counsel Mueller’s Russian collusion investigation, such as Randy Credico, Person 2 in

the Mueller Indictment.

       51.!    Defendant Stone’s extreme and outrageous conduct directly caused Plaintiff Corsi

severe emotional distress and resulting severe harm and damage.

                                  FIFTH CAUSE OF ACTION
                                          Assault

       52.!    Plaintiff re-alleges and incorporates by reference the allegations in the preceding

paragraphs of the Complaint as if fully set forth herein.

       53.!    Defendant Stone placed Plaintiff Corsi in apprehension of an imminent harmful or

offensive contact and physical harm and death, by coercing and threatening Plaintiff Corsi, in a

similar manner he has used to make death threats to at least one material witness involved in

Special Counsel Mueller’s Russian collusion investigation, such as Person 2 in the Mueller

Indictment, Randy Credico.

       54.!    The threats issued by Defendant Stone are credible, as he portrays himself as a

“mafia” figure, as set forth above.

       55.!    Plaintiff Corsi did not consent to Defendant Stone’ conduct.

       56.!    As a direct and proximate result of Defendant Stone’s wrongful conduct, Plaintiff

Corsi suffered conscious pain, suffering, severe emotional distress and the fear of imminent

serious bodily injury or death, and other mental and physical injuries, and Plaintiff was severely

harmed and damaged thereby.

                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiff Dr. Jerome Corsi prays for judgment against Defendant Stone as



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follows:

a.!      Awarding Plaintiff Corsi compensatory including actual, consequential, incidental and

punitive damages for malicious tortious conduct in an amount to be determined at trial and in

excess of $25, 000,000 U.S. Dollars. While Stone feigns being financially destitute as a result of

his legal problems and uses this to raise money for his legal defense fund, on information and

belief he is wealthy, perhaps hiding his wealth in overseas bank accounts.

b.!      Awarding Plaintiff Corsi attorney’s fees and costs.

c.!      Granting any further relief as the Court deems appropriate including preliminary and

permanent injunctive relief, as well as the entry of a gag order against Defendant Stone in his

criminal prosecution before this Court in order that he be prevented from intimidating, coercing

and threatening material witnesses, such as Plaintiff Corsi, who are likely to be subpoenaed to

testify at his trial. In this regard, Plaintiff Corsi will also, with leave of court requested, file an

amicus brief arguing for a gag order on Defendant Stone in the related criminal case United

States of America v. Stone, 19-cr-18 (D.D.C).

Dated: February 7, 2019                                        Respectfully Submitted,


                                                                  /s/ Larry Klayman
                                                               Larry Klayman, Esq.
                                                               KLAYMAN LAW GROUP, P.A.
                                                               D.C. Bar Number: 334581
                                                               2020 Pennsylvania Ave NW #800
                                                               Washington, DC, 20006
                                                               Telephone: (310)-595-0800
                                                               Email: leklayman@gmail.com
                                                               Counsel for Plaintiff




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                                                                269109
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                                                                  89 of
                                                                      270
                                                              02/11/2019109
                                                                          of 2901 of 11
                                                                          Page



                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA


   LARRY KLAYMAN, Individually

                          Plaintiff

                  v.
                                                               Case Number:
   THOMAS J. FITTON, Individually

                          Defendant.



                                COMPLAINT FOR DEFAMATION

          Plaintiff, LARRY KLAYMAN (“Plaintiff” or “Klayman”) hereby files this action against

   THOMAS J. FITTON (“Defendant Fitton”) for Defamation, Defamation Per Se, and Defamation

   by Implication.

                                      JURISDICTION AND VENUE

          1.!     This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §

   1332 under diversity of citizenship. The parties are citizens of different states and the amount in

   controversy exceeds $75,000.

          2.!     Venue is proper pursuant to 28 U.S.C. § 1391(b)(2) as this is the judicial district

   in which a substantial part of the events or omissions giving rise to the claim occurred.

                                            THE PARTIES

          3.!     Plaintiff, Larry Klayman, is an individual and a citizen of Florida. Plaintiff is a

   well-known private lawyer and conservative public interest advocate and litigator, as well as a

   syndicated national radio talk show host on Radio America, his weekly show appropriately titled

   “Special Prosecutor with Larry Klayman.” Plaintiff Klayman conceived of and founded both

   Judicial Watch, Inc. and Freedom Watch, Inc. He is a former federal prosecutor of the Antitrust


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                                                                  90 of
                                                                      271
                                                              02/11/2019109
                                                                          of 2902 of 11
                                                                          Page



   Division of the U.S. Department of Justice, where he was on the trial team that broke up the AT&T

   monopoly.

           4.!     Defendant, Thomas Fitton, is an individual and a citizen of the District of Columbia,

   whose address is 5245 42nd St NW, Washington, DC 20015. Defendant Fitton is the current

   President of Judicial Watch, which was conceived of and founded by Plaintiff Klayman. He is not a

   lawyer and at the time that Klayman left Judicial Watch on September 19, 2003 to run for the U.S.

   Senate in Florida, Defendant Fitton had not graduated from college. When Plaintiff Klayman hired

   him years earlier as an assistant, he lied to Klayman that he had graduated from George Washington

   University. Since then Defendant Fitton has had a book written for him by “ghost writer,” Ben

   Shapiro, effectively claiming credit for Plaintiff Klayman’s accomplishments in conceiving of,

   founding and running Judicial Watch for almost ten (10) years. Plaintiff Klayman was thus

   conspicuously and maliciously written out of the history of Judicial Watch. The book is titled

   “Corruption Chronicles” and remains on sale on the internet and in book stores. Defendant Fitton

   has also falsely testified multiple times under oath that he does not know who founded Judicial

   Watch, as he continues to try to spread the false narrative and impression he or someone other than

   Klayman founded Judicial Watch, in order to boost his own standing in the conservative community

   and elsewhere, as the expense of Plaintiff Klayman. In short, and regrettably Defendant Fitton, as

   set forth below, is a ‘serial liar” and dishonest.

                                                 STANDING

           5.!     Plaintiff has standing to bring this action because he has been directly affected

   and victimized by the unlawful conduct complained herein. His injuries are proximately related

   to the conduct of Defendant Fitton, individually and working in concert with Roger Stone as set

   forth below.




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                                                       DocketPage
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                                                                  91 of
                                                                      272
                                                              02/11/2019109
                                                                          of 2903 of 11
                                                                          Page



                                                FACTS

          6.!     Defendant Fitton has engaged in a pattern and practice of defaming Plaintiff

   Klayman since Plaintiff’s voluntary departure from Judicial Watch, Inc. to run for the U.S.

   Senate in Florida in 2003-2004.

          7.!     For instance, in 2013, a federal jury in the Southern District of Florida awarded

   Plaintiff Klayman judgment in the sum of $181,000, including punitive damages against Judicial

   Watch for having maliciously defamed Plaintiff. See Exhibit 1 – Jury Verdict and Judgment.

   This jury verdict and judgment is final.

          8.!     Defendant Fitton is now conveniently and incredibly working with Roger Stone

   (“Stone”) to again defame Plaintiff Klayman.

          9.!     Stone was recently indicted on seven (7) felony counts by Special Counsel Robert

   Mueller (“Mueller Indictment”) as part of his “Russian Collusion” investigation for the alleged

   crimes of perjury, witness tampering and obstruction of justice.        See Exhibit 2 – Mueller

   Indictment.

          10.!    Specifically, the seven count Mueller Indictment against Defendant Stone

   involves alleged lying under oath - that is, perjury - witness tampering and obstruction of justice

   by threatening to kill a material witness, Randy Credico (“Credico”) and his dog if Credico did

   not lie to government authorities concerning his involvement with Roger Stone. Credico is

   Person 2 in the Mueller Indictment of Defendant Stone. Id. Person 1 in this Mueller Indictment is

   Dr. Jerome Corsi, another material witness, who is Plaintiff Larry Klayman’s client.

          11.!    Stone has since engaged in a public relations campaign to illegally smear,

   intimidate, coerce and threaten Dr. Jerome Corsi (“Dr. Corsi”), a witness in the “Russian

   Collusion” investigation, and who is being legally represented by Plaintiff Klayman.




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                                              on FLSD  10/22/21
                                                       DocketPage
                                                                Page
                                                                  92 of
                                                                      273
                                                              02/11/2019109
                                                                          of 2904 of 11
                                                                          Page



           12.!   Stone knew that he was going to be indicted, and therefore began this illegal

   public relations campaign to smear and defame Dr. Corsi and his lawyer, Larry Klayman, even

   before his actual indictment on January 25, 2019, in order to try to influence public opinion and

   Special Counsel Robert Mueller – by illegally trying to attribute guilt to Dr. Corsi and not him -

   as well as to try to raise money for his legal defense. This pattern and practice of defaming Dr.

   Corsi and his lawyer Larry Klayman is ongoing, so Plaintiff reserves the right to amend this

   Complaint. Stone has recently been sued by Dr. Corsi for defamation, intentional infliction of

   emotional distress and assault.

           13.!   Dr. Corsi has been named as a material witness to Stone’s upcoming prosecution,

   which has prompted Stone to try to intimidate, coerce and threaten Dr. Corsi by defaming him

   and his defense counsel, Plaintiff Klayman, which is ironically what he has been indicted for.

   And, the way to also “get to” Dr. Corsi is for Defendant Stone to also defame his lawyer,

   Plaintiff Larry Klayman

           14.!   By defaming Dr. Corsi and Plaintiff Klayman, Defendant Fitton and Stone are

   working in concert as joint tortfeasors hoping to not only intimidate Dr. Corsi and his counsel to

   severely harm and damage their reputations, but also to coerce and threaten Dr. Corsi to testify

   falsely if subpoenaed to be called as a material witness in Defendant Stone’s ensuing criminal

   trial, as well as to impede and harm Dr. Corsi’s criminal defense. They are also acting in concert

   to divert funds away from Dr. Corsi’s legal defense fund, while boosting Stone’s legal defense

   fund.

           15.!   Before Defendant was indicted, on or about January 18, 2019, he appeared on

   InfoWars, where he made several false, misleading and defamatory statements in this district,




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                                                       DocketPage
                                                                Page
                                                                  93 of
                                                                      274
                                                              02/11/2019109
                                                                          of 2905 of 11
                                                                          Page



   nationally and internationally regarding Plaintiff Klayman (the “InfoWars Video”).1 The same

   video was published on Defendant Stone’s YouTube channel, “Stone Cold Truth,” on January

   18, 2019.2

            16.!   At 1:30, Stone published, “He (Klayman) was ousted at Judicial Watch. Ask Tom

   Fitton [the current president of Judicial Watch] why he left. He left because of a sexual

   harassment complaint.”

            17.!   Stone made this false, defamatory statement at the direction of Defendant Fitton,

   whom he attributes this false and defamatory statement to.

            18.!   Defendant Fitton knew that Plaintiff Klayman was not ousted at Judicial Watch as

   a result of a sexual harassment complaint, but, in actuality, Plaintiff Klayman left Judicial Watch

   on his own accord and voluntarily in order to run for U.S. Senate in Florida.

            19.!   Defendant Fitton with malice and/or a reckless disregard for the truth knew that

   Plaintiff Klayman did not leave Judicial Watch as a result of a sexual harassment complaint.

            20.!   Defendant Fitton knowingly published this false and defamatory statement to

   Stone, who in turn republished it during interviews which were broadcast by him and his

   surrogates in this district, nationally and internationally for the entire world to hear and see. On

   information and belief Fitton has also recently published, within the last two years up to the

   present, this and other false and misleading statements to others to severely harm and damage

   Plaintiff Klayman, such as to the Council for National Policy, the American Conservative Union,

   the Scaife Foundation, other conservative organizations, groups and donors, and media

   publications and television networks such as Fox News, to name just a few. As a non-lawyer

   who currently runs Judicial Watch, Defendant Fitton feels competitive with Klayman, and as

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                                                       DocketPage
                                                                Page
                                                                  94 of
                                                                      275
                                                              02/11/2019109
                                                                          of 2906 of 11
                                                                          Page



   result of what in effect is an “inferiority complex” since he is a non-lawyer who tries to pass

   himself in the media off as a lawyer and legal expert as the current head of Judicial Watch, thus

   has engaged in a concerted campaign to severely damage and harm Klayman’s reputation,

   professional and personal reputation, and family. By severely harming Plaintiff Klayman’s

   reputation and standing in the legal, media and related communities, Defendant Stone’s

   malicious intent is to boost his own reputation and standing at the expense of Klayman, who

   conceived of, founded and successfully ran Judicial Watch for nearly ten (10) years, making it

   the preeminent conservative public interest group fighting against corruption and for ethics and

   justice in government and the legal profession.

           21.!   Defendant Fitton, in concert with Stone, have therefore also engaged in illegal

   witness tampering of Dr. Corsi and his lawyer Plaintiff Klayman in violation of 18 U.S.C. § 1512

   by virtue of the defamatory acts and practices as alleged herein.

                                     FIRST CAUSE OF ACTION
                                            Defamation

           22.!   Plaintiff re-alleges and incorporates by reference the allegations in the preceding

   paragraphs of the Complaint as if fully set forth herein.

           23.!   Defendant Fitton published the malicious, false and defamatory statement that

   Plaintiff Klayman was ousted at Judicial Watch due to a sexual harassment complaint to Stone,

   who in turn, and in concert with Defendant Fitton, republished this false and defamatory

   statement on the internet domestically, internationally and elsewhere for the entire world to see

   and hear.

           24.!   This false and misleading statement was published with malice, as Defendant

   Fitton knew that it was false and misleading, or at a minimum acted with a reckless disregard for

   the truth.



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                                                       DocketPage
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                                                                  95 of
                                                                      276
                                                              02/11/2019109
                                                                          of 2907 of 11
                                                                          Page



          25.!    Plaintiff Klayman has been severely harmed and damaged by this and other false

   and misleading statements, more of which will be uncovered in discovery, because it subjected

   him to hatred, distrust, ridicule, contempt, and disgrace.

          26.!    Plaintiff Klayman has been severely damaged by this false and misleading

   statement because the malicious statement injured Plaintiff Klayman in his profession and

   business as a public interest and private lawyer and nationally syndicated radio talk show host

   who promotes ethics in government and the legal profession, as well as personally.

                                   SECOND CAUSE OF ACTION
                                       Defamation Per Se

          27.!    Plaintiff re-alleges and incorporates by reference the allegations in the preceding

   paragraphs of the Complaint.

          28.!    Defendant Fitton published to Stone the malicious false, misleading and

   defamatory statement that Plaintiff Klayman was ousted at Judicial Watch due to a sexual

   harassment complaint, who in turn, and in concert with Defendant Fitton, republished this

   malicious false and defamatory statement on the internet in this district, domestically and

   internationally and elsewhere for the entire world to see and hear.

          29.!    Under Florida Law, “it is established…that an oral communication is

   actionable per se - that is, without a showing of special damage - if it imputes to another (a) a

   criminal offense amounting to a felony, or (b) a presently existing venereal or other loathsome

   and communicable disease, or (c) conduct, characteristics or a condition incompatible with the

   proper exercise of his lawful business, trade, profession or office, or (d) the other being a woman,

   acts of unchastity.” Wolfson v. Kirk, 273 So. 2d 774, 777 (Fla. Dist. Ct. App. 1973).

          30.!    This false and misleading statement was published with malice, as Defendant

   Fitton knew that it was false and misleading, or at a minimum acted with a reckless disregard for



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                                                       DocketPage
                                                                Page
                                                                  96 of
                                                                      277
                                                              02/11/2019109
                                                                          of 2908 of 11
                                                                          Page



   the truth.

           31.!   This malicious false, misleading and defamatory statement was published on the

   internet in this district, domestically and internationally for the entire world to see and hear and

   specifically Defendant Fitton published these malicious false and misleading “facts,” inter alia,

   that Plaintiff’s conduct, characteristics or a condition is incompatible with the proper exercise of

   his lawful business, trade, profession or office

           32.!   This malicious false and misleading statement is per se defamatory because it

   falsely accuses Plaintiff Klayman of being ousted from Judicial Watch because of sexual

   harassment - thereby falsely imputing a criminal and sexually related offense upon Plaintiff

   Klayman – as well as being “ousted” as the chairman and general counsel of Judicial Watch

   because of an actual sexual harassment complaint, as well as the other false and misleading

   published statements alleged herein. To the contrary, on information and belief Fitton himself

   hypocritically had and may continue to have an “intimate personal relationship” with another

   director and member of the board of Judicial Watch, Paul Orfanedes, which on information and

   belief may constitute sexual harassment, as Defendant Fitton is Orfanedes’ superior as a result of

   Fitton being the president of Judicial Watch. Defendant Fitton also sits on the board of directors

   along with Orfanedes, one of only three (3) directors, all of whom are also employed by Judicial

   Watch. By maliciously defaming Plaintiff Klayman, Defendant Fitton intended and intends to

   deflect attention away from his issues, vulnerabilities and conduct.

           33.!   This false, misleading, and defamatory statement concerning Plaintiff Klayman is

   defamatory per se and this false and misleading statement, and others which will be uncovered in

   discovery, severely harmed and damaged Plaintiff Klayman in his profession and business as a

   lawyer and advocate and as a nationally syndicated radio talk show host, as they concern conduct




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                                                                      278
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                                                                          Page



   and characteristics incompatible with being a lawyer and radio talk show host who promotes

   ethics in government and the legal profession. Damage is presumed by law when defamation per

   se is shown.

                                    THIRD CAUSE OF ACTION
                                     Defamation by Implication

            34.!   Plaintiff re-alleges and incorporates by reference the allegations in the preceding

   paragraphs of the Complaint as if fully set forth herein.

            35.!   Defendant Fitton published to Stone the false, misleading and defamatory

   statement that Plaintiff Klayman was ousted at Judicial Watch due to a sexual harassment

   complaint, who in turn, and in concert with Defendant Fitton, republished this false and

   defamatory statement on the internet in this district, domestically and internationally and

   elsewhere for the entire world to see and hear.

            36.!   This false, misleading and defamatory statement was published with malice, as

   Defendant Fitton knew that it was false, or at a minimum acted with a reckless disregard for the

   truth.

            37.!   This malicious statement created the false and misleading implication that

   Plaintiff Klayman has engaged been subject to a sexual harassment complaint and was ousted

   from Judicial Watch for this reason and committed criminal sexual offenses, as well as other

   matters of moral turpitude as set forth in this Complaint.

            38.!   Plaintiff Klayman has been severely harmed damaged by this published statement

   because it subjected him to hatred, distrust, ridicule, contempt, and disgrace.

            39.!   Plaintiff Klayman has been damaged by malicious this false and misleading

   statement, and others which will be disclosed during discovery, because the statements severely

   harmed and damaged Plaintiff Klayman in his profession and business as a public advocate and



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                                                                    98 of
                                                                       279
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                                                                            of 29010 of 11
                                                                            Page



   as a syndicated radio talk show host who promotes ethics in government and the legal profession,

   and personally, as pled herein.

          40.!    On information and belief Defendant Fitton’s defamatory conduct, in concert with

   Stone and individually, is on-going and as more defamatory conduct is uncovered through

   discovery and otherwise, this defamatory conduct will be subject to a motion to amend this

   Complaint.

          41.!    Defendant Fitton’s malicious intent to severely harm and damage Plaintiff

   Klayman is largely based on an “inferiority complex” that he is not a lawyer and thus he feels

   competitive with Klayman. Indeed, at the time that Plaintiff left Judicial Watch on September 19,

   2003, to run for the U.S. Senate in Florida Fitton had not graduated from college, his having lied

   to Klayman that he did have a bachelor’s degree from George Washington University. This false

   statement fraudulently induced Klayman to offer him a job at the public interest organization. As

   a non-lawyer Fitton inappropriately does not have the background and expertise to now head

   Judicial Watch and make expert legal commentary on television, radio, the internet and in print,

   as Judicial Watch was conceived to in effect be and is a public interest law firm.

          42.!    Plaintiff Klayman has steadfastly demanded that Defendant Fitton refrain from

   making the malicious false and misleading statement as alleged herein, but he has refused and

   Fitton has also refused to correct this and other false and misleading statements in the past,

   regrettably necessitating the need for this and other legal complaints. The false and misleading

   statement published in concert with Stone has since been republished by others to severely harm

   and damage Plaintiff Klayman and his client Dr. Corsi. Defendant Fitton’s campaign to severely

   harm and damage Plaintiff Klayman is maliciously intended to boost his own standing at the

   expense of Plaintiff Klayman in the conservative community, media and with donors and




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                                                                    99 of
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                                                                            of 29011 of 11
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   elsewhere and it continues unabated.

                                      PRAYER FOR RELIEF

          WHEREFORE, Plaintiff Larry Klayman prays for judgment against Defendant Fitton as

   follows:

   a.!    Awarding Plaintiff Klayman compensatory including actual, consequential, incidental

   and punitive damages for malicious tortious conduct as alleged herein in an amount to be

   determined at trial and in excess of $35, 000,000 U.S. Dollars.

   b.!    Awarding Plaintiff Klayman attorney’s fees and costs.

   c.!    Granting any such further relief as the Court deems appropriate including preliminary and

   permanent injunctive relief.

   PLAINTIFF KLAYMAN DEMANDS A JURY TRIAL ON ALL COUNTS SO TRIABLE.

   Dated: February 11, 2019                                    Respectfully Submitted,

                                                                  /s/ Larry Klayman
                                                               Larry Klayman, Esq.
                                                               FL Bar No. 246220
                                                               KLAYMAN LAW GROUP, P.A.
                                                               c/o 2020 Pennsylvania Ave., N.W.
                                                               Suite 800
                                                               Washington, D.C. 20006
                                                               Telephone: (310) 595 - 0800
                                                               Email: leklayman@gmail.com




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Larry Klayman, founder of Judicial Watch and       of the European Union in its Competition
Freedom Watch, is known for his strong             Directorate in Brussels, Belgium. During law
public interest advocacy in furtherance of         school, Larry also worked for the U.S.
ethics in government and individual freedoms       International Trade Commission in
and liberties. During his tenure                                  Washington, D.C.
at Judicial Watch, he obtained
a court ruling that Bill Clinton                                 Larry speaks four languages—
committed a crime, the first                                     English, French, Italian, and
lawyer ever to have done so                                      Spanish—and is an
against an American president.                                   international lawyer, among his
Larry became so famous for                                       many areas of legal expertise
fighting corruption in the                                       and practice.
government and the legal
profession that the NBC hit                                      The author of two books, Fatal
drama series "West Wing"                                         Neglect and Whores: Why and
created a character after him:                                   How I Came to Fight the
Harry Klaypool of Freedom                                        Establishment, Larry has a
Watch. His character was                                         third book in the works dealing
played by actor John Diehl.                                      with the breakdown of our
                                                                 political and legal systems. His
In 2004, Larry ran for the U.S.                                  current book, Whores, is on
Senate as a Republican in Florida's primary.       now sale at WND.com, Amazon.com,
After the race ended, he founded Freedom           BarnesandNoble.com, Borders.com, and all
Watch.                                             major stores and booksellers.

Larry graduated from Duke University with          Larry is a frequent commentator on television
honors in political science and French             and radio, as well as a weekly columnist, on
literature. Later, he received a law degree from   Friday, for WND.com. He also writes a regular
Emory University. During the administration        blog for Newsmax called "Klayman's Court."
of President Ronald Reagan, Larry was a
Justice Department prosecutor and was on the       Larry has been credited as being the
trial team that succeeded in breaking up the       inspiration for the Tea Party movement. (See
telephone monopoly of AT&T, thereby                "Larry Klayman - The One Man TEA Party,"
creating competition in the                        by Dr. Richard Swier, http://fwusa.org/KFA)
telecommunications industry.

Between Duke and Emory, Larry worked for                       Support the work of
U.S. Senator Richard Schweiker (R-Pa.)                         Freedom Watch at
during the Watergate era. He has also studied                  www.FreedomWatchUSA.org
abroad and was a stagiaire for the Commission
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     N         R R as to R         R . S N , R. n e ruar 19, 2019, the Court ordered the defendant to show
  cause at a hearing to e held on e ruar 21, 2019 as to wh the media communications order entered in this
  case 3 and/or defendant s conditions of release 21 should not e modi ed or re oked. hearing was held on
  this date. or the reasons set forth on the record, and ased upon the entire record, including the sealed exhi it to
  the hearing 2 , the testimon of the defendant, the arguments of counsel, and the su missions of the
  parties 28 29 led in connection with the potential imposition of a media communications order, the Court
  entered the following order at the hearing: the conditions of defendant s pretrial release 21 are here modi ed to
  include the condition that, and the e ruar 1 , 2019 media communications order 3 is here modi ed to
  pro ide that, the defendant is prohi ited from making statements to the media or in pu lic settings a out the
  Special Counsel s in estigation or this case or an of the participants in the in estigation or the case. he
  prohi ition includes, ut is not limited to, statements made a out the case through the following means: radio
   roadcasts inter iews on tele ision, on the radio, with print reporters, or on internet ased media press releases
  or press conferences logs or letters to the editor and posts on ace ook, witter, nstagram, or an other form
  of social media. urthermore, the defendant ma not comment pu licl a out the case indirectl             ha ing
  statements made pu licl on his ehalf         surrogates, famil mem ers, spokespersons, representati es, or
   olunteers. he order to show cause is here        acated. Signed    udge m erman ackson on 2/21/19.
             ntered: 02/21/2019




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  Stone deleted the only image in that multi-image post that included
                                                                                                        Constant Fatigue Is A Warning Sign – See The Simple
  "Who framed Roger Stone" language shortly after CNBC emailed                                          Fix
  his lawyer to ask about it.                                                                           Gundry MD



                                                                                                                                                     by Taboola


                                                                                                        House Democrats
                                                                                                        unveil a sweeping
                                                                                                        'Medicare-for-all' bill —
                                                                                                        here's what's in it
                                                                                                        Michael Cohen's
                                                                                                        testimony gives both
                                                                                                        sides fodder in a
                                                                                                        possible impeachment
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                                                                                                        A 'shock and awe' rally
                                                                                                        scenario that could rip
                          MARKETS                                   WATCHLIST                           the market 7%TVhigher
                                                                                                                 CNBC                                   MENU


                                                                                                        Bloomberg aides
                                                                                                        interview staffers in
                                                                                                        New Hampshire, Iowa
                                                                                                        as the billionaire
                                                                                                        considers 2020 run
                                                                                                        These are the cities
                                                                                                        where you can live
                                                                                                        comfortably on
                                                                                                        $50,000 a year
                                                                                                        Michael Cohen says
                                                                                                        prosecutors are
                                                                                                        investigating previously
                                                                                                        undisclosed
                                                                                                        wrongdoing related to
                                                                                                        Trump

                                                                                                        TRENDING NOW


                                                                                                                             1.     Brett Kavanaugh:
                                                                                                                                    State laws blocking
                                                                                                                                    taxpayer-funded
                                                                                                                                    church repairs are
                                                                                                                                    'pure discrimination'
  Stone's post was put online less than 48 hours after the judge, Amy
  Berman Jackson, ordered lawyers for the admitted Republican "dirty                                                        2.      Southwest Airlines
                                                                                                                                    starts selling its ﬁrst
  trickster" to explain why they did not tell her earlier about the
                                                                                                                                    Hawaii ﬂights, from
  planned publication of a book by Stone that could violate her gag                                                                 $49 one way
  order on him.


      LIVE, NEWS-MAKING DISCUSSIONS                                                                                         3.      Tesla's onslaught of
                                                                                                                                    announcements is
                                                                                                                                    raising red ﬂags
      UNIQUE, IN-PERSON EXPERIENCES                                                                                                 about demand for its
                                                                                                                                    cars
            LEARN MORE + JOIN US

                                                                                                                                    Roger Stone
                                                                                                                                    suggests Robert

https://www.cnbc.com/2019/03/03/roger-stone-suggests-robert-mueller-framed-him-despite-gag-order.html                                                          2/6
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  Stone announced on Instagram in January that he was coming out                                                       Mueller 'framed' him
  with the book, "The Myth of Russian Collusion: The Inside Story of                                                   in Instagram post that
  How Trump Really Won."                                                                                               could violate gag
                                                                                                                       order
  In her gag order in U.S District Court in Washington, D.C., Jackson

                                                                                                                  5.
  barred Stone from "making statements to the media or in public                                                       'Beverly Hills, 90210'
  settings about the Special Counsel's investigation or this case or any                                               and 'Riverdale' star
  of the participants in the investigation or the case."                                                               Luke Perry died at 52
                                                                                                                       after suffering a
  The gag extends to "posts on Facebook, Twitter, Instagram or any                                                     massive stroke
  other form of social media." If Stone violates the order, Jackson
  could order him jailed without bail until his trial.

  Jackson had slapped that order on Stone on Feb. 21 after he posted
  on Instagram a photo showing the judge's face next to a riﬂe scope's
  crosshair.
                          MARKETS                                   WATCHLIST                           CNBC TV                         MENU




              Jon Swaine
              @jonswaine

      Roger Stone now directly attacking the federal judge presiding
      over his case and posting a pic of her head beside crosshairs
           9,929 11:12 AM - Feb 18, 2019

           10.2K people are talking about this



  Stone's new post is comprised of a rotating series of images that ask
  for money to support Stone's defense to charges that he lied to
  Congress and tampered with a witness.

  One says, "I am committed to proving my innocence. But I need
  your help." Another photo, which shows a young Stone standing

https://www.cnbc.com/2019/03/03/roger-stone-suggests-robert-mueller-framed-him-despite-gag-order.html                                           3/6
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  behind Trump years ago, says, "I've always had Trump's back. Will
  you have mine?" Two other images tout a "Roger Stone Did Nothing
  Wrong" t-shirt and "Stone Cold Truth" sweatshirt.

  The post originally had an image showing Stone wearing eyeglasses
  under the words "Who Framed Roger Stone," a reference to the
  movie "Who Framed Roger Rabbit." The image has been on the
  Internet for some time.




              Shelby Holliday
              @shelbyholliday

      New in Instagramland: Roger Stone, using Insta stories (which
      disappear after 24 hrs), suggests he’s being framed.
           2,224 10:40 AM - Mar 3, 2019

           2,253 people are talking about this



  A spokesman for Mueller declined to comment Sunday. Stone's
  lawyer did not immediately respond to a request for comment.

  Stone, who remains free on a $250,000 signature bond, was
  arrested in Florida in late January and has pleaded not guilty to the
  seven counts against him, including making false statements to
  Congress, witness tampering and obstructing justice.

  Mueller has said Stone lied to Congress about his alleged eﬀorts to
  have WikiLeaks release material hacked by Russian agents from
  Democrats, including Hillary Clinton's campaign chairman, during
  the 2016 campaign that ended with Trump's victory.



https://www.cnbc.com/2019/03/03/roger-stone-suggests-robert-mueller-framed-him-despite-gag-order.html                  4/6
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                                                                                                gag order109 290
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                                                                                                                 of 290
  An indictment alleges Stone was in contact with top-ranking Trump
  campaign oﬃcials about eﬀorts to leak damaging information about
  Clinton right before Election Day.


                Dan Mangan
                Reporter




  FROM THE WEB                                                      Sponsored Links by Taboola


  Drivers who switch save an average of $668 on car insurance.
  Progressive




  Before you renew Amazon Prime, read this
  Wikibuy




  U.S. Cardiologist: It's Like a Pressure Wash for Your Insides
  Health Headlines




  Man Who Called DOW 20,000 Has Surprising New Prediction
  Investing Outlook




  These German hearing aids are going viral
  hear.com




  If Your Indoor Cat Vomits (Do This Every Day)
  Ultimate Pet Nutrition




  MORE FROM CNBC                                                                   by Taboola




  House Judiciary Committee chair Nadler says Trump obstructed
  justice, will request documents


  Trump will be 'very tough to beat' in 2020 if he gets three things
  right: Scaramucci


  Cohen brings Trump's net worth statements to hearing. Here's how
  to read them


  Trump, from Vietnam, berates 'Da Nang Dick' Blumenthal for war
  record


  Michael Cohen: 'I fear' Trump won't peacefully give up the White
  House if he loses the 2020 election


  GOP Rep. tweets at Michael Cohen on eve of hearing: Does your
  wife 'know about your girlfriends?'
https://www.cnbc.com/2019/03/03/roger-stone-suggests-robert-mueller-framed-him-despite-gag-order.html                     5/6
